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                            Inyo NF Wilderness Inventory Areas
                       Summary of The Wilderness Society’s data on
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     1248         General location: White Mountains Management Area
                  Size: 38,756 acres
                  Category A: 31% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 41% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:

                     •   Inter-Mountain Basins Montane Sagebrush Steppe
                     •   Great Basin Foothill and Lower Montane Riparian Woodland and
                         Shrubland
                  Category C: 93% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: 6% of the area of this inventory unit contains ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
     1258         General location: White Mountains Management Area
                  Size: 35,248 acres
                  Category A: 18% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 35% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                     • Great Basin Foothill and Lower Montane Riparian Woodland and
                         Shrubland
                  Category C: 84% of the inventory unit is comprised of ecological groups which

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                            Inyo NF Wilderness Inventory Areas
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                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: 3% of the area of this inventory unit contains ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
     1275         General location: White Mountains Management Area
                  Size: 10,435 acres adjacent to White Mountains Wilderness
                  Category A: 33% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 59% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                     • Great Basin Foothill and Lower Montane Riparian Woodland and
                                 Shrubland
                  Category C: 90% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: 7% of the area of this inventory unit contains ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
     1276         General location: White Mountains Management Area
                  Size: 1,048 acres adjacent to White Mountains Wilderness
                  Category A: 67% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 73% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological

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                            Inyo NF Wilderness Inventory Areas
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                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                     • Great Basin Foothill and Lower Montane Riparian Woodland and
                                Shrubland
                  Category C: 92% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: 21% of the area of this inventory unit contains ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
     1281         General location: White Mountains Management Area
                  Size: 11,210 acres adjacent to White Mountains Wilderness
                  Category A: 5% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                  Category B: 31% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                     • Great Basin Foothill and Lower Montane Riparian Woodland and
                                 Shrubland
                  Category C: 87% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: Less than one percent of the area of this inventory unit
                  contains ecological groups with less than twenty percent of their area on the Inyo
                  NF in designated wilderness.
     1295         General location: White Mountains Management Area
                  Size: 2,065 acres adjacent to White Mountains Wilderness
                  Category A: 14% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Great Basin Xeric Mixed Sagebrush Shrubland

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                            Inyo NF Wilderness Inventory Areas
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                  Category B: 16% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                  Category C: 20% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: 5% of the area of this inventory unit contains ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
     1297         General location: White Mountains Management Area
                  Size: 1,092 acres adjacent to White Mountains Wilderness
                  Category A: 81% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 83% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                     • Great Basin Foothill and Lower Montane Riparian Woodland and
                         Shrubland
                  Category C: 92% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: 26% of the area of this inventory unit contains ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
     1301         General location: White Mountains Management Area
                  Size: 3,010 acres adjacent to White Mountains Wilderness
                  Category A: 71% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:


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                            Inyo NF Wilderness Inventory Areas
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                     •   Great Basin Xeric Mixed Sagebrush Shrubland
                     •   Inter-Mountain Basins Big Sagebrush Shrubland
                     •   Inter-Mountain Basins Semi-Desert Shrub Steppe
                     •   Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 74% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                  Category C: 96% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland

                  Inyo NF representation: 17% of the area of this inventory unit contains ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
     1308         General location: White Mountains Management Area
                  Size: 13,886 acres adjacent to White Mountains Wilderness
                  Category A: 70% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 76% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                     • Great Basin Foothill and Lower Montane Riparian Woodland and
                                 Shrubland
                  Category C: 98% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: 23% of the area of this inventory unit contains ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.



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                            Inyo NF Wilderness Inventory Areas
                       Summary of The Wilderness Society’s data on
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     1311         General location: White Mountains Management Area
                  Size: 11,214 acres adjacent to Boundary Peak and White Mountains Wilderness
                  Category A: 17% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 37% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                     • Great Basin Foothill and Lower Montane Riparian Woodland and
                         Shrubland
                  Category C: 75% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: 4% of the area of this inventory unit contains ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
     1312         General location: White Mountains Management Area
                  Size: 8,133 acres adjacent to Boundary Peak Wilderness(comprised of three sub­
                  areas)
                  Category A: 5% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                  Category B: 29% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                  Category C: 72% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland



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                            Inyo NF Wilderness Inventory Areas
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                  Inyo NF representation: Less than one percent of the area of this inventory unit
                  contains ecological groups with less than twenty percent of their area on the Inyo
                  NF in designated wilderness.
     1326         General location: White Mountains Management Area
                  Size: 5,464 acres
                  Category A: 25% percent of the inventory unit is comprised of the following
                  ecological groups, which have less than five percent of their total area protected
                  in the NWPS:
                       • Great Basin Xeric Mixed Sagebrush Shrubland
                       • Inter-Mountain Basins Big Sagebrush Shrubland
                       • Inter-Mountain Basins Semi-Desert Shrub Steppe
                       • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 37%of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                      • Inter-Mountain Basins Montane Sagebrush Steppe
                  Category C: 92% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: 4% of the area of this inventory unit contains ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
     1332         General location: Pizona Management Area
                  Size: 5,254 acres
                  Category A: 41% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 44% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                     • Great Basin Foothill and Lower Montane Riparian Woodland and
                                 Shrubland



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                            Inyo NF Wilderness Inventory Areas
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                  Category C: 98% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: 4% of the area of this inventory unit contains ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
     1339         General location: Pizona Management Area
                  Size: 19,826 acres
                  Category A: 28% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 35% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                  Category C: 99% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: 1% of the area of this inventory unit contains ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
     1342         General location: White Mountains Management Area
                  Size: 6,144 acres
                  Category A: 31% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 35% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological


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                            Inyo NF Wilderness Inventory Areas
                       Summary of The Wilderness Society’s data on
        Under-represented Ecosystems in the National Wilderness Preservation System

                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                  Category C: 90% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: 2% of the area of this inventory unit contains ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.
     1355         General location: Pizona Management Area
                  Size: 10,297 acres
                  Category A: 30% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 31% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                  Category C: 100% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: Less than one percent of the area of this inventory unit
                  contains ecological groups with less than twenty percent of their area on the Inyo
                  NF in designated wilderness.
     1357         General location: Pizona Management Area
                  Size: 5,805 acres
                  Category A: 52% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub



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                            Inyo NF Wilderness Inventory Areas
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                  Category B: 52% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                  Category C: 100% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: Less than one percent of the area of this inventory unit
                  contains ecological groups with less than twenty percent of their area on the Inyo
                  NF in designated wilderness.
     1361         General location: Pizona Management Area
                  Size: 8,855 acres
                  Category A: 34% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                      • Inter-Mountain Basins Semi-Desert Shrub Steppe
                      • Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 35% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                  Category C: 99% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: Less than one percent of the area of this inventory unit
                  contains ecological groups with less than twenty percent of their area on the Inyo
                  NF in designated wilderness.
     1376         General location: Benton-Casa Diablo Management Area
                  Size: 9,922 acres
                  Category A: 9% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Great Basin Xeric Mixed Sagebrush Shrubland
                      • Inter-Mountain Basins Big Sagebrush Shrubland


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                     •   Inter-Mountain Basins Semi-Desert Shrub Steppe
                     •   Inter-Mountain Basins Mixed Salt Desert Scrub
                  Category B: 15% of this inventory unit is comprised of ecological groups which
                  have less than ten percent of their total area protected in the NWPS. Ecological
                  groups in category B include:
                     • Inter-Mountain Basins Montane Sagebrush Steppe
                     • Great Basin Foothill and Lower Montane Riparian Woodland and
                                 Shrubland
                  Category C: 100% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                  Inyo NF representation: Less than one percent of the area of this inventory unit
                  contains ecological groups with less than twenty percent of their area on the Inyo
                  NF in designated wilderness.
     1432         This area is on the Sequoia NF
     1391         General location: South Sierra Management Area
                  Size: 33,248 acres adjacent to South Sierra Wilderness
                  Category A: 11% of the inventory unit is comprised of the following ecological
                  groups, which have less than five percent of their total area protected in the
                  NWPS:
                      • Inter-Mountain Basins Big Sagebrush Shrubland
                  Category B: none
                  Category C: 53% of the inventory unit is comprised of ecological groups which
                  have less than twenty percent of their total area protected in the NWPS.
                  Ecological groups in Category C include:
                     • Great Basin Pinyon-Juniper Woodland
                     • Rocky Mountain Aspen Forest and Woodland
                  Inyo NF representation: This inventory unit does not contain any ecological
                  groups with less than twenty percent of their area on the Inyo NF in designated
                  wilderness.




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                            Sierra NF Wilderness Inventory Areas
                        Summary of The Wilderness Society’s data on
         Under-represented Ecosystems in the National Wilderness Preservation System

  Background
  The Wilderness Society (TWS) comments indicated the Wilderness Evaluation process should
  consider the suitability of Wilderness Inventory Areas with under-represented and rare
  ecosystems. The Wilderness Society utilized several sets of available information at the
  national scale to identify under-represented ecosystems in the National Wilderness
  Preservation System (NWPS).
  The National Vegetation Classification System Group 61 data was used to identify the set of
  forty-two ecological group within the Sierra NF. For each ecological group on the forest, the
  Wilderness Society provided two calculations: the percentage of an ecological group's total
  area (nation-wide) that is within the NWPS; the percentage of an ecological group's area within
  the Sierra NF that is within designated wilderness. The ecological groups were divided into four
  classes of representation, which are termed categories A through D below.
  Category A is ecological groups on the Sierra NF that have less than five percent of their area
  protected within the NWPS:
  Inter-Mountain Basins Big Sagebrush Shrubland-3% protected in NWPS
  Inter-Mountain Basins Big Sagebrush Steppe-2% protected in NWPS
  Temperate Pacific Freshwater Muaflat- 5% protected in NWPS
  Category B is ecological groups on the Sierra NF that have between five and ten percent of their
  area protected within the NWPS:
  1. Open Water - fresh - 6% protected in NWPS
  Category C is ecological groups on the Sierra NF that have between ten and twenty percent of
  their area protected within the NWPS. The Wilderness Society indicated it considers ecological
  groups with less than twenty percent of its total area in the NWPS as inadequately
  represented2.
  1. California Central Valley and Southern Coastal Grassland-12% protected in NWPS
  2. California Central Valley Mixed Oak Savanna-14% protected in NWPS
  3. California Lower Montane Blue Oak-Foothill Pine Woodland and Savanna-11% protected in
      NWPS
  4. Great Basin Pinyon-Juniper Woodlands -14% of ecosystem protected in NWPS
  5. Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and Shrubland-19%
     protected in NWPS
  6. Mediterranean California Mesic Mixed Conifer Forest and Woodland-12% protected in
      NWPS
  7. Mediterranean California Mixed Oak Woodland-10% protected in NWPS
  8. Northern and Central California Dry-Mesic Chaparral-11% protected in NWPS
  9. Rocky Mountain Aspen Forest and Woodland -12% of ecosystem protected in NWPS.


  1 The National Vegetation Classification System website indicates the ecological context for Group 6 data:
  regional mesoclimate, geology, substrates, hydrology and disturbance regimes.
  2 The twenty percent representation threshold is based on Society for Conservation Biology and Convention
  on Biological Diversity targets (personal communication with Matt Dietz).

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  Category D is ecological groups on the Sierra NF that have more than twenty percent of their
  area protected within the NWPS, and are not discussed further.
  Data Management and processing
  1. Six of the forty-two ecological groups were not considered in this summary because their
     label indicated they are developed land.
  2. No Category B data on the open water (fresh) ecosystem will be summarized because the
     TWS data did not include the acreage for this ecosystem on individual wilderness inventory
     units.
  3. Area size information was converted from hectares to acres.
  4. Ecological group in each category were ranked by size, largest to smallest.
  5. Ecological group in each category with less than 1,000 total acres on all Sierra NF non­
     wilderness lands were not included in this summary.
  6. For each category, the acres for the ecological groups in that category were summed for
     each wilderness inventory unit.
  7. The percentage of each wilderness inventory unit's total area comprised of "under­
     represented" ecological groups was calculated.

  The table below summarizes TWS "representation" data for each wilderness inventory area
  listed in the polygon column:
  General location: Indicates whether the unit is adjacent to designated wilderness.
  Size: The area in acres indicated is the "parent polygon".
  Category A: The summary first displays the percentage of the wilderness inventory unit
  comprised of Category A ecological groups, and the types of type of ecological groups in
  Category A within the inventory unit. Any ecological groups with more than 1,000 acres in an
  inventory unit is highlighted in bold font.
  Category C: Next, the summary displays the percentage of the wilderness inventory unit
  comprised of Category C ecological groups and the types of ecological groups within the
  inventory unit. Any ecological groups with more than 1,000 acres in an inventory unit is
  highlighted in bold font.Note: The percent of the wilderness inventory unit comprised of
  Category C ecosystems includes the area of Category A ecosystems (the names of the Category
  A ecosystems, however, are not listed again under Category C).
  Sierra NF representation: The forest representation section displays two percentages. The first
  is the percentage of the area of a wilderness inventory unit that is comprised of ecological
  groups that have less than five percent of their total area on the forest in designated
  wilderness. The ecological groups with less than five percent of their total acreage on the
  forest in designated wilderness include:
    • California Central Valley Mixed Oak Savanna
    • California Central Valley and Southern Coastal Grassland
    • California Lower Montane Blue Oak-Foothill Pine Woodland
        and Savanna

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      •    Northern and Central California Dry-Mesic Chaparral
      •    Mediterranean California Dry-Mesic Mixed Conifer Forest
           and Woodland
      •    Recently burned forest acres
      •    Temperate Pacific Freshwater Muaflat
  •       The second percentage is the percentage of the area of a wilderness inventory unit that is
          comprised of ecological groups that have less than twenty percent of their total acreage on
          the forest in designated wilderness. The ecological groups with less than twenty percent of
          their total acreage on the forest in designated wilderness include the same ecological
          groups as above, with the addition of:
  •       Mediterranean California Mixed Oak Woodland
  •       Mcjave Mid-elevation Mixed Desert Scrub

  Wilderness
                    Summary
  Inventory
  Unit
          227       General location: Not adjacent to designated wilderness
                    Size: 15,358 acres
                    Category A: Less than 1% of this inventory unit is comprised of the following Category A
                    ecological groups, which have less than five percent of their total area protected in the
                    NWPS:
                        • Inter-Mountain Basins Big Sagebrush Steppe
                    Category C: 78% of this inventory unit is comprised of the following ecological groups,
                    which have less than twenty percent of their total area protected in the NWPS:
                        •      California Central Valley Mixed Oak Savanna
                        •      California Lower Montane Blue Oak-Foothill Pine Woodland and Savanna
                        •      Mediterranean California Mixed Oak Woodland
                        •      Rocky Mountain Aspen Forest and Woodland
                        •      Mediterranean California Mesic Mixed Conifer Forest and Woodland
                        •      Great Basin Pinyon-Juniper Woodland
                        •      Northern and Central California Dry-Mesic Chaparral
                        •      California Central Valley and Southern Coastal Grassland
                    Sierra NF Representation:
                    6 5% percent of this inventory unit is comprised of ecological groups that have less than
                    five percent of their area on the Forest protected in designated wilderness.
                    9 5% of this inventory unit is comprised of ecological groups that have less than twenty
                    percent of their area on the Forest protected in designated wilderness.
          304       General location: Not adjacent to designated wilderness
                    Size: 5,916 acres
                    Category A: There are no Category A ecological groups, which have less than five percent
                    of their total area protected in the NWPS, in this wilderness inventory unit.


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               Category C: 88% of this Inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •      California Central Valley Mixed Oak Savanna
                   •      California Lower Montane Blue Oak-Foothill Pine Woodland and Savanna
                   •      Mediterranean California Mixed Oak Woodland
                   •      Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •      Northern and Central California Dry-Mesic Chaparral
               Sierra NF Representation:
               87% of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               95% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     315       General location: Not adjacent to designated wilderness
               Size: 17,908 acres
               Category A: 2% of this Inventory unit is comprised of the following Category A ecological
               groups, which have less than five percent of their total area protected in the NWPS:
                   • Inter-Mountain Basins Big Sagebrush Steppe
                   • Inter-Mountain basins Big Sagebrush Shrubland
               Category C: 62% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •      California Central Valley Mixed Oak Savanna
                   •      California Lower Montane Blue Oak-Foothill Pine Woodland and Savanna
                   •      Mediterranean California Mixed Oak Woodland
                   •      Rocky Mountain Aspen Forest and Woodland
                   •      Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •      Great Basin Pinyon-Juniper Woodland
                   •      Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                          Shrubland
                   •      Northern and Central California Dry-Mesic Chaparral
               Sierra NF Representation:
               3 5% of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               7 3% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     330       General location: Not adjacent to designated wilderness
               Size: 7,804 acres
               Category A: 9% of this inventory unit is comprised of the following Category A
               ecological groups, which have less than five percent of their total area protected in the
               NWPS:
                   • Inter-Mountain Basins Big Sagebrush Steppe


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                   •      Inter-Mountain basins Big Sagebrush Shrubland

               Category C: 85% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •      California Central Valley Mixed Oak Savanna
                   •      California Lower Montane Blue Oak-Foothill Pine Woodland and Savanna
                   •      Mediterranean California Mixed Oak Woodland
                   •      Rocky Mountain Aspen Forest and Woodland
                   •      Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •      Great Basin Pinyon-Juniper Woodland
                   •      Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                          Shrubland
                   •      Northern and Central California Dry-Mesic Chaparral
               Sierra NF Representation:
               2% of this inventory unit is comprised of ecological groups that have less than five percent
               of their area on the Forest protected in designated wilderness.
               68% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     357       General location: Not adjacent to designated wilderness
               Size: 5,374 acres
               Category A: Less than one percent of this Inventory unit is comprised of the following
               Category A ecological groups, which have less than five percent of their total area
               protected in the NWPS:
                   • Inter-Mountain Basins Big Sagebrush Steppe
                   • Inter-Mountain basins Big Sagebrush Shrubland
               Category C: 45% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •      California Central Valley Mixed Oak Savanna
                   •      California Lower Montane Blue Oak-Foothill Pine Woodland and Savanna
                   •      Mediterranean California Mixed Oak Woodland
                   •      Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •      Northern and Central California Dry-Mesic Chaparral
               Sierra NF Representation:
               72% of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               93% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     441       General location: Not adjacent to designated wilderness
               Size: 6,892 acres
               Category A: 10% of this Inventory unit is comprised of the following Category A
               ecological groups, which has less than five percent of their total area protected in the


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               NWPS:
                 • Inter-Mountain basins Big Sagebrush Shrubland
               Category C: 28% percent of this inventory unit is comprised of the following ecological
               groups, which have less than twenty percent of their total area protected in the NWPS:
                   •      Mediterranean California Mixed Oak Woodland
                   •      Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •      Rocky Mountain Aspen Forest and Woodland
                   •      Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                          Shrubland
               Sierra NF Representation:
               None of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               1 6% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     539       General location: Adjacent to Dinkey Lakes Wilderness
               Size: 48,312 acres
               Category A: 3% of this Inventory unit is comprised of the following Category A ecological
               groups, which has less than five percent of their total area protected in the NWPS:
                   • Inter-Mountain Basins Big Sagebrush Shrubland
                   • Inter-Mountain Basins Big Sagebrush Steppe
                   • Temperate Pacific Freshwater Muaflat
               Category C: 6% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •      Mediterranean California Mixed Oak Woodland
                   •      Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •      Rocky Mountain Aspen Forest and Woodland
                   •      Great Basin Pinyon-Juniper Woodland
                   •      Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                          Shrubland
               Sierra NF Representation:
               1 % of this inventory unit is comprised of ecological groups that have less than five percent
               of their area on the Forest protected in designated wilderness.
               3 % of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     557       General location: Not adjacent to designated wilderness
               Size: 5,072 acres
               Category A: 1% of this Inventory unit is comprised of the following Category A ecological
               groups, which have less than five percent of their total area protected in the NWPS:
                   • Inter-Mountain Basins Big Sagebrush Steppe
                   • Inter-Mountain basins Big Sagebrush Shrubland



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               Category C: 34% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •      California Lower Montane Blue Oak-Foothill Pine Woodland and Savanna
                   •      Mediterranean California Mixed Oak Woodland
                   •      Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •      Rocky Mountain Aspen Forest and Woodland
                   •      Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                          Shrubland
                   •      Northern and Central California Dry-Mesic Chaparral
               Sierra NF Representation:
               58% of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness. Most of the
               ecological group acreage in this unit is “recently burned forest acres”.
               90% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     577       General location: Adjacent to Kaiser Wilderness
               Size: 7,127 acres
               Category A: 1% of this Inventory unit is comprised of the following Category A ecological
               groups, which have less than five percent of their total area protected in the NWPS:
                   • Inter-Mountain Basins Big Sagebrush Steppe
                   • Inter-Mountain basins Big Sagebrush Shrubland
               Category C: 25% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •      Mediterranean California Mixed Oak Woodland
                   •      Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •      Rocky Mountain Aspen Forest and Woodland
                   •      Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                          Shrubland
                   •      Great Basin Pinyon-Juniper Woodland
               Sierra NF Representation:
               None of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               22% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     586       General location: Not adjacent to designated wilderness
               Size: 5,412 acres
               Category A: 1% of this Inventory unit is comprised of the following Category A ecological
               groups, which have less than five percent of their total area protected in the NWPS:
                   • Inter-Mountain Basins Big Sagebrush Steppe
                   • Inter-Mountain basins Big Sagebrush Shrubland


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               Category C: 63% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •      California Lower Montane Blue Oak-Foothill Pine Woodland and Savanna
                   •      Mediterranean California Mixed Oak Woodland
                   •      Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •      Rocky Mountain Aspen Forest and Woodland
                   •      Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                          Shrubland
                   •      Northern and Central California Dry-Mesic Chaparral
               Sierra NF Representation:
               25% of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               85% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     646       General location: Not adjacent to designated wilderness
               Size: 18,013 acres
               Category A: 4% of this inventory unit is comprised of the following Category A ecological
               groups, which have less than five percent of their total area protected in the NWPS:
                   • Inter-Mountain Basins Big Sagebrush Steppe
                   • Inter-Mountain basins Big Sagebrush Shrubland
               Category C: 47%of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •      Mediterranean California Mixed Oak Woodland
                   •      Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •      Rocky Mountain Aspen Forest and Woodland
                   •      Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                          Shrubland
                   •      Great Basin Pinyon-Juniper Woodland
               Sierra NF Representation:
               None of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               41% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     688       General location: Not adjacent to designated wilderness
               Size: 6,515 acres
               Category A: 8% of this inventory unit is comprised of the following Category A ecological
               groups, which have less than five percent of their total area protected in the NWPS:
                   • Inter-Mountain Basins Big Sagebrush Steppe
                   • Inter-Mountain basins Big Sagebrush Shrubland



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               Category C: 71% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •      Mediterranean California Mixed Oak Woodland
                   •      Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •      Rocky Mountain Aspen Forest and Woodland
                   •      Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                          Shrubland
                   •      Great Basin Pinyon-Juniper Woodland
               Sierra NF Representation:
               None of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               56% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     772       General location: Not adjacent to designated wilderness
               Size: 47,747 acres
               Category A: 1% of this inventory unit is comprised of the following Category A ecological
               groups, which have less than five percent of their total area protected in the NWPS:
                   • Inter-Mountain Basins Big Sagebrush Steppe
                   • Inter-Mountain basins Big Sagebrush Shrubland
               Category C: 70% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •      California Central Valley Mixed Oak Savanna
                   •      California Lower Montane Blue Oak-FoothiH Pine Woodland and
                          Savanna
                   •      Mediterranean California Mixed Oak Woodland
                   •      Rocky Mountain Aspen Forest and Woodland
                   •      Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •      Great Basin Pinyon-Juniper Woodland
                   •      Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                          Shrubland
                   •      Northern and Central California Dry-Mesic Chaparral
               Sierra NF Representation:
               3 4%' of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               9 1% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     781       General location: Adjacent to John Muir Wilderness
               Size: 2,477 acres
               Category A: 21% percent of this inventory unit is comprised of the following Category A
               ecological groups, which has less than five percent of their total area protected in the


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               NWPS:
                 • Inter-Mountain basins Big Sagebrush Shrubland
               Category C: 32% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •   Mediterranean California Mixed Oak Woodland
                   •   Rocky Mountain Aspen Forest and Woodland
                   •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •   Great Basin Pinyon-Juniper Woodland
                   •   Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                       Shrubland
               Sierra NF Representation:
               None of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               9 % of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     785       General location: Adjacent to John Muir Wilderness
               Size: 1,254 acres
               Category A: 46% of this inventory unit is comprised of the following Category A
               ecological groups, which have less than five percent of their total area protected in the
               NWPS:
                   • Inter-Mountain Basins Big Sagebrush Shrubland
                   • Temperate Pacific Freshwater Muaflat
               Category C: 50% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •   Rocky Mountain Aspen Forest and Woodland
                   •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •   Great Basin Pinyon-Juniper Woodland
               Sierra NF Representation:
               27% of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               27% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     795       General location: Adjacent to John Muir Wilderness
               Size: 1,206 acres
               Category A: 9% of this inventory unit is comprised of the following Category A ecological
               groups, which has less than five percent of their total area protected in the NWPS:
                   • Inter-Mountain Basins Big Sagebrush Shrubland
               Category C: 17% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •   Rocky Mountain Aspen Forest and Woodland

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                   •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •   Great Basin Pinyon-Juniper Woodland
                   •   Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                       Shrubland
               Sierra NF Representation:
               None of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               1 % of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     797       General location: Adjacent to John Muir Wilderness
               Size: 1,299 acres
               Category A: None of this inventory unit is comprised of the following Category A
               ecological groups, which has less than five percent of their total area protected in the
               NWPS.
               Category C: 2% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •   Rocky Mountain Aspen Forest and Woodland
                   •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •   Great Basin Pinyon-Juniper Woodland
               Sierra NF Representation:
               None of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               1 % of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     815       General location: Adjacent to John Muir Wilderness
               Size: 3,888 acres
               Category A: 12% of this inventory unit is comprised of the following Category A
               ecological groups, which have less than five percent of their total area protected in the
               NWPS:
                   • Inter-Mountain Basins Big Sagebrush Shrubland
                   • Temperate Pacific Freshwater Muaflat
               Category C: 14% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •   Rocky Mountain Aspen Forest and Woodland
                   •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •   Great Basin Pinyon-Juniper Woodland
                   •   Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                       Shrubland
               Sierra NF Representation:



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               9% of this inventory unit is comprised of ecological groups that have less than five percent
               of their area on the Forest protected in designated wilderness.
               9% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     819       General location: Adjacent to John Muir Wilderness
               Size: 37,528 acres
               Category A: 6% of this inventory unit is comprised of the following Category A ecological
               groups, which have less than five percent of their total area protected in the NWPS:
                   • Inter-Mountain Basins Big Sagebrush Shrubland
                   • Inter-Mountain Basins Big Sagebrush Steppe
               Category C: 60% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •   California Central Valley Mixed Oak Savanna
                   •   California Lower Montane Blue Oak-FoothiH Pine Woodland and
                       Savanna
                   •   Mediterranean California Mixed Oak Woodland
                   •   Rocky Mountain Aspen Forest and Woodland
                   •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •   Great Basin Pinyon-Juniper Woodland
                   •   Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                       Shrubland
                   •   Northern and Central California Dry-Mesic Chaparral
               Sierra NF Representation:
               2 3% of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               6 3% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     820       General location: Adjacent to John Muir Wilderness
               Size: 1,741 acres
               Category A: 15% of this inventory unit is comprised of the following Category A
               ecological groups , which have less than five percent of their total area protected in the
               NWPS:
                   • Inter-Mountain Basins Big Sagebrush Shrubland
                   • Inter-Mountain Basins Big Sagebrush Steppe
               Category C: 56% of this inventory unit is comprised of the following ecological groups ,
               which have less than twenty percent of their total area protected in the NWPS:
                   •   Mediterranean California Mixed Oak Woodland
                   •   Rocky Mountain Aspen Forest and Woodland
                   •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •   Great Basin Pinyon-Juniper Woodland


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                          Sierra NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
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                   •   Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                       Shrubland
               Sierra NF Representation:
               23% of this inventory unit is comprised of ecological groups that have less than five
               percent of their area on the Forest protected in designated wilderness.
               33% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     821       General location: Adjacent to Yosemite National Park Wilderness
               Size: 13,370 acres
               Category A: Less than 1% of this inventory unit is comprised of the following Category A
               ecological groups, which have less than five percent of their total area protected in the
               NWPS:
                   • Inter-Mountain Basins Big Sagebrush Shrubland
               Category C: 16% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   •   Mediterranean California Mixed Oak Woodland
                   •   Rocky Mountain Aspen Forest and Woodland
                   •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   •   Great Basin Pinyon-Juniper Woodland
                   •   Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                       Shrubland
               Sierra NF Representation:
               Less than one percent of this inventory unit is comprised of ecological groups that have
               less than five percent of their area on the Forest protected in designated wilderness.
               1 4% of this inventory unit is comprised of ecological groups that have less than twenty
               percent of their area on the Forest protected in designated wilderness.
     822       General location: Adjacent to Ansel Adams Wilderness
               Size: 10,581 acres
               Category A: 3% of this inventory unit is comprised of the following Category A ecological
               groups, which has less than five percent of its total area protected in the NWPS:
                   • Inter-Mountain Basins Big Sagebrush Shrubland
               Category C: 16% of this inventory unit is comprised of the following ecological groups,
               which have less than twenty percent of their total area protected in the NWPS:
                   • Mediterranean California Mixed Oak Woodland
                   • Rocky Mountain Aspen Forest and Woodland
                   • Mediterranean California Mesic Mixed Conifer Forest and Woodland
                   • Great Basin Pinyon-Juniper Woodland
                   • Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                       Shrubland
               Sierra NF Representation:


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                          Sierra NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
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                None of this inventory unit is comprised of ecological groups that have less than five
                percent of their area on the Forest protected in designated wilderness.
                11% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1378       General location: Adjacent to John Muir Wilderness
                Note - This WIA may be located on both Sierra and Sequoia Nf|[UFS1]
                Size: 71,974 acres
                Category A: 1% of this inventory unit is comprised of the following Category A ecological
                groups, which has less than five percent of its total area protected in the NWPS:
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                    • Inter-Mountain Basins Big Sagebrush Steppe
                Category C: 31% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                    •   California Central Valley Mixed Oak Savanna
                    •   California Lower Montane Blue Oak-Foothill Pine Woodland and
                        Savanna
                    •   Mediterranean California Mixed Oak Woodland
                    •   Rocky Mountain Aspen Forest and Woodland
                    •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                    •   Great Basin Pinyon-Juniper Woodland
                    •   Inter-Mountain Basins Curl-leaf Mountain Mahogany Woodland and
                        Shrubland
                    •   Northern and Central California Dry-Mesic Chaparral
                Sierra NF Representation:
                1 6% of this inventory unit is comprised of ecological groups that have less than five
                percent of their area on the Forest protected in designated wilderness.
                3 3% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.




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                           Sequoia NF Wilderness Inventory Areas
                        Summary of The Wilderness Society’s data on
         Under-represented Ecosystems in the National Wilderness Preservation System

  Background
  The Wilderness Society (TWS) comments indicated the Wilderness Evaluation process should
  consider the suitability of Wilderness Inventory Areas with under-represented and rare
  ecosystems. The Wilderness Society utilized several sets of available information at the
  national scale to identify under-represented ecosystems in the National Wilderness
  Preservation System (NWPS).
  The National Vegetation Classification System Group 61 (ecological group) data was used to
  identify a set of forty-four "ecosystems" that are within the Sequoia NF boundary. For each
  ecological group on the forest, the Wilderness Society provided two calculations: the
  percentage of an ecological group's total area (nation-wide) that is within the NWPS; the
  percentage of an ecological group's area within the Sequoia NF that is within designated
  wilderness. The ecological groups were divided into four classes of representation, which are
  termed categories A through D below.
  Category A is ecological groups on the Sequoia NF that have less than five percent of their area
  protected within the NWPS:
  1. Inter-Mountain Basins Big Sagebrush Shrubland-three percent protected in NWPS
  2. Inter-Mountain Basins Big Sagebrush Steppe-two percent protected in NWPS
  Category B is ecological groups on the Sequoia NF that have between five and ten percent of
  their area protected within the NWPS:
  •   There are no ecological groups on the Sequoia NF in this category of representation.
  Category C is ecological groups on the Sequoia NF that have between ten and twenty percent
  of their area protected within the NWPS. The Wilderness Society indicated it considers
  ecological groups with less than twenty percent of its total area in the NWPS as inadequately
  represented2 in the NWPS.
  1. California Central Valley and Southern Coastal Grassland-12% protected in NWPS
  2. California Central Valley Mixed Oak Savanna-14% percent protected in NWPS
  3. California Lower Montane Blue Oak-Foothill Pine Woodland and Savanna-11% protected in
      NWPS
  4. Great Basin Pinyon-Juniper Woodlands -14% protected in NWPS
  5. Mediterranean California Mesic Mixed Conifer Forest and Woodland-12% protect in NWPS
  6. Mediterranean California Mixed Oak Woodland-10% protected in NWPS
  7. Northern and Central California Dry-Mesic Chaparral-11% protected in NWPS
  8. Rocky Mountain Aspen Forest and Woodland -12% of ecosystem protected in NWPS.
  Category D is ecological groups on the Sequoia NF that have more than twenty percent of their
  area protected within the NWPS, and are not discussed further.




  1 The National Vegetation Classification System website indicates the ecological context for Group 6 data:
  regional mesoclimate, geology, substrates, hydrology and disturbance regimes.
  2 The twenty percent representation threshold is based on Society for Conservation Biology and Convention
  on Biological Diversity targets (personal communication with Matt Dietz).

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                          Sequoia NF Wilderness Inventory Areas
                       Summary of The Wilderness Society’s data on
        Under-represented Ecosystems in the National Wilderness Preservation System

  Data Management and processing
  1. Eight of the forty-four ecological groups were not considered in this summary because their
     label indicated they are developed land.
  2. Area size information was converted from hectares to acres.
  3. Ecological groups in each category were ranked by size, largest to smallest.
  4. Ecological groups in each category with less than 1,000 total acres on all Sequoia NF non­
     wilderness lands were not included in this summary.
  5. For each category, the acres for the ecological groups in that category were summed for
     each wilderness inventory unit.
  6. The percentage of each wilderness inventory unit's total area comprised of "under­
     represented" ecological groups was calculated.

  The table below summarizes TWS "representation" data for each wilderness inventory area
  listed in the polygon column:
  General location: Indicates whether the unit is adjacent to designated wilderness.
  Size: The area in acres indicated is the "parent polygon".
  Category A: The summary first displays the percentage of the wilderness inventory unit
  comprised of Category A ecological groups, and the types of type of ecological groups in
  Category A within the inventory unit. Any ecological groups with more than 1,000 acres in an
  inventory unit is highlighted in bold font. Category C: Next, the summary displays the
  percentage of the wilderness inventory unit comprised of Category C ecological groups, and the
  types of ecological groups in Category C within the inventory unit. Any ecological groups with
  more than 1,000 acres in an inventory unit is highlighted in bold font. Note: The percent of the
  wilderness inventory unit comprised of Category C ecological groups includes the area of
  Category A ecological groups (the names of the Category A ecosystems, however, are not listed
  again under Category C).
  Sequoia NF representation: The forest representation section displays two percentages. The
  first is the percentage of the area of a wilderness inventory unit that is comprised of ecological
  groups that have less than five percent of their total area on the forest in designated
  wilderness. The ecological groups with less than five percent of their total acreage on the
  forest in designated wilderness include:
  • California Central Valley Mixed Oak Savanna
  • California Central Valley and Southern Coastal Grassland
  The second percentage is the percentage of the area of a wilderness inventory unit that is
  comprised of ecological groups that have less than twenty percent of their total acreage on the
  forest in designated wilderness. The ecological groups with less than twenty percent of their
  total acreage on the forest in designated wilderness include the same ecological groups as
  above, with the addition of:
  • California Lower Montane Blue Oak-Foothill Pine Woodland and Savanna
  • Mediterranean California Dry-Mesic Mixed Conifer Forest and Woodland


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                          Sequoia NF Wilderness Inventory Areas
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  •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
  •   Mediterranean California Mixed Oak Woodland
  •   Northern and Central California Dry-Mesic Chaparral

  Wilderness    Summary
  Inventory
  Unit
      18        General location: Not adjacent to designated wilderness
                Size: 6,337 acres
                Category A: 2% of this inventory unit is comprised of the following Category A
                ecological groups, which have less than five percent of their total area protected in the
                NWPS:
                    • Inter-Mountain Basins Big Sagebrush Steppe
                    •     Inter-Mountain Basins Big Sagebrush Steppe
                Category C: 38% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                    •     California Lower Montane Blue Oak-Foothill Pine Woodland and Savanna
                    •     Mediterranean California Mixed Oak Woodland
                    •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                    •     Great Basin Pinyon-Juniper Woodland
                    •     Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                None of this inventory unit is comprised of ecological groups that have less than five
                percent of their area on the Forest protected in designated wilderness.
                29% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
      36        General location: Not adjacent to wilderness
                Size: 2,089 acres
                Category A: 1% of this inventory unit is comprised of the following Category A
                ecological groups, which have less than five percent of their total area protected in the
                NWPS:
                    • Inter-Mountain Basins Big Sagebrush Steppe
                    •     Inter-Mountain Basins Big Sagebrush Steppe
                Category C: 34% of this Inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                    •     California Central Valley Mixed Oak Savanna
                    •     California Lower Montane Blue Oak-Foothill Pine Woodland and
                          Savanna
                    •     Great Basin Pinyon-Juniper Woodland


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                         Sequoia NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
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                    •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                    •     Mediterranean California Mixed Oak Woodland
                    •     Northern and Central California Dry-Mesic Chaparral
                Sequoia NF Representation:
                None of this inventory unit is comprised of ecological groups that have less than five
                percent of their area on the Forest protected in designated wilderness.
                36% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
      63        General location: Not adjacent to designated wilderness
                Size: 5,223 acres
                Category A: 1% of this Inventory unit is comprised of the following Category A ecological
                group, which has less than five percent of its total area protected in the NWPS:
                    • Inter-Mountain Basins Big Sagebrush Steppe
                Category C: 30% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                    •     California Central Valley Mixed Oak Savanna
                    •     California Lower Montane Blue Oak-Foothill Pine Woodland and
                          Savanna
                    •     Great Basin Pinyon-Juniper Woodland
                    •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                    •     Mediterranean California Mixed Oak Woodland
                    •     Northern and Central California Dry-Mesic Chaparral
                    •     Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                6 % of this inventory unit is comprised of ecological groups that have less than five
                percent of their area on the Forest protected in designated wilderness.

                3 2% percent of this inventory unit is comprised of ecological groups that have less than
                twenty percent of their area on the Forest protected in designated wilderness.
      66        General location: Not adjacent to designated wilderness
                Size: 8,289 acres
                Category A: Less than one percent of this inventory unit is comprised of the following
                Category A ecological group, which has less than five percent of its total area protected in
                the NWPS:
                    • Inter-Mountain Basins Big Sagebrush Steppe
                Category C: 88% percent of this inventory unit is comprised of the following ecosystems,
                which have less than twenty percent of their total area protected in the NWPS:
                    •     California Central Valley and Southern Coastal Grassland
                    •     California Central Valley Mixed Oak Savanna


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                         Sequoia NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
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                    •     California Lower Montane Blue Oak-Foothill Pine Woodland and
                          Savanna
                    •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                    •     Mediterranean California Mixed Oak Woodland
                    •     Northern and Central California Dry-Mesic Chaparral
                Sequoia NF Representation:
                28% of this inventory unit is comprised of ecological groups that have less than five
                percent of their area on the Forest protected in designated wilderness.
                37% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
      73        General location: Not adjacent to designated wilderness
                Size: 15,128 acres
                Category A: 1% of this Inventory unit is comprised of the following Category A ecological
                groups, which have less than five percent of their total area protected in the NWPS:
                    • Inter-Mountain Basins Big Sagebrush Steppe
                    • Inter-Mountain basins Big Sagebrush Shrubland
                Category C: 31% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                    •     California Central Valley and Southern Coastal Grassland
                    •     California Central Valley Mixed Oak Savanna
                    •     California Lower Montane Blue Oak-FoothiH Pine Woodland and
                          Savanna
                    •     Great Basin Pinyon-Juniper Woodland
                    •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                    •     Mediterranean California Mixed Oak Woodland
                    •     Northern and Central California Dry-Mesic Chaparral
                    •     Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                None of this inventory unit is comprised of ecological groups that have less than five
                percent of their area on the Forest protected in designated wilderness.
                3 2% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
      99        General location: Not adjacent to designated wilderness
                Size: 9,386 acres
                Category A: Less than one percent of this inventory unit is comprised of Category A
                ecological groups. which have less than five percent of their total area protected in the
                NWPS:
                    •     Inter-Mountain Basins Big Sagebrush Shrubland


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                    •     Inter-Mountain Basins Big Sagebrush Steppe
                Category C: 34% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                    •     Great Basin Pinyon-Juniper Woodland
                    •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                    •     Mediterranean California Mixed Oak Woodland
                    •     Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                None of this inventory unit is comprised of ecological groups that have less than five
                percent of their area on the Forest protected in designated wilderness.
                34% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     120        General location: Not adjacent to designated wilderness
                Size: 6,855 acres
                Category A: None of this Inventory unit is comprised of Category A ecological groups.
                Category C: 38% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                    •     California Central Valley and Southern Coastal Grassland
                    •     California Lower Montane Blue Oak-Foothill Pine Woodland and
                          Savanna
                    •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                    •     Mediterranean California Mixed Oak Woodland
                Sequoia NF Representation:
                None of this inventory unit is comprised of ecological groups that have less than five
                percent of their area on the Forest protected in designated wilderness.
                38% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     160        General location: Not adjacent to designated wilderness
                Size: 16,126 acres
                Category A: Less than one percent of this Inventory unit is comprised of the following
                Category A ecological group, which has less than five percent of its total area protected in
                the NWPS:
                    • Inter-Mountain basins Big Sagebrush Shrubland
                Category C: 17% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                    •     Great Basin Pinyon-Juniper Woodland
                    •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                    •     Mediterranean California Mixed Oak Woodland

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                    •     Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                None of this inventory unit is comprised of ecological groups that have less than five
                percent of their area on the Forest protected in designated wilderness.
                16% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     162        General location: Not adjacent to designated wilderness
                Size: 15,806 acres
                Category A: None of this Inventory unit is comprised of a Category A ecological group.
                Category C: 38% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                    •     California Central Valley and Southern Coastal Grassland
                    •     California Central Valley Mixed Oak Savanna
                    •     California Lower Montane Blue Oak-Foothill Pine Woodland and
                          Savanna
                    •     Great Basin Pinyon-Juniper Woodland
                    •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                    •     Mediterranean California Mixed Oak Woodland
                    •     Northern and Central California Dry-Mesic Chaparral
                Sequoia NF Representation:
                3 % of this inventory unit is comprised of ecological groups that have less than five
                percent of their area on the Forest protected in designated wilderness.
                3 8% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     173        General location: Not adjacent to designated wilderness
                Size: 5,307 acres
                Category A: None of this Inventory unit is comprised of a Category A ecological group.
                Category C: 39% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                    •     California Central Valley and Southern Coastal Grassland
                    •     California Central Valley Mixed Oak Savanna
                    •     California Lower Montane Blue Oak-Foothill Pine Woodland and
                          Savanna
                    •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                    •     Mediterranean California Mixed Oak Woodland
                    •     Northern and Central California Dry-Mesic Chaparral



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                 Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                 39% of this inventory unit is comprised of ecological groups that have less than twenty
                 percent of their area on the Forest protected in designated wilderness.
     190         General location: Not adjacent to designated wilderness
                 Size: 7,100 acres
                 Category A: Less than one percent of this Inventory unit is comprised of the following
                 Category A ecological groups, which have less than five percent of their total area
                 protected in the NWPS:
                     • Inter-Mountain basins Big Sagebrush Shrubland
                     •     Inter-Mountain Basins Big Sagebrush Steppe
                 Category C: 36% of this inventory unit is comprised of the following ecological groups,
                 which have less than twenty percent of their total area protected in the NWPS:
                     •     California Central Valley and Southern Coastal Grassland
                     •     California Lower Montane Blue Oak-Foothill Pine Woodland and
                           Savanna
                     •     Great Basin Pinyon-Juniper Woodland
                     •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •     Mediterranean California Mixed Oak Woodland
                     •     Northern and Central California Dry-Mesic Chaparral
                     •     Rocky Mountain Aspen Forest and Woodland
                 Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                 3 6% of this inventory unit is comprised of ecological groups that have less than twenty
                 percent of their area on the Forest protected in designated wilderness.
     1364        General location: Not adjacent to designated wilderness
                 Size: 9,203 acres
                 Category A: Less than one percent of this Inventory unit is comprised of the following
                 Category A ecological group, which has less than five percent of its total area protected in
                 the NWPS:
                     • Inter-Mountain basins Big Sagebrush Steppe
                 Category C: 39% of this inventory unit is comprised of the following ecological groups,
                 which have less than twenty percent of their total area protected in the NWPS:
                     •     California Central Valley and Southern Coastal Grassland
                     •     California Central Valley Mixed Oak Savanna
                     •     California Lower Montane Blue Oak-Foothill Pine Woodland and


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                           Savanna
                     •     Great Basin Pinyon-Juniper Woodland
                     •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •     Mediterranean California Mixed Oak Woodland
                     •     Northern and Central California Dry-Mesic Chaparral
                     •     Rocky Mountain Aspen Forest and Woodland
                 Sequoia NF Representation:
                 7 % of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                 3 8% of this inventory unit is comprised of ecological groups that have less than twenty
                 percent of their area on the Forest protected in designated wilderness.
     1377        General location: Adjacent to Monarch Wilderness
                 Size: 11,559 acres
                 Category A: 1% of this Inventory unit is comprised of the following Category A ecological
                 groups, which have less than five percent of their total area protected in the NWPS:
                     • Inter-Mountain basins Big Sagebrush Steppe
                     • Inter-Mountain Basins Big Sagebrush Shrubland
                 Category C: 24% of this inventory unit is comprised of the following ecological groups,
                 which have less than twenty percent of their total area protected in the NWPS:
                     •     Great Basin Pinyon-Juniper Woodland
                     •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •     Mediterranean California Mixed Oak Woodland
                     •     Rocky Mountain Aspen Forest and Woodland
                 Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                 23%of this inventory unit is comprised of ecological groups that have less than twenty
                 percent of their area on the Forest protected in designated wilderness.
     1380        General location: Adjacent to Jennie Lakes Wilderness
                 Size: 1,316 acres
                 Category A: 3% of this Inventory unit is comprised of the following Category A ecological
                 group, which has less than five percent of its total area protected in the NWPS:
                     • Inter-Mountain Basins Big Sagebrush Shrubland
                 Category C: 21% of this inventory unit is comprised of the following ecological groups,
                 which have less than twenty percent of their total area protected in the NWPS:
                     •     Great Basin Pinyon-Juniper Woodland
                     •     Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •     Rocky Mountain Aspen Forest and Woodland


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                         Sequoia NF Wilderness Inventory Areas
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                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                17% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1381       General location: Not adjacent to designated wilderness
                Size: 1,317 acres
                Category A: 1% of this Inventory unit is comprised of the following Category A ecological
                groups, which have less than five percent of their total area protected in the NWPS:
                    • Inter-Mountain basins Big Sagebrush Steppe
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 19% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                1 7% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1384       General location: Not adjacent to designated wilderness
                Size: 39,629 acres
                Category A: 7% of this Inventory unit is comprised of the following Category A ecological
                groups, which have less than five percent of their total area protected in the NWPS:
                    • Inter-Mountain basins Big Sagebrush Steppe
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 27% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   California Central Valley Mixed Oak Savanna
                     •   California Lower Montane Blue Oak-FoothiH Pine Woodland and
                         Savanna
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Northern and Central California Dry-Mesic Chaparral
                     •   Rocky Mountain Aspen Forest and Woodland


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                                                                            Rvsd Plan - 00001883
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                         Sequoia NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
       Under-represented Ecosystems in the National Wilderness Preservation System


                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                12% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1385       General location: Adjacent to Jennie Lakes Wilderness and Sequoia and Kings Canyon NP
                Size: 8,216 acres
                Category A: 1% of this Inventory unit is comprised of the following Category A ecological
                group, which has less than five percent of its total area protected in the NWPS:
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 1% inventory unit is comprised of the following ecological groups, which have
                less than twenty percent of their total area protected in the NWPS:
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                None of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1387       General location: Adjacent to Golden Trout Wilderness
                Size: 89,629 acres
                Category A: 2% of this Inventory unit is comprised of the following Category A ecological
                groups, which have less than five percent of their total area protected in the NWPS:
                    • Inter-Mountain basins Big Sagebrush Steppe
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 26% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   California Lower Montane Blue Oak-FoothiH Pine Woodland and
                         Savanna
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Northern and Central California Dry-Mesic Chaparral
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.


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                                                                            Rvsd Plan - 00001884
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                         Sequoia NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
       Under-represented Ecosystems in the National Wilderness Preservation System


                21% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1390       General location: Adjacent to Golden Trout Wilderness
                Size: 1,100 acres
                Category A: 4% of this Inventory unit is comprised of the following Category A ecological
                group, which has less than five percent of its total area protected in the NWPS:
                    • Inter-Mountain basins Big Sagebrush Steppe
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 13% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   California Lower Montane Blue Oak-Foothill Pine Woodland and
                         Savanna
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.

                One percent of this inventory unit is comprised of ecological groups that have less than
                twenty percent of their area on the Forest protected in designated wilderness.
     1394       General location: Adjacent to Domeland Wilderness
                Size: 51,801 acres
                Category A: 12% of this Inventory unit is comprised of the following Category A
                ecological groups, which have less than five percent of their total area protected in the
                NWPS:
                    • Inter-Mountain basins Big Sagebrush Steppe
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 21% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   California Central Valley Mixed Oak Savanna
                     •   California Lower Montane Blue Oak-Foothill Pine Woodland and
                         Savanna
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Northern and Central California Dry-Mesic Chaparral
                     •   Rocky Mountain Aspen Forest and Woodland


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                         Sequoia NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
       Under-represented Ecosystems in the National Wilderness Preservation System


                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                3% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1395       General location: Adjacent to Golden Trout Wilderness
                Size: 2,285 acres
                Category A: Less than one percent of this Inventory unit is comprised of the following
                Category A ecological group, which has less than five percent of its total area protected in
                the NWPS:
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 4% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Rocky Mountain Aspen Forest and Woodland

                Sequoia NF Representation: 2% of this inventory unit is comprised of ecological groups
                that have less than twenty percent of their area on the Forest protected in designated
                wilderness. None of this inventory unit is comprised of ecological groups that have less
                than five percent of their area on the Forest protected in designated wilderness.
     1397       General location: Not adjacent to designated wilderness
                Size: 3,104 acres
                Category A: Less than one percent of this Inventory unit is comprised of the following
                Category A ecological group, which has less than five percent of its total area protected in
                the NWPS:
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 14% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                 1 4% of this inventory unit is comprised of ecological groups that have less than twenty
                 percent of their area on the Forest protected in designated wilderness.




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                         Sequoia NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
       Under-represented Ecosystems in the National Wilderness Preservation System


     1404       General location: Not adjacent to designated wilderness
                Size: 6,068 acres
                Category A: None of this Inventory unit is comprised of a Category A ecological group.
                Category C: 38% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   California Central Valley and Southern Coastal Grassland
                     •   California Lower Montane Blue Oak-Foothill Pine Woodland and
                         Savanna
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Northern and Central California Dry-Mesic Chaparral
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                38% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1408       General location: Not adjacent to designated wilderness
                Size: 48,730 acres
                Category A: 3% of this Inventory unit is comprised of the following Category A ecological
                groups, which have less than five percent of their total area protected in the NWPS:
                    • Inter-Mountain basins Big Sagebrush Steppe
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 35% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   California Central Valley Mixed Oak Savanna
                     •   California Lower Montane Blue Oak-Foothill Pine Woodland and
                         Savanna
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Northern and Central California Dry-Mesic Chaparral
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 Less than one percent of this inventory unit is comprised of ecological groups that have
                 less than five percent of their area on the Forest protected in designated wilderness.
                 2 9% of this inventory unit is comprised of ecological groups that have less than twenty
                 percent of their area on the Forest protected in designated wilderness.

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                         Sequoia NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
       Under-represented Ecosystems in the National Wilderness Preservation System


     1410       General location: Not adjacent to designated wilderness
                Size: 8,494 acres
                Category A: 2% of this Inventory unit is comprised of the following Category A ecological
                groups, which have less than five percent of their total area protected in the NWPS:
                    • Inter-Mountain basins Big Sagebrush Steppe
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 15% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   California Lower Montane Blue Oak-Foothill Pine Woodland and
                         Savanna
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                7% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1420       General location: Not adjacent to designated wilderness
                Size: 6,398 acres
                Category A: Less than one percent of this Inventory unit is comprised of the following
                Category A ecological groups, which have less than five percent of their total area
                protected in the NWPS:
                    • Inter-Mountain basins Big Sagebrush Steppe
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 37% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   California Central Valley and Southern Coastal Grassland
                     •   California Lower Montane Blue Oak-Foothill Pine Woodland and
                         Savanna
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Northern and Central California Dry-Mesic Chaparral
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five


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                         Sequoia NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
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                 percent of their area on the Forest protected in designated wilderness.
                37% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1422       General location: Not adjacent to designated wilderness
                Size: 8,008 acres
                Category A: 5% of this Inventory unit is comprised of the following Category A ecological
                groups, which have less than five percent of their total area protected in the NWPS:
                    • Inter-Mountain basins Big Sagebrush Steppe
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 37% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   California Central Valley Mixed Oak Savanna
                     •   California Lower Montane Blue Oak-Foothill Pine Woodland and
                         Savanna
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Northern and Central California Dry-Mesic Chaparral
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 Less than one percent of this inventory unit is comprised of ecological groups that have
                 less than five percent of their area on the Forest protected in designated wilderness.
                2 5% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1425       General location: Not adjacent to designated wilderness
                Size: 14,675 acres
                Category A: 1% of this Inventory unit is comprised of the following Category A ecological
                group, which has less than five percent of its total area protected in the NWPS:
                    • Inter-Mountain Basins Big Sagebrush Steppe
                Category C: 32% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   California Central Valley and Southern Coastal Grassland
                     •   California Central Valley Mixed Oak Savanna
                     •   California Lower Montane Blue Oak-FoothiH Pine Woodland and
                         Savanna
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland


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                         Sequoia NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
       Under-represented Ecosystems in the National Wilderness Preservation System


                     •   Northern and Central California Dry-Mesic Chaparral
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                6 % of this inventory unit is comprised of ecological groups that have less than five
                percent of their area on the Forest protected in designated wilderness.
                3 0% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1426       General location: Adjacent to Bright Star (BLM) Wilderness
                Size: 49,918 acres
                Category A: 7% of this Inventory unit is comprised of the following Category A ecological
                groups, which have less than five percent of their total area protected in the NWPS:
                    • Inter-Mountain basins Big Sagebrush Steppe
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 33% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   California Central Valley Mixed Oak Savanna
                     •   California Lower Montane Blue Oak-FoothiH Pine Woodland and
                         Savanna
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Northern and Central California Dry-Mesic Chaparral
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                1 7% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1427       General location: Not adjacent to designated wilderness
                Size: 6,747 acres
                Category A: 5% of this Inventory unit is comprised of the following Category A ecological
                groups, which have less than five percent of their total area protected in the NWPS:
                    • Inter-Mountain basins Big Sagebrush Steppe
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 25% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   California Lower Montane Blue Oak-Foothill Pine Woodland and
                         Savanna


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                         Sequoia NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
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                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Northern and Central California Dry-Mesic Chaparral
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                1 7% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1429       General location: Not adjacent to designated wilderness
                Size: 2,729 acres
                Category A: Less than one percent of this Inventory unit is comprised of the following
                Category A ecological groups, which have less than five percent of their total area
                protected in the NWPS:
                    • Inter-Mountain basins Big Sagebrush Steppe
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 34% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                35% of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1431       General location: Adjacent to Domeland Wilderness
                Size: 7,234 acres
                Category A: 7% of this Inventory unit is comprised of the following Category A ecological
                group, which has less than five percent of its total area protected in the NWPS:
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 14% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland


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                         Sequoia NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
       Under-represented Ecosystems in the National Wilderness Preservation System


                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                None of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1432       General location: Adjacent to Golden Trout Wilderness
                Size: 1,133 acres
                Category A: Less than one percent of this Inventory unit is comprised of the following
                Category A ecological group, which has less than five percent of its total area protected in
                the NWPS:
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 3% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five
                 percent of their area on the Forest protected in designated wilderness.
                None of this inventory unit is comprised of ecological groups that have less than twenty
                percent of their area on the Forest protected in designated wilderness.
     1434       General location: Adjacent to Monarch Wilderness
                Size: 3,726 acres
                Category A: 1% of this Inventory unit is comprised of the following Category A ecological
                groups, which have less than five percent of their total area protected in the NWPS:
                    • Inter-Mountain basins Big Sagebrush Steppe
                    • Inter-Mountain Basins Big Sagebrush Shrubland
                Category C: 30% of this inventory unit is comprised of the following ecological groups,
                which have less than twenty percent of their total area protected in the NWPS:
                     •   California Lower Montane Blue Oak-Foothill Pine Woodland and
                         Savanna
                     •   Great Basin Pinyon-Juniper Woodland
                     •   Mediterranean California Mesic Mixed Conifer Forest and Woodland
                     •   Mediterranean California Mixed Oak Woodland
                     •   Northern and Central California Dry-Mesic Chaparral
                     •   Rocky Mountain Aspen Forest and Woodland
                Sequoia NF Representation:
                 None of this inventory unit is comprised of ecological groups that have less than five


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                         Sequoia NF Wilderness Inventory Areas
                      Summary of The Wilderness Society’s data on
       Under-represented Ecosystems in the National Wilderness Preservation System

              percent of their area on the Forest protected in designated wilderness.
             33% of this inventory unit is comprised of ecological groups that have less than twenty
             percent of their area on the Forest protected in designated wilderness.
     1391    General location: Adjacent to South Sierra Wilderness.
             Note - Portions of 1391 are located on both the Inyo and Sequoia NF - TWS data
             indicated this unit as #1458
             Size: 17,253 acres
             Category A: 7% of this inventory unit is comprised of the following Category A ecological
             groups, which has less than five percent of its total area protected in the NWPS:
                 • Inter-Mountain Basins Big Sagebrush Shrubland
                 • Inter-Mountain Basins Big Sagebrush Steppe
             Category C: 14% of this inventory unit is comprised of the following ecological groups,
             which have less than twenty percent of their total area protected in the NWPS:
                  •   Great Basin Pinyon-Juniper Woodland
                  •   Mediterranean California Mesic Mixed Conifer Forest Mediterranean
                      California Mixed Oak Woodland
                  •   Northern and Central California Dry-Mesic Chaparral
                  •   Rocky Mountain Aspen Forest and Woodland
             Sequoia NF Representation: None of this inventory unit is comprised of ecological groups
             that have less than five percent of their area on the Forest protected in designated
             wilderness.
             Less than 1% of this inventory unit is comprised of ecological groups that have less than
             twenty percent of their area on the Forest protected in designated wilderness.




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Opportunities for Wildlife Corridors in the Upper Rio Grande Watershed




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         Durango




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                                                                                                           Norte
                                                                                                          National




                                                                                       Carson NF




             IV.   -fi




                                                                Sante Fe


                                                                        Valles
                                                                       Caldera
                                                                         NP


                                                                                                Santa
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 Units undergoing land                 Area of Critical                      Wildlife Linkage Priority
 management planning                   Environmental Concern
                                                                             (Southern Rockies Ecosystem Project)
 National Forest                       BLM Lands with
                                       Wilderness Characteristics
 BLM Land
                                                                                   Very High
                                       Conservation Easements
 Bureau of Indian Affairs Land




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 National Wildlife Refuges
                                       Colorado Roadless Areas, Upper Tier
                                 1^^ Colorado Roadless Areas
 Designated Wilderness
                                       Big Game Migration Corridors (CPW)
 Wilderness Study Areas
                                       Big Game Migration Corridors,
 State Parks & Wildlife Areas    EZEil Wildlife Corridors Initiative (WGA)
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 Opportunities for Wildlife Corridors in the Upper Rio Grande Watershed




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                     IV.   -e




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         Units undergoing land                    Area of Critical
         management planning                      Environmental Concern

         National Forest                          BLM Lands with
                                                  Wilderness Characteristics
         BLM Land
                                                  Conservation Easements
         Bureau of Indian Affairs Land

         National Wildlife Refuges
                                                  Colorado Roadless Areas, Upper Tier
                                             1^^ Colorado Roadless Areas                                                               Miles
         Designated Wilderness
                                             [23 Big Game Migration Corridors (CPW)
         Wilderness Study Areas
                                                  Big Game Migration Corridors,
1^^ State Parks & Wildlife Areas
                                                  Wildlife Corridors Initiative (WGA)
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Opportunities for Wildlife Corridors in the Upper Rio Grande Watershed




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     Units undergoing land                Area of Critical
     management planning                  Environmental Concern

     National Forest                      BLM Lands with
                                          Wilderness Characteristics
     BLM Land
                                          National IRAs
     Bureau of Indian Affairs Land
                                          Colorado Roadless Areas, Upper Tier
     National Wildlife Refuges
                                          Colorado Roadless Areas

                                        != Big Game Migration Patterns (CPW)
     Designated Wilderness
                                          Big Game Migration Corridors (CPW)
     Wilderness Study Areas
                                          Taos FO Big Game Corridors (BLM)
     State Parks & Wildlife Areas
     Conservation Easements
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    Opportunities for Wildlife Corridors in the Upper Rio Grande Watershed




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      BLM Land
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1^^ Bureau of Indian Affairs Land
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                                          Colorado Roadless Areas, Upper Tier
      Designated Wilderness
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Colorado Parks and Wildlife
                                                              Gunnison
      Elk Migration
Rio Grande National Forest                                                                                                                                                 115
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Legend
    Moose Migration Patterns CPW 2014          Wilderness
    Rio Grande National Forest                 Roadless
    State                               Land Ownership
    County                              H BLM
    Federal Highway                            USFS
                                                                                                                                              142
    State Highway                              NPS
    RGNF/SLVFO Roads                           State                                                                                                Data Sources: BLM, esri, CPW, USFS
    RGNF Motorized Trails                      Other Public                                                                                         Map Prepared by: Alison Gallensky
                                                                                                                                                    Rock Mountain Wild 15-104 8/26/2015 v1
    Rio Grande River                           Private/Tribe
    Other River


0   5    10         20       30           40           50 Miles                                                                                       ROCKY MOUNTAIN WILD
                                                                                                                                                                   Rvsd Plan - 00001901
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                                                                             THE CENTER FOR

                                                                             LARGE LANDSCAPE
                                                                             CONSERVATION


  Dan Dallas, Supervisor
  Erin Minks, Forest Planner
  Rio Grande National Forest
  1803 W. Highway 160
  Monte Vista, CO 81144

  February 9, 2016

  Dear Supervisor Dallas and Ms. Minks,

  Thank you for the opportunity to comment on the draft assessment report chapters. In this letter we
  are submitting to you our comments on Chapter 15- Designations, although we provide information on
  wildlife movement that is also germane to chapters covering ecological integrity, landscape processes,
  and species. We divided our comments into two general sections: Specific Comments and Technical
  Recommendations.

  Let us begin by complementing you and your staff on one of the most comprehensive analyses of the
  “potential need and opportunity for additional designated areas” that we have seen to date. This is a
  required element in the assessment report, and we are heartened that you gave it the thought and
  attention it deserves.

      I.        Specific Comments, Designations Chapter 15

      A. Information Sources and Gaps. Page 2. The draft report identifies information gaps related to
         1) how designated areas contribute to economic sustainability in the broader landscape affected
         by the Rio Grande National Forest, and 2) identifying the need for additional designated areas
         on the national forest. To help fill the gaps, we offer the following information sources
         (attached), and ask that they be considered and incorporated into the assessment report. We
         reference these specific studies among others in our specific comments below.

           1.   Joanna Lemly, 2012. “Assessment of Wetland Condition on the Rio Grande National Forest."
                Colorado Natural Heritage Program, Colorado State University. 97 pages. (Attached) This
                wetlands study was conducted by the Colorado Natural Heritage Program in coordination
                with the Forest Service, EPA, and Colorado Division of Parks and Wildlife. The researchers
                surveyed 137 wetlands, 77 of which were located within the Rio Grande National Forest,
                finding that:




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                 •   The condition of the national forest’s wetlands was very good with little deviance
                     from natural conditions.
                 •   The wetland acreage makes up 2% of the Rio Grande National Forest acres. It is 42,
                     862 acres (with 4,687 being rivers and lakes).
                 •   65% of the wetland acres are in the subalpine, and 29% are in the alpine.
                 •   They found 500 plant taxa in the wetlands. Ninety-four of the species are native
                     while noxious weeds were present in only 4% of plots.
                 •   They surveyed 17 fens which are considered to be the “old growth” of wetlands.

             The study is relevant to this chapter because it highlights that there is a unique and rare
             resource - alpine and subalpine wetlands - on the national forest that is currently in very
             good condition and merits consideration as a designated area.

        2.   BBC Research and Consulting, 2012. “Economic Impacts of National Monument
             Designation, Rio Grande del Norte, New Mexico." August 22, 2102. 27 Pages. This economic
             study estimates the projected economic contribution of a Rio Grande del Norte National
             Monument designation in northern New Mexico. It projects that the establishment of a
             national monument would increase regional economic activity by $15 million and would add
             279 jobs to the region. This report is relevant to the Rio Grande National Forest because it
             analyzes the economic impact of a proposed conservation designation in the Upper Rio
             Grande landscape, and projects that the designation of conservation lands enhances the
             economic sustainability of the region. The proposed (now designated) National Monument
             is located just to the southeast of the Rio Grande National Forest in the southern part of the
             San Luis Valley.

        3.   Eco-Resolutions, Inc., 2009. “Ecologically-Based Travel Management Recommendations for
             the Rio Grande National Forest, Colorado, Parts I and II." Executive Summary and Full
             Report. This report identifies 37 high priority ecological areas on the forest that merit
             heightened protections. These areas are where multiple important ecological values
             coincide, and do not represent other places that may have one very important ecological
             value. This paper is relevant to this assessment report chapter because it identifies 37
             important ecological zones that should be considered for possible future designation.

        4.   Belote, T., Dietz M., and Aplet G., 2015. “Allocating Untreated “Controls" in the National
             Wilderness Preservation System as a Climate Adaptation Strategy: A Case Study from the
             Flathead National Forest, Montana." in Northwest Science, Vol. 89, No. 3. This study
             evaluates the value of wilderness areas to climate change adaptation, and finds that 1)
             adding more wilderness areas, especially in under-represented ecosystems, is one of the
             most important climate change adaptation strategies, 2) designating potential wilderness
             areas (identified pursuant to FSH 1909.12, chapter 70, section 71) as wilderness can
             significantly increase the forest-level and national-level representation of ecosystems in a
             high protected status, thereby making wilderness more effective as protected areas as the
             climate changes, and serving as a necessary comparative control for alternative climate
             adaptation treatments, and 3) reserving lands as untrammeled wilderness may be an
             important climate adaptation strategy to maintain connectivity for sensitive species. This
             study is relevant because it demonstrates that designating additional wilderness quality
             areas as recommended wilderness or some other type of highly protective designation



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             facilitates climate change adaptation and species connectivity, and serves as a control for
             lands with more ground disturbing uses.

        5.   Dietz, M., Belote, T., Aplet, G., Aycrigg, J, 2015. “The world’s largest wilderness protection
             network after 50 years: An assessment of ecological system representation in the U.S.
             National Wilderness Preservation System.” in Conservation Biology, 184, pages 431-438.
             Knowing that protected areas, such as wilderness, form the foundation of most strategies to
             conserve biological diversity, the authors examined how well the world’s largest highly-
             protected conservation network—the U.S. National Wilderness Preservation System—
             currently represents ecological systems found on federal lands in the contiguous United
             States and how ecological system representation has accumulated over the 50-year tenure
             of the Wilderness Act. The authors concluded that 1) the National Wilderness Preservation
             System currently under-represents ecological system diversity; although the total area of
             NWPS has risen fairly steadily since 1964, the diversity of ecological systems accumulated in
             wilderness areas (436 ecological systems) reached an asymptote 30 years ago that is well
             below the total pool of ecological systems available (553) on federal lands, 3) only 113
             ecological systems are represented at more than 20% of federal land area, and 4) as the
             designation of new wilderness areas becomes more difficult, it is important to increase the
             ecological representation of those areas to achieve greater protection of biological diversity.
             This study is relevant because it demonstrates the ecological value to biodiversity and
             climate change adaptation of designating additional lands (especially those in under­
             represented ecosystems) as recommended wilderness or some other designation type with
             strong protections.

     B. Types, Purposes and Locations of Designated Areas on the Rio Grande National Forest

        •    Page 3. In general, please provide maps showing the designated areas, both at unit scale
             and forest scale, so we can understand the spatial extent of the unit in relationship to other
             designated areas and resources.

        •    National Recreation Trails, Page 5. The assessment report provides almost no information
             on the two National Recreation Trails within the forest. Please provide necessary detail
             including length, location (with a map), important resources along the trail such as high
             quality viewsheds, the management requirements for the trails, management challenges
             and opportunities, types of experiences and settings the trail affords (e.g, solitude,
             challenge, opportunities to observe and photograph nature), types of uses and their levels,
             and opportunities for interpretation and education associated with the trails.

        •    Wild and Scenic Rivers, Pages 6-7. It would be helpful to include a chart that lists the
             outstanding resource values identified for each of the rivers found eligible in the 1996
             planning process.

        •    Research Natural Areas, page 10. This section needs to provide more information about
             the adequacy of the RNA network, and whether gaps exist that preclude the Forest Service
             from meeting the objectives for RNAs articulated in FSM 4063. Forest Service policy
             requires each forest to establish and periodically amend, primarily through additions, RNAs
             that achieve the eight objectives listed in FSM 4063. Two of these objectives are “maintain a
             wide spectrum of high quality representative areas that represent the major forms of

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                variability found in forest, shrubland, grassland, alpine, and natural situations that have
                scientific interest and importance that, in combination, form a national network of
                ecological areas for research, education, and maintenance of biological diversity” and
                "[p]reserve and maintain genetic diversity, including threatened, endangered, and sensitive
                species."1 To the degree possible, the Rio Grande National Forest should explain if and how
                it is meeting the objectives, and if additions to the RNA system could help do so.

      C.   Special Interest Areas, page 15. While the text states that commercial livestock grazing is
           allowed in a Research Natural Area, it does not explain why. Please provide an explanation.

      D. Potential Need and Opportunity for Additional Designated Areas

  The planning rule requires forests to identify and evaluate existing information in the assessment report
  relevant to the “potential need and opportunity for additional designated areas" and document how
  best available science was used to inform that assessment. Section 14(4) of the directives provides
  eight useful questions to guide the assessment of potential need and opportunity for additional
  designated areas. We are heartened that you asked and answered the questions in your assessment
  report, and in doing so, provided a thoughtful assessment of the potential for additional designated
  areas.

  As the report explains, designated areas include those designated statutorily (e.g., Wilderness Area),
  executively (e.g., National Monument), administratively through a separate process to the land
  management planning process (e.g., Scenic Byways), and administratively within the land management
  planning process. Unlike the 1982 rule, the 2012 rule explicitly defines the term designated area and
  requires the responsible official to determine whether to recommend designated areas in addition to
  wilderness and wild and scenic rivers.2

  By providing explicit authority to designate areas, the 2012 planning rule provides forests an important
  and useful tool for achieving the ecological mandates of the 2012 rule. These include protecting and
  maintaining ecosystem integrity, enhancing connectivity, and connecting people to nature. In particular,
  by designating areas, forests can simultaneously protect, highlight, and interpret places that are
  particularly important for species or ecosystem integrity and better meet the planning rule’s substantive
  provisions. For example, establishing a zoological area that protects important habitat for a Species of
  Conservation Concern not only advances the protection of the species but also heightens people’s
  awareness of the species and its plight, and forges more pride and connection between the public and
  the forest. We think that this concept is important and ask that you articulate it into this section.

  Page 16. In the first paragraph of this section, the report states: “The evaluation of potential wilderness
  includes a detailed assessment of the capability, availability, and need for additional wilderness. The
  need for an area to be designated as wilderness is determined through an analysis of the degree to
  which it contributes to the overall National Wilderness Preservation System." While this was true for
  the 2007 version of the Forest Service handbook 1909.12, chapter 70, it is not true for the 2015 revision.
  The 2015 revision updated the wilderness evaluation process so that it exists of four steps: Inventory,
  Evaluation, Analysis, and Decision. The revision eliminated the assessment of the need for additional
  wilderness areas. Please update this section accordingly.


  1 FSM 4063.02.
  2 36 C.F.R.§219.7(c)(2)(vii)

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  The third paragraph discusses RNAs, and concludes that the Rio Grande National Forest “may need an
  update to the 1994 potential research natural area candidate inventory to determine if, based on
  changed conditions or new information, [the Rio Grande National Forest] should consider additional
  areas as potential candidate research natural areas.” While it makes sense to look at changed
  conditions and new information to assess possible additions to the RNA network, the Rio Grande
  National Forest should also look at whether and how well the current network is achieving the
  articulated RNA objectives in FSM 4063.02. Please see our comments above on this topic.

      E.   Published Documents or Proposals that Identify an Important Need or Potential for a
           Designated Area, page 17. Please reference and incorporate the information in the two reports
           provided in the beginning of the letter. These are:

           •   Joanna Lemly, 2012. “Assessment of Wetland Condition on the Rio Grande National Forest."
               Colorado Natural Heritage Program, Colorado State University. 97 pages.
           •   Eco-Resolutions, Inc., 2009. “Ecologically-Based Travel Management Recommendations for
               the Rio Grande National Forest, Colorado, Parts I and II." Executive Summary and Full
               Report.

  Both reports identify an important need or potential for additional designated areas as described above
  in this letter. The first report identifies the location of high quality wetlands in the Rio Grande National
  Forest that could be potentially designated as wetland complexes. The second identifies specific
  ecological zones on the forest where multiple ecological values coincide.

  In addition, the Colorado Natural Heritage Program publishes a list of Potential Conservation Areas. The
  updated reports from the CNHP available at
  http://www.cnhp.colostate.edu/download/gis/pca reports.asp should be included in this section.

      F.   Specific land types or ecosystems present in the plan area that are not currently represented
           or minimally represented, page 17.

  We commend you for considering what ecosystems and land types are not well represented in
  protected areas. This is an important question to ask since representation is considered to be a
  fundamental element of biodiversity and sustainability. We are aggrieved, however, that the Rio
  Grande National Forest invoked data in the wilderness evaluation report associated with the 1996 land
  and resources management plan to answer the question. This information is considerably out of date.
  Moreover, The San Luis Valley Ecosystem Council et al. submitted a much more current analysis of
  ecosystem representation within protected areas on the Rio Grande National Forest in April 2015.3 Our
  analysis, which was supported by a peer-reviewed methodology4, showed that a significant number of
  inventoried roadless areas on the Rio Grande National Forest contain high proportions of inadequately




    Letter To Supervisor Dan Dallas from San Luis Valley Ecosystem Council, The Wilderness Society, Defenders of
  Wildlife, Quiet Use Coalition, Rocky Mountain Wild, and Rocky Smith dated April 13, 2015, pages 10-11 and
  Appendix 1.
  4 See Dietz, M., Belote, T., Aplet, G., Aycrigg, J, 2015. “The world’s largest wilderness protection network after 50
  years: An assessment of ecological system representation in the U.S. National Wilderness Preservation System." in
  Conservation Biology, 184, pages 431-438.

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  represented ecosystem types at both the forest-level and national scales (Appendix 4, Tables 1 & 2;
  Maps 2 & 3). We found that:

  •   Under-represented ecosystems (at both representation levels) cover over 50% of the acreage of 22
      of the 53 inventoried roadless areas in the forest, and over 80% of 7 of the 53 areas. The ecosystem
      under-representation problem is particularly acute at the forest level, where severely under­
      represented ecosystem types (<5%) cover over 40% - and up to 71% - of the acreage of 10 of the 53
      inventoried roadless areas.

  •   20 of 31 ecosystems on the Rio Grande National Forest are under-represented at the forest level,
      and 21 of 31 are under-represented at the federal level. (Appendix 4, Table 3, Tabs 1 & 2; Map 3)

  •   43% of the Rio Grande National Forest (788,000 acres) is comprised of under-represented
      ecosystem types. The leading under-represented systems at the forest level are:
          o Rocky Mountain Aspen Forest and Woodland (13.7% representation in Wilderness),
          o Southern Rocky Mountains Montane-Subalpine Grassland (3.4% representation in
              Wilderness),
          o Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and Woodland (5.4%
              representation in Wilderness),
          o Southern Rocky Mountain Ponderosa Pine Woodland (1.0% representation in Wilderness),
              and
          o Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and Woodland (3.5%
              representation in Wilderness).

  •   Of the 53 Colorado Roadless Areas (CRAs) on the Rio Grande National Forest, 22 have more than
      half of their acreage in under-represented ecosystems, and 13 have more than 70% of their acres in
      under-represented ecosystems at both the forest and federal levels. These are Butterfly, Spectacle
      Lake, Taylor Canyon, Cotton Creek, Ute Pass, Dorsey Creek, Miller Creek, Hot Springs, Antero
      Meadows-Bear Creek, Crestone, Sawlog, Pole Creek, and Conejos River-Lake Fork.

  •   The CRAs that contain the most acres of the top five under-represented ecosystems on the Rio
      Grande National Forest are: Bennet Mountain / Blowout / Willow Creek / Lion Point / Greenie
      Mountain; Trout Mountain / Elk Mountain; Chama Basin; Bristol Head; Antora Meadows / Bear
      Creek; Antora Meadows / Bear Creek; Middle Adler; Four Mile Creek; Snowshoe Mountain;
      Tewksberry; Taylor Canyon; Ute Pass; and Wason Park. See Tables 1 and 2.




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Table 1. The Colorado Roadless Areas Containing the Highest Number of Acres of the Five Most Under-Represented Ecosystems (at the forest
and federal level) on the Rio Grande National Forest.
                                  Southern Rocky
                                  Mountain Dry-Mesic
                                  Montane Mixed                                                                                                              Southern Rocky Mountain
Rocky Mountain Aspen     Est.     Conifer Forest and       Est.      Southern Rocky Mountain Mesic Montane      Est.    Southern Rocky Mountain     Est.     Montane-Subalpine              Est.
Forest and Woodland      Acres    Woodland                 Acres     Mixed Conifer Forest and Woodland          Acres   Ponderosa Pine Woodland     Acres    Grassland                      Acres
Bennet Mountain /                 Bennet Mountain /
Blowout / Willow Creek            Blowout / Willow Creek             Bennet Mountain / Blowout / Willow Creek                                                Trout Mountain / Elk
                                                                                                                        Taylor Canyon
/ Lion Point / Greenie            / Lion Point / Greenie             / Lion Point / Greenie Mountain                                                         Mountain
Mountain                 16,120   Mountain                   3,992                                              2,875                                2,044                                       3,999
Trout Mountain / Elk              Trout Mountain / Elk
                                                                     Trout Mountain / Elk Mountain                      Ute Pass                             Wason Park
Mountain                  8,345   Mountain                   1,379                                              2,399                                1,770                                       3,811
                                                                                                                        Bennet Mountain /
                                                                                                                        Blowout / Willow Creek /
Chama Basin                       Sawlog                             Snowshoe Mountain                                                                       Sawlog
                                                                                                                        Lion Point / Greenie
                          6,010                              1,329                                              1,305   Mountain                     1,643                                       2,649
                                                                                                                                                             Bennet Mountain / Blowout
                                                                                                                        Trout Mountain / Elk
Bristol Head                      Middle Alder                       Tewksberry                                                                              / Willow Creek / Lion Point
                                                                                                                        Mountain
                          5,153                              1,033                                              1,175                                1,347   / Greenie Mountain                  2,361
Antora Meadows / Bear
                                  Four Mile Creek                    Four Mile Creek                                    Four Mile Creek                      Four Mile Creek
Creek                     4,657                                985                                              1,155                                1,330                                       2,275


Table 2. Colorado Roadless Areas with the Most Acres of Under-represented Ecosystems on the Rio Grande National Forest.

                                                                                                                                                                       Southern Rocky
                                                                     Southern Rocky                       Southern Rocky Mountain               Southern Rocky         Mountain
Ecosystem                                  Rocky Mountain            Mountain Dry-Mesic                   Mesic Montane Mixed                   Mountain               Montane-
                                           Aspen Forest and          Montane Mixed Conifer                Conifer Forest and                    Ponderosa Pine         Subalpine
                                           Woodland                  Forest and Woodland                  Woodland                              Woodland               Grassland                    Totals
Bennet Mountain / Blowout /
Willow Creek / Lion Point /
Greenie Mountain                                           16,120                              3,992                                 2,875                   1,643                    2,361         26,991
Trout Mountain / Elk
Mountain                                                    8,345                              1,379                                 2,399                   1,347                    3,999         17,469
Snowshoe Mountain                                          4,553                                 909                                 1,305                     236                    2,158          9,160
Bristol Head                                                5,153                                481                                      245                  205                    1,596          7,679
Sawlog                                                      1,451                              1,329                                 1,044                     798                    2,649          7,272
Antora Meadows / Bear Creek                                4,657                                 339                                      368                  583                         906       6,853
Wason Park                                                  1,945                                472                                      286                  302                    3,811          6,816
Chama Basin                                                 6,010                                    84                                    25                     0                         47       6,166

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 Four Mile Creek                                   383                          985                         1,155                1,330              2,275    6,128
 La Garita                                       1,733                          867                         1,033                 897               1,120    5,651
 Deep Creek / Boot Mountain                      2,898                          391                           181                   35              1,685    5,190
 Ute Pass                                           63                          763                           837                1,770              1,736    5,170
Taylor Canyon                                      141                          983                           481               2,044               1,263    4,912
 Pole Mountain / Finger Mesa                     3,448                            0                             0                    0               842     4,290
 Elkhorn Peak                                    3,113                           67                            86                   84               819     4,168
 Spruce Hole / Sheep Creek                       2,540                           95                           433                   86               923     4,076
Tewksberry                                       1,400                          742                         1,175                 169                322     3,808
 Beaver Mountain                                 1,751                          792                           549                 169                395     3,655
 Crestone                                        1,160                          884                           273                 542                473     3,332
 Middle Alder                                      808                          1,033                           400                 725                315    3,280
Methodology Explained in Dietz, M., Belote, T., Aplet, G., Aycrigg, J, 2015. “The world’s largest wilderness protection network after 50 years: An assessment of
ecological system representation in the U.S. National Wilderness Preservation System.” in Conservation Biology, 184, pages 431-438.




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  The story is similar at the national scale, with a total of 21 inadequately represented ecosystem types
  covering over 41% and 742,000 acres of the Rio Grande (Appendix 4, Table 3, Tab 3; Map 2). Further,
  only 6% of these under-represented ecosystems are protected in wilderness nationally. Notably, two of
  the most prevalent ecosystems on the Rio Grande are under-represented both at the forest and national
  levels (Appendix 4, Table 3, Tabs 2 & 3). The Southern Rocky Mountain Montane-Subalpine Grassland
  covers over 191,000 acres of the forest, yet only 3.4% of the ecosystem is protected as wilderness. The
  Rocky Mountain Aspen Forest and Woodland spans 209,000 acres on the Rio Grande, only 28,000 of
  which are protected in the forest’s wilderness.

  We are re-attaching our analysis along with the peer-reviewed article by Dietz et al (2015) in which the
  methodology is explained. We consider this representation analysis to be best available science, which
  the 2012 planning rule requires the agency to use,5 and request that you incorporate it into the final
  Assessment Report.

  The draft Assessment Report goes on to cite the conclusions from the 1996 planning process around the
  need for wilderness. While the historical context is interesting and useful, we take umbrage with the
  first two conclusions listed from 1996: that there is plenty of wilderness within a 100 mile radius of the
  Rio Grande National Forest representing a wide variety of land type associations, wildlife species and
  habitats; and wilderness areas and the opportunities that they provide are not in short supply on the
  forest. Regarding the former, the designated Wilderness on and around the Rio Grande National Forest
  at that time was predominantly in the very highest elevations, and did not represent a wide variety of
  land type associations. This situation continues today. Regarding the latter, similarly opportunities to
  experience wilderness in lower elevation lands are not abundant. We recommend that you document in
  the report the elevations encompasses by wilderness within and around the Rio Grande National Forest.

        G. Rare and outstanding resources in the plan area appropriate to specific types of designated
           areas, page 18.

  We agree that there are outstanding botanical, aquatic, and geologic resources that could be
  appropriate for specific types of designations, and that a logical first place to look for these are the areas
  considered and rejected for special designation in the 1996 plan. These areas, however, were
  predominantly geologic and historic, and did not capture the aquatic, zoological, or botanical unique or
  outstanding resources as well. To address the gap, we recommend that you reference Lemly et al.
  (2012) that identifies high quality wetlands and Eco-Resolutions (2009) that identifies specific ecological
  zones where multiple ecological values coincide. In addition, we suggest that you include examples of
  specific at-risk species that could likely benefit from a special designation - both from the protections
  and the opportunities to educate the public that a designation provides. Examples include:

        •    American Peregrine Falcon (Falco peregrinus anatum)
        •    Boreal Owl (Aegolius funereus)
        •    Boreal Toad (Bufo boreas boreas)
        •    Canada Lynx (Lynx canadensis)
        •    Great Basin Silverspot (Speyeria nokomis nokomis)

  5   36 C.F.R. § 219.3 (agency “shall use the best available scientific information to inform the planning process” and
  “shall document how [that] information was used to inform the assessment").

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      •   Gunnison Sage-grouse (Centrocercus minimus)
      •   Townsend's Big-eared Bat (Plecotus townsendii)
      •   Uncompahgre Fritillary (Boloria improba acrocnema)

  See Appendix 1 for information on each of these species and the rationale for establishing a designated
  area for their protection and interpretation.

      H. Known important ecological roles such as providing habitat or connectivity for species at risk
         that could be supported by designation, page 20.

  In addition to providing habitat for specific species including those identified as species of conservation
  concern as discussed in the previous section, designated areas can contribute to connectivity within the
  forest and across the larger landscape. Properly designed networks of wildlife corridors represent one
  of the best strategies to mitigate the negative impacts of habitat fragmentation and help wildlife species
  adapt to climate change. Strategies that seek to maintain or restore connectivity between protected or
  otherwise intact natural areas are now considered critical to biodiversity conservation (Hilty et al. 2006,
  Miller & Hobbs 2002, Taylor et al. 2006). Conservation scientists have now long agreed that “the
  preponderance of evidence is that corridors almost certainly facilitate travel by many species” (Beier
  and Noss 1998). Many analytical frameworks for prioritizing specific habitat corridors to preserve
  landscape connectivity have been formulated (e.g., Bunn et al. 2007, Compton et al. 2007, Carroll et al.
  2011, McRae et al. 2008, Walker & Craighead 1997), and this area of conservation science continues to
  see intense growth. Although the particulars of wildlife response to climate change are largely unknown
  (Root 2003, Travis 2003, Jarema et al. 2009), establishment of landscape connectivity via corridors is the
  most frequently cited strategy for combating the impacts of climate change on biodiversity (Heller &
  Zavaleta 2009). The preamble of the planning rule recognizes that providing corridors in order to
  connect habitat may be necessary to maintain viable populations of at-risk wildlife within the planning
  area.6

  Designing, designating and protecting wildlife corridors should be a part of Forest Service land planning
  in order to mitigate the compounding and simultaneous impacts of habitat fragmentation and climate
  change. Wildlife corridors can be provided through a number of strategies under the 2012 planning rule.
  One strategy is to establish a designated area that spans the corridor. Another is to create a
  management or geographic area for wildlife corridors with correspondingly strong plan components
  that will disallow fragmentation and promote restoration of damaged sites within the corridor.
  Conceivably, a mix of these two strategies might be appropriate to holistically protect lands necessary
  for a species and provide interpretation of the value of linkages to the public.

  Wildlife corridors will be internal to the Rio Grande National Forest in some instances, while in other
  instances will span across administrative boundaries. Several federal land management planning
  processes are currently underway in the larger Upper Rio Grande Basin. These include land management
  plan revisions for the Santa Fe National Forest, Carson National Forest, the Rio Grande del Norte
  National Monument, and the Valles Caldera National Preserve. See Figure 1 for a map that better
  illustrates the opportunity for landscape conservation. Meanwhile, outside of the Upper Rio Grande
  Basin, the Grand Mesa, Uncompahgre, and Gunnison National Forests will start the plan revision process
  this year. Plan direction that provides for connectivity at larger scales will be more successful if it is
  designed in coordination with planners on these adjacent federal units as well as land and game


   Forest Service Planning Rule Preamble, 77 Fed. Reg. 21,217 (Monday, April 9, 2012).

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  managers with the Tribes and the Colorado Department of Parks and Wildlife (CPW) and New Mexico
  Department of Game and Fish (NMDGF).

  Below and in Appendix 2, we offer sources of scientific information pertaining explicitly to connectivity
  and corridors, and request that the Forest Service cite and utilize them in the final Assessment Report
  and subsequent analysis documents. Each may help to prioritize key linkage zones (specific geographies
  where the protection of connectivity should be a management priority) for designation within and
  around the Rio Grande National Forest, inform efforts to coordinate with adjacent federal units
  undergoing planning, and guide development of a revised management plan that fully supports
  connectivity based on the best available scientific information. The information provided in Appendix 2
  represents the best available science, which the 2012 planning rule requires the agency to utilize.7 We
  recognize that this scientific information may belong in other assessment chapters (e.g., ecological
  integrity, species at risk), and that it would make sense to include it there and cross-reference it in the
  Designations Chapter where the discussion can focus on the potential need and opportunity for
  designations that enhance connectivity.

  Additionally, the New Mexico’s Natural Heritage Program, a division of the Museum of Southwestern
  Biology and the University of New Mexico, is collecting and analyzing connectivity and wildlife
  movement information in northern New Mexico and southern Colorado to identify candidate areas in
  the Upper Rio Grande Basin that could serve as prime places to provide for connectivity across
  administrative boundaries. We encourage you to reach out to the New Mexico Natural Heritage
  Program to learn more about the work it is undertaking and the data that it has aggregated and
  analyzed, as the program may be able to assist in identifying potential corridors for designation. We
  encourage you to reach out to Rayo McCollough at University of New Mexico’s Natural Heritage
  Program. Mr. McCollough’s email is rayo@unm.edu.

               a.   Landscape integrity-based connectivity models for the Upper Rio Grande Landscape.

  We are aware of two landscape integrity-based connectivity models available for the planning area.
  These models are designed to predict important corridors among intact blocks of natural habitat. These
  models are not species-specific; instead, they serve as a coarse-filter approach to identifying areas
  expected to support movement of a wide range of species as well as continuity of ecological processes.
  Both models are intended to provide a first-pass, “20,000 feet” view of areas expected to be important
  for connectivity, and should not form the basis for fine-scale, site level management decisions. Instead,
  these models can help to guide selection of general areas within which to prioritize collection of and/or
  use of finer-scale data.

  While both models were designed with the same concept in mind, they employ different methodology,
  encompass different geographic extents, and are presented in different forms. Therefore, while
  similarities exist, predictions of important corridors will often disagree, particularly at finer scales. We
  suggest that both models offer a potentially valuable perspective on priorities in managing for
  connectivity, and that both should be considered, alongside other resources described below.

  This is also a good time to highlight a recent study about landscape integrity-based connectivity models.
  Krosby et al (2015) compared focal species and naturalness-based corridor network models to ask


  7 36 C.F.R. § 219.3 (agency “shall use the best available scientific information to inform the planning process” and
  “shall document how [that] information was used to inform the assessment”).

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  “whether they identify similar areas, whether a naturalness-based approach is in fact more analytically
  efficient, and whether agreement between the two approaches varies with focal species vagility.”
  Krosby found that “naturalness-based corridor models can offer an efficient proxy for focal species
  models but a multi-focal species approach may better represent the movement needs of diverse taxa."
  (Krosby 2015.) We highlight this particular study here because providing for connectivity, especially
  when taking a focal species approach, can be difficult to implement (i.e., time and resource intensive) at
  large-scales. Taking a naturalness approach can offer efficiencies and result in similar findings. Examples
  of naturalness-based models include Theobald's Wild Lifelines and the Western Governor's Association
  (WGA) connectivity analysis.

                        i.    Theobald's Wild LifeLines8

  Theobald's Wild Lifelines™ (2012) depict potential movement pathways in the U.S. between the
  Mexican and Canadian borders that emphasize the least human modification and highest extant
  connectivity for wildlife. Wild LifeLines™ provides a broad-scale look at landscape connectivity based on
  landscape naturalness, without a focus on any particular individual species. The authors assume that
  wildlife movement will be least restricted across “natural" areas and most restricted across “human-
  modified" areas. These pathways are the result of a modeling approach that is based on a map of
  Natural Landscapes built from layers of land cover types, distance to roads, traffic volume and housing
  density, and which then identifies the least fragmented connections between remaining natural areas.
  Wild LifeLines™ complement identification of cores and linkages within conservation planning
  boundaries that might secure landscape capacity for broad-scale wildlife movement within extant high-
  connectivity lands.

  See Appendix 3 for Theobald's Wild Lifelines overlaid with all of the units in the Upper Rio Grande Basin.
  This analysis points to major connections between the southern boundary of the Rio Grande National
  Forest and the Carson National Forest as well as connections on the western side of the Rio Grande
  National Forest.

                        ii.       Reed and Theobald's (2012) Developing Key Datasets to Support
                                  Prioritization of Wildlife Habitat Protection in Colorado and New Mexico9

  Reed and Theobald modeled connectivity and development threats in the southern Colorado/northern
  New Mexico region as part of an effort to develop a pilot decision support model that could inform
  Colorado and New Mexico Wildlife Departments' and Western Governors Association's efforts to
  develop consistent modeling approaches for landscape connectivity. Modeling riparian and terrestrial
  connectivity for big game as well as species of high conservation concern, the authors developed a
  series of maps and data sets showing landscape permeability and flow lines. In addition, they modeled
  human development threats (residential, energy, and transportation development; dispersed
  recreation) to show spatially the severity of predicted landscape modification. They then used the
  outputs to demonstrate how habitat connectivity and threats datasets could be applied to target habitat
  protection and management activities. For instance, the authors created maps showing large intact


  8 David M. Theobald, Sarah E. Reed, Kenyon Fields & Michael Soule. 2012. “Connecting natural landscapes using a
  landscape permeability model to prioritize conservation activities in the United States" in Letters 5 (2012) 123­
  133.
  9„
    Reed, S.E., D.M. Theobald and D. Harrison-Atlas. 2012. Developing key datasets to support prioritization of
  wildlife habitat protection in Colorado and New Mexico. Colorado State University, Fort Collins, CO.

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  habitat blocks, corridor zones (least cost paths with one mile buffers), and areas of high conservation
  value (areas with high resource value for a species and that contribute to landscape connectivity). The
  report is attached.

               b.   Raw focal species telemetry and genetic data.

  This type of data will help identify key sites supporting focal species movement at fine scales and/or
  confirm that a focal species does indeed utilize a particular site predicted to be important for movement
  by the models described above and below. We are not aware of any radio collar monitoring that has
  been collected in and around the Rio Grande NF; however, this does not mean none exist. Colorado
  Parks and Wildlife may have this type of information and be willing to share it with the agency. We
  encourage you to reach out to these entities to inquire about this type of data.

               c.   Other connectivity data

                         i.   Colorado Parks and Wildlife Big Game Corridor and Movement Data

  Colorado Parks and Wildlife Species Activity Data is available for download through ArcGIS Online here:
  http://www.arcgis.com/home/item.html?id=190573c5aba643a0bc058e6f7f0510b7. This has lots of
  information about wildlife movement and migration corridors for a wide range of species. These
  movement and migration data sets are available here:

      •   Bighorn Sheep - Click to Download
      •   Elk - Click to Download
      •   Mule Deer - Click to Download
      •   Pronghorn - Click to Download

  In Appendix 3, you will find a series of maps showing this data for the Rio Grande National Forest.

                        ii.   Southern Rockies Ecosystem Project’s Linking Colorado's Landscapes Report10

  In partnership with the Colorado Department of Transportation, the Federal Highway Administration,
  The Nature Conservancy, and Colorado State University, the Southern Rockies Ecosystem Project
  launched Linking Colorado’s Landscapes in fall 2003. The purpose of this work was to identify and
  prioritize wildlife linkages across the state of Colorado to promote safe passage for wildlife. This report
  documents the process used to define the locations of important wildlife linkages and to prioritize these
  areas for further assessment, and describes the decision-making process that led to the selection of high
  priority linkages. The project took into consideration several species identified linkages on the Rio
  Grande National Forest. Map 3 in the report (pp. 41) displays the final prioritized linkages across the
  state. Maps 6-17 display species specific linkages across the state, including linkages on the Rio Grande
  National Forest. The report is available online here: http://rockymountainwild.org/ site/wp-
  content/uploads/LCL-Phase-1-Report.pdf. High priority linkages from this report are displayed on a
  map in Appendix 3.



  10 Southern Rockies Ecosystem Report. 2015. “Linking Colorado’s Landscapes: A Statewide Assessment of Wildlife
  Linkages Phase II Report.” 140 pages.



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                        iii.   Relevant Studies in New Mexico

  The following species movement related data in New Mexico are relevant to the shared boundary
  between the Carson National Forest and the Rio Grande National Forest. These data sets clearly point to
  a "hotspot" of species movement between the two forests.

  The BLM’s Taos Field Office (FO) identified big game corridors in its 2012 Resource Management Plan
  (RMP).11 While the corridors identified on this map are restricted to New Mexico, they do speak to the
  area in the northern part of the Carson National Forest’s Tres Piedres Ranger District proximal to the Rio
  Grande National Forest. See Appendix 3 for a map showing the BLM’s Taos FO Big Game Corridors
  overlaid with the Rio Grande National Forest and other units in the Upper Rio Grande Basin.

  The BLM’s (2014) San Luis Valley - Taos Plateau Ecoregion Landscape Pre-assessment identifies
  preliminary big game migration corridors in Colorado and New Mexico as part of the larger landscape
  assessment.12 The data used to identify these corridors is from the BLM and Colorado Department of
  Parks and Wildlife. It appears as though the corridors in New Mexico that are identified in this report are
  identical to the corridors identified by the BLM’s Taos FO in their RMP. See a map of these corridors in
  Appendix 3.

                        iv.    Recommendation

  Modeling data shows that there are a number of potential wildlife corridors within the Rio Grande
  National Forest, and between the forest and adjacent units. One area that clearly offers potential for
  larger landscape scale and cross-jurisdictional connectivity is the southern end of the Conejos Peak
  District that lies adjacent to the Carson National Forest. This area shows up as a wildlife movement zone
  in multiple studies, connecting the Rio Grande to the Carson and Rio Grande del Norte National
  Monument. Because of the importance of the Rio Grande National Forest to wildlife movement, we
  request that:

        •   Chapter 15 of the assessment report discuss the value of designated areas to connectivity and
            identify a potential need and opportunity for designated areas for key landscape linkages at
            multiple scales; and
        •   Relevant chapters of the Assessment Report (for instance, in the chapters on designations,
            species, and ecological integrity) acknowledge that the Rio Grande NF will coordinate its
            planning efforts, particularly as it relates to connectivity, with these equivalent planning efforts;
            and
        •   The assessment report include a statement that there is a need to provide plan direction for
            managing towards terrestrial, riparian, and aquatic habitat connectivity for species movement
            across the landscape. Plan management approaches should include connecting intact and
            functional habitats by establishing and maintaining wildlife corridors.



  11   http://www.blm.gov/nm/st/en/fo/Taos_Field_Office/Taos_Planing/taos_rmp.html
  12.
    Leroy J. Walston, Heidi M. Hartmann, Konstance L. Wescott, Emily A. Zvolanek, Katherine E. Rollins, and Laura R.
  Fox, 2014. "San Luis Valley - Taos Plateau Level IV Ecoregion Landscape Assessment Phase I Report and Phase II
  Work Plan." Environmental Science Division, Argonne National Laboratory prepared for Department of Interior
  Bureau of Land Management. August 2014.



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   Leroy J. Walston, Heidi M. Hartmann, Konstance L. Wescott, Emily A. Zvolanek, Katherine E. Rollins, and
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      I.   Contribution of designated areas to social, economic, and ecological sustainability, pages 21­
           22.

  This section concentrates on how wilderness (as opposed to other types of designations) contributes to
  sustainability on the forest, presuming that other types of designated areas offer similar benefits for
  sustainability. The first paragraph provides a list of these other types of designated areas but notably
  leaves roadless areas off. Roadless areas as documented in numerous sources including the preamble
  to the Roadless Area Conservation Rule contribute to social, economic, and ecological sustainability. We
  request that you add roadless areas to the list of areas at the end of paragraph 1.13

  In addition to the excellent discussion about the economic benefits of wilderness to local economies, we
  suggest you cite available economic studies of the impact or projected impact of designations in the
  region. For instance, the Great Sand Dunes National Park contributes 19 million to the local economy
  and 234 jobs.14 The Rio Grande del Norte National Monument, as discussed in the beginning of this
  letter, was projected to contribute $15 million and 279 jobs to the local economy.

      J.   Conclusion, page 23.

  The third paragraph in this section refers to an outdated policy for evaluating and recommending
  wilderness areas as part of the land management planning process. The text states “An area
  recommended as suitable for wilderness must meet the tests of capability, availability, and need.”
  Paragraph 3. We recommend that you replace the sentence with one that comports with the 2015
  revision of FSH 1909.12, chapter 70. For instance, you could say: “An inventoried area (aka potential
  wilderness area) is one that meets the basic criteria for wilderness as established in the Wilderness Act:
  the imprints of man are substantially unnoticeable within the area as a whole, and the area provides
  outstanding opportunities for solitude or primitive unconfined recreation.” We refer you to our
  comments above on this topic.

  Recommended Technical Corrections

  Introduction, Page 1. The text states that designated areas may include^those designated by the
  agency (critical habitat^experimental forest or range, inventoried roadless areas^). We recommend



     For a discussion of roadless area contributions to sustainability, see Letter To Supervisor Dan Dallas from San Luis
  Valley Ecosystem Council, The Wilderness Society, Defenders of Wildlife, Quiet Use Coalition, Rocky Mountain
  Wild, and Rocky Smith dated April 13, 2015, pages 7-10.
  14 Catherine Cullinane Thomas, Christopher Huber, and Lynne Koontz, 2015. “2014 National Park Visitor Spending
  Effects Economic Contributions to Local Communities, States, and the Nation.” Department of the Interior,
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  that you add Recreation Areas to this list. The Secretary can designate areas over 100,000 acres that
  should be managed principally for recreation use substantially in their natural condition.15

  Types, Purposes and Locations of Designated Areas on the Rio Grande National Forest, Page 3. Please
  state the acres of the Sangre de Cristo National Heritage Area.

  Wild and Scenic Rivers, Pages 6. In the third paragraph, the text states "_an eligible river is a river that
  is classified and further evaluated in a suitability study to determine if it should be included in the
  national wild and scenic river system.” This definition is not exactly correct, and should be replaced with
  the definition in the final planning directives, which defines an eligible river as “A river segment that has
  been evaluated, and found to be free-flowing and, in combination with its adjacent land area, possesses
  one or more outstandingly remarkable values."16

  Wilderness, page 7. The second paragraph in this section says that “Per legislative direction, we
  manage wilderness on the forest to provide outstanding recreation opportunities for solitude or a
  primitive and unconfined type of recreation." This is an incorrect statement. The Wilderness Act directs
  that wilderness areas should be “administered for the use and enjoyment of the American people in
  such manner as will leave them unimpaired for future use as wilderness, and so as to provide for the
  protection of these areas, the preservation of their wilderness character, and for the gathering and
  dissemination of information regarding their use and enjoyment as wilderness."17 We request that you
  correct this.

  Administratively Designated Areas, Page 8. The text states that “Administratively designated areas
  include critical habitat under the Endangered Species Act, experimental forest or range, inventoried
  roadless areas (under the Colorado Roadless Rule), national natural landmarks^" Because this list is not
  exhaustive, we recommend you change the text to say “Administratively designated areas include, but
  are not limited to,_"

  Known opportunities to highlight unique recreational or scenic areas in the plan area to provide for
  sustainable recreation opportunities, page 18. In discussing Colorado Roadless Areas, the report states
  that the forest often allows motorized use in these area but frequently limits it to trail and any existing
  roads (first paragraph). We recommend that you modify this sentence so that it reflects existing travel
  management regulations. These require that motorized use is only allowed on designated roads, trails,
  and areas as depicted on a Motor Vehicle Use Map.18

  Thank you very much for this opportunity to comment. We are pleased to be participating in this
  important process, and look forward to reviewing the final assessment report and draft need for change
  statement. Please note that we have included copies of many of the cited materials in a cd that we are




  15 36 C.F.R. 294.1(a). (“Areas which should be managed principally for recreation use substantially in their natural
  condition and on which, in the discretion of the officer making the classification, certain other uses may or may not
  be permitted may be approved and classified by the Chief of the Forest Service or by such officers as he may
  designate if the particular area is less than 100,000 acres. Areas of 100,000 acres or more will be approved and
  classified by the Secretary of Agriculture.")
  16
     FSH 1909.12, chapter 80, section 80.5.
  17
     Sec. 2 of Public Law 88-577 (16 U.S. C. 1131-1136)
  18
     36 CFR 212 subpart B.

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  sending via US Post. Lastly, if you have any questions regarding these comments, please do not hesitate
  to contact us.

  Sincerely,




  Vera Smith                                           Lauren McCain
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  The Wilderness Society                               Defenders of Wildlife
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  Figure 1.


    Conservation Opportunities in the Rio Grande Headwaters Landscape




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  List of Appendices
  Appendix 1 - Species that Could Benefit from the Establishment of a Designated Area
  Appendix 2 - Scientific Information on the Ecological Importance of Wildlife Corridors
  Appendix 3 - Maps showing specific wildlife corridor linkages in the Upper Rio Grande Landscape
  Appendix 4 - Analysis of Ecosystem Representation on the Rio Grande National Forest within Wilderness
  and Colorado Roadless Areas at the Forest and Federal Level




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           Appendix 1 - Species that Could Benefit from the Establishment of a Designated Area

  Boreal Owl (Aegolius funereus)

  Boreal Owls are breeding residents of Colorado (Hayward 1994a) and occur in the Rio Grande National
  Forest (RGNF and SLRA-BLM 2003). They have been detected or likely detected in the following areas:
  Pinos Creek, Wolf Creek Pass, Spar City, Trout Mountain/Shaw Lake, Cumbres Pass, and Hunters Lake
  (RGNF and SLRA-BLM 2003). The Best Available Scientific Information indicates that there is a substantial
  concern about the species’ viability. It is a Forest Service Region 2 Sensitive Species, a Species of
  Greatest Conservation Need as designated by Colorado Parks and Wildlife, and ranked as S2 (imperiled)
  in Colorado by NatureServe 2016, Aegolius funereus). In Colorado, Boreal Owls tend to spruce and
  lodgepole pine trees for nesting and spruce-fir forest for roosting and foraging (Hayward 1994a, 1994b).
  They require large patches of mature, uneven-aged spruce-fir forest with large diameter, high basal area
  trees (NatureServe 2016, Aegolius funereus) as well as snags. A report from 2003, stated that 580,190
  acres of potential suitable Boreal Owl habitat occurred on the Rio Grande National Forest (RGNF and
  SLRA-BLM 2003: 18), however, it is likely that this has changed—perhaps significantly—with the
  continued spruce beetle outbreak affecting the forest. Protecting late-seral, uneven-aged spruce-fir
  forest patches via special management area designations for the Boreal Owl would contribute to global
  species viability and may be essential to maintaining a population on the forest.

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  Great Basin Silverspot (Speyeria nokomis nokomis)

  On January 12, 2016, the U.S. Fish and Wildlife Service determined that the Great Basin Silverspot may
  deserve listing under the Endangered Species Act (81 Federal Register 1368). NatureServe (2016,
  Speyeria nokomis nokomis) ranks this butterfly as T1 (imperiled) and, in Colorado, S1 (imperiled). It is a
  Forest Service Region 2 Sensitive Species and a Colorado Parks and Wildlife Species of Greatest
  Conservation Need. According to The State of Colorado's Biodiversity (Rondeau 2011) report, the Great
  Basin Silverspot is declining and under conserved in Colorado. The species is a bog violet (Viola
  nephrophylla) obligate, and the plant is the only known food source for larvae. Other habitat

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  requirements include wet meadows, spring or sub-irrigated wetlands, and flower nectar sources (Selby
  2007). Protecting bog violets in wetlands from damage, such as by livestock grazing, via botanical area
  designations may contribute significantly to the recovery of the Great Basin Silverspot.

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  Townsend’s Big-eared Bat (Plecotus townsendii)

  According to The State of Colorado's Biodiversity (Rondeau 2011) report, the Townsend's Big-eared Bat
  is declining and only “weakly conserved,” with very little habitat protected. NatureServe ranks the
  species as S2 (imperiled) in Colorado (NatureServe 2016, Plecotus townsendii). It is a Forest Service
  Region 2 Sensitive Species and listed as a Tier 1 Species of Greatest Conservation Need by Colorado
  Parks and Wildlife. The species has been located in the forest (RGNF 1999; Gruver and Keinath 2006;
  RGNF 2007). A survey conducted in 1999 recorded a bat in the Terrace Reservoir area (RGNF 1999) and
  another survey confirmed a colony on the forest in 2007 (RGNF 2008). Caves serve as natural roost sites
  for Townsend's Big-eared Bats. However, due to human disturbance, abandon mines have largely
  displaced caves as roosting sites; the bats are very sensitive to human disturbance (Gruver and Keinath
  2006). The species exhibits a high level of fidelity to maternity roosts (Gruver and Keinath 2006) and
  foraging areas (Gruver and Keinath 2006, citing Clark et al. 1993, Adam et al. 1994, Ports and Bradley
  1996, Fellers and Pierson 2002). The Townsend's Big-eared Bat (Corynorhinus townsendii): A Technical
  Conservation Assessment (Gruver and Keinath 2006) for the Forest Service's Rocky Mountain Region,
  recommends protecting roost sites. Designating species areas, such as zoological or Research Natural
  Areas, to protect known roost sites as well as mines and caves that serve as suitable habitat and
  potential recovery areas is likely essential to Townsend's Big-eared bat viability on the forest.

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  State University, Fort Collins, Colorado.



  Canada lynx (Lynx canadensis)

  The Canada Lynx is listed as threatened under the Endangered Species Act, and thus, the Rio Grande
  National Forest is obligated under the 2012 planning rule to contribute to the species' recovery.
  Contributing to the recovery of Canada Lynx requires a landscape approach where management
  considerations cross the forest's boundaries. The 2012 planning rule requires that national forests take a
  landscape approach to advancing natural resource sustainability, which means collaborating with
  adjacent and nearby landowners. Canada Lynx require large patches of connected habitat, given their
  large home ranges and specific habitat requirements. Generally, Southern Rockies lynx habitat occurs in
  the upper montane and subalpine forests. In Colorado, according to Shenk (2008; see also Theobald and
  Shenk 2011), lynx prefer the following habitat types:

      •   Mature forests dominated by Engelmann spruce (Picea engelmannii) and subalpine fir (Abies
          lasiocarpa) with a 42-65% canopy cover and 15-20% of that characterized by tree canopies of
          conifer understory,
      •   Spruce-fir/aspen mixed forests, and
      •   Riparian and mixed riparian cover where willow dominated vegetative communities provide
          habitat for prey species, such as snowshoe hare, ptarmigan, grouse, and others.

  Lynx also use lodgepole (Pinus contorta) pine forest areas, but to a lesser extent than spruce-fir (Squires
  et al. 2010). Lynx abundance may be dependent on sufficient densities of snowshoe hare. Zahratka and
  Shenk (2008) found that hare densities were greater in Engelmann spruce-subalpine fir forest, but they
  also use lodgepole pine.

  The RGNF defined Lynx Linkage Areas (LLAs) in 2002. A review of additional potential lynx linkages
  should be undertaken during the plan revision process. At this time LLAs include: Poncha Pass,
  Cochetopa Hills/North Pass, Slumgullion/Spring Creek Pass, and Wolf Creek Pass (Ghormley 2011).
  Designating these areas as lynx corridor management areas with plan components protective of
  connected lynx habitat may be essential for contributing to the recovery of the species.

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  Mountains. Journal of Wildlife Management. 72: 906-912.



  Boreal toad (Bufo boreas boreas)

  The Boreal Toad is known to occur on the plan area, and there is substantial concern about the species’
  persistence by scientific authorities. NatureServe (2016, Bufo boreas boreas) ranks the species as
  critically imperiled (S1) in Colorado. Colorado Parks and Wildlife lists it as a Species of Greatest
  Conservation Need. It is a Forest Service Region 2 Sensitive Species. Rondeau et al. (2011) considered
  the species under conserved and declining in Colorado. Protecting Boreal Toad breeding sites via special
  designations, such as Zoological Areas or Research Natural Areas, would have a positive benefit on this
  species. Boreal Toads require shallow wetlands for breeding (BTRT 2001), which can be threatened by
  livestock grazing, timber harvest, and recreational activities. They are associated with the following
  Colorado Roadless Areas: Chama Basin, Cumbres, Red Mountain, Ruby Lake, Snowshoe Mountain,
  Sulpher Tunnel, and Trout Mountain/Elk Mountain.

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  State University, Fort Collins, Colorado



  American Peregrine Falcon (Falco peregrinus anatum)

  American Peregrine Falcons are known to occur on the RGNF, and a substantial concern about their
  persistence exists among known authorities. They are ranked by NatureServe as imperiled (S2B) in
  Colorado, Colorado Parks and Wildlife as a Species of Greatest Conservation Need, and Forest Service
  Region 2 Sensitive Species. Nest sites are very vulnerable to human disturbance, such via recreation and
  the direct collection of eggs and habitat destruction (Richardson and Miller 1997). The birds are sensitive
  to noise related to human activities. Protecting nest sites within specially designated areas that enforce
  seasonal closures during the nesting period would greatly help achieve viability for this species. The bird



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  is associated with Conejos River/Lake Fork, Fox Creek, Pole Mountain/Finger Mesa, Spruce Hole/Sheep
  Creek, and Taylor Canyon roadless areas.

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  Uncompahgre Fritillary (Boloria improba acrocnema)

  The Uncompahgre Fritillary butterfly is listed as endangered under the Endangered Species Act. The
  species occurs above treeline and requires microclimates that are moist and cool. Its larval host is the
  snow willow (Salix nivalis). Threats include butterfly collecting, trampling of snow willow by livestock
  and humans, predations, disease, parasitism, and climate change (Wallis et al. 1994). Surveys conducted
  in the early 2000s identified five populations on the Rio Grande National Forest (RGNF 2004). The forest
  noted in its Fiscal Year 2007 monitoring report that trespass cattle were a problem for one population
  area (RGNF 2008). According to monitoring reports, surveys conducted since 2007 reported the
  persistence of four populations but no observations of additional populations. However, the forest’s
  2010 monitoring report (RGNF 2011) reported that surveys found only one of the earlier identified five
  populations persisting. Roadless areas associated with the butterfly include Bristol Head and Pole
  Mountain/Finger Mesa. Under the 2012 planning rule, revised management plans must include
  components that contribute to the recovery of listed species. Locations of snow willow are known. Thus,
  protecting existing and former populations of the butterfly and suitable recovery areas under special
  designations, such as zoological areas or botanical areas that protect snow willow, would help
  contribute to the Uncompahgre Fritillary’s recovery.

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  Gunnison Sage-grouse (Centrocercus minimus)

  The Gunnison Sage-grouse is listed as threatened under the Endangered Species Act. There is one
  known population and lek site on the forest in the Poncha Pass area. With adjacent Bureau of Land
  Management and private land, suitable habitat for the bird is significant and worth protecting and
  restoring in a special management area that includes species-specific plan components. Recovering a

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  viable population here could help contribute to the genetic diversity of the global Gunnison sage-grouse
  population.




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                        Appendix 2 - Scientific Basis for Protecting Wildlife Corridors


  Properly designed networks of wildlife corridors represent one of the best strategies to mitigate the
  negative impacts of habitat fragmentation and help wildlife species adapt to climate change. Strategies
  that seek to maintain or restore connectivity between protected or otherwise intact natural areas are
  now considered critical to biodiversity conservation (Hilty et al. 2006, Miller & Hobbs 2002, Taylor et al.
  2006). Conservation scientists have now long agreed that “the preponderance of evidence is that
  corridors almost certainly facilitate travel by many species” (Beier and Noss 1998). Many analytical
  frameworks for prioritizing specific habitat corridors to preserve landscape connectivity have been
  formulated (e.g., Bunn et al. 2007, Compton et al. 2007, Carroll et al. 2011, McRae et al. 2008, Walker &
  Craighead 1997), and this area of conservation science continues to see intense growth. Although the
  particulars of wildlife response to climate change are largely unknown (Root 2003, Travis 2003, Jarema
  et al. 2009), establishment of landscape connectivity via corridors is the most frequently cited strategy
  for combating the impacts of climate change on biodiversity (Heller & Zavaleta 2009).

      a.   Ecosystem Function and Thresholds of Landscape Connectivity

  Planning for corridors and connectivity requires an examination of the physical structure of the
  landscape as well as the functional response of wildlife and other landscape elements to that structure:

           (1) The structural (or physical) component: the spatial arrangement of different types of habitat
           or other elements in the landscape, and (2) The functional (or behavioral) component: the
           behavioral response of individuals, species, or ecological processes to the physical structure of
           the landscape (Crooks and Sanjayan 2006).

  Habitat fragmentation leads to a reduction in landscape connectivity by reducing the occurrence or the
  effectiveness of natural ecosystem processes and preventing wildlife species from moving across the
  landscape (Crooks and Sanjayan 2006). Biologists are in agreement that habitat fragmentation is one of
  the greatest threats to the persistence of individual wildlife species and overall biodiversity (Wilcove
  1998). Habitat fragmentation consists of two different processes that simultaneously and negatively
  affect wildlife species: (1) a reduction in the overall habitat available to wildlife species - habitat loss;
  and (2) the creation of isolated patches of habitat separated from what was once the contiguous
  landscape (Crooks and Sanjayan 2006).

  Habitat loss and fragmentation can occur as a result of a variety of human activities on the landscape.
  On public lands, industrial energy development, logging, mining, off-road vehicle (ORV) trails (both
  designated and illegally created), and roads are the land use changes that drive fragmentation. These
  are associated with a complex of stressors that cause further fragmentation such as the introduction of
  invasive species; disease transmission and other issues related to the presence of pets; noise, light, and
  water pollution; change in wildfire regimes; power transmission lines; and others. When the total effect
  of the “human footprint" from all fragmentation is modeled across land ownerships in the West, it
  cumulatively covers approximately 48% of the landscape (Leu et al. 2008). This study defined the human
  footprint as any human development or activity on private or public land (everything from ORV trails to
  residential and industrial development); and includes direct habitat loss as well as habitat fragmentation
  and overall degradation. Fahrig (2002) suggested that each species tends to have an “extinction
  threshold" of minimum habitat necessary, meaning that when available habitat drops below the
  threshold, the risk of extinction increases. Habitat fragmentation may play an important role in adjusting


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  this threshold level because as fragmentation increases, the amount of habitat necessary for the species
  to persist also increases. If habitat is connected, even when drastically reduced, there is a much higher
  probability of population persistence than if the available habitat is reduced and fragmented (Travis
  2003).

  A reduction in landscape connectivity does not just affect wildlife directly; it can also affect species
  indirectly through ecological processes that provide beneficial services to wildlife as well as humans
  (also known as “ecosystem services”) (Kremen 2005, Ricketts et al. 2006). Examples of ecosystem
  services include water purification, oxygen production, erosion control, and insect pollination of
  important food crops. There is also a growing consensus in the scientific community that not only is
  biodiversity dependent on landscape connectivity, but also overall ecosystem health, as measured by
  biomass production, nutrient cycling, water and nutrient retention, community stability and other
  measures independent of biodiversity (Lyons et al. 2005).

      b.   Impacts of Habitat Fragmentation on Wildlife Migration, Movement and Resource Acquisition

  When wildlife habitat patches become isolated and individual animals within a species are unable to
  move across the landscape, wildlife populations are affected by a multitude of harmful processes.
  According to Hilty et al (2006), there are six main adverse effects that may occur as a result of habitat
  fragmentation: (1) increased isolation leading to detrimental genetic and demographic effects; (2)
  changes in species richness or composition; (3) modification of energy flow, nutrient cycling, and
  hydrological regimes; (4) declines in populations of individual species or their geographic extent across
  the landscape; (5) edge effect problems that can lead to the introduction of exotic invasive species as
  well as increases in predation and competition among different wildlife species; and (6) increased
  human disturbance and associated direct and indirect mortality.

  Wildlife population persistence, evolution, and speciation are all driven by genetic factors. As the areas
  between crucial wildlife habitat patches are converted to human use, fragmenting the landscape,
  individual wildlife populations become more isolated (Frankham 2006). When wildlife is not able to
  disperse from natal habitats or migrate throughout the landscape then the entire population may face
  genetic isolation. Genetic isolation increases the prevalence of negative genetic factors that can lead to
  a higher extinction risk. These genetic factors include “inbreeding depression, decreased ability to adapt
  to environmental factors, mutation accumulation, and outbreeding depression." Id. In contrast, if
  individual animals within populations are still able to migrate, even with decreased overall habitat, the
  genetic effects of isolation can be mitigated. Frankham (2006) estimates that “with sufficient migration,
  a fragmented population will have the same genetic consequences as a single large population of the
  same total size." This reflects Travis’s (2003) observation that when habitat is connected, even when
  reduced overall, there is a higher probability of population persistence.

  Changes in vegetation composition, energy flow, nutrient cycling, and microclimates may negatively
  impact wildlife if they are unable to find vital resources necessary for survival. Food, water, minerals,
  and other resources that individual animals require are not evenly dispersed throughout the landscape
  (Hobbs et al. 2008). For example, the most nutritious forage may be in a completely different location
  from a watering hole. Due to this isolation and inconsistent allocation, wildlife species need the ability to
  move unhindered throughout the landscape to find resources. Habitat fragmentation restricts wildlife
  from “matching their distribution to the resources they require to survive and reproduce" and these
  impacts can drastically affect wildlife; rendering “landscapes effectively unsuitable [for wildlife]" (Hobbs
  et al. 2008).

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  Human disturbance that causes and contributes to fragmentation is often associated with roads. Edge
  effects and human exploitation can influence individual animals and entire populations. According to
  Clevenger and Wierzchowski (2006), “roads cause changes to wildlife habitat that are more extreme and
  permanent than other anthropogenic sources of fragmentation.” Edge-sensitive species will have
  declined nesting, production, and survival rates in highly fragmented locations. Additionally, edge­
  sensitive species may be exposed to interactions with edge generalist species, that can outcompete
  them for resources, and predators that can now prey on those species more effectively (Fletcher 2005).
  Fragmentation also allows for biologically diverse areas to be opened up to human activity (Ewers and
  Didham 2006). An increase in human activity can often have negative impacts on wildlife species. For
  example, motor vehicles can cause mortality through collision, ORV operators may illegally enter core
  habitat -further fragmenting the landscape, and legal and illegal hunters may access wildlife species
  more easily (Ewers and Didham 2006).

      c.   Landscape Connectivity and Mitigating Wildlife Impacts of Climate Change

  It is unequivocal that warming of the earth due to human-induced climate change is rapidly occurring
  (IPCC 2007). The Intergovernmental Panel on Climate Change and the U.S. Global Change Research
  Program agree that global climate change will have drastic effects on biodiversity worldwide (IPCC 2007,
  Karl et al. 2009). Over the last twenty years, conservation biologists have firmly established that climate
  change may pose a significant threat to the future persistence of some wildlife species; wildlife species
  already have and will continue to respond to climate change in various ways as well (Hughes et al. 2000,
  Burns et al. 2003, Travis 2003, Pyke 2004). Climate change will also likely exacerbate stressors that
  wildlife already face, most notably habitat loss and fragmentation.

  Researchers have noticed that some species have started to respond to climate change in significant
  ways (Root et al. 2002, Pyke 2004). Hughes (2000) and Root et al. (2003) predict that climate change will
  impact wildlife species in four specific ways: (1) Physiological - the metabolic and developmental rates
  of some species may be affected; (2) Distributional - species are already changing their distributions and
  will likely continue to do so even more; (3) Phenological - as the timing of environmental cues change,
  life cycle events triggered by those cues will also change; and (4) Adaptative - some species with short
  life cycles and rapid population growth may undergo microevolution in situ. Some wildlife species are
  already responding to climate change in many of the above ways, as are the plant species essential to
  support wildlife populations. Researchers have also recorded habitat distribution changes in several
  species (Hughes 2000; Barnosky et al. 2003, Burns et al. 2003). Range shifts occur dissimilarly
  throughout different latitudes, and some species may change only the density level within the metes
  and bounds of their traditional ranges. According to Jarema et al. (2009), beaver (Castor canadensis)
  habitat ranges in Quebec have not shifted in response to the climate, but the density of beavers within
  the range has shifted north. Romme and Turner (1991) have also speculated that in the Greater
  Yellowstone Ecosystem, many species that are alpine zone obligates will likely go extinct because their
  ranges will shift upward to a point where no more shifting can occur.

  Observational studies of phenological changes occurring within multiple species demonstrate some of
  the best scientific evidence that climate change is already impacting wildlife species (Hughes 2000, Root
  et al. 2003). Various bird species are migrating from their winter habitats and arriving at their summer
  habitats earlier in the spring. For example, Inouye et al. (2000) illustrated that the average day of first
  sighting for the American Robin (Turdus migratorius ) in Gothic, Colorado changed from April 14 to
  March 11 between 1974 and 1999. At the same time that bird species are arriving earlier, the winter

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  snow pack is staying longer at higher elevations adding extra stress to birds who arrive early and are
  unable to find food (Inouye et al. 2000). Amphibian reproduction, insect peak flights, and flower budding
  are also taking place earlier (Hughes 2000). If the timing of insect peak flights and flower budding occurs
  at times when birds are not arriving, a rapid decoupling in the phenological relationship between species
  may result - compounding stress on species that depend on flowers and insects.

  Research indicates that many species are capable of rapid evolution, or microevolution, in response to
  anthropogenic environmental changes such as climate change. Briggs (2009) presents a thorough
  examination of microevolution in a range of plant species. Case studies from around the world support
  that Darwinian evolution in many plant species is rapid and ongoing, and call into question the ability to
  conserve intact ecosystems or restore degraded ecosystems in this context through existing
  management frameworks. Microevolution in animal species has been also documented for
  invertebrates (Umina et al. 2005, Balanya 2006). Evidence for vertebrate animals is sparse to date, but
  the first case of microevolution in a vertebrate species has recently been documented (Karrell et al,
  2011). The tawny owl in Finland has been shown to have shifted its feather coloration over the last
  decade from white towards brown in response to milder winters and resulting lack of snow cover. It is
  important to note that this genetic plasticity cannot be expected from all species, particularly organisms
  with long generation times and limited reproductive potential. For these species, arguably those that are
  considered the most highly evolved on the planet, adaptation to climate change must be facilitated by
  management, and this management must be innovative, adaptive, tailored to specific goals, and based
  on the very best available science.

  As Root et al. (2003) state, “if such climatic and ecological changes are now being detected when the
  globe has warmed by an estimated average of only 0.6°C, many more far-reaching effects on species and
  ecosystems will probably occur in response to changes in temperature to levels predicted by IPCC, which
  run as high as 6°C by 2100.” The West is changing rapidly, and land managers must become the leaders
  in working towards solutions that help wildlife species in the face of climate change, or the
  Intermountain West may lose the species for which it is known. Although scientists cannot know wildlife
  will respond to climate change, research supports that habitat ranges of some species will have to shift
  to avoid extinction, and this highlights the need to manage for a landscape that wildlife can easily
  traverse in order to adapt to a changing climate (Root et al. 2003, Botkin et al. 2007, Jarema et al. 2009).
  The measures land managers take to plan for climate change must include strategies that allow wildlife
  species to adapt to climate change. One particularly useful way for the USFS to help wildlife species
  adapt is by protecting wildlife corridors because "[ljandscape connectivity will play an increasingly
  important role in the persistence of many plant and animal populations in the face of global change and
  resultant shifts and restructuring of species distributions” (Taylor et al. 2006). In fact, in a review of 22
  years of scientific literature in which strategies were recommended for managing biodiversity in the face
  of impacts from climate change, the top recommended strategy was to maintain habitat connectivity
  (Heller & Zavaleta 2009). As the second largest land manager in the U.S., the USFS must be particularly
  invested in producing and implementing useful climate change solutions.

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  Dan Dallas, Supervisor
  Erin Minks, Forest Planner
  Rio Grande National Forest
  1803 W. Highway 160
  Monte Vista, CO 81144



  April 23, 2016

  Dear Supervisor Dallas and Ms. Minks,

  Thank you for considering these comments on Assessment Chapter 11 (Infrastructure) and related
  portions of the Need for Change statement on behalf of The Wilderness Society and Defenders of
  Wildlife. We are restricting our comments on this chapter to transportation infrastructure. While the
  road system enables recreation on, management of, and enjoyment of the Rio Grande National Forest, it
  can also be an environmental and fiscal liability with considerable aggregate impacts on landscape
  connectivity, ecological integrity, water quality, species viability and diversity, ecosystem services, and
  other forest resources.1


  The Wilderness Society’s (TWS) mission is to protect wilderness and inspire Americans to care for our
  wild places. The Rio Grande National Forest has long been a priority for TWS, given its remarkable
  wilderness resources. Since its founding in 1935, TWS has worked closely with diverse interests who
  care about the future of our national forests. We provide scientific, legal, and policy guidance to land
  managers, communities, local conservation groups, and state and federal decision-makers aimed at
  ensuring the best management of our public lands. Our 500,000 members and supporters nationwide
  and, in particular, our more than 18,269 members and supporters in Colorado are deeply interested in
  forest planning as it pertains to the conservation, restoration, and protection of wildlands, wildlife,
  water, recreation, and the ability to enjoy public lands for inspiration and spiritual renewal.

  Founded in 1947, Defenders of Wildlife (Defenders) is a national conservation organization focused
  solely on wildlife and habitat conservation and safeguarding biodiversity and is deeply involved in public



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   See the discussion of road-related environmental impacts in the letter submitted by the San Luis Valley
  Ecosystem Council et al on April 13, 2015.



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  lands management related to vulnerable species and ecosystem protection. Defenders works on behalf
  of more than 1.2 million members and supporters nationwide, including over 11,000 in Colorado.

      I.       Draft Chapter 11

  The current draft of chapter 11 is worrisomely thin on information necessary to inform the revision of
  the Rio Grande’s Land Management Plan and ensure the forest can meet its regulatory and policy
  obligations. The current draft provides very little information on the current roads system, despite the
  fact that considerable information is available in the forest’s recently published Travel Analysis Report
  (TAR).2

  On April 13, 2015, the undersigned along with others submitted a letter to Supervisor Dallas suggesting
  specific information that should be included in the assessment report. Based on the current policy
  framework for managing roads, including the substantive direction in the 2012 planning rule, the letter
  starting on page 18 outlined the information on roads and trails that should be included in the
  assessment report in order to inform the plan revision. It does not appear that the information we
  presented is reflected in the current draft of chapter 11. While we are pleased to see that some of the
  ecological information is incorporated into Assessments 1 and 3, it is important that the chapter on
  infrastructure present a cohesive description of the current condition and major issues associated with
  the transportation system. We therefore respectfully ask that you review the comments we submitted
  twelve months ago, and incorporate the information as you revise the assessment chapter. The Rio
  Grande National Forest has an obligation under the 2012 planning rule to incorporate relevant existing
  information submitted by the public3, as well as utilize best available science in the assessment report
  and subsequent revision.4 For convenience, we are re-attaching the letter’s section on transportation
  infrastructure to this letter along with a copy of a literature review on forest roads.

  As a reminder, in our April 2015 letter, we recommended that the assessment report identify and strive
  to answer the following questions:

      A.       What infrastructure exists on the forest?
      B.       What is the physical condition of the existing infrastructure?
      C.       What is the annual maintenance revenue and cost, and what are the current and predicted
               maintenance needs and backlog over the life of the plan?
      D.       How climate resilient is the transportation system?



  2 USDA Forest Service, 2015. “Rio Grande National Forest Forest-wide Travel Analysis Process Report.” Rio Grande
  National Forest, October 2015. Report and attachments are at
  http://www.fs.usda.gov/detailfull/riogrande/landmanagement/projects/?cid=fseprd484850&width=full.
  3 36 C.F.R. § 219.6(a)(1) (The responsible official shall “Identify and consider relevant existing information
  contained in governmental or non-governmental assessments, plans, monitoring reports, studies, and other
  sources of relevant information.”); id. § 219.6(a)(2) (agency must "[c]oordinate with or provide
  opportunities for . . . non-governmental parties[] and the public to provide existing information for the
  assessment”).
  4 36 C.F.R. § 219.3 (agency “shall use the best available scientific information to inform the planning process” and
  “shall document how [that] information was used to inform the assessment”).



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      E.       What is the minimum road system pursuant to 36 C.F.R. Subpart A, and what is the
               deviation between the minimum road system and the current road system? Given that the
               forest has not yet fully complied with subpart A, what are the number, types, and locations
               of roads likely needed and not needed for future use, as identified in the travel analysis
               report?
      F.       Does the current transportation system provide sustainable access and opportunities to
               connect people with nature?
      G.       What effects does the transportation system have on the ecological integrity of aquatic and
               terrestrial systems? For example:
               1.        What are the motorized route densities across the forest, and where do they exceed
                         accepted scientific thresholds for aquatic and terrestrial integrity?
               2.        What are the impacts of transportation infrastructure on watershed conditions
                         across the forest, as identified by the “Roads and Trails” indicator of the Forest
                         Service’s Watershed Condition Framework and other information sources?
               3.        How many miles of roads are connected by direct surface flow to streams, and how
                         many road/stream crossings exist?
               4.        What percent of the current transportation infrastructure system is meeting
                         required BMPs for water quality, and what is the effectiveness of the BMPs?
               5.        Are there Clean Water Act section 303(d) impaired streams or stream segments on
                         the forest where the cause of impairment is sediment and/or temperature
                         attributable at least in part to roads?
               6.        How significantly is the transportation system contributing to the spread of invasive
                         species?
               7.        How much is the current transportation system impairing species migration and
                         ecological integrity at a landscape scale, and could modification of the system
                         contribute to landscape-scale restoration?

  Since we wrote our letter, the Rio Grande National Forest published its TAR that provides some -
  although not all - of the information to answer these questions. The TAR provides a useful summary of
  the road and motorized trail situation on the forest. It summarizes the current condition of the
  motorized system - including the number of roads in each maintenance level category, the current cost
  of managing the roads, the relative risks and benefits of roads, the deferred road maintenance facing
  the forest- and recommends a minimum road system along with unneeded roads for decommissioning.

  Specifically, the TAR says that there are 2,819 miles of system roads and 301 miles of motorized system
  trails in the forest.5 Seventy-one percent of these road miles are high clearance or stored (closed to
  motorized use) while only 29% can be accessed by passenger vehicles.6 After balancing risks and
  benefits, the TAR concludes that there are 1,093 miles of roads that are low benefit and low risk, and
  194 miles of roads that are high risk and low benefit. Using this information, the TAR provides a
  recommended minimum road system and identifies unneeded roads for decommissioning pursuant to

  5 Note that these numbers do not align with figures provide on Page1 of draft chapter 11, which says that there are
  2,244 and 399 miles of roads and motorized trails, respectively.
  6 TAR, page 1.




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  36 CFR 212.5(b). The minimum road system per the TAR consists of 779 (30%) miles of passenger vehicle
  roads, 722 miles of open high clearance roads (28%), and 1,093 miles (42%) of stored roads.7 The TAR
  identifies 255 miles (139 ML 1 roads and 86 ML2 roads, 9% of current system) of unneeded roads for
  decommissioning.8

  The Rio Grande has an annual road maintenance budget of $688,860 and an annual maintenance need
  of $9.558 million9, or said another way, the Rio Grande receives funding to maintain 7.8% of its road
  system. Even if the Rio Grande implemented its recommended minimum road system reducing its
  annual road maintenance need to $8,257,200, it still would only be able to maintain a paltry 8.3% of its
  road system. Inadequate maintenance leads to resource impacts, particularly to water resources, and
  eventually leads to health and safety risks to forest staff and the visiting public.10 The Rio Grande has
  deferred maintenance costs of $33,379,483 and $6,616,145 for roads and trails, respectively.11

  In terms of resource risks, the TAR shows that there are 81 out of 166 6th level HUC’s with
  road/motorized trail densities over one mile per square mile12, a widely used threshold over which large
  carnivores and other wide-ranging species suffer ill-effects from human disturbance and
  fragmentation.13 It also shows that 788 roads have moderate to high watershed risks.14

  The take-home message from the TAR is that the forest is substantially incapable under current or
  projected budgets of maintaining its motorized system, even if it did implement the recommended
  changes in the TAR. Moreover, the motorized road densities are too high in almost half the 6th level
  HUC watersheds, and a substantial number of motorized routes pose risks to aquatic and terrestrial
  systems. Routes with higher risks either need to be removed or the risks need to be adequately
  mitigation, something that does not seem highly likely under the current budget scenario.




  7 Id., Page 36.
  8 Id., page 36.
  9 Id., Page 10.
  10 See Moore, T. 2007 [unpublished draft]. National Forest System Road Trends, Trends Analysis Submitted to Office
  of Management and Budget. United States Department of Agriculture, Forest Service, Engineering Staff,
  Washington Office, Washington, DC. “Prolonged under-funding of the Forest Service Road System has resulted in
  dramatically reduced road conditions across the country resulting in loss of passenger car access, rougher roads in
  general, increased potential safety problems and accelerated damage to adjacent resources especially in terms of
  sediment production_"As a result, the entire road system is in a massive state of deterioration requiring that the
  agency take action in resolving this difficult and complex problem.” Also see page 62 of USDA Forest Service, 2001.
  National Forest System Road Management Strategy: Environmental Assessment and Civil Rights Impact Analysis.
  Washington DC. (“Road design, location, maintenance, and use are also important factors affecting the health of
  aquatic ecosystems."). Also see Attachment 2, a literature review by The Wilderness Society entitled
  “Transportation Infrastructure and Access on National Forests and Grasslands." Pages 3-6.
  11 Draft Chapter 11, page 2. Note that the TAR states that the deferred road maintenance figure is “probably
  representative of only one-half of the true differed maintenance costs that can be attributed to all of our roads."
  See Appendix to TAR entitled Deferred Maintenance Information.
  12
     See Appendix to TAR entitled Road Density Map available at
  http://www.fs.usda.gov/detailfull/riogrande/landmanagement/proiects/?cid=fseprd484850&width=full.
  13 - ....         . _       _ -
     See Attachment 2, pages 7-9.
  14 A- A       I-I ^Ar-> ....... A      I- r->           -III I
     See Appendix to TAR entitled Aquatics Rankings, available at
  http://www.fs.usda.gov/detailfull/riogrande/landmanagement/proiects/?cid=fseprd484850&width=full.



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  We respectfully ask that, in addition to incorporating the information submitted in our April 2015 letter,
  you incorporate the information presented in the TAR in final version of chapter 11 of the assessment
  report.

       II.     The Plan Revision Must Provide Meaningful Direction on Roads

  The revised plan is the logical and appropriate place to establish a framework for management of the
  forest road system. The Forest Service’s final directives on infrastructure recognize this: "[t]he central
  consideration in land management planning for infrastructure is that the integrated desired conditions
  and other plan components set a framework for the sustainable management of the plan area’s
  infrastructure and mitigation of adverse impacts.” To that end, plan components should “reflect the
  extent of infrastructure that is needed to achieve the desired conditions and objectives of the plan" and
  “provide for a realistic desired infrastructure that is sustainable and can be managed in accord with
  other plan components including those for ecological sustainability."

  The substantive requirements of the 2012 Planning Rule require the Forest Service to comprehensively
  address the transportation system in its plan revision. Given the significant aggregate impacts of that
  system on landscape connectivity, ecological integrity, water quality, species viability and diversity, and
  other forest resources and ecosystem services, the Forest Service cannot satisfy the rule’s substantive
  requirements without providing management direction for transportation infrastructure. Per the
  planning rule, plans must provide standards and guidelines to maintain and restore ecological integrity,
  landscape connectivity, water quality, and species diversity. Those requirements simply cannot be met
  absent integrated plan components directed at making the transportation system considerably more
  sustainable and resilient to climate change stressors.

  Plans allow the Forest Service to comprehensively evaluate the transportation system in the context of
  other aspects of forest management, such as restoration, protection and utilization, and fiscal realities,
  and to integrate management direction accordingly. Plans also provide and compile regulatory direction
  at a forest-specific level for compliance with the Clean Water Act, Clean Air Act, Endangered Species Act,
  and other federal environmental laws relevant to the transportation system and its environmental
  impacts. See id. § 219.1(f) (“Plans must comply with all applicable laws and regulations . . . ."). And plans
  allow forest managers and the public to clearly understand the management expectations around the
  transportation system and develop strategies accordingly. With frequent turnover in decision-making
  positions at the forest level, a plan-level management framework for the road system and
  transportation infrastructure is particularly critical. Moreover, with climate change anticipated to
  necessitate forest-wide upgrades and reconfigurations of transportation infrastructure15, it is especially
  important that plans provide direction for identifying and achieving an environmentally and fiscally
  sustainable transportation system under future climate scenarios.16



  15
     See Attachment 2, pages 9-14 for a discussion of the effects of climate change on transportation infrastructure
  and the effects of transportation infrastructure on climate change adaptation.
  16 Executive Order 13,653 entitled “Preparing the United States for the Impacts of Climate Change" directs
  agencies to develop and implement adaptation plans that “evaluate the most significant climate change related
  risks to, and vulnerabilities in, agency operations and missions in both the short and long term, and outline actions



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  Lastly, the Forest Service does not have another planning vehicle to direct long-term and forest-wide
  management of the transportation system and to ensure compliance with current policy and regulatory
  direction. Travel Management Plans (TMPs) under subpart B of 36 C.F.R. part 212 are not a substitute
  for the integrated direction for transportation management that land management plans must provide.
  The main purpose of TMPs is to designate roads, trails, and areas that are open to motorized travel -
  not to achieve a sustainable transportation system, decommission unneeded roads, or otherwise meet
  the ecological restoration mandates of the 2012 Planning Rule.

      III.     The TAR, draft Forest Assessment Report, and Forest Service budget direction confirm the
                need to provide plan direction to achieve a sustainable road system

  As described in our April 2015 letter and the 2015 TAR, the transportation system on the Rio Grande
  National Forest is severely under-maintained and deteriorating leading to resource damage, public
  health and safety risks, and reduced function. The draft chapter 11 affirms this, stating that "_with
  aging infrastructures and continued budget decreases, maintenance to a desirable standard is difficult.
  The deferred maintenance backlog will continue to increase and this trend is not sustainable. The
  deferred maintenance is a safety issue for the public and the employees of the Rio Grande.”17 With
  budget increases unlikely, it is clear that there is an acute need for the forest plan revision to
  comprehensively address and provide management direction aimed at making the transportation
  system considerably more sustainable, especially in a climate change world.

  This need, and the commitment to address it, is clearly echoed in the Forest Service’s 2017 Budget
  Justification where the agency declares its commitment to move towards a sustainable road system that
  is safe, environmentally sound, and more resilient to climate change.18 Integral to achieving this is
  "preventing watershed and habitat degradation associated with roads” and "reduc[ing] the size of [the]
  road system, while still providing sufficient access to NFS lands, and _.ensur[ing] that [the] remaining
  roads do not add sediment to streams or block the movement of aquatic organisms through stream
  crossings”, strategies that “make the road system more resilient, as they not only provide for aquatic
  organism passage, but the improved roads are also better able to survive extreme storm events.”19

  Hence, we were pleased to see the inclusion of B5 in the need for change statement (“Revise the
  current plan to include management approaches that ensure for sustainable infrastructure related to
  recreation, forest health and habitat connectivity.”). However, we think that this statement would
  benefit from a revision that reflects the explicit regulatory direction. We recommend that you modify
  B5 to say:



  . . . to manage these risks and vulnerabilities.” With respect to transportation infrastructure specifically, the Forest
  Service’s 2014 adaptation plan recognizes that, “[w]ith increasing heavy rain events, the extensive road system on
  NFS lands will require increased maintenance and/or modification of infrastructure (e.g. larger culverts or
  replacement of culverts with bridges).” The adaptation plan points to a number of actions to address these risks
  including planning under the 2012 Planning Rule.
  17
      Draft chapter 11, page 8.
  18 USDA Forest Service FY 2017 Budget Justification, page 212. (“The agency will place a high priority on providing
  mission enabling infrastructure that is right-sized, environmentally sustainable, and safe for all users.”)
  19 Id., page 226.



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          Provide management direction to ensure a sustainable transportation system for recreation,
          forest management & utilization, and resource protection including wildlife movement. This
          includes management direction to make the road system appropriately sized, fiscally and
          environmentally sustainable, climate ready and compliant with Best Management Practices.



  Thank you for considering our comments and for your hard work and dedication on behalf of our
  national forests. If you have questions, or want to discuss this further, please do not hesitate to contact
  us.

  Sincerely,




  Vera Smith                                              Lauren McCain
  Forest Planning and Policy Director                     Forest Lands Policy Analyst
  The Wilderness Society                                  Defenders of Wildlife
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  Attachments

  # 1: Excerpt of transportation infrastructure section from April 2015 letter

  # 2: Literature Review entitled “Transportation Infrastructure and Access on National Forests and
  Grasslands.” Note because we submitted the literature review along with hard copies of the cited
  articles with the April 2015 letter, we are not resubmitting copies of the cited references with this letter.

  # 3: Moore, T. 2007 [unpublished draft]. National Forest System Road Trends, Trends Analysis Submitted
  to Office of Management and Budget. United States Department of Agriculture, Forest Service,
  Engineering Staff, Washington Office, Washington, DC.




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                                       Attachment 1
     Excerpted Section on Transportation Infrastructure from letter submitted on April 13,
                                           2015
  I.     Infrastructure

  The 2012 planning rule requires forest assessments to address forest infrastructure, including
  “recreational facilities and transportation and utility corridors.”1 As the Forest Service directives
  governing the assessment recognize, “[i]nfrastructure within the plan area can have a substantial
  impact on social, cultural, economic, and ecological conditions both within the plan area and in
  the broader landscape.”2 Given the extensive and decaying nature of the Forest Service road
  system and its significant aggregate impacts on landscape connectivity, ecological integrity,
  water quality, species viability and diversity, and other forest resources and ecosystem services, a
  robust assessment of transportation infrastructure is necessary to ensure the forest plan revision
  complies with the relevant substantive provisions of the 2012 planning rule and other regulatory
  requirements. To provide necessary context for the Forest Service’s assessment of transportation
  infrastructure, those legal obligations are described briefly below.

  To address the Forest Service’s unsustainable and deteriorating road system, “subpart A” of the
  Travel Management Rule is designed to shrink the size of the system. It requires each forest to
  conduct “a science-based roads analysis,” generally referred to as a “travel analysis process” or
  “TAP.”3 Based on that analysis, forests must “identify the minimum road system needed for safe
  and efficient travel and for administration, utilization, and protection of National Forest System
  lands.”4 Forests must then “identify the roads . . . that are no longer needed to meet forest
  resource management objectives and that, therefore, should be decommissioned or considered
  for other uses, such as for trails.”5 With forest plans determining the framework for integrated
  resource management, the plan revision is the appropriate place to ensure that the requirements
  of subpart A are satisfied and to establish direction for achieving a sustainable minimum road
  system.

  The substantive ecological integrity and ecological and fiscal sustainability provisions of the
  2012 planning rule complement and reinforce the requirements of subpart A of 36 CFR 212. For
  example, forest plans must include standards and guidelines that maintain or restore healthy
  aquatic and terrestrial ecosystems, watersheds, and riparian areas, and air, water, and soil quality,
  taking into account climate change and other stressors.6 Plans also must implement national best

  1 36 C.F.R. § 219.6(b)(11).
  2 FSH 1909.12, ch. 10, § 13.13.
  3 36 C.F.R. § 212.5(b)(1); see also Memorandum from Joel Holtrop to Regional Foresters et al. re Travel
  Management, Implementation of 36 CFR, Part 212, Subpart A (Nov. 10, 2010); Memorandum from Leslie Weldon
  to Regional Foresters et al. re Travel Management, Implementation of 36 CFR, Part 212, Subpart A (Mar. 29, 2012);
  Memorandum from Leslie Weldon to Regional Foresters et al. re Travel Management Implementation (Dec. 17,
  2013) (outlining expectations related to travel analysis reports).
  4 36 C.F.R. § 212.5(b)(1) (further defining the minimum road system as that “determined to be needed [1] to meet
  resource and other management objectives adopted in the relevant land and resource management plan . . . , [2] to
  meet applicable statutory and regulatory requirements, [3] to reflect long-term funding expectations, [and 4] to
  ensure that the identified system minimizes adverse environmental impacts associated with road construction,
  reconstruction, decommissioning, and maintenance”).
  5 36 C.F.R. § 212.5(b)(2).
  6 36 C.F.R. § 219.8(a)(1)-(3).




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  management practices (BMPs) for water quality; ensure social and economic sustainability,
  including sustainable recreation and access and opportunities to connect people with nature; and
  provide for “[a]ppropriate placement and sustainable management of infrastructure.”7 As
  documented in more detail below and in the literature review attached, the adverse
  environmental and fiscal impacts associated with existing transportation infrastructure (e.g.,
  erosion, compaction, sedimentation and impairment of water quality, fragmentation of wildlife
  habitat, interference with feeding, breeding, and nesting, spread of invasive species) directly
  implicate these substantive requirements.

  To provide the information necessary to satisfy the forest’s legal obligations described above, we
  recommend that the assessment identify and strive to answer the following questions, each of
  which is addressed in more detail below:

           A.      What infrastructure exists on the forest?
           B.      What is the physical condition of the existing infrastructure?
           C.      What is the annual maintenance revenue and cost, and what are the current and
                   predicted maintenance needs and backlog over the life of the plan?
           D.      How climate resilient is the transportation system?
           E.      What is the minimum road system pursuant to 36 C.F.R. Subpart A, and what is
                   the deviation between the minimum road system and the current road system?
                   Given that the forest has not yet fully complied with subpart A, what are the
                   number, types, and locations of roads likely needed and not needed for future use,
                   as identified in the travel analysis report?
           F.      Does the current transportation system provide sustainable access and
                   opportunities to connect people with nature?
           G.      What effects does the transportation system have on the ecological integrity of
                   aquatic and terrestrial systems? For example:
                   1.      What are the motorized route densities across the forest, and where do
                           they exceed accepted scientific thresholds for aquatic and terrestrial
                           integrity?
                   2.      What are the impacts of transportation infrastructure on watershed
                           conditions across the forest, as identified by the “Roads and Trails”
                           indicator of the Forest Service’s Watershed Condition Framework and
                           other information sources?
                   3.      How many miles of roads are connected by direct surface flow to streams,
                           and how many road/stream crossings exist?
                   4.      What percent of the current transportation infrastructure system is meeting
                           required BMPs for water quality, and what is the effectiveness of the
                           BMPs?
                   5.      Are there Clean Water Act section 303(d) impaired streams or stream
                           segments on the forest where the cause of impairment is sediment and/or
                           temperature attributable at least in part to roads?
                   6.      How significantly is the transportation system contributing to the spread of
                           invasive species?


  7 36 C.F.R. §§ 219.8(a)(4), 219.8(b), 219.10(a)(3).




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                     7.       How much is the current transportation system impairing species
                              migration and ecological integrity at a landscape scale, and could
                              modification of the system contribute to landscape-scale restoration?

  For each question, the agency should identify the best available scientific studies and reports that
  document the relevant condition, costs, benefits, and needs of the transportation system.88
  Principal sources of information for the Rio Grande National Forest include, but are in no way
  limited to, the forest’s 2004 Roads Analysis Report (RAP) and a 2009 report, Ecologically-
  Based Travel Management Recommendations for the Rio Grande National Forest, Colorado,
  which identifies ecological priority areas and makes corresponding travel management
  recommendations.9 Given that the RAP is now over ten years old, the forest assessment should
  update information as necessary and include relevant information from the ongoing travel
  analysis process and corresponding report that will be completed later this year.

  As described below, the best available scientific information shows that the over-sized and
  deteriorating transportation system on the Rio Grande National Forest has significant adverse
  ecological and fiscal impacts. This information highlights an acute need for the forest plan
  revision to comprehensively address and provide management direction aimed at making the
  road system considerably more sustainable - both ecologically and fiscally - and resilient to
  climate change stressors.

           A. What infrastructure exists on the forest?

  Understanding the baseline system of transportation infrastructure is a necessary first step in a
  robust assessment of forest infrastructure - and eventual compliance with the Forest Service’s
  legal obligation to provide for a well-maintained system of needed roads that is fiscally and
  environmentally sustainable and provides for safe and consistent access for the utilization and
  protection of the forest. Accordingly, the forest assessment should first identify existing
  infrastructure.10 Given their significant ecological impacts, it is critical that the assessment
  identify all motorized routes. This includes not just miles of Maintenance Level (ML) 1-5 system
  roads, but also motorized trails, and non-system and temporary roads. The assessment should
  also identify non-motorized trails, and should identify which routes are open to the public and
  which are reserved for permit or administrative use.

  As reported in the 2004 RAP, the Rio Grande National Forest has 2,414 miles of “inventoried,
  classified National Forest System roads,” 65% of which are open to motorized public use and
  32% (771 miles) of which are managed and maintained for low-clearance passenger vehicle use
  (ML 3-5).11 The remaining 1,643 miles are either closed (ML 1) or managed only for high-
  clearance vehicles (ML 2). The RAP states that the forest “does not have an accurate inventory


  8 See 36 C.F.R. § 219.3.
  9 Rio Grande National Forest, Roads Analysis Report, at 37 (2004), available at
  http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5167123.pdf ; ECO-resolutions, LLC, Ecologically-
  Based Travel Management Recommendations for the Rio Grande National Forest, Colorado (May 2009).
  10 See FSH 1909.12, ch. 10, § 13.6(1) (Assessment “should identify and evaluate available information such as [t]he
  location and condition of infrastructure within the plan area . . . includ[ing] the forest road system [and] recreational
  infrastructure . . . . This information is for basic understanding of the role of infrastructure in the plan area . . . .”).
  11 Rio Grande National Forest, Roads Analysis Report, at 18-20.




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  of unclassified [primarily user-created] roads,” which “are identified in the field during project
  analysis.”12 The forest also has over 1,280 miles of trails, some of which permit motorized
  travel. The forest’s ongoing travel analysis process should provide more up-to-date and complete
  information on existing transportation infrastructure. That information should be included in the
  forest assessment.

           B. What is the physical condition of the existing infrastructure?

  After identifying existing infrastructure, the forest assessment should evaluate the physical
  condition of that infrastructure.13 The physical condition of forest roads has important
  implications for the fiscal and ecological sustainability of the system. Inadequately maintained
  roads are more likely to fail, causing corresponding damage to aquatic and other ecological
  systems, endangering public safety, and requiring additional funds to remediate damage and
  hazardous conditions. Particularly given the general state of disrepair of much of the National
  Forest road system and anticipated climate change stressors, understanding the baseline physical
  condition of the system is necessary to ensure the plan revision ultimately provides for an
  ecologically and fiscally sustainable transportation system.14 Accordingly, the assessment should
  identify, for example, the percentage of the system that is: (1) maintained to standard annually;
  (2) in urgent need of work; (3) operating below objective maintenance level; and (4) with
  adequately performing BMPs in place.

  The 2004 RAP for the Rio Grande National Forest does not address the physical condition of the
  forest road system in any detail. The RAP does, however, recognize “the link between [road]
  maintenance and resource protection” and categorize classified roads based on their financial
  risk:

           If basic annual road maintenance (e.g., drainage maintenance) is not performed,
           roads have an increased potential for loss of investment and environmental
           damage. The same is true for deferred maintenance, such as replacing major
           culverts in perennial streams at the end of their design life. A catastrophic
           drainage failure will have a direct negative impact on the associated watershed
           and aquatic health.15

  To the extent it has not been superseded by more up-to-date information in the ongoing travel
  analysis process, the assessment should include the RAP information on the relative financial
  risks associated with each forest road. The assessment should also include any additional
  information on the physical condition of the forest’s transportation infrastructure, including but
  not limited to monitoring data, travel analysis process information, and information submitted by


  12
     Rio Grande National Forest, Roads Analysis Report, at 20.
  13 See FSH 1909.12, ch. 10, § 13.6(1) (assessment “should identify and evaluate available information such as [t]he
  location and condition of infrastructure . . . includ[ing] the forest road system” (emphasis added)).
  14 See 36 C.F.R. § 219.1(g) (plan components generally must be “within . . . the fiscal capability of the unit”); id. §
  219.8 (plans must provide for ecological, social, and economic sustainability); 36 C.F.R. § 212.5(b)(1) (minimum
  road system must “reflect long-term funding expectations” and “minimize[] adverse environmental impacts”); FSH
  1909.12, ch. 20, § 23.23l (plan components for roads and trails infrastructure “must be within the fiscal capability of
  the planning unit”).
  15 Rio Grande National Forest, Roads Analysis Report, at 103 & Appx. C.




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  the public. An example of the latter is information on the physical condition of certain routes
  contained in the 2009 ecological assessment designed to inform travel management planning.16

          C. What is the annual maintenance revenue and cost, and what are the current and
             predicted maintenance needs and backlog over the life of the plan?

  As described above, the Forest Service must provide for the fiscal sustainability of its
  transportation network. With the significant maintenance needs associated with the Forest
  Service’s vast and decaying road system, understanding the maintenance budget for the system is
  a prerequisite to ensuring fiscal sustainability. Accordingly, Forest Service directives require that
  the assessment include “[i]nformation about the sustainability of the infrastructure, including
  planning unit’s fiscal capability to maintain existing infrastructure and the current backlog of
  infrastructure maintenance.”17 More specifically, the assessment should identify annual
  maintenance revenue and cost, as well as the current and predicted maintenance backlog over the
  life of the plan.

  Nationally, the National Forest road system suffers an extraordinary maintenance backlog of
  over $3 billion.18 The story on the Rio Grande National Forest is similar. According to the 2004
  RAP, the forest budget allocation for planning, construction, and maintenance of roads averaged
  $725,000 per year from 2000 to 2003, while “the annual cost to maintain the entire road system
  to standard is considerably higher than the amount allocated by Congress” and “the Forest is
  substantially under-funded for the size of the road system it manages.”19 The RAP’s estimated
  funding needs total over $5 million in annual maintenance costs and over $134 million in
  deferred maintenance costs. Due to the funding shortfall, the RAP recognizes “a need to identify
  and prioritize the potential minimum road system necessary for access to and management of the
  National Forest” and to explore additional opportunities for reducing annual and deferred
  maintenance costs.20 The RAP also recognizes that, “even if funding was shifted from low value
  roads to higher value roads, the annual road maintenance funding for the [forest] is still
  significantly less than needed.”21 Given that this information from the RAP is now over ten years
  old, the forest assessment should update its estimates of annual maintenance revenue and cost
  and deferred maintenance, as well as identify predicted maintenance backlog over the life of the
  plan.

  Although we do not know of a report similar to the RAP for trails, we know that the Forest
  Service suffers from a serious trail maintenance deficit and backlog. In 2012, The US
  Government Accountability Office published a report in which it estimated the value of the
  Forest Service national trail maintenance backlog to be $314 million. There was an additional



  16 E.g., ECO-resolutions, LLC, Ecologically-Based Travel Management Recommendations for the Rio Grande
  National Forest, Colorado, at 50-51 (describing “poor condition” of route # 786, which “has experienced severe
  erosion and degradation due to motorized use”).
  17 FSH 1909.12, ch. 10, § 13.6(4).
  18 USDA, Forest Service, National Forest System Statistics FY 2013, available at
  http://www. fs.fed.us/publications/statistics/nfs-brochure-2013.pdf .
  19 Rio Grande National Forest, Roads Analysis Report, at 22-23, 56, 107, 111-12.
  20
     Rio Grande National Forest, Roads Analysts Report, at 23, 112.
  21
     Rio Grande National Forest, Roads Analysis Report, at 56.




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   $210 million deficit for the annual maintenance, capital improvements and operations estimated
   for trails. It was estimated that nationally only 25% of all trails meet agency standards. 22

           D. How climate resilient is the transportation system?

   Climate change generally intensifies the adverse impacts associated with roads. In particular, the
   warming climate is expected to lead to more extreme weather events, resulting in increased flood
   severity, more frequent landslides, altered hydrographs, and changes in erosion and
   sedimentation rates and delivery processes.23 As the Council on Environmental Quality’s
   recently released draft guidance on climate change recognizes,

           Climate change can increase the vulnerability of a resource, ecosystem, human
           community, or structure, which would then be more susceptible to climate change
           and other effects and result in a proposed action’s effects being more
           environmentally damaging. For example, a proposed action may require water
           from a stream that has diminishing quantities of available water because of
           decreased snow pack in the mountains, or add heat to a water body that is exposed
           to increasing atmospheric temperatures. Such considerations are squarely within
           the realm of NEPA, informing decisions on whether to proceed with and how to
           design the proposed action so as to minimize impacts on the environment, as well
           as informing possible adaptation measures to address these impacts, ultimately
           enabling the selection of smarter, more resilient actions.24

   Many national forest roads were not designed to current engineering standards (or, in some
   cases, any engineering standards), making them particularly vulnerable to climate-induced
   hydrologic shifts. That vulnerability is further exacerbated by the deteriorating physical
   condition of the system and significant maintenance backlog, as described above. Moreover,
   even those roads designed to current engineering standards and hydrologic conditions may fail
   under future weather scenarios, further intensifying adverse ecological impacts, public safety
   concerns, and maintenance needs. 25

   Given these stressors, the forest assessment should address the extent to which the existing
   transportation system is designed to accommodate projected hydrologic changes resulting from
   climate change. To the extent the system is not designed to accommodate projected climate
   changes, the assessment should describe implications of the status quo to sustainable access and
   ecological integrity of aquatic and terrestrial systems, and describe what changes are required to
   adapt the system.



   22 Government Accountability Office. 2013. Forest Service Trails: Long- and Short-Term Improvements Could
   Reduce Maintenance Backlog and Enhance System Sustainability. GAO-13-618: Published: Jun 27, 2013. Available
   at http ://www.gao.gov/products/GAO-13-618.
   23 Appx. 4, Lit. Review at 9-14.
   24 Council on Environmental Quality, Revised Draft Guidance for Greenhouse Gas Emissions and Climate Change
   Impacts, at 22 (Dec. 18, 2014), available at http://www.whitehouse.gov/administration/eop/ceq/initiatives/nepa/ghg-
   guidance.
   25 USDA, Forest Service, Water, Climate Change, and Forests: Watershed Stewardship for a Changing Climate,
   PNW-GTR-812, at 72 (June 2010), available at http://www.fs.fed.us/pnw/pubs/pnw gtr812.pdf.




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   While the Rio Grande National Forest’s 2004 RAP does not expressly address climate resilience,
   it does suggest that forest infrastructure may not be designed to accommodate future climate
   changes and identifies opportunities for modifying infrastructure to address mass wasting and
   other types of roads-related resource damage that may be exacerbated by climate change.26 For
   example, the RAP recognizes that “inadequate culvert sizes to accommodate peak flows,
   sediment loads, and woody debris” contribute to road-related mass wasting and affect hydrologic
   function at road-stream crossings. To mitigate these vulnerabilities, the RAP identifies
   opportunities to, for example, relocate roads outside of areas with high mass wasting potential
   and modify stream-crossing infrastructure, including culverts. Beyond the limited information
   contained in the RAP, the assessment should identify any other information addressing the extent
   to which the existing transportation system is designed to accommodate climate stressors and
   opportunities to adapt the system to be more resilient to those stressors.

            E. Given that the forest has not yet fully complied with 36 CFR 212 subpart A,
               what are the number, types, and locations of roads likely needed and not needed
               for future use, as identified in the travel analysis report?

   As described above, each national forest is required to identify “the minimum road system
   needed for safe and efficient travel and for administration, utilization, and protection of National
   Forest System lands.”27 With forest plans determining the framework for integrated resource
   management, the plan revision is the appropriate place to ensure that the forest has an identified
   minimum road system to carry out the revised plan’s goals and objectives, and to provide
   direction for achieving that system. Accordingly, the assessment should identify the minimum
   road system pursuant to subpart A and the deviation between that system and the current road
   system. If the forest service has not yet determined the minimum road system, the assessment
   should state that the forest is not yet in compliance with subpart A and identify existing relevant
   information such as the roads identified as “likely not needed for future use” in the travel
   analysis report. 28

   Although the Rio Grande National Forest has not yet released its travel analysis process report,
   we understand that process is ongoing and will be complete by September 30, 2015. The forest
   assessment should include relevant information from the travel analysis process, including the
   number, types, and locations of roads needed and likely not needed for future use.

   To the extent it has not been superseded by more up-to-date information in the travel analysis
   process, the assessment also should include information from the 2004 RAP categorizing each
   classified road as high or low value and high or low risk based on a number of factors (e.g., value
   for access needs and recreational use; risk to soil and water resources, imperiled aquatic species,
   wildlife, and budget).29 This “Road Matrix” was intended to “help define the potential minimum
   road system.” For example, roads identified as high value/high risk (407 miles) are priorities for
   capital improvements, while roads identified as low value/high risk (58 miles) and low value/low

   26 Rio Grande National Forest, Roads Analysis Report, at 30-32, 116-17.
   27 3 6 C.F.R. § 212.5(b)(1).
   28 See Memorandum from Leslie Weldon to Regional Foresters et al. re Travel Management Implementation (Dec.
   17, 2013) (directing that travel analysis reports identify on a list and on a map roads likely not needed for future
   use).
   29 Rio Grande National Forest, Roads Analysis Report, at 101-06 & Appx. C.




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   risk (692 miles) should be considered for decommissioning or reduced maintenance level. The
   remaining 1,256 miles identified as high value/low risk roads are considered the “ideal
   condition” and should be maintained to standard.

            F. Does the current transportation system provide sustainable access and
               opportunities to connect people with nature?

   Well-sited and maintained transportation infrastructure can provide important services to society,
   including access for the utilization, enjoyment, and protection of forest resources. To that end,
   the 2012 planning rule requires forest plans to provide for social and economic sustainability,
   including sustainable recreation and access, and integrated resource management for multiple use
   considering “[a]ppropriate placement and sustainable management of infrastructure, such as
   recreational facilities and transportation and utility corridors,” and “[o]pportunities to connect
   people with nature.”3030

   To comply with those mandates, the forest assessment should evaluate whether and how the
   current transportation system provides sustainable access.31 Measures of sustainable access
   include the extent to which system routes: (1) are adequately managed and maintained; (2) are
   sited - and designated for specific uses and time of year - so that they do not interfere with
   important conservation resources or cause unnecessary conflict with other uses; (3) fulfill the
   access needs identified in the revised plan, and (4) connect people to nature.

   To the extent the information has not been superseded by more up-to-date information, the
   assessment should include relevant information from the 2004 RAP addressing the extent to
   which the road system on the Rio Grande National Forest provides sustainable access.32
   According to National Visitor Use Monitoring data from 2000, viewing scenery and wildlife,
   hiking or walking, and driving forest roads for pleasure were the most popular recreational
   activities among surveyed visitors to the Rio Grande National Forest. The RAP recognizes the
   importance of roads “to fulfill public recreational needs.” In addition to recreational uses of the
   forest, the RAP recognizes the unique access needs of certain constituencies in the San Luis
   Valley, including descendants of original Spanish settlers, some of whom “choose to live in
   traditional ways and rely on the nearby public lands for wood for heating and cooking, and
   hunting and gathering to supplement their diets.” While “[r]oads may facilitate some people’s
   enjoyment of the area by providing for driving comfort, the amount and type of use, and any
   number of aesthetic attributes visible alongside the road,” roads also “may deter from
   characteristics that are highly valued for some people’s enjoyment and appreciation of an area.”

   Overall, the RAP found that the existing road system “provides the access needed for resource
   management and recreation use on the majority of the [forest].” The RAP also recognized,
   however, that “[r]oad maintenance funding shortfalls means not all annual road maintenance is


   30 36 C.F.R. §§ 219.8(b), 219.10(a)(3) & (a)(10).
   31 See FSH 1909.12, ch. 10, §§ 13.4(1)(d)-(e), 13.6(7) (assessment “should identify and evaluate . . . [t]he
   infrastructure’s contribution to social and economic sustainability,” including “[t]he nature, extent, and condition of
   trails, roads, facilities, and other transportation . . . infrastructure to provide recreational access” and “[t]he
   opportunities within the plan area to foster greater connection between people and nature through education,
   experience, recreation, and stewardship”).
   32 Rio Grande National Forest, Roads Analysis Report, at 4, 82-95, 103-04, 122-23, Appx. C.




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   occurring,” which in turn affects the “frequency and pattern of use.” The RAP’s “Road Matrix”
   analysis, described above, incorporated a “Resource Management Value” for each road “based
   on the variety of land and resource management access provided by the road,” with “[h]igh
   values [] assigned to roads that provided direct access to developed recreation sites or were key
   recreation access roads.”33

            G. What effects does the transportation system have on the ecological integrity of
               aquatic and terrestrial systems?

   The 2012 planning rule requires that plans provide for the ecological integrity of aquatic and
   terrestrial ecosystems and watersheds, including maintaining or restoring their structure,
   function, composition, and connectivity, while taking into account factors such as climate change
   and other stressors, the broader landscape beyond the plan area, and opportunities for landscape­
   scale restoration.34 To provide the information necessary to satisfy this substantive mandate, the
   forest assessment should evaluate impacts of the transportation system on the ecological integrity
   of the forest’s aquatic and terrestrial systems.35 The following questions are designed to assist
   the forest in that endeavor:

                1. What are the motorized route densities across the forest, and where do they
                   exceed accepted scientific thresholds for aquatic and terrestrial integrity?

   The best available science shows that road density is one of the most important metrics of the
   ecological effects of roads on important watersheds, migratory corridors and other critical
   wildlife habitat, and other forest resources. Indeed, there is a direct correlation between road
   density and various markers for species abundance and viability, and adopting road density
   thresholds is one of the most effective strategies for achieving an ecologically sustainable road
   system.36 Accordingly, Forest Service directives identify road density as one of the “[k]ey
   ecosystem characteristics [that] provide a mechanism for assessing status of ecosystem
   conditions regarding ecological integrity.”37 Because the ecological impacts associated with
   roads and motorized travel are not limited to open system roads, density thresholds should apply
   to all motorized forest routes, including closed, non-system, and temporary roads, and motorized
   trails.38 Thus, the forest assessment should describe motorized route densities across the forest
   and identify where they exceed accepted scientific thresholds for aquatic and terrestrial integrity.

   The Rio Grande National Forest RAP recognizes the direct correlation between high road density
   and adverse effects to resources including “fragmenting habitat for some species, degrading the
   quality of big game hunting, creating conflict between non-motorized and motorized users, []

   33 See also, e.g., ECO-resolutions, LLC, Ecologically-Based Travel Management Recommendations for the Rio
   Grande National Forest, Colorado, at 2, 10-11 (site- and route-specific recommendations for travel management
   planning incorporate access and recreation needs while minimizing ecosystem impacts).
   34 36 C.F.R. § 219.8(a)(1).

   35 See FSH 1909.12, ch. 10, § 13.6(6) (assessment “should identify and evaluate available information such as . . .
   [t]he impacts of infrastructure on ecological integrity and species diversity”).
   36 Appx. 4, Lit. Review at 6-8 & Att. 2 (summarizing best available science on road density thresholds for fish and
   wildlife); see also USDA, Forest Service, Watershed Condition Framework Technical Guide, FS-978, at 27 (July
   2011), available at http://www.fs.fed.us/publications/watershed/watershed classification guide.pdf.
   37 FSH 1909.12, ch. 10, § 12.13 & Exhibit 01.
   38 Appx. 4, Lit. Review Att. 2.




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   affecting watershed health” and facilitating illegal motorized uses.39 Accordingly, the RAP
   calculates road densities and identifies approximately one-half of the forest’s 185 6th-level
   watersheds as having high road density of greater than one mile per square mile. The RAP used
   the road density and other information to, for example, classify “high priority” watersheds for
   additional analysis at a smaller scale; identify watersheds that “have a higher likelihood of
   impacting species mobility and contributing to population isolation;” and rate watershed and
   aquatic risks as part of the “Road Matrix” analysis. Recognizing the importance of
   “consider[ing] all levels and types of roads” in road density analyses, the RAP also suggests that
   the forest “[d]evelop a process for inventorying and managing both classified and unclassified
   roads” and “a strategy to inventory unclassified roads,” focusing on the watersheds identified as
   high priority in the RAP. In addition to the road density information from the 2004 RAP, the
   assessment should include any route density information resulting from subsequent analyses or
   inventories.

   The assessment also should include information and recommendations from the 2009 ecological
   assessment regarding the level of overall route density that should be permitted in areas of
   sensitive wildlife habitat.40 The assessment’s recommendations for ecologically-based travel
   management planning incorporate the route-density needs and sensitivities of focal species such
   as bighorn sheep, Canada lynx, elk, mule deer, pronghorn, and Rio Grande cutthroat trout. For
   example, the assessment utilizes best available science to recommend that overall route density
   be restricted to less than 0.4 miles per square mile in waterways occupied by Rio Grande
   cutthroat trout, and identifies areas where high route density conflicts with important ecological
   values such as wildlife migration corridors or winter range habitat.

                2. What are the impacts of transportation infrastructure on watershed
                   conditions across the forest, as identified by the “Roads and Trails” indicator
                   of the Forest Service’s Watershed Condition Framework and other
                   information sources?

   The Forest Service’s Watershed Condition Framework characterizes the health and condition of
   national forest watersheds as Class 1: Properly Functioning, Class 2: Functioning at Risk, or
   Class 3: Impaired, based on a set of twelve condition indicators.41 Indicator #6 is the condition of
   forest roads and trails and provides an important measure of the effects of the transportation
   system on the ecological integrity of aquatic systems. The indicator is based on four roads and
   trails- related attributes: open road density; road maintenance; proximity to water; and mass
   wasting. The map attached as Figure 3 depicts those conditions on the Rio Grande National
   Forest.42 The map shows that the majority of the forest’s watersheds are in fair
   condition/functioning at risk as a result of transportation infrastructure. Only a handful of
   watersheds in the more remote portions of the forest are functioning properly, while several
   watersheds are in poor condition as a result of roads and trails. The assessment should include

   39 Rio Grande National Forest, Roads Analysis Report, at 25, 28, 35-36, 43, 102, 115-16, 118-19, Appx. A-2 & C.
   40 ECO-resolutions, LLC, Ecologically-Based Travel Management Recommendations for the Rio Grande National
   Forest, Colorado, at 1, 6-7, 18, 22-27, 33, 41-45, 68, 74, 79, 84, 94-95.
   41 USDA, Forest Service, Watershed Condition Framework: A Framework for Assessing and Tracking Changes to
   Watershed Condition, FS-977, at 9 (May 2011), available at
   http://www.fs.fed.us/publications/watershed/Watershed_Condition_Framework.pdf .
   42 The relevant data can be found at http://www.fs.fed.us/publications/watershed/excel WCC attribute info.xlsx.




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   this information, as well as any other information relevant to watershed conditions associated
   with transportation infrastructure. For example, to the extent it has not been superseded by more
   up-to-date information, the assessment should include the “Watersheds of Concern” identified
   during the 1996 forest plan revision. The 2009 ecological assessment utilized that information,
   among other data inputs, to formulate its ecologically-based recommendations for travel
   management planning. 43

                3. How many miles of roads are connected by direct surface flow to streams,
                   and how many road/stream crossings exist?

   As described above, the planning rule establishes a Forest Service obligation to provide for the
   ecological integrity of aquatic systems. In addition to route density (discussed above),
   scientifically credible, landscape-scale measures of risk to aquatic integrity include miles of road
   connected by direct surface flow to streams and the number of road/stream crossings by sub-
   watershed.4 ,45 Accordingly, the assessment should report on these two metrics. The data related
   to system roads should be relatively easily retrieved through a GIS query. If necessary, road
   miles within 300 feet of streams and riparian areas can serve as a proxy for the former.46

   The 2004 RAP evaluates how and where the road system on the Rio Grande National Forest is
   “hydrologically connected” to the stream system using several indicators.47 First, the RAP
   identifies the density of road-stream crossings “to determine those watersheds where road-stream
   crossings pose the highest risk to local stream channels[,] water quality,” and aquatic species
   migration. The RAP then “evaluate[s] the potential for migration barriers . . . by identifying
   those streams that contain Rio Grande cutthroat trout and have high road-stream crossing
   densities” and prioritizing them for site-specific project analysis. The RAP also calculates “[t]he
   ratios of road miles within 200 feet of a stream per square mile of watershed area.” Finally, the
   RAP categorizes each road based on three factors - (1) the percentage of its total length within
   200 feet of a stream; (2) the number of road crossings per mile; and (3) the percentage of its
   length within sensitive soils - to derive a rating of the road’s relative hydrological connection.
   To the extent they have not been superseded by more up-to-date information, these indicators of
   hydrological connection should be included in the assessment, along with the direct-surface-flow
   and road/stream-crossing metrics described above.

   To the degree that the Forest Service has information on non-system roads, the Forest
   Assessment should also attempt to describe the impacts to aquatic resources from non-system


   43 See ECO-resolutions, LLC, Ecologically-Based Travel Management Recommendations for the Rio Grande
   National Forest, Colorado, at 10.
   44 See USDA, Forest Service, Travel Analysis Process: A Guidebook, Pacific Southwest Region, at E-11 to E-13
   (2012); M. Gucinski et al., Forest Roads: A Synthesis ofScientific Information, PNWGTR-509, at 33-35 (2000),
   available at http://www.fs.fed.us/pnw/pubs/gtr509.pdf; Appx. 4, Lit. Review at 4.
   45 This scientific concept is articulated in Region 2’s Watershed Conservation Practices Handbook direct that
   requires the Forest Service to minimize “connected disturbed area”, i. e., where runoff from roads and other
   manipulated areas reach streams.” (Forest Service Handbook 2509.25, section 11.1.)
   46 The Watershed Condition Framework uses this approach. See USDA, Forest Service, Watershed Condition
   Framework Technical Guide, FS-978, at 26 (July 2011), available at
   http://www.fs.fed.us/publications/watershed/watershed_classification_ guide.pdf.
   47 Rio Grande National Forest, Roads Analysis Report, at 31-34, 39-40, 102, 115-17, Appx. A-1 & A-2.




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   roads. These include temporary roads (which the Forest Service should be tracking),
   unauthorized roads, and legal roads under another’s jurisdiction.

               4. What percent of the current transportation infrastructure system is meeting
                  required BMPs for water quality, and what is the effectiveness of the BMPs?

   In addition to providing for the ecological integrity and protection of aquatic systems and water
   resources, the 2012 planning rule requires that plans implement national best management
   practices for water quality.48 Given those requirements and the significant impacts of forest roads
   on water quality, the forest assessment should identify the percent of the current transportation
   system that is meeting relevant BMPs and report on the effectiveness of those BMPs.

               5. Are there Clean Water Act section 303(d) impaired streams or stream
                  segments on the forest where the cause of impairment is sediment and/or
                  temperature attributable at least in part to roads?

   Forest roads have significant impacts on water quality, particularly sediment loads and water
   temperatures.49 In fact, roads contribute more sediment to streams than any other land
   management activity (Gucinski et al. 2000). Under section 303(d) of the Clean Water Act, states
   are required to identify “impaired waters” that are failing to meet applicable water quality
   standards and designated uses, and develop maximum amounts of pollutants (“total maximum
   daily loads”) that those impaired waters can receive and still meet water quality standards.50
   Sediment is one of the primary causes of impairment for 303(d) listed waters.51 Given the
   importance of water quality as a measure of ecosystem health and integrity, forest assessments
   should identify any 303(d) impaired streams or stream segments whose cause of impairment is
   sedimentation and/or temperature attributable at least in part to forest roads. This information is
   necessary to ensure that the plan revision ultimately “maintain[s] or restore[s] . . . water quality”
   and complies with the Clean Water Act. 52 52

   Colorado’s list of 303(d) impaired waters is available on EPA’s website.53 Our review of those
   watersheds overlapping the Rio Grande National Forest did not reveal any 303(d) streams or
   stream segments whose cause of impairment is sediment and/or temperature that might be
   attributable to forest roads. The Forest’s 2004 RAP also found that none of the 303(d) listed
   waters within the Rio Grande National Forest are impaired due to roads. 54 The assessment,
   however, should verify that that information is still accurate.

               6. How significantly is the transportation system contributing to the spread of
                  invasive species?


   48 3 6 C.F.R. § 219.8(a)(4).
   49 Appx. 4, Lit. Review at 2-3.
   50 33 U.S.C. § 1313(d).
   51 See EPA, National Summary ofImpaired Waters and TMDL Information,
   http://iaspub.epa.gov/tmdl waters10/attains nation cy.control?p report tvpe=T#causes 303d.
   52 36 C.F.R. § 219.8(a)(2)(iii).
   53http://iaspub.epa.gov/tmdl/attains watershed.control?p state=CO&p huc=13010002&p cycle=2010&p report ty
   pe=T
   54 Rio Grande National Forest, Roads Analysis Report, at 37.




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   As part of its overarching ecosystem integrity goal, the 2012 planning rule specifically requires
   protection of “the persistence of native species.”55 The spread of invasive species, however,
   poses a primary threat to the persistence of native species and the overall integrity of aquatic and
   terrestrial ecosystems. Indeed, in 2004, then Chief Dale Bosworth identified invasive species as
   one of the four primary threats facing our national forests.56 By facilitating increased human
   intrusion into sensitive areas and species dispersal, motorized routes are the primary mechanism
   for spreading invasive species - which the Forest Service estimates infest an additional 4,600
   acres in the western United States each day.57 Accordingly, the forest assessment should describe
   how, where, and to what degree the transportation system (system and non-system) is
   contributing to the spread of invasive species.

   The 2004 Rio Grande National Forest RAP identifies forest roads as “a primary corridor for the
   transport and spread of exotic and noxious weeds . . . through direct transport via vehicles or
   indirectly by altering habitat and creating early seral, bare soil or patchy ground cover that favors
   weedy species.”58 The RAP identifies Canada thistle, leafy spurge, Russian knapweed, ox-eye
   daisy, hoary cress, perennial pepper weed, yellow toadflax, and musk thistle as noxious weed
   species that have been established on the forest. The RAP also recognizes that forest roads can
   facilitate the spread of invasive aquatic species “at any location where the road system crosses a
   stream or wet area and sufficient habitat exists to support a species long enough for it to migrate
   to a more desirable habitat.”59

   Other, more detailed analyses or information addressing the contribution of forest roads to the
   spread of invasive species may be available, and the forest assessment should identify that
   information. For example, a joint Forest Service/BLM 2008-2010 “Invasive Species Action
   Plan” for the Rio Grande National Forest and San Luis Valley Resource Area provided detailed
   schedules for road and trail invasive species inventories, with “[m]ajor emphasis areas”
   including “[b]ack country and motorized trail systems” and wilderness areas.60 The assessment
   should include the results of those inventory efforts and any subsequent efforts to inventory,
   monitor, and control the spread of invasive species associated with forest transportation
   infrastructure.




   55 36 C.F.R. § 219.9.
   56 http ://www. fs.fed.us/proj ects/four-threats/. In announcing the Four Threats, Chief Bosworth stated, "Public
   lands—especially federal lands—have become the last re^fuge for endangered species—the last place where they can
  find the habitat they need to survive. jf invasives take over, these imperiled animals and plants will have nowhere
   else to go." See also USDA Forest Service, National Strategy and Implementation Plan for Invasive Species
  Management, at 9 (2004), available at
   http://www.fs.fed.us/invasivespecies/documents/Final National Strategy 100804.pdf (describing strategies for
   controlling and managing the spread of invasive species).
   57 Forest Service video “Dangerous Travelers,” mins. 2:07 & 3:57, available at
   http://www.fs.fed.us/invasivespecies/prevention/dangeroustravelers.shtml ; see also Appx. 4, Lit. Review at 6, 11.
   58 Rio Grande National Forest, Roads Analysis Report, at 52. We also note that the majority of weed treatment
   contracts for which data is available indicate that the treatment areas have been directly associated with roads.
   59 Rio Grande National Forest, Roads Analysis Report, at 41.
   60 Forest Service & BLM, Invasive Species Action Plan, Rio Grande National Forest and San Luis Valley Resource
  Area, FY2008-2010, at 2, 4-5, available at http://www.fs.usda.gov/detail/r2/forest-
   grasslandhealth/invasivespecies/?cid=stelprdb5172596.




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                7. How much is the current transportation system impairing species migration
                   and ecological integrity at a landscape scale, and could modification of the
                   system contribute to landscape-scale restoration?

   As a warming climate alters species distribution and forces shifts in wildlife migration, landscape
   connectivity is increasingly critical to species survival and the ability of ecosystems to adapt.61
   Yet one of the most significant impacts of the forest transportation system is to fragment wildlife
   habitat (terrestrial and aquatic), thereby altering species distribution, interfering with life
   functions such as feeding, breeding, and nesting, and resulting in loss of biodiversity.62

   Recognizing these threats, the 2012 planning rule requires that plan components “maintain or
   restore the structure, function, composition, and connectivity” of terrestrial, riparian, and aquatic
   ecosystems, taking into account climate change stressors and “opportunities for landscape scale
   restoration,” and “maintain the diversity of plant and animal communities.”63 To provide the
   information necessary to address those substantive mandates during the plan revision process,
   the forest assessment should provide information on where and how the transportation system
   impedes landscape-scale fish or wildlife migration (e.g., where infrastructure such as culverts is
   impeding fish movement), and impairs terrestrial, riparian, or aquatic ecosystem integrity.
   Conversely, the assessment should also describe how modifications to the transportation system
   might provide opportunities for landscape-scale restoration. For instance, by removing unneeded
   routes in strategic locations (e.g., inventoried roadless areas, critical habitat, priority watersheds)
   and adequately storm-proofing needed routes (e.g., relocating roads away from water bodies, and
   resizing or removing culverts), the Forest Service can reduce landscape-scale fragmentation,
   better enable landscape-scale processes such as floods, protect and restore aquatic and terrestrial
   habitats and habitat connections, and increase resilience.64

   The 2004 RAP for the Rio Grande National Forest does not include a detailed assessment of
   landscape-scale ecological effects. The RAP does, however, highlight a handful of connectivity
   issues.65 For example, the RAP identifies roads within Canada lynx linkage areas,
   acknowledging the importance of landscape-scale connectivity for that species. The RAP also
   evaluates certain aquatic species migration barriers by identifying streams with Rio Grande
   cutthroat trout and high road-stream crossing densities, and identifies opportunities to remediate
   those migration barriers through modification of stream-crossing infrastructure including
   culverts. More broadly, the RAP acknowledges the landscape-scale, population isolation impacts
   of the road system, particularly on the portions of the forest with relatively high road density.

   The 2009 ecological assessment conducted a landscape-level spatial analysis to identify
   ecologically important areas - based on wildlife habitat and watershed values - and make
   corresponding recommendations for modification of the forest’s transportation system.66 This



   61 Appx. 4, Lit. Review at 9-14; see also supra p. X (agency climate change strategies addressing connectivity).
   62 Appx. 4, Lit. Review at 4-6.
   63 3 6 C.F.R. §§ 219.8(a)(1), 219.8(a)(1)(vi), 219.9.
   64 Appx. 4, Lit. Review at 11.
   65 Rio Grande National Forest, Roads Analysis Report, at 39-40, 42-43, 49-50, Appx. D.
   66 ECO-resolutions, LLC, Ecologically-Based Travel Management Recommendations for the Rio Grande National
   Forest, Colorado, at 2, 6-7.




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   information, along with any other information addressing landscape-scale ecological impacts and
   opportunities for restoration, should be included in the assessment.

   Lastly, the BLM recently has been engaged in modeling the impacts of climate change on
   various species in the San Luis Valley, parts of the Rio Grande National Forest, and northern
   New Mexico as part of the Solar Regional Mitigation Strategy. The modeling work identifies
   important connectivity zones for specific species and predicted effects from climate change,
   among other topics. More information is available online at
   http://www.blm.gov/co/st/en/fo/slvfo/solar/solar regional mitigation.html and by contacting Joe
   Viera, Project Manager, BLM Colorado Renewable Energy Program at 719-852-6213 or at
   jvieira@blm.gov.




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              Transportation Infrastructure and Access on National Forests and Grasslands
                                          A Literature Review



      Introduction
      The Forest Service transportation system is very large with 374,883 miles (603,316 km) of
      system roads and 143,346 miles (230,693 km) of system trails. The system extends broadly
      across every national forest and grasslands and through a variety of habitats, ecosystems and
      terrains. An impressive body of scientific literature exists addressing the various effects of roads
      on the physical, biological and cultural environment - so much so, in the last few decades a new
      field of “road ecology” has emerged. In recent years, the scientific literature has expanded to
      address the effects of roads on climate change adaptation and conversely the effects of climate
      change on roads, as well as the effects of restoring lands occupied by roads on the physical,
      biological and cultural environments.

      The following literature review summarizes the most recent thinking related to the
      environmental impacts of forest roads and motorized routes and ways to address them. The
      literature review is divided into three sections that address the environmental effects of
      transportation infrastructure on forests, climate change and infrastructure, and creating
      sustainable forest transportation systems.

         I.   Impacts of Transportation Infrastructure and Access to the Ecological Integrity of
               Terrestrial and Aquatic Ecosystems and Watersheds
         II. Climate Change and Transportation Infrastructure Including the Value of Roadless Areas
               for Climate Change Adaptation
         III. Sustainable Transportation Management in National Forests as Part of Ecological
               Restoration



         I.    Impacts of Transportation Infrastructure and Access to the Ecological Integrity of
               Terrestrial and Aquatic Ecosystems and Watersheds

      It is well understood that transportation infrastructure and access management impact aquatic
      and terrestrial environments at multiple scales, and, in general, the more roads and motorized
      routes the greater the impact. In fact, in the past 20 years or so, scientists having realized the
      magnitude and breadth of ecological issues related to roads; entire books have been written on
      the topic, e.g., Forman et al. (2003), and a new scientific field called “road ecology” has
      emerged. Road ecology research centers have been created including the Western



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      Transportation Institute at Montana State University and the Road Ecology Center at the
      University of California - Davis.1

      Below, we provide a summary of the current understanding on the impacts of roads and access
      allowed by road networks to terrestrial and aquatic ecosystems, drawing heavily on Gucinski et
      al. (2000). Other notable recent peer-reviewed literature reviews on roads include Trombulak
      and Frissell (2000), Switalski et al. (2004), Coffin (2007), Fahrig and Rytwinski (2009), and
      Robinson et al. (2010). Recent reviews on the impact of motorized recreation include Joslin and
      Youmans (1999), Gaines et al. (2003), Davenport and Switalski (2006), Ouren et al. (2007), and
      Switalski and Jones (2012). These peer-reviewed summaries provide additional information to
      help managers develop more sustainable transportation systems

      Impact on geomorphology and hydrology
      The construction or presence of forest roads can dramatically change the hydrology and
      geomorphology of a forest system leading to reductions in the quantity and quality of aquatic
      habitat. While there are several mechanisms that cause these impacts (Wemple et al. 2001 ,
      Figure 1), most fundamentally, compacted roadbeds reduce rainfall infiltration, intercepting and
      concentrating water, and providing a ready source of sediment for transport (Wemple et al.
      1996, Wemple et al. 2001). In fact, roads contribute more sediment to streams than any other
      land management activity (Gucinski et al. 2000). Surface erosion rates from roads are typically
      at least an order of magnitude greater than rates from harvested areas, and three orders of
      magnitude greater than erosion rates from undisturbed forest soils (Endicott 2008).




      1 See http://www.westerntransportationinstitute.org/research/roadecology and
      http://roadecology.ucdavis.edu/




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      Figure 1: Typology of erosional and depositional features produced by mass-wasting and fluvial
      processes associate with forest roads (reprinted from Wemple et al. 2001)

      Erosion of sediment from roads occurs both chronically and catastrophically. Every time it rains,
      sediment from the road surface and from cut- and fill-slopes is picked up by rainwater that flows
      into and on roads (fluvial erosion). The sediment that is entrained in surface flows are often
      concentrated into road ditches and culverts and directed into streams. The degree of fluvial
      erosion varies by geology and geography, and increases with increased motorized use
      (Robichaud et al. 2010). Closed roads produce less sediment, and Foltz et al. (2009) found a
      significant increase in erosion when closed roads were opened and driven upon. In drier
      landscapes, wind erosion following vehicle use can be a significant source of soil loss as well
      (Belnap 2003).

      Roads also precipitate catastrophic failures of road beds and fills (mass wasting) during large
      storm events leading to massive slugs of sediment moving into waterways (Endicott 2008;
      Gucinski et al. 2000). This typically occurs when culverts are undersized and cannot handle the
      volume of water, or they simply become plugged with debris. The saturated roadbed can fail
      entirely and result in a landslide, or the blocked stream crossing can erode the entire fill down to
      the original stream channel.

      The erosion of road- and trail-related sediment and its subsequent movement into stream
      systems affects the geomorphology of the drainage system in a number of ways. The magnitude
      of their effects varies by climate, geology, road age, construction / maintenance practices and
      storm history. It directly alters channel morphology by embedding larger gravels as well as filling
      pools. It can also have the opposite effect of increasing peak discharges and scouring channels,
      which can lead to disconnection of the channel and floodplain, and lowered base flows (Furniss
      et al. 1991; Joslin and Youmans 1999). The width/depth ratio of the stream changes which then


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      can trigger changes in water temperature, sinuosity and other geomorphic factors important for
      aquatic species survival (Joslin and Youmans 1999; Trombulak and Frissell 2000).

      Roads also can modify flowpaths in the larger drainage network. Roads intercept subsurface
      flow as well as concentrate surface flow, which results in new flowpaths that otherwise would
      not exist, and the extension of the drainage network into previously unchannelized portions of
      the hillslope (Gucinski et al. 2000; Joslin and Youmans 1999). Severe aggradation of sediment at
      stream structures or confluences can force streams to actually go subsurface or make them too
      shallow for fish passage (Endicott 2008; Furniss et al. 1991).

      Impacts on aquatic habitat and fish
      Roads can have dramatic and lasting impacts on fish and aquatic habitat. Increased
      sedimentation in stream beds has been linked to decreased fry emergence, decreased juvenile
      densities, loss of winter carrying capacity, and increased predation of fishes, and reductions in
      macro-invertebrate populations that are a food source to many fish species (Rhodes et al. 1994,
      Joslin and Youmans 1999, Gucinski et al. 2000, Endicott 2008). On a landscape scale, these
      effects can add up to: changes in the frequency, timing and magnitude of disturbance to
      aquatic habitat and changes to aquatic habitat structures (e.g., pools, riffles, spawning gravels
      and in-channel debris), and conditions (food sources, refugi, and water temperature) (Gucinski
      et al. 2000).

      Roads can also act as barriers to migration (Gucinski et al. 2000). Where roads cross streams,
      road engineers usually place culverts or bridges. Culverts in particular can and often interfere
      with sediment transport and channel processes such that the road/stream crossing becomes a
      barrier for fish and aquatic species movement up and down stream. For instance, a culvert may
      scour on the downstream side of the crossing, actually forming a waterfall up which fish cannot
      move. Undersized culverts and bridges can infringe upon the channel or floodplain and trap
      sediment causing the stream to become too shallow and/or warm such that fish will not migrate
      past the structure. This is problematic for many aquatic species but especially for anadromous
      species that must migrate upstream to spawn. Well-known native aquatic species affected by
      roads include Colorado River cutthroat trout (Oncorhynchus clarki pleuriticus), the Threatened
      Greenback cutthroat trout (O. c. stomias), and Rio Grande cutthroat trout (O. c. virginalis), as
      well as other native fishes and amphibians (Endicott 2008).

      Impacts on terrestrial habitat and wildlife
      Roads and trails impact wildlife through a number of mechanisms including: direct mortality (poaching,
      hunting/trapping) changes in movement and habitat use patterns (disturbance/avoidance), as well as
      indirect impacts including alteration of the adjacent habitat and interference with predatory/prey
      relationships (Wisdom et al. 2000, Trombulak and Frissell 2000). Some of these impacts result from the
      road itself, and some result from the uses on and around the roads (access). Ultimately, roads have
      been found to reduce the abundance and distribution of several forest species (Fayrig and Ritwinski
      2009, Benitez-Lopez et al. 2010).

      Direct mortality and disturbance from road and trail use impacts many different types of
      species. For example, wide-ranging carnivores can be significantly impacted by a number of
      factors including trapping, poaching, collisions, negative human interactions, disturbance and
      displacement (Gaines et al. 2003). Road access has slowed the recovery of the Mexican Wolf
      (Canis lupus baileyi) with more than half of of mortalities due to illegal shootings (USDI FWS
      2012). Hunted game species such as elk (Cervus canadensis), become more vulnerable from

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      access allowed by roads and motorized trails resulting in a reduction in effective habitat among
      other impacts (Rowland et al. 2005, Switalski and Jones 2012). Slow-moving migratory animals
      such as amphibians, and reptiles who use roads to regulate temperature are also vulnerable
      (Gucinski et al. 2000, Brehme et al. 2013). Several bird species are sensitive to disturbance on
      roads (Barton and Holmes 2007), and several authors have identified buffer zones (Table 1,
      Switalski and Jones 2008, Whittington and Allen 2008).

      Habitat alteration is a significant consequence of roads as well. At the landscape scale, roads
      fragment habitat blocks into smaller patches that may not be able to support successfully
      interior forest species. Smaller habitat patches also results in diminished genetic variability,
      increased inbreeding, and at times local extinctions (Gucinski et al. 2000; Trombulak and Frissell
      2000). Motorized trails and routes can also have cascading effects throughout the ecosystem.
      For example, on an intensively used ORV route in Idaho, native shrubs, bunch grasses, and
      microbiotic crust were greatly reduced close to the route and replaced with non-native cheat
      grass (Bromus tectorum) and the native shrub rabbitbrush (Chrysothamnus spp.; Munger et al.
      2003). Because of these habitat changes, fewer reptiles were found alongside the route than
      were found 100 m away.




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      Table 1. A summary of raptor nest buffer zones recommended for areas associated with human
      disturbance (Reprinted from Switalski and Jones 2008)

       Species                                                  Median nest buffer (m)       Reference
                                                                (range in parentheses)
       American kestrel        Falco sparverius                 125 (50-200)                 Richardson and Miller (1997)
       Ferruginous hawk        Buteo regalis                    300                          Hamann et al. (1999)
       Bald eagle              Haliaeetus leucocephalus         400                          Hamann et al. (1999)
       Northern goshawk        Accipiter gentilis               450 (400-500)                Jones (1979)
       Sharp-shinned hawk      Accipiter striatus               450 (400-500)                Jones (1979)
       Cooper's hawk           Accipiter cooperii               525 (400-500)                Richardson and Miller (1997)
       Prairie falcon          Falco mexicanus                  650 (50-800)                 Richardson and Miller (1997)
       Golden eagle            Aquila chrysaetos                800 (200-1600)               Richardson and Miller (1997)
       Peregrine falcon        Falco peregrinus                 800 (800-1600)               Richardson and Miller (1997)
       Red-tailed hawk         Buteo jamaicensis                800                          Call (1979)
       Mexican spotted owl     Strix occidentalis lucida        900                          US Fish and Wildlife Service (1995)
       Osprey                  Pandion haliaetus                1000 (400-1500)              Richardson and Miller (1997)




      Roads also change the composition and structure of ecosystems along buffer zones, called edge-
      affected zones. The width of edge-affected zones varies by what metric is being discussed;
      however, researchers have documented road-avoidance zones a kilometer or more away from a
      road (Table 2). In heavily roaded landscapes, edge-affected acres can be a significant fraction of
      total acres. For example, in a landscape area where the road density is 3 mi/mi2 (not an
      uncommon road density in national forests) and where the edge-affected zone is estimated to
      be 500 ft from the center of the road to each side, the edge-affected zone is 56% of the total
      acreage.



      Table 2: A summary of some documented road-avoidance zones for various species (adapted
      from Robinson et al. 2010).


                          Avoidance zone
       Species            m (ft)                      Type of disturbance                    Reference

       Snakes             650 (2133)                   Forestry roads                        Bowles (1997)
       Salamander         35 (115)                     Narrow forestry road, light traffic   Semlitsch (2003)
       Woodland birds     150 (492)                    Unpaved roads                         Ortega and Capen (2002)
       Spotted owl        400 (1312)                   Forestry roads, light traffic         Wasser et al. (1997)
       Marten             <100 (<328)                 Any forest opening                     Hargis et al. (1999)
       Elk                500-1000 (1640-3281)         Logging roads, light traffic          Edge and Marcum (1985)
                          100-300 (328-984)            Mountain roads depending on           Rost and Bailey (1979)
                                                      traffic volume
       Black bear         274 (899)                   Spring, unpaved roads                  Kasworm and Manley (1990)
                          914 (2999)                   Fall, unpaved roads



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      Roads and trails also affect ecosystems and habitats because they are also a major vector of
      non-native plant and animal species. This can have significant ecological and economic impacts
      when the invading species are aggressive and can overwhelm or significantly alter native species
      and systems. In addition, roads can increase harassment, poaching and collisions with vehicles,
      all of which lead to stress or mortality (Wisdom et al. 2000).

      Recent reviews have synthesized the impacts of roads on animal abundance and distribution.
      Fahrig and Rytwinski (2009) did a complete review of the empirical literature on effects of roads
      and traffic on animal abundance and distribution looking at 79 studies that addressed 131
      species and 30 species groups. They found that the number of documented negative effects of
      roads on animal abundance outnumbered the number of positive effects by a factor of 5.
      Amphibians, reptiles, most birds tended to show negative effects. Small mammals generally
      showed either positive effects or no effect, mid-sized mammals showed either negative effects
      or no effect, and large mammals showed predominantly negative effects. Benitez-Lopez et al.
      (2010) conducted a meta-analysis on the effects of roads and infrastructure proximity on
      mammal and bird populations. They found a significant pattern of avoidance and a reduction in
      bird and mammal populations in the vicinity of infrastructure.

      Road density2 thresholds for fish and wildlife

      It is well documented that beyond specific road density thresholds, certain species will be
      negatively affected, and some will be extirpated. Most studies that look into the relationship
      between road density and wildlife focus on the impacts to large endangered carnivores or
      hunted game species, although high road densities certainly affect other species - for instance,
      reptiles and amphibians. Gray wolves (Canis lupus) in the Great Lakes region and elk in Montana
      and Idaho have undergone the most long-term and in depth analysis. Forman and Hersperger
      (1996) found that in order to maintain a naturally functioning landscape with sustained
      populations of large mammals, road density must be below 0.6 km/km2 (1.0 mi/mi2). Several
      studies have since substantiated their claim (Robinson et al. 2010, Table 3).

      A number of studies at broad scales have also shown that higher road densities generally lead to
      greater impacts to aquatic habitats and fish density (Table 3). Carnefix and Frissell (2009) provide a
      concise review of studies that correlate cold water fish abundance and road density, and from the
      cited evidence concluded that “1) no truly “safe” threshold road density exists, but rather negative
      impacts begin to accrue and be expressed with incursion of the very first road segment; and 2) highly
      significant impacts (e.g., threat of extirpation of sensitive species) are already apparent at road
      densities on the order of 0.6 km/km2 (1.0 mi/mi2) or less” (p. 1).




      2 We intend the term “road density” to refer to the density all roads within national forests, including
      system roads, closed roads, non-system roads administered by other jurisdictions (private, county, state),
      temporary roads and motorized trails. Please see Attachment 2 for the relevant existing scientific
      information supporting this approach.

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      Table 3: A summary of some road-density thresholds and correlations for terrestrial and aquatic
      species and ecosystems (reprinted from Robinson et al. 2010).

    Species (Location)                Road density (mean, guideline, threshold, correlation)      Reference

    Wolf (Minnesota)                  0.36 km/km2 (mean road density in primary range);           Mech et al. (1988)
                                      0.54 km/km2 (mean road density in peripheral range)
    Wolf                              >0.6 km/km2 (absent at this density)                        Jalkotzy et al. (1997)
    Wolf (Northern Great Lakes re­    >0.45 km/km2 (few packs exist above this threshold);        Mladenoff et al. (1995)
    gion)                             >1.0 km/km2 (no pack exist above this threshold)
    Wolf (Wisconsin)                  0.63 km/km2 (increasing due to greater human tolerance      Wydeven et al. (2001)
    Wolf, mountain lion (Minne-       0.6 km/km2 (apparent threshold value for a naturally        Thiel (1985); van Dyke et
    sota, Wisconsin, Michigan)        functioning landscape containing sustained popula­          al. (1986); Jensen et al.
                                      tions)                                                      (1986); Mech et al.
                                                                                                  (1988); Mech (1989)
    Elk (Idaho)                       1.9 km/km2 (density standard for habitat effectiveness)     Woodley 2000 cited in
                                                                                                  Beazley et al. 2004
    Elk (Northern US)                 1.24 km/km2 (habitat effectiveness decline by at least      Lyon (1983)
                                      50%)
    Elk, bear, wolverine, lynx, and   0.63 km/km2 (reduced habitat security and increased         Wisdom et al. (2000)
    others                            mortality)
    Moose (Ontario)                   0.2-0.4 km/km2 (threshold for pronounced response)          Beyer et al. (2013)
    Black bear (North Carolina)       >1.25 km/km2 (open roads); >0.5 km/km2 (logging             Brody and Pelton (1989)
                                      roads); (interference with use of habitat)
    Black bear                        0.25 km/km2 (road density should not exceed)                Jalkotzy et al. (1997)
    Bobcat (Wisconsin)                1.5 km/km2 (density of all road types in home range)        Jalkotzy et al. (1997)
    Large mammals                     >0.6 km/km2 (apparent threshold value for a naturally       Forman and Hersperger
                                      functioning landscape containing sustained popula­          (1996)
                                      tions)
    Fish populations (Medicine Bow    (1) Positive correlation of numbers of culverts and         Eaglin and Hubert (1993)
    National Forest)                  stream crossings and amount of fine sediment in             cited in Gucinski et al.
                                      stream channels                                             (2001)
                                      (2) Negative correlation of fish density and numbers of
                                      culverts
    Macroinvertebrates                Species richness negatively correlated with an index of     McGurk and Fong (1995)
                                      road density
    Non-anadromous salmonids          (1) Negative correlation likelihood of spawning and         Lee et al. (1997)
    (Upper Columbia River basin)      rearing and road density
                                      (2) Negative correlation of fish density and road density




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      Where both stream and road densities are high, the incidence of connections between roads and
      streams can also be expected to be high, resulting in more common and pronounced effects of roads
      on streams (Gucinski et al. 2000). For example, a study on the Medicine Bow National Forest (WY)
      found as the number of culverts and stream crossings increased, so did the amount of sediment in
      stream channels (Eaglin and Hubert 1993). They also found a negative correlation with fish density
      and the number of culverts. Invertebrate communities can also be impacted. McGurk and Fong
      (1995) report a negative correlation between an index of road density with macroinvertebrate
      diversity.

      Anderson et al. (2012) also showed that watershed conditions tend to be best in areas protected from
      road construction and development. Using the US Forest Service's Watershed Condition Framework
      assessment data, they showed that National Forest lands that are protected under the Wilderness Act,
      which provides the strongest safeguards, tend to have the healthiest watersheds. Watersheds in
      Inventoried Roadless Areas - which are protected from road building and logging by the Roadless Area
      Conservation Rule - tend to be less healthy than watersheds in designated Wilderness, but they are
      considerably healthier than watersheds in the managed landscape.

      Impacts on other resources
      Roads and motorized trails also play a role in affecting wildfire occurrence. Research shows
      that human-ignited wildfires, which account for more than 90% of fires on national lands, is
      almost five times more likely in areas with roads (USDA Forest Service 1996a; USDA Forest
      Service 1998). Furthermore, Baxter (2002) found that off-road vehicles (ORVs) can be a
      significant source of fire ignitions on forestlands. Roads can affect where and how forests burn
      and, by extension, the vegetative condition of the forest. See Attachment 1 for more
      information documenting the relationship between roads and wildfire occurrence.

      Finally, access allowed by roads and trails can increase of ORV and motorized use in remote
      areas threatening archaeological and historic sites. Increased visitation has resulted in
      intentional and unintentional damage to many cultural sites (USDI Bureau of Land
      Management 2000, Schiffman 2005).



          II.     Climate Change and Transportation Infrastructure including the value of roadless
                  areas for climate change adaptation

      As climate change impacts grow more profound, forest managers must consider the impacts on
      the transportation system as well as from the transportation system. In terms of the former,
      changes in precipitation and hydrologic patterns will strain infrastructure at times to the
      breaking point resulting in damage to streams, fish habitat, and water quality as well as threats
      to public safety. In terms of the latter, the fragmenting effect of roads on habitat will impede
      the movement of species which is a fundamental element of adaptation. Through planning,
      forest managers can proactively address threats to infrastructure, and can actually enhance
      forest resilience by removing unneeded roads to create larger patches of connected habitat.

      Impact of climate change and roads on transportation infrastructure
      In addition to a much warmer climate, it is expected that climate change will be responsible for
      more extreme weather events, leading to increasing flood severity, more frequent landslides,
      changing hydrographs (peak, annual mean flows, etc.), and changes in erosion and


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      sedimentation rates and delivery processes3. Roads and trails in national forests, if designed by
      an engineering standard at all, were designed for storms and water flows typical of past
      decades, and hence may not be designed for the storms in future decades. Hence, climate
      driven changes may cause transportation infrastructure to malfunction or fail (ASHTO 2012,
      USDA Forest Service 2010). The likelihood is higher for facilities in high-risk settings—such as
      rain-on-snow zones, coastal areas, and landscapes with unstable geology (USDA Forest Service
      2010).

      Forests fragmented by roads will likely demonstrate less resistance and resilience to stressors,
      like those associated with climate change (Noss 2001). First, the more a forest is fragmented
      (and therefore the higher the edge/interior ratio), the more the forest loses its inertia
      characteristic, and becoming less resilient and resistant to climate change. Second, the more a
      forest is fragmented characterized by isolated patches, the more likely the fragmentation will
      interfere with the ability of species to track shifting climatic conditions over time and space.
      Noss (2001) predicts that weedy species with effective dispersal mechanisms might benefit from
      fragmentation at the expense of native species.

      Modifying infrastructure to increase resilience
      To prevent or reduce road failures, culvert blow-outs, and other associated hazards, forest
      managers will need to take a series of actions. These include replacing undersized culverts with
      larger ones, prioritizing maintenance and upgrades (e.g., installing drivable dips and more
      outflow structures), and obliterating roads that are no longer needed and pose erosion hazards
      (USDA Forest Service 2010, USDA Forest Service 2012a, USDA Forest Service 2011, Table 4).

      Olympic National Forest has developed a number of documents oriented at oriented at
      protecting watershed health and species in the face of climate change, including a 2003 travel
      management strategy and a report entitled Adapting to Climate Change in Olympic National
      Park and National Forest. In the travel management strategy, Olympic National Forest
      recommended that 1/3rd of its road system be decommissioned and obliterated (USDA Forest
      Service 2011a). In addition, the plan called for addressing fish migration barriers in a prioritized
      and strategic way - most of these are associated with roads. The report calls for road
      decommissioning, relocation of roads away from streams, enlarging culverts as well as replacing
      culverts with fish-friendly crossings (USDA Forest Service 2011a, Table 4).




      3 http://www.epa.gov/climatechange/impacts-adaptation/southwest.html




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      Table 4: Current and expected sensitivities of fish to climate change on the Olympic Peninsula,
      associated adaptation strategies and action for fisheries and fish habitat management and
      relevant to transportation management at Olympic National Forest and Olympic National Park
      (excerpt reprinted from USDA Forest Service 2011a).


       Current and expected sensitivites                    Adaptation strategies and actions
       Changes in habitat quantity and quality              • Implement habitat restoration projects that focus on re-creating

                                                                watershed processes and functions and that create diverse,

                                                                resilient habitat.

       Increase in culvert failures, fill-slope failures,   • Decommission unneeded roads.

        stream adjacent road failures, and encroach­        • Remove sidecast, improve drainage, and increase culvert sizing

        ment from stream-adjacent road segments                on remaining roads.

                                                            • Relocate stream-adjacent roads.

       Greater difficulty disconnecting roads from          • Design more resilient stream crossing structures.

        stream channels

       Major changes in quantity and timing of              • Make road and culvert designs more conservative in transitional

        streamflow in transitional watersheds                    watersheds to accommodate expected changes.

       Decrease in area of headwater streams                • Continue to correct culvert fish passage barriers.

                                                            • Consider re-prioritizing culvert fish barrier correction projects.

       Decrease in habitat quantity and connectivity        • Restore habitat in degraded headwater streams that are

        for species that use headwater streams                  expected to retain adequate summer streamflow (ONF).




      In December 2012, the USDA Forest Service published a report entitled “Assessing the
      Vulnerability of Watersheds to Climate Change.” This document reinforces the concept
      expressed by Olympic National Forest that forest managers need to be proactive in reducing
      erosion potential from roads:

                “Road improvements were identified as a key action to improve condition and resilience of
                watersheds on all the pilot Forests. In addition to treatments that reduce erosion, road
                improvements can reduce the delivery of runoff from road segments to channels, prevent
                diversion of flow during large events, and restore aquatic habitat connectivity by providing for
                passage of aquatic organisms. As stated previously, watershed sensitivity is determined by both
                inherent and management-related factors. Managers have no control over the inherent factors,
                so to improve resilience, efforts must be directed at anthropogenic influences such as instream
                flows, roads, rangeland, and vegetation managements.

                [Watershed Vulnerability Analysis] results can also help guide implementation of travel
                management planning by informing priority setting for decommissioning roads and road
                reconstruction/maintenance. As with the Ouachita NF example, disconnecting roads from the
                stream network is a key objective of such work. Similarly, WVA analysis could also help prioritize
                aquatic organism passage projects at road-stream crossings to allow migration by aquatic
                residents to suitable habitat as streamflow and temperatures change” (USDA Forest Service
                2012a, p. 22-23).



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      Reducing fragmentation to enhance aquatic and terrestrial species adaptation
      Decommissioning and upgrading roads and thus reducing the amount of fine sediment
      deposited on salmonid nests can increase the likelihood of egg survival and spawning success
      (McCaffery et al. 2007). In addition, this would reconnect stream channels and remove barriers
      such as culverts. Decommissioning roads in riparian areas may provide further benefits to
      salmon and other aquatic organisms by permitting reestablishment of streamside vegetation,
      which provides shade and maintains a cooler, more moderated microclimate over the stream
      (Battin et al. 2007).

      One of the most well documented impacts of climate change on wildlife is a shift in the ranges
      of species (Parmesan 2006). As animals migrate, landscape connectivity will be increasingly
      important (Holman et al. 2005). Decommissioning roads in key wildlife corridors will improve
      connectivity and be an important mitigation measure to increase resiliency of wildlife to climate
      change. For wildlife, road decommissioning can reduce the many stressors associated with
      roads. Road decommissioning restores habitat by providing security and food such as grasses
      and fruiting shrubs for wildlife (Switalski and Nelson 2011).

      Forests fragmented by roads and motorized trail networks will likely demonstrate less resistance
      and resilience to stressors, such as weeds. As a forest is fragmented and there is more edge
      habitat, Noss (2001) predicts that weedy species with effective dispersal mechanisms will
      increasingly benefit at the expense of native species. However, decommissioned roads when
      seeded with native species can reduce the spread of invasive species (Grant et al. 2011), and
      help restore fragmented forestlands. Off-road vehicles with large knobby tires and large
      undercarriages are also a key vector for weed spread (e.g., Rooney 2006). Strategically closing
      and decommissioning motorized routes, especially in roadless areas, will reduce the spread of
      weeds on forestlands (Gelbard and Harrison 2003).

      Transportation infrastructure and carbon sequestration
      The topic of the relationship of road restoration and carbon has only recently been explored.
      There is the potential for large amounts of carbon (C) to be sequestered by reclaiming roads.
      When roads are decompacted during reclamation, vegetation and soils can develop more
      rapidly and sequester large amounts of carbon. A recent study estimated total soil C storage
      increased 6 fold to 6.5 x 107g C/km (to 25 cm depth) in the northwestern US compared to
      untreated abandoned roads (Lloyd et al. 2013). Another recent study concluded that reclaiming
      425 km of logging roads over the last 30 years in Redwood National Park in Northern California
      resulted in net carbon savings of 49,000 Mg carbon to date (Madej et al. 2013, Table 5).

      Kerekvliet et al. (2008) published a Wilderness Society briefing memo on the impact to carbon
      sequestration from road decommissioning. Using Forest Service estimates of the fraction of
      road miles that are unneeded, the authors calculated that restoring 126,000 miles of roads to a
      natural state would be equivalent to revegetating an area larger than Rhode Island. In addition,
      they calculate that the net economic benefit of road treatments are always positive and range
      from US$0.925-1.444 billion.




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      Table 5. Carbon budget implications in road decommissioning projects (reprinted from Madej et
      al. 2013).


       Road Decommissioning Activities and Processes                            Carbon Cost   Carbon Savings
       Transportation of staff to restoration sites (fuel emissions)                 X
       Use of heavy equipment in excavations (fuel emissions)                        X
       Cutting trees along road alignment during hillslope recontouring              X
       Excavation of road fill from stream crossings                                                 X
       Removal of road fill from unstable locations                                                  X
       Reduces risk of mass movement                                                                 X
       Post-restoration channel erosion at excavation sites                          X
       Natural revegetation following road decompaction                                              X
       Replanting trees                                                                              X
       Soil development following decompaction                                                       X



      Benefits of roadless areas and roadless area networks to climate change adaptation
      Undeveloped natural lands provide numerous ecological benefits. They contribute to
      biodiversity, enhance ecosystem representation, and facilitate connectivity (Loucks et al. 2003;
      Crist and Wilmer 2002, Wilcove 1990, The Wilderness Society 2004, Strittholt and Dellasala
      2001, DeVelice and Martin 2001), and provide high quality or undisturbed water, soil and air
      (Anderson et al. 2012, Dellasalla et al. 2011). They also can serve as ecological baselines to help
      us better understand our impacts to other landscapes, and contribute to landscape resilience to
      climate change.

      Forest Service roadless lands, in particular, are heralded for the conservation values they
      provide. These are described at length in the preamble of the Roadless Area Conservation Rule
      (RACR)4 as well as in the Final Environmental Impact Statement (FEIS) for the RACR5, and
      include: high quality or undisturbed soil, water, and air; sources of public drinking water;
      diversity of plant and animal communities; habitat for threatened, endangered, proposed,
      candidate, and sensitive species and for those species dependent on large, undisturbed areas of
      land; primitive, semi-primitive non- motorized, and semi-primitive motorized classes of
      dispersed recreation; reference landscapes; natural appearing landscapes with high scenic
      quality; traditional cultural properties and sacred sites; and other locally identified unique
      characteristics (e.g., include uncommon geological formations, unique wetland complexes,
      exceptional hunting and fishing opportunities).

      The Forest Service, National Park Service, and US Fish and Wildlife Service recognize that
      protecting and connecting roadless or lightly roaded areas is an important action agencies can
      take to enhance climate change adaptation. For example, the Forest Service National Roadmap
      for Responding to Climate Change (USDA Forest Service 2011b) establishes that increasing
      connectivity and reducing fragmentation are short and long term actions the Forest Service




      4 Federal Register .Vol. 66, No. 9. January 12, 2001. Pages 3245-3247.
      5 Final Environmental Impact Statement, Vol. 1, 3-3 to 3-7

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      should take to facilitate adaptation to climate change.6 The National Park Service also identifies
      connectivity as a key factor for climate change adaptation along with establishing “blocks of
      natural landscape large enough to be resilient to large-scale disturbances and long-term
      changes” and other factors. The agency states that: “The success of adaptation strategies will
      be enhanced by taking a broad approach that identifies connections and barriers across the
      landscape. Networks of protected areas within a larger mixed landscape can provide the highest
      level of resilience to climate change.”7 Similarly, the National Fish, Wildlife and Plants Climate
      Adaptation Partnership's Adaptation Strategy (2012) calls for creating an ecologically-connected
      network of conservation areas.8

      Roadless lands also are responsible for higher quality water and watersheds. Anderson et al.
      (2012) assessed the relationship of watershed condition and land management status and found
      a strong spatial association between watershed health and protective designations. Dellasalla et
      al. (2011) found that undeveloped and roadless watersheds are important for supplying
      downstream users with high-quality drinking water, and developing these watersheds comes at
      significant costs associated with declining water quality and availability. The authors
      recommend a light-touch ecological footprint to sustain the many values that derive from
      roadless areas including healthy watersheds.




      6 Forest Service, 2011. National Roadmap for Responding to Climate Change. US Department of
      Agriculture. FS-957b. Page 26.
      7 National Park Service. Climate Change Response Program Brief.
      http://www.nature.nps.gov/climatechange/adaptationplanning.cfm . Also see: National Park Service,
      2010. Climate Change Response Strategy.
      http://www.nature.nps.gov/climatechange/docs/NPS CCRS.pdf. Objective 6.3 is to “Collaborate to
      develop cross-jurisdictional conservation plans to protect and restore connectivity and other landscape­
      scale components of resilience.”
      8 See http://www.wildlifeadaptationstrategy.gov/pdf/NFWPCAS-Chapter-3.pdf. Pages 55- 59. The first
      goal and related strategies are:

         Goal 1: Conserve habitat to support healthy fish, wildlife, and plant populations and ecosystem
         functions in a changing climate.
              Strategy 1.1: identify areas for an ecologically-connected network of terrestrial, freshwater,
              coastal, and marine conservation areas that are likely to be resilient to climate change and to
              support a broad range of fish, wildlife, and plants under changed conditions.
              Strategy 1.2: Secure appropriate conservation status on areas identified in Strategy 1.1 to
              complete an ecologically-connected network of public and private conservation areas that will be
              resilient to climate change and support a broad range of species under changed conditions.
              Strategy 1.4: Conserve, restore, and as appropriate and practicable, establish new ecological
              connections among conservation areas to facilitate fish, wildlife, and plant migration, range
              shifts, and other transitions caused by climate change.



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          III.      Sustainable Transportation Management in National Forests as Part of Ecological
                    Restoration

      At 375,000 miles strong, the Forest Service road system is one of the largest in the world - it is
      eight times the size of the National Highway System. It is also indisputably unsustainable - that
      is, roads are not designed, located, or maintained according to best management practices, and
      environmental impacts are not minimized. It is largely recognized that forest roads, especially
      unpaved ones, are a primary source of sediment pollution to surface waters (Endicott 2008,
      Gucinski et al. 2000), and that the system has about 1/3rd more miles than it needs (USDA Forest
      Service 2001). In addition, the majority of the roads were constructed decades ago when road
      design and management techniques did not meet current standards (Gucinski et al. 2000,
      Endicott 2008), making them more vulnerable to erosion and decay than if they had been
      designed today. Road densities in national forests often exceed accepted thresholds for wildlife.

      Only a small portion of the road system is regularly used. All but 18% of the road system is
      inaccessible to passenger vehicles. Fifty-five percent of the roads are accessible only by high
      clearance vehicles and 27% are closed. The 18% that is accessible to cars is used for about 80%
      of the trips made within National Forests.9 Most of the road maintenance funding is directed to
      the passenger car roads, while the remaining roads suffer from neglect. As a result, the Forest
      Service currently has a $3.7 billion road maintenance backlog that grows every year. In other
      words, only about 1/5th of the roads in the national forest system are used most of the time,
      and the fraction that is used often is the best designed and maintained because they are higher
      level access roads. The remaining roads sit generally unneeded and under-maintained -
      arguably a growing ecological and fiscal liability.

      Current Forest Service management direction is to identify and implement a sustainable
      transportation system.10 The challenge for forest managers is figuring out what is a sustainable
      road system and how to achieve it - a challenge that is exacerbated by climate change. It is
      reasonable to define a sustainable transportation system as one where all the routes are
      constructed, located, and maintained with best management practices, and social and
      environmental impacts are minimized. This, of course, is easier said than done, since the reality
      is that even the best roads and trail networks can be problematic simply because they exist and
      usher in land uses that without the access would not occur (Trombulak and Frissell 2000,
      Carnefix and Frissell 2009, USDA Forest Service 1996b), and when they are not maintained to
      the designed level they result in environmental problems (Endicott 2008; Gucinski et al. 2000).
      Moreover, what was sustainable may no longer be sustainable under climate change since roads
      designed to meet older climate criteria may no longer hold up under new climate scenarios
      (USDA Forest Service 2010, USDA Forest Service 2011b, USDA Forest Service 2012a, AASHTO
      2012).

      Forest Service efforts to move toward a more sustainable transportation system
      The Forest Service has made efforts to make its transportation system more sustainable, but still
      has considerable work to do. In 2001, the Forest Service tried to address the issue by



      9 USDA Forest Service. Road Management Website Q&As. Available online at
      http://www.fs.fed.us/eng/road mgt/qanda.shtml.
      10 See Forest Service directive memo dated March 29, 2012 entitled “Travel Management, Implementation of 36 CFR,
      Part 202, Subpart A (36 CFR 212.5(b))"


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      promulgating the Roads Rule11 with the purpose of working toward a sustainable road system
      (USDA 2001). The Rule directed every national forest to identify a minimum necessary road
      system and identify unneeded roads for decommissioning. To do this, the Forest Service
      developed the Roads Analysis Process (RAP), and published Gucinski et al. (2000) to provide the
      scientific foundation to complement the RAP. In describing the RAP, Gucinski et al. (2000)
      writes:

          “Roads Analysis is intended to be an integrated, ecological, social, and economic approach to
          transportation planning. It uses a multiscale approach to ensure that the identified issues are
          examined in context. Roads Analysis is to be based on science. Analysts are expected to locate,
          correctly interpret, and use relevant existing scientific literature in the analysis, disclose any
          assumptions made during the analysis, and reveal the limitations of the information on which the
          analysis is based. The analysis methods and the report are to be subjected to critical technical review”
          (p. 10).

      Most national forests have completed RAPs, although most only looked at passenger vehicle
      roads which account for less than 20% of the system's miles. The Forest Service Washington
      Office in 2010 directed that forests complete a Travel Analysis Process (TAP) by the end of fiscal
      year 2015, which must address all roads and create a map and list of roads identifying which are
      likely needed and which are not. Completed TAPs will provide a blueprint for future road
      decommissioning and management, they will not constitute compliance with the Roads Rule,
      which clearly requires the identification of the minimum roads system and roads for
      decommissioning. Almost all forests have yet to comply with subpart A.

      The Forest Service in 2005 then tried to address the off-road portion of this issue by
      promulgating subpart B of the Travel Management Rule,12 with the purpose of curbing the most
      serious impacts associated with off-road vehicle use. Without a doubt, securing summer-time
      travel management plans was an important step to curbing the worst damage. However, much
      work remains to be done to approach sustainability, especially since many national forests used
      the travel management planning process to simply freeze the footprint of motorized routes, and
      did not try to re-design the system to make it more ecologically or socially sustainable. Adams
      and McCool (2009) considered this question of how to achieve sustainable motorized recreation
      and concluded that:

              As the agencies move to revise [off-road vehicle] allocations, they need to clearly define how
              they intend to locate routes so as to minimize impacts to natural resources and other
              recreationists in accordance with Executive Order 11644....13


      11 36 CFR 215 subpart A
      12 36 CFR 212 subpart B
      13 Recent court decisions have made it clear that the minimization requirements in the Executive Orders
      are not discretionary and that the Executive Orders are enforceable. See
           • Idaho Conservation League v. Guzman, 766 F. Supp. 2d 1056 (D. Idaho 2011) (Salmon-Challis
               National Forest TMP) .
           •   The Wilderness Society v. U.S. Forest Service, CV 08-363 (D. Idaho 2012) (Sawtooth-Minidoka
               district National Forest TMP).
           • Central Sierra Environmental Resource Center v. US Forest Service, CV 10-2172 (E.D. CA 2012)
               (Stanislaus National Forest TMP).




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               ^As they proceed with designation, the FS and BLM need to acknowledge that current
               allocations are the product of agency failure to act, not design. Ideally, ORV routes would be
               allocated as if the map were currently empty of ORV routes. Reliance on the current baseline will
               encourage inefficient allocations that likely disproportionately impact natural resources and non­
               motorized recreationists. While acknowledging existing use, the agencies need to do their best to
               imagine the best possible arrangement of ORV routes, rather than simply tinkering around the
               edges of the current allocations.14

      The Forest Service only now is contemplating addressing the winter portion of the issue, forced
      by a lawsuit challenging the Forest Service's inadequate management of snowmobiles. The
      agency is expected to issue a third rule in the fall of 2014 that will trigger winter travel
      management planning.

      Strategies for identifying a minimum road system and prioritizing restoration
      Transportation Management plays an integral role in the restoration of Forestlands. Reclaiming
      and obliterating roads is key to developing a sustainable transportation system. Numerous
      authors have suggested removing roads 1) to restore water quality and aquatic habitats Gucinski
      et al. 2000), and 2) to improve habitat security and restore terrestrial habitat (e.g., USDI USFWS
      1993, Hebblewhite et al. 2009).

      Creating a minimum road system through road removal will increase connectivity and decrease
      fragmentation across the entire forest system. However, at a landscape scale, certain roads and
      road segments pose greater risks to terrestrial and aquatic integrity than others. Hence,
      restoration strategies must focus on identifying and removing/mitigating the higher risk roads.
      Additionally, areas with the highest ecological values, such as being adjacent to a roadless area,
      may also be prioritized for restoration efforts. Several methods have been developed to help
      prioritize road reclamation efforts including GIS-based tools and best management practices
      (BMPs). It is our hope that even with limited resources, restoration efforts can be prioritized
      and a more sustainable transportation system created.

      GIS-based tools
      Girvetz and Shilling (2003) developed a novel and inexpensive way to analyze environmental
      impacts from road systems using the Ecosystem Management Decision Support program
      (EMDS). EMDS was originally developed by the United States Forest Service, as a GIS-based
      decision support tool to conduct ecological analysis and planning (Reynolds 1999). Working in
      conjunction with Tahoe National Forest managers, Girvetz and Shilling (2003) used spatial data
      on a number of aquatic and terrestrial variables and modeled the impact of the forest's road
      network. The network analysis showed that out of 8233 km of road analyzed, only 3483 km
      (42%) was needed to ensure current and future access to key points. They found that the
      modified network had improved patch characteristics, such as significantly fewer “cherry stem”
      roads intruding into patches, and larger roadlessness.

      Shilling et al. (2012) later developed a recreational route optimization model using a similar
      methodology and with the goal of identifying a sustainable motorized transportation system for
      the Tahoe National Forest (Figure 2). Again using a variety of environmental factors, the model
      identified routes with high recreational benefits, lower conflict, lower maintenance and

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      management requirements, and lower potential for environmental impact operating under the
      presumption that such routes would be more sustainable and preferable in the long term. The
      authors combined the impact and benefit analyses into a recreation system analysis “that was
      effectively a cost-benefit accounting, consistent with requirements of both the federal Travel
      Management Rule (TMR) and the National Environmental Policy Act” (p. 392).

      The Wilderness Society in 2012 also developed a GIS decision support tool called “RoadRight”
      that identifies high risk road segments to a variety of forest resources including water, wildlife,
      and roadlessness (The Wilderness Society 2012, The Wilderness Society 2013). The GIS system is
      designed to provide information that will help forest planners identify and minimize road
      related environmental risks. See the summary of and user guide for RoadRight that provides
      more information including where to access the open source software.




       A                                    Environmental
                                               impact

          Historical                                                                                                       Cumulative
           /cultural                                                                                                    roads effect
                                                                                                     Aquatic
                                                                                                     system

          Landscape                                      Terrestrial                  Biological                       Channel
        erosion risk                                        system                      feature                        & slope
      *    Paleo-

          archaeological
                                     Weed
      ,      sites                                                                                    Water quality              Landscape
                                occurrence
                                                                                    nireatenedSr ’        drainage             erosiott risk
                                 Rare plant
                                                                                     endangered
                                occurrence
                                                                                    ____ <
                                                                                      Ripar ian &
                                                                                        wetland          Stream               Precipitation
                                                                                                         crossing
                                                                                    Lahontan cut­                                  Slope
                                         disturbance                                 throat trout        Stream
                                                                                                                                 steeptie ss
                                                                                                        proximity
                                                                                                       Trail slope &
                                                                                                                       1          Slides &
                                                                          Habitat                                             mass wasting
                             Biota of
                                                                                                         position
                                                                          values                                                    Soil
                            cortcerti
                                                                                                                                 erodibility
                                                    propagation


                                                                        Old forest
                            Gosliasvk
                                                                       Route den sttv
                                                     steepness
                           Spotted owl          >    Adjacent           Patch size
                              Deer                  vegetation




      Figure 2: A knowledge base of contributions of various environmental conditions to the concept
      "environmental impact" [of motorized trails]. Rectangles indicate concepts, circles indicate
      Boolean logic operators, and rounded rectangles indicate sources of environmental data.
      (Reprinted from Shilling et al. 2012)




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      Best management practices (BMPs)
      BMPs have also been developed to help create more sustainable transportation systems and
      identify restoration opportunities. BMPs provide science-based criteria and standards that land
      managers follow in making and implementing decisions about human uses and projects that
      affect natural resources. Several states have developed BMPs for road construction,
      maintenance and decommissioning practices (e.g., Logan 2001, Merrill and Cassaday 2003,
      USDA Forest Service 2012b).

      Recently, BMPs have been developed for addressing motorized recreation. Switalski and Jones
      (2012) published, “Off-Road Vehicle Best Management Practices for Forestlands: A Review of
      Scientific Literature and Guidance for Managers.” This document reviews the current literature
      on the environmental and social impacts of off-road vehicles (ORVs), and establishes a set of
      Best Management Practices (BMPs) for the planning and management of ORV routes on
      forestlands. The BMPs were designed to be used by land managers on all forestlands, and is
      consistent with current forest management policy and regulations. They give guidance to
      transportation planners on where how to place ORV routes in areas where they will reduce use
      conflicts and cause as little harm to the environment as possible. These BMPs also help guide
      managers on how to best remove and restore routes that are redundant or where there is an
      unacceptable environmental or social cost.




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      Attachments

      Attachment 1: Wildfire and Roads Fact Sheet

      Attachment 2: Using Road Density as a Metric for Ecological Health in National Forests: What
      Roads and Routes should be Included? Summary of Scientific Information




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              Roaded Forests Are at a Greater Risk of
                                                                                      Human Activity and
         Experiencing Wildfires than Unroaded Forests                                     Wildfire

    A wildland fire ignifion is almost twice as likely to occur in a roaded area      Sparks from cars, off-road vehi­
    than in a roadless area. (USDA 2000, Table 3-18)                                  cles, and neglected campfires
                                                                                      caused nearly 50,000 wildfire igni­
   The locafion of large wildfires is often correlated with proximity to busy         tions in 2000. (USDA 2000, Fuel
    roads. (Sierra Nevada Ecosystem Project, 1996)                                    Management and Fire Suppression
                                                                                      Specialist Report, Table 4.)
    High road density increases the probability of fire occurrence due to hu­
    man-caused ignifions. (Hann, W.J., et al. 1997)
                                                                                      More than 90% of fires on national
    Unroaded areas have lower potenfial for high-intensity fires than roaded
                                                                                      lands are caused by humans
    areas because they are less prone to human-caused ignifions. (DellaSala,
                                                                                      (USDA 1996 and 1998)
    et al. 1995)

   The median size of large fires on nafional forests is greater outside of
                                                                                      Human-ignited wildfire is almost 5
    roadless areas. (USDA 2000, Table 3-22)
                                                                                      times more likely to occur in a
    A posifive correlafion exists between lightning fire frequency and road           roaded area than in a roadless ar­
                                                                                      ea (USDA 2000, Table 3-19).
    density due to increased availability of flammable fine fuels near roads.
    (Arienfi, M. Cecilia, et al. 2009)

    Human caused wildfires are strongly associated with access to natural
    landscapes, with the proximity to urban areas and roads being the most         There are 375,000 miles of roads
    important factor (Romero-Calcerrada, et al. 2008)                                  in our national forests.
For more informafion, contact Gregory H. Aplet, Ph.D., Senior Forest Scien-
fist, at greg_aplet@tws.org or 303-650-5818 x104.


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                                                                                          75YEARS


                                                                1935 - 2010


            Attachment 2: Using Road Density as a Metric for Ecological Health in National Forests:
                                       What Roads and Routes should be Included?
                                              Summary of Scientific Information
                                              Last Updated, November 22, 2012


   I.        Density analysis should include closed roads, non-system roads administered by other
            jurisdictions (private, county, state), temporary roads and motorized trails.


   Typically, the Forest Service has calculated road density by looking only at open system road density.
   From an ecological standpoint, this approach may be flawed since it leaves out of the density
   calculations a significant percent of the total motorized routes on the landscape. For instance, the
   motorized route system in the entire National Forest System measures well over 549,000 miles.1 By our
   calculation, a density analysis limited to open system roads would consider less than 260,000 miles of
   road, which accounts for less than half of the entire motorized transportation system estimated to exist
   on our national forests.2 These additional roads and motorized trails impact fish, wildlife, and water
   quality, just as open system roads do. In this section, we provide justification for why a road density
   analysis used for the purposes of assessing ecological health and the effects of proposed alternatives in
   a planning document should include closed system roads, non-system roads administered by other
   jurisdictions, temporary roads, and motorized trails.


                   Impacts of closed roads


   It is crucial to distinguish the density of roads physically present on the landscape, whether closed to
   vehicle use or not, from “open-road density” (Pacific Rivers Council, 2010). An open-road density of 1.5
   mi/mi2 has been established as a standard in some national forests as protective of some terrestrial
   wildlife species. However, many areas with an open road density of 1.5 mi/mi2 have a much higher
   inventoried or extant hydrologically effective road density, which may be several-fold as high with
   significant aquatic impacts. This higher density occurs because many road “closures” block vehicle
   access, but do nothing to mitigate the hydrologic alterations that the road causes. The problem is


   1 The National Forest System has about 372,000 miles of system roads. The forest service also has an estimated 47,000 miles of
   motorized trails. As of 1998, there were approximately 130,000 miles of non-system roads in our forests. Non-system roads
   include public roads such as state, county, and local jurisdiction and private roads. (USFS, 1998) The Forest Service does not
   track temporary roads but is reasonable to assume that there are likely several thousand miles located on National Forest
   System lands.
   2 About 30% of system roads, or 116,108 miles, are in Maintenance Level 1 status, meaning they are closed to all motorized use.
   (372,000 miles of NFS roads - 116,108 miles of ML 1 roads = 255,892). This number is likely conservative given that thousands of
   more miles of system roads are closed to public motorized use but categorized in other Maintenance Levels.

                                                                                                                                    1


                                                                                              Rvsd Plan - 00001989
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   further compounded in many places by the existence of “ghost” roads that are not captured in agency
   inventories, but that are nevertheless physically present and causing hydrologic alteration (Pacific
   Watershed Associates, 2005).


   Closing a road to public motorized use can mitigate the impacts on water, wildlife, and soils only if
   proper closure and storage technique is followed. Flow diversions, sediment runoff, and illegal
   incursions will continue unabated if necessary measures are not taken. The Forest Service's National
   Best Management Practices for non-point source pollution recommends the following management
   techniques for minimizing the aquatic impacts from closed system roads: eliminate flow diversion onto
   the road surface, reshape the channel and streambanks at the crossing-site to pass expected flows
   without scouring or ponding, maintain continuation of channel dimensions and longitudinal profile
   through the crossing site, and remove culverts, fill material, and other structures that present a risk of
   failure or diversion. Despite good intentions, it is unlikely given our current fiscal situation and past
   history that the Forest Service is able to apply best management practices to all stored roads,3 and that
   these roads continue to have impacts. This reality argues for assuming that roads closed to the public
   continue to have some level of impact on water quality, and therefore, should be included in road
   density calculations.


   As noted above, many species benefit when roads are closed to public use. However, the fact remains
   that closed system roads are often breached resulting in impacts to wildlife. Research shows that a
   significant portion of off-road vehicle (ORV) users violates rules even when they know what they are
   (Lewis, M.S., and R. Paige, 2006; Frueh, LM, 2001; Fischer, A.L., et. al, 2002; USFWS, 2007.). For instance,
   the Rio Grande National Forest's Roads Analysis Report notes that a common travel management
   violation occurs when people drive around road closures on Level 1 roads (USDA Forest Service, 1994).
   Similarly, in a recent legal decision from the Utah District Court , Sierra Club v. USFS, Case No. 1:09-cv-
   131 CW (D. Utah March 7, 2012), the court found that, as part of analyzing alternatives in a proposed
   travel management plan, the Forest Service failed to take a hard look at the impact of continued illegal
   use. In part, the court based its decision on the Forest Service's acknowledgement that illegal motorized
   use is a significant problem and that the mere presence of roads is likely to result in illegal use.


   In addition to the disturbance to wildlife from ORVs, incursions and the accompanying human access can
   also result in illegal hunting and trapping of animals. The Tongass National Forest refers to this in its EIS
   to amend the Land and Resources Management Plan. Specifically, the Forest Service notes in the EIS
   that Alexander Archipelego wolf mortality due to legal and illegal hunting and trapping is related not
   only to roads open to motorized access, but to all roads, and that total road densities of 0.7-1.0 mi/mi^
   or less may be necessary (USDA Forest Service, 2008).


   As described below, a number of scientific studies have found that ORV use on roads and trails can have
   serious impacts on water, soil and wildlife resources. It should be expected that ORV use will continue to




   3 The Forest Service generally reports that it can maintain 20-30% of its open road system to standard.

                                                                                                                   2


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   some degree to occur illegally on closed routes and that this use will affect forest resources. Given this,
   roads closed to the general public should be considered in the density analysis.


                Impacts of non-system roads administered by other jurisdictions (private, county, state)


   As of 1998, there were approximately 130,000 miles of non-system roads in national forests (USDA
   Forest Service, 1998). These roads contribute to the environmental impacts of the transportation system
   on forest resources, just as forest system roads do. Because the purpose of a road density analysis is to
   measure the impacts of roads at a landscape level, the Forest Service should include all roads, including
   non-system, when measuring impacts on water and wildlife. An all-inclusive analysis will provide a more
   accurate representation of the environmental impacts of the road network within the analysis area.


                Impacts of temporary roads


   Temporary roads are not considered system roads. Most often they are constructed in conjunction with
   timber sales. Temporary roads have the same types environmental impacts as system roads, although at
   times the impacts can be worse if the road persists on the landscape because they are not built to last.


   It is important to note that although they are termed temporary roads, their impacts are not temporary.
   According to Forest Service Manual (FSM) 7703.1, the agency is required to "Reestablish vegetative
   cover on any unnecessary roadway or area disturbed by road construction on National Forest System
   lands within 10 years after the termination of the activity that required its use and construction."
   Regardless of the FSM 10-year rule, temporary roads can remain for much longer. For example, timber
   sales typically last 3-5 years or more. If a temporary road is built in the first year of a six year timber sale,
   its intended use does not end until the sale is complete. The timber contract often requires the
   purchaser to close and obliterate the road a few years after the Forest Service completes revegetation
   work. The temporary road, therefore, could remain open 8-9 years before the ten year clock starts
   ticking per the FSM. Therefore, temporary roads can legally remain on the ground for up to 20 years or
   more, yet they are constructed with less environmental safeguards than modern system roads.


                Impacts of motorized trails


   Scientific research and agency publications generally do not decipher between the impacts from
   motorized trails and roads, often collapsing the assessment of impacts from unmanaged ORV use with
   those of the designated system of roads and trails. The following section summarizes potential impacts
   resulting from roads and motorized trails and the ORV use that occurs on them.


   Aquatic Resources
   While driving on roads has long been identified as a major contributor to stream sedimentation (for
   review, see Gucinski, 2001), recent studies have identified ORV routes as a significant cause of stream
   sedimentation as well (Sack and da Luz, 2004; Chin et al.; 2004, Ayala et al.; 2005, Welsh et al;. 2006). It
   has been demonstrated that sediment loss increases with increased ORV traffic (Foltz, 2006). A study by

                                                                                                                   3


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   Sack and da Luz (2004) found that ORV use resulted in a loss of more than 200 pounds of soil off of every
   100 feet of trail each year. Another study (Welsh et al., 2006) found that ORV trails produced five times
   more sediment than unpaved roads. Chin et al. (2004) found that watersheds with ORV use as opposed
   to those without exhibited higher percentages of channel sands and fines, lower depths, and lower
   volume - all characteristics of degraded stream habitat.


   Soil Resources 4
   Ouren, et al. (2007), in an extensive literature review, suggests ORV use causes soil compaction and
   accelerated erosion rates, and may cause compaction with very few passes. Weighing several hundred
   pounds, ORVs can compress and compact soil (Nakata et al., 1976; Snyder et al., 1976; Vollmer et al.,
   1976; Wilshire and Nakata, 1976), reducing its ability to absorb and retain water (Dregne, 1983), and
   decreasing soil fertility by harming the microscopic organisms that would otherwise break down the soil
   and produce nutrients important for plant growth (Wilshire et al., 1977). An increase in compaction
   decreases soil permeability, resulting in increased flow of water across the ground and reduced
   absorption of water into the soil. This increase in surface flow concentrates water and increases erosion
   of soils (Wilshire, 1980; Webb, 1983; Misak et al., 2002).


   Erosion of soil is accelerated in ORV-use areas directly by the vehicles, and indirectly by increased runoff
   of precipitation and the creation of conditions favorable to wind erosion (Wilshire, 1980). Knobby and
   cup-shaped protrusions from ORV tires that aid the vehicles in traversing steep slopes are responsible
   for major direct erosional losses of soil. As the tire protrusions dig into the soil, forces far exceeding the
   strength of the soil are exerted to allow the vehicles to climb slopes. The result is that the soil and small
   plants are thrown downslope in a “rooster tail” behind the vehicle. This is known as mechanical erosion,
   which on steep slopes (about 15° or more) with soft soils may erode as much as 40 tons/mi (Wilshire,
   1992). The rates of erosion measured on ORV trails on moderate slopes exceed natural rates by factors
   of 10 to 20 (Iverson et al., 1981; Hinckley et al., 1983), whereas use on steep slopes has commonly
   removed the entire soil mantle exposing bedrock. Measured erosional losses in high use ORV areas
   range from 1.4-242 lbs/ft2 (Wilshire et al., 1978) and 102-614 lbs/ft2 (Webb et al., 1978). A more recent
   study by Sack and da Luz (2003) found that ORV use resulted in a loss of more than 200 lbs of soil off of
   every 100 feet of trail each year.


   Furthermore, the destruction of cryptobiotic soils by ORVs can reduce nitrogen fixation by
   cyanobacteria, and set the nitrogen economy of nitrogen-limited arid ecosystems back decades. Even
   small reductions in crust can lead to diminished productivity and health of the associated plant
   community, with cascading effects on plant consumers (Davidson et al., 1996). In general, the
   deleterious effects of ORV use on cryptobiotic crusts is not easily repaired or regenerated. The recovery
   time for the lichen component of crusts has been estimated at about 45 years (Belnap, 1993). After this
   time the crusts may appear to have regenerated to the untrained eye. However, careful observation will
   reveal that the 45 year-old crusts will not have recovered their moss component, which will take an
   additional 200 years to fully come back (Belnap and Gillette, 1997).


   4 For a full review see Switalski, T. A. and A. Jones (2012).

                                                                                                                4


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   Wildlife Resources 5
   Studies have shown a variety of possible wildlife disturbance vectors from ORVs. While these impacts
   are difficult to measure, repeated harassment of wildlife can result in increased energy expenditure and
   reduced reproduction. Noise and disturbance from ORVs can result in a range of impacts including
   increased stress (Nash et al., 1970; Millspaugh et al., 2001), loss of hearing (Brattstrom and Bondello,
   1979), altered movement patterns (e.g., Wisdom et al. 2004; Preisler et al. 2006), avoidance of high-use
   areas or routes (Janis and Clark 2002; Wisdom 2007), and disrupted nesting activities (e.g., Strauss
   1990).


   Wisdom et al. (2004) found that elk moved when ORVs passed within 2,000 yards but tolerated hikers
   within 500 ft. Wisdom (2007) reported preliminary results suggesting that ORVs are causing a shift in
   the spatial distribution of elk that could increase energy expenditures and decrease foraging
   opportunities for the herd. Elk have been found to readily avoid and be displaced from roaded areas
   (Irwin and Peek, 1979; Hershey and Leege, 1982; Millspaugh, 1995). Additional concomitant effects can
   occur, such as major declines in survival of elk calves due to repeated displacement of elk during the
   calving season (Phillips, 1998). Alternatively, closing or decommissioning roads has been found to
   decrease elk disturbance (Millspaugh et al., 2000; Rowland et al., 2005).


   Disruption of breeding and nesting birds is particularly well-documented. Several species are sensitive
   to human disturbance with the potential disruption of courtship activities, over-exposure of eggs or
   young birds to weather, and premature fledging of juveniles (Hamann et al., 1999). Repeated
   disturbance can eventually lead to nest abandonment. These short-term disturbances can lead to long­
   term bird community changes (Anderson et al., 1990). However when road densities decrease, there is
   an observable benefit. For example, on the Loa Ranger District of the Fishlake National Forest in
   southern Utah, successful goshawk nests occur in areas where the localized road density is at or below
   2-3 mi/mi^ (USDA, 2005).


                  Examples of Forest Service planning documents that use total motorized route density or a
                  variant


   Below, we offer examples of where total motorized route density or a variant has been used by the
   Forest Service in planning documents.


        •    The Mt. Taylor RD of the Cibola NF analyzed open and closed system roads and motorized trails
             together in a single motorized route density analysis. Cibola NF: Mt. Taylor RD Environmental
             Assessment for Travel Management Planning, Ch.3, p 55.
             http://prdp2fs.ess.usda.gov/Internet/FSE DOCUMENTS/stelprdb5282504.pdf.


        •    The Grizzly Bear Record of Decision (ROD) for the Forest Plan Amendments for Motorized Access


   5 For a full review see:Switalski, T. A. and A. Jones (2012).

                                                                                                              5


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          Management within the Selkirk and Cabinet-Yaak Grizzly Bear Recovery Zones (Kootenai, Lolo,
          and Idaho Panhandle National Forests) assigned route densities for the designated recovery
          zones. One of the three densities was for Total Motorized Route Density (TMRD) which includes
          open roads, restricted roads, roads not meeting all reclaimed criteria, and open motorized trails.
          The agency's decision to use TMRD was based on the Endangered Species Act's requirement to
          use best available science, and monitoring showed that both open and closed roads and
          motorized trails were impacting grizzly. Grizzly Bear Plan Amendment ROD. Online at
          cache.ecosystem-management.org/48536 FSPLT1 009720.pdf.


      •   The Chequamegon-Nicolet National Forest set forest-wide goals in its forest plan for both open
          road density and total road density to improve water quality and wildlife habitat.

                  I decided to continue reducing the amount of total roads and the amount of open road
                  to resolve conflict with quieter forms of recreation, impacts on streams, and effects on
                  some wildlife species. ROD, p 13.

          Chequamegon-Nicolet National Forest Land and Resource Management Plan Record of Decision.
          Online at http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5117609.pdf.

      •   The Tongass National Forest's EIS to amend the forest plan notes that Alexander Archipelago
          wolf mortality due to legal and illegal hunting and trapping is related not only to roads open to
          motorized access, but to all roads, and that total road densities of 0.7-1.0 mi/mi^ or less may be
          necessary.

                  Another concern in some areas is the potentially unsustainable level of hunting and
                   trapping of wolves, when both legal and illegal harvest is considered. The 1997 Forest
                  Plan EIS acknowledged that open road access contributes to excessive mortality by
                  facilitating access for hunters and trappers. Landscapes with open-road densities of 0.7
                   to 1.0 mile of road per square mile were identified as places where human-induced
                  mortality may pose risks to wolf conservation. The amended Forest Plan requires
                  participation in cooperative interagency monitoring and analysis to identify areas where
                   wolf mortality is excessive, determine whether the mortality is unsustainable, and
                  identify the probable causes of the excessive mortality.

                  More recent information indicates that wolf mortality is related not only to roads open
                  to motorized access, but to all roads, because hunters and trappers use all roads to
                  access wolf habitat, by vehicle or on foot. Consequently, this decision amends the
                  pertinent standard and guideline contained in Alternative 6 as displayed in the Final EIS
                  in areas where road access and associated human caused mortality has been
                  determined to be the significant contributing factor to unsustainable wolf mortality. The
                  standard and guideline has been modified to ensure that a range of options to reduce
                  mortality risk will be considered in these areas, and to specify that total road densities of
                  0.7 to 1.0 mile per square mile or less may be necessary. ROD, p 24.

   Tongass National Forest Amendment to the Land and Resource Management Plan Record of Decision
   and Final EIS. January 2008. http://tongass-fpadiust.net/Documents/Record of Decision.pdf


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                        “Rightsizing” the Forest Service Road System
                                Part 1: Road Trend Analysis
                                                 March 22, 2007

                                                  The Problem
Prolonged under-funding of the Forest Service Road System has
resulted in dramatically reduced road conditions across the country
resulting in loss of passenger car access, rougher roads in general,
increased potential safety problems and accelerated damage to
adjacent resources especially in terms of sediment production.
The limited funding received is usually applied to roads in a
manner to maintain the present level of access by the various
vehicle types. Therefore, funding is “spread out” in a manner to
get the most for the money in order to maintain present levels of
access by the various vehicle types. This “triage” approach to
maintenance of the road system, although temporarily preserving
present access levels, has exasperated and even prolonged the
problem until future years. As a result, the entire road system is in
a massive state of deterioration requiring that the agency take
action in resolving this difficult and complex problem.

                                            Historical Perspective

Through the 70s and 80s road funding
levels approached $1.2 billion annually,
much of it from timber harvest related
activities. As timber harvest targets
declined in the late 80s and 90s, overall
funding levels dropped. Simultaneously,
public use of the national forests,
primarily from recreation travel,
increased substantially resulting in rapid
and noticeable deterioration of roads
across the country. The adjacent figure
                                                                                          Fiscal Year
describes the funding situation to the year
                                                          ^“Total Road Funding        ^—Timber Related Funding   ’Vehicles Per Day
2000. For the last seven years, road
related funding has stabilized while
recreational travel has continued to increase.

                                                                                 These changes have caused a loss in the
                                                                                 number of roads open and available for
                                                                                 passenger cars. The adjacent graph
                                                                                 identifies the actual loss in primary access.
                                                                                 Since 1991, there has been a loss of
                                                                                 passenger car traffic of 23,690 miles, a
                                                                                 25% reduction. The rate of this reduction
                                                                                 has been somewhat moderate due to a
                                                                                 unique deterioration process of
                                                                                 transportation structures in general.
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                              How Roads Deteriorate - “A Peculiar Process”
Although funding dropped dramatically in the recent past, the condition of the overall road system has only
recently experienced the effect of this loss of funds. The reason is due to the peculiar method in which roads        c1
typically deteriorate. Typical road deterioration
follows a parabolic relationship (Figure XX
from resource paper). Road that are well
maintained do not usually show signs of
deterioration until the reduced funding continues
over an extended period of time. At a specific
                                                                                                                      (
point, usually after 5-7 years of reduced
maintenance, road systems rapidly deteriorate
following a declining exponential curve. Roads
that are beyond this inflection point will require
very large investments to rehabilitate them back
to their original condition. If reduced annual
maintenance funding levels continue, the entire
road structure is lost requiring complete
reconstruction of the facility, permanent reduced
serviceability by the public or, in extreme cases,
complete disposal.

                        National Road Trend Analysis & General Strategies

Many analyses have been performed in the past to predict the future state of the Forest Service road system
based upon funding levels alone. This analysis uses information from prior reports along with updated funding
and construction costs to predict the overall trend in access changes needed to ensure that anticipated future
funding levels are balanced with priority annual maintenance needs. Three strategies were developed to provide
a range of possible yet realistic alternatives for access changes on a national basis. Three different funding/cost
scenarios were also portrayed that included a “Best Scenario” involving no loss in purchasing power, a “Most
Likely Scenario” assuming a 2% loss in purchasing power and a “Worst Case” scenario depicting a 6% loss in
purchasing power. The three primary strategies include:

    •   Existing Condition (Unsustainable) - Road access remains the same assuming no change in roads
        open to passenger cars and high clearance vehicles. This strategy is “Unsustainable” and requires an
        additional budget of $306 million annually to implement.
    •   Maintain Open Road Access (Balanced Budget) - This strategy assumes a balanced budget (i.e.
        expected future funding is equal to the cost to maintain the system) with no reduction in overall open
        road access relative to current conditions.
    •   Passenger Car High Clearance Access reduced proportionately (Balanced Budget) — This
        strategy reduces passenger car access and high clearance vehicle access proportionately to balanced
        budget conditions. This strategy anticipates significant increases in roads to be closed with
        corresponding reductions in roads as available by passenger cars and for high clearance vehicles.




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    Road Access Strategies (Most Likely Scenario- 2% Loss in Purchasing Power)
                                                                                               “Most Likely Scenario”

                                                                                 □ Closed      Future annual road funding
                                                                                   Miles
                                                                                               increases fail to keep up with
                                                                                               annual construction cost
                                                                                               increases by 2%/yr.
                                                                                   High
                                                                                   Clearance
                                                                                   Miles       Maintain Open Roads
                                                                                               PC Access = 17% of present
                                                                                               HC Access = 126% of present
                                                                                 □ Passenger
                                                                                               Open Road Access = No change
                                                                                   Car Miles



                                                                                               PC/HC Reduced Equally
                                                                                               PC Access = 29% of present
                                                                                               HC Access = 29% of present
                                                                                               Open Road Access=29% of present




                                                                                                 “Best Scenario”
                                                                                               Future funding levels just
                                                                                               keep up with increased
                                                                                               construction costs.

                                                                                               Maintain Open Roads
                                                                                               PC Access = 34% of present
                                                                                               HC Access = 121% of present
                                                                                               Open Road Access = No change


                                                                                               PC/HC Reduced Equally
                                                                                               PC Access = 44% of present
                                                                                               HC Access = 44% of present
                                                                                               Open Road Access = 44% of present




                                                                                               “Worst Case Scenario”

                                                                                               Future annual road funding
                                                                                               increases fail to keep up with
                                                                                               annual construction cost
                                                                                               increases by 6%/yr.

                                                                                               Maintain Open Roads
                                                                                               PC Access = 0% of present
                                                                                               HC Access = 111% of present
                                                                                               Open Road Access = 84% of present


                                                                                               PC/HC Reduced Equally
                                                                                               PC Access = 13% of present
                                                                                               HC Access = 13% of present
                                                                                               Open Road Access = 13% of present


                                                                                               PC = Passenger Car
                                                                                               HC= High Clearance



                                                       3
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The assumptions for conducting this analysis include:
  • Considers Affordability Alone - The analysis only predicts road access levels based upon expected
      future funding relative to costs to maintain the roads. No consideration was given to address resource
      needs, Forest Plan targets, or other mission related effects that will have a significant factor in
      addressing the ultimate road miles to be supported in the future.
  • Based on Critical Annual Maintenance Costs - Only critical annual maintenance costs were
      considered for high clearance and closed roads to ensure these roads would be safe and protect resource
      values of a critical nature. Costs for passenger car access were sufficient to ensure safe, efficient access
      while reducing adverse resource impacts such as sediment production. Costs not considered include;
      deferred maintenance costs, expected routine investment costs (i.e surfacing) annual maintenance costs
      to protect resources or costs to meet mission requirements.



                                          What Does this Mean?
The Forest Service road system cannot continue providing the current level of access to passenger cars and high
clearance vehicles without significant loss of the physical road structure and possibly irreparable damage to
adjacent resources. At current funding levels, the national road system will decline much more rapidly in the
next 10 years than in the previous 10 years. This is due to the peculiar mechanisms inherent to how roads
deteriorate combined with the increasing costs of road maintenance in excess of the consumer price index.

To keep the road system continuing at present access levels, there will need to be an immediate increase in the
roads budget by $300 million annually. In lieu of an increase in funding, major adjustments to current access
levels will need to occur beginning immediately. Under the most likely scenario, roads currently providing
access to passenger car travel will need to drop from the current 69,900 miles to 11,700 miles, a reduction to
17% of current levels. Most of mileage retained for passenger car use will be our higher standard and asphalt
paved roads. Correspondingly, an increase of access available for high clearance vehicles could occur from
currently 220,200 miles to 278,400 miles allowing greater opportunity for off highway vehicles.




                                                        4                   Rvod Plan 00002003
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                                                                                              ACTUAL Miles(6% interest)
                                1991     1997     1998    2000     2001     2002      2003       2004      2005       2006      2007     2027
    Closed Road Miles          60200    76300    76348    77565    78782    89434    80000      80000      80000     89600     89600    342848
 High Clearance Vehicle        218000   211000   210535   223000   223200   223400   223600     223800    224000     220180    266026   27963
  Passenger Car Access         93600    86000    86022    76000    82163    81871    79763      75000      74000     69910     24064     8879
       Total Miles             371800   373300   372905   376565   384145   394705   383363     378800    378000     379690    379690   379690
    Open Road Miles            311600   297000   296557   299000   305363   305271   303363     298800    298000     290090
    Closed Road Miles          60200    76300    76348    87000    109209   116107   114670     80000      80000     89600
  Percent Roads Closed          16%      20%      20%      23%      28%      29%      30%        21%        21%       24%
   Percent Roads Open           84%      80%      80%      79%      79%      77%      79%        79%        79%       76%
Percent Total Road Mileage      0%       0%       0%       1%       3%       6%       3%          2%        2%            2%



                                                                                              ACTUAL Miles(2% interest)
                                1991     1997     1998    2000     2001     2002      2003       2004      2005       2006      2007     2027
    Closed Road Miles          60200    76300    76348    77565    78782    89434    80000      80000      80000     89600     89600    330251
 High Clearance Vehicle        218000   211000   210535   223000   223200   223400   223600     223800    224000     220180    266026   41046
  Passenger Car Access         93600    86000    86022    76000    82163    81871    79763      75000      74000     69910     24064     8393
       Total Miles             371800   373300   372905   376565   384145   394705   383363     378800    378000     379690    379690   379690
    Open Road Miles            311600   297000   296557   299000   305363   305271   303363     298800    298000     290090
    Closed Road Miles          60200    76300    76348    87000    109209   116107   114670     80000      80000     89600
  Percent Roads Closed          16%      20%      20%      23%      28%      29%      30%        21%        21%       24%
   Percent Roads Open           84%      80%      80%      79%      79%      77%      79%        79%        79%       76%
Percent Total Road Mileage      0%       0%       0%       1%       3%       6%       3%          2%        2%            2%




                                                                                              ACTUAL Miles(0% interest)
                                1991     1997     1998    2000     2001     2002      2003       2004      2005       2006      2007     2027
    Closed Road Miles          60200    76300    76348    77565    78782    89434    80000      80000      80000     89600     89600    89600
 High Clearance Vehicle        218000   211000   210535   223000   223200   223400   223600     223800    224000     220180    266026   266026
  Passenger Car Access         93600    86000    86022    76000    82163    81871    79763      75000      74000     69910     24064    24064
       Total Miles             371800   373300   372905   376565   384145   394705   383363     378800    378000     379690    379690   379690
    Open Road Miles            311600   297000   296557   299000   305363   305271   303363     298800    298000     290090
    Closed Road Miles          60200    76300    76348    87000    109209   116107   114670     80000      80000     89600
  Percent Roads Closed          16%      20%      20%      23%      28%      29%      30%        21%        21%       24%
   Percent Roads Open           84%      80%      80%      79%      79%      77%      79%        79%        79%       76%
Percent Total Road Mileage      0%       0%       0%       1%       3%       6%       3%          2%        2%            2%




                                                                                                                               Rvsd Plan - 00002004
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                                                                                              "76% Open Access" Alternative            Assume: Immediate Implementation
                                1991     1997     1998    2000     2001      2002     2003       2004      2005       2006     2007       2008        2017          2027
    Closed Road Miles          60200    76300    76348    77565    78782    89434    80000      80000      80000     89600    89600      89600       286408       330251
 High Clearance Vehicle        218000   211000   210535   223000   223200   223400   223600     223800    224000     220180   220180    266026        77445        41046
  Passenger Car Access         93600    86000    86022    76000    82163    81871    79763      75000      74000     69910    69910      24064        15837         8394
       Total Miles             371800   373300   372905   376565   384145   394705   383363     378800    378000     379690   379690    379690       379690       379691
    Open Road Miles            311600   297000   296557   299000   305363   305271   303363     298800    298000     290090
    Closed Road Miles          60200    76300    76348    87000    109209   116107   114670     80000      80000     89600
  Percent Roads Closed          16%      20%      20%      23%      28%      29%      30%        21%        21%       24%
   Percent Roads Open           84%      80%      80%      79%      79%      77%      79%        79%        79%       76%
Percent Total Road Mileage      0%       0%       0%       1%       3%       6%       3%         2%         2%         2%




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                                                                                     -------Actual


                                                                                      -------Predicte
                                                                                             d




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                    Open/Closed Access (1991-2006)




                                                                     Rvsd Plan - 00002008
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                        Road Access Trend (1991-2006)




                                                                                    —■— Closed Road
                                                                                        Miles




                                                                                         High
                                                                                         Clearance
                                                                                         Vehicle




                                                                                    —A— Passenger
                                                                                        Car Access




                                                                     Rvsd Plan - 00002009
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                      Loss in Passenger Car Access




                                                                     Rvsd Plan - 00002010
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                                 Future Road Miles (Source: Roadless Team)




-------Actual


-------Predicted




                                                                                        Rvsd Plan - 00002011
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               System Road Mile Statistics (Total, Open & Closed)




                                  Calender Year
                                                                     Rvsd Plan - 00002012
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               System Road Mile Statistics (Total, Open & Closed)




                                  Calender Year
                                                                     Rvsd Plan - 00002013
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                   Percent Roads Open/Closed




                                                                                     —♦— Percent
                                                                                         Roads
                                                                                         Closed



                                                                                      M   Percent
                                                                                          Roads
                                                                                          Open




                                                                     Rvsd Plan - 00002014
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                                                                              Change in Road Miles Open to Passenger Cars
     100,000 1

                 93,600


      90,000
                                                                    86,022
                                          *                           ♦<                                                 82,163

                                                                                                                                                                                      79,763
      80,000
                                                                                                                                                                                                                                        74,000
                                                                                              76,000
                                                                                                                                                                                                          75,000
      70,000
co                                                                                                                                                                                                                                                         69,910



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c                                                                                                                                                                                                                                                                         —♦— Open to
OS
Q.                                                                                                                                                                                                                                                                            Passenger
O
                                                                                                                                                                                                                                                                              Cars
(A    30,000

is


      20,000




      10,000




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                                                                                                                       Calender Year

                                                                                                                                                                                                                                       Rvsd Plan - 00002015
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                                                           Region 6
                                                   Gifford Pinchot NF
              Current Situation                                                    Scenario^
Maintenance                                                      Maintenance
   Levels         Cost/Mi^            Miles     Total Cost            Levels        Cost/Mi^           Miles       Total Cost
ML 1                 $90               673       $60,570        ML 1                   $90              673         $60,570
ML 2                $170              2,178     $370,260        ML 2                  $170             2,704       $459,680
ML 3               $1,000              517      $517,000        ML 3                 $1,000             200        $200,000
ML 4               $2,600              188      $488,800        ML 4                 $2,600              22         $57,200
ML 5               $3,300              113      $372,900        ML 5                 $3,300              70        $231,000
                           Total      3,669     $1,809,530                                   Total     3,669       $1,008,450


               Annual Budget ........... >         $660,000                      Annual Budget ............ >         $660,000
                 Total Needed ........... >       $1,809,530                       Total Needed ............ >       $1,008,450
                    Difference ........... >     ($1,149,530)                         Difference ............ >       ($348,450)


                                                    National Road System
              Current Situation                                    Closing & 70% Reduction of H.S.A.. Roads                                        Current Situation
Maintenance                                                      Maintenance                                                        Maintenance
   Levels         Cost/Mile           Miles     Total Cost            Levels        Cost/Mile          Miles       Total Cost             Levels       Cost/Mile         Miles       Total Cost
ML 1                 $50             89,600     $4,480,000      ML 1                   $50            270,000     $13,500,000      ML 1                    $50          270,000     $13,500,000
ML 2                $500             220,180   $110,090,000     ML 2                  $500            90,000      $45,000,000      ML 2                   $500           90,000     $45,000,000
ML 3-5             $5,000            69,910    $349,550,000     ML 3-5               $5,000            15,000     $75,000,000      ML 3-5                $5,000          15,000     $75,000,000
                           Total     379,690   $464,120,000                                  Total    375,000     $133,500,000                                Total     375,000     $133,500,000


               Annual Budget ........... >     $135,000,000                      Annual Budget ........... >      $135,000,000                     Annual Budget ........... >      $135,000,000
                 Total Needed ........... >     $464,120,000                       Total Needed ........... >      $133,500,000                     Total Needed ........... >       $133,500,000
                    Difference ........... >   ($329,120,000)                         Difference ........... >       $1,500,000                         Difference ........... >      $1,500,000

                                                           Region 6
                                                  Mt Baker-Snoqualmie
                                                                                   Scenario 1                                                          Scenario 2                                                        Scenario 3
              Current Situation                                                 Move SL ML 4 Agg to ML 3                                             Scen 1 & Move ML3 SL Agg to ML2                                    50% of ML 3 to ML2
Maintenance                                                      Maintenance                                                        Maintenance                                                       Maintenance
   Levels         Cost/Mi^            Miles     Total Cost            Levels        Cost/Mi^           Miles       Total Cost             Levels       Cost/Mi^          Miles       Total Cost             Levels        Cost/Mi^          Miles     Total Cost
ML 1                 $15               538       $8,070         ML 1                   $15              538         $8,070         ML 1                    $15            538          $8,070        ML 1                    $15             538       $8,070
ML 2                 $75               907       $68,025        ML 2                   $75              907         $68,025        ML 2                    $75           1,855       $139,125        ML 2                    $75            1,412     $105,900
ML 3               $1,000             1,009     $1,009,000      ML 3                 $1,000            1,048       $1,048,000      ML 3                  $1,000            100       $100,000        ML 3                   $1,000           469      $469,000
ML 4               $2,600               75      $195,000        ML 4                 $2,600              36         $93,600        ML 4                  $2,600            36         $93,600        ML 4                   $2,600            75      $195,000
ML 5               $3,300               46      $151,800        ML 5                 $3,300              46        $151,800        ML 5                  $3,300            46        $151,800        ML 5                   $3,300            46      $151,800
                           Total      2,575     $1,431,895                                   Total     2,575       $1,369,495                                 Total      2,575       $492,595                                   Total       2,540     $929,770


               Annual Budget ........... >         $961,000                      Annual Budget ............ >         $961,000                     Annual Budget .............>         $961,000                     Annual Budget ............ >        $961,000
                 Total Needed ........... >       $1,431,895                       Total Needed ............ >       $1,369,495                      Total Needed .............>         $492,595                      Total Needed ............ >        $929,770
                    Difference ........... >       ($470,895)                         Difference ............ >       ($408,495)                        Difference .............>       $468,405                       1 Difference ............ >        $31,230



              Current Situation                                            Strategy 1- Maintain H.S.A.                                       Strategy 2- Maintain Access                                             Strategy 3 - Lower H.S.A., Raise Closed
Maintenance                                                      Maintenance                                                        Maintenance                                                       Maintenance
   Levels         Cost/Mile           Miles     Total Cost            Levels        Cost/Mile          Miles       Total Cost             Levels       Cost/Mile         Miles       Total Cost             Levels        Cost/Mile         Miles     Total Cost
ML 1                 $50             89,600     $4,480,000      ML 1                   $50                0            $0          ML 1                    $50           89,600      $4,480,000      ML 1                    $50           89,600     $4,480,000
ML 2                $500             220,180   $110,090,000     ML 2                  $500                0            $0          ML 2                   $500          260,180     $130,090,000     ML 2                    $500         260,180    $130,090,000
ML 3-5             $5,000            69,910    $349,550,000     ML 3-5               $5,000           69,910      $349,550,000     ML 3-5                $5,000         40,000      $200,000,000     ML 3-5                $5,000          40,000    $200,000,000
                           Total     379,690   $464,120,000                                  Total    69,910      $349,550,000                                Total     389,780     $334,570,000                                Total      389,780   $334,570,000


               Annual Budget ........... >     $135,000,000                      Annual Budget ........... >      $135,000,000                     Annual Budget ........... >      $135,000,000                     Annual Budget ........... >     $135,000,000
                 Total Needed ........... >     $464,120,000                       Total Needed ........... >      $349,550,000                      Total Needed ........... >      $334,570,000                      Total Needed ........... >     $334,570,000
                    Difference ........... >   ($329,120,000)                         Difference ........... >    ($214,550,000)                        Difference ........... >    ($199,570,000)                     1 Difference ........... >    ($199,570,000)




                                                                                                                                                                                                               Rvsd Plan - 00002016
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                                 Road Trend Analysis - What Can the Agency Afford Today?
                                                                1               1
Assumptions:            Only critical annual maintenance performed (lowest expenses possible 10% of funding used for Capital improvement.
                        ML 1 - $5/Mi
                        ML 2 - $68/mi
                        ML 3-5 - $1,536/mi
                        National Budget - $55.5 m Assume: ML 1-2 Roads - Only critical maintenance performed.


                                                                      High                                                                                           %
                                                    Passenger       Clearance       Closed     Total                                   % System    %       %      Passenger    % HC      Additional Funds
   Strategy Name        Strategy Description        Car Miles         Miles          Miles     Miles     Total Cost    Net Change       Funded    Open   Closed     Cars      Vehicles       Needed



Existing Condition
(136% Over Budget)-
Additional $306         Continue Maintenance at
million/yr to Balance   Current level                69,910          220,180        89,600    379,690   $122,802,000   ($67,302,000)     45%      76%     24%       18%         58%        $305,918,182
Maintain Open Road      Maintain same level of PC
Access -- Balanced      & HC road access -­
Budget                  Balance Budget               24,064          266,026        89,600    379,690   $55,500,001        ($1)          100%     76%     24%        6%         70%             $6
PC/HC access
reduced                 Balanced Budget -
proportionately-        Proportional reduction of
Balanced Budget         open roads                   30,994          97,615         251,081   379,690   $55,499,999        $1            100%     34%     66%        8%         26%            ($4)




                                                                                                                                                         Rvsd Plan - 00002017
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                        0                                                         Year 2027 Interest=2%
                                                                      High                                                                                           %
                                                     Passenger Clearance        Closed     Total                                       % System    %       %      Passenger    % HC       Additional
   Strategy Name            Strategy Description     Car Miles        Miles      Miles    Miles      Total Cost       Net Change        Funded    Open   Closed     Cars      Vehicles   Funds Needed
Existing Condition -
Additional $577
million/yr to Balance       Continue Maintenance
(2027 Dollars)              at Current level          69,910         220,180    89,600   379,690   $182,477,312       ($126,977,312)     30%      76%     24%       18%         58%      $577,169,601
                            Existing open roads to
                            remain open and
Maintain Open Road          useable. PC Roads
Access-Balanced             reduced by 50%; HC
Budget (2027)               roads increased.          11,700         278,390    89,600   379,690    $55,500,019           ($19)          100%     76%     24%        3%         73%          $88
                                                                 Illi                                             1
PC/HC access                                                     Illi                                             1
                                                                 Illi                                             1
reduced
proportionately -           Balanced Budget -
                                                                 Illi                                             1
                                                                 Illi                                             1
Balanced Budget             Proportional reduction
                                                      20,499     !   64,561    I 294,6301 379,690 I $55,500,001   I        ($1)
(2027)                      of open roads                                                                                                100%     10%     90%        2%         7%            $6




                                                                                                                                                         Rvsd Plan - 00002018
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                                                                              Year 2027 Interest=6%
                                                                  High                                                                                        %
                                                    Passenger   Clearance   Closed     Total                                    % System    %       %      Passenger    % HC      Additional Funds
   Strategy Name        Strategy Description        Car Miles     Miles      Miles     Miles     Total Cost     Net Change       Funded    Open   Closed     Cars      Vehicles       Needed
Existing Condition -
Additional $1.5
billion/yr to Balance   Continue Maintenance at
(2027 Dollars)          Current level                69,910      220,180    89,600    379,690   $393,842,650   ($338,342,650)     14%      76%     24%       18%         58%       $1,537,921,138
                        Existing open roads to
                        remain open and
Maintain Open Road      useable. PC Roads
Access-Balanced         reduced by 50%; HC
Budget (2027)           roads increased.                0        244,551    135,139   379,690   $55,499,987         $13           100%     64%     36%        0%         64%           ($59)
Pc/HC access
reduced
proportionately-        Balanced Budget -
Balanced Budget         Proportional reduction of
(2027)                  open roads                    8,909      28,058     342,724   379,690   $55,500,087        ($87)          100%     10%     90%        2%         7%            $394




                                                                                                                                                  Rvsd Plan - 00002019
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From R-6 Analysis

                               CMRD       CWFS       CWK2     Total
Revenue - FY 2007 Best Estimate $20,379      $3,000    $1,600     $24,979
           Total Avail         $  20,379 $    1,500             $ 21,879                                Assume:
Expeneses at Regional Level:
Regional CIP (10% of CMRD)         $2,038                          $2,038                               National CMRD Budget 2006 =                $225,000,000
Contingency                          $102                            $102                               National CWFS Budget 2006 =                 $27,000,000 $28,000,000
OWCP/UCI                             $853        $77          '                                                         Total Available^           $252,000,000
Regional Oversight                 $1,228                          $1,228                               Indirect Costs are 29% =                    $73,000,000
Program Delivery                   $1,741        $66               $1,807                               Available to RSA =                         $179,000,000
Special Projects                     $146                            $146                               Available for Annual Road Maint             $55,490,000 22% of Total
                                   $6,108      $143        $0      $6,251

Forest Level:
Available for Forest Distribution:    $14,271       $2,857     $1,600     $18,728
Percent Available to Road Mtce           40%          80%       100%                                    Assume: 50% of CWFS $ used for annual maintenance.
Net Available for Road Mtce            $5,708       $2,286     $1,600      $9,594       38%                      10% of budget used for capital improvement
            Total Avail from Region    $5,708       $1,140                 $6,848       31%

Notes:
 1.) Expenses taken from FY 2007 Tentative Distribution
 2.) Engineering Support for Timber Sales, Stewardship, Planning, Operations is estimated at 60% of CMRD (Range was from 50 - 86%)
 3.) Engineering Support could be much higher in FY 07 due to increased veg targets and decreased CMRD funding
 4.) CWK2 Funding may go away after FY 2007
 5.) CWFS based on actual collections from close of FY 2006. Note Total Account value = $12,541 M but collections only $3,030 M,
 6.) Revenue does not include PayCo (Payments to States/County) dollars that have been available for routine road maintenance as program




                                                                                                                                           Rvsd Plan - 00002020
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                         Road Access Strategies (Most Likely Scenario- 2% Loss in Purchasing Power)


100%




90%                             89,600                                           89,600




80%

                                                                                                                                                          □ Closed
                                                                                                                                                            Miles

70%


                                                                                                                               294,630
60%
                                                                                                                                                          □ High
                                                                                                                                                            Clearance
                                                                                                                                                            Miles

50%                             220,180



                                                                                278,390
40%                                                                                                                                                       □ Passenger
                                                                                                                                                            Car Miles




30%




20%

                                                                                                                                64,561

                                69,910
10%


                                                                                                                                20,499
                                                                                 11,700

 0%
       Existing Condition - Additional $577 million/yr to   Maintain Open Road Access-Balanced Budget   PC/HC access reduced proportionately - Balanced
                    Balance (2027 Dollars)                                   (2027)
                                                                                                                        Budg"'2027Rvsd Plan - 00002023
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Road Access Strategies (Worst Case Scenario- 6% Loss in Purchasing Power)




                                                                     Rvsd Plan - 00002024
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   Dan Dallas, Supervisor
   Erin Minks, Forest Planner
   Rio Grande National Forest
   1803 W. Highway 160
   Monte Vista, CO 81144

   April 24, 2016

   Dear Supervisor Dallas and Ms. Minks:

   We appreciate you considering the following comments on the Rio Grande National Forest (RGNF)
   Draft Assessment (Assessment) and Draft Need for Change (NFC) statements provided to the
   public throughout the course of the last few months. We appreciate the significant time and effort
   that the RGNF Planning Team has devoted to developing its informative, comprehensive
   Assessment of conditions on the Forest. We commend members of the Planning Team and other
   Forest Service personnel for offering many opportunities for the public to provide input on the
   Forest’s management plan revision, including the Assessment and NFC statements. We are looking
   forward to continuing our participation in the plan revision process.

   Founded in 1947, Defenders of Wildlife (Defenders) is a national conservation organization focused
   solely on wildlife and habitat conservation and safeguarding biodiversity. Defenders is deeply
   involved in public lands management related to vulnerable species and ecosystem protection.
   Defenders works on behalf of more than 1.2 million members and supporters nationwide, including
   over 11,000 in Colorado.

   Please do not hesitate to contact Lauren McCain with any questions pertaining to these comments.

   Sincerely,




   Lauren McCain, Ph.D.
   Federal Lands Policy Analyst
   720-943-0453 (direct)
   lmccain@,defenders. org




                        535 16‘h Street, Suite 310 | Denver, Colorado 80202 | tel 303.825.0918
                                                 www.defenders.org


                                                                                   Rvsd Plan - 00002025
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                                     Defenders of Wildlife
                Comments on the Rio Grande National Forest Draft Assessment and
                              Draft Need for Change Statements

       I.      Introduction

   Developing and implementing robust, science-based forest plan decisions under the 2012 planning
   rule (planning rule) will result in public confidence that the Forest Service is fulfilling its mission and
   conservation obligations and enabling integrated landscape-level decision making and more efficient
   project-level implementation. The assessment should present information provided by monitoring
   and other data collection and information to allow the Responsible Official and interested parties to
   identify the on-the-ground results of management under the current forest plan, the RGNF’s 1996
   Land and Resource Management Plan (1996 LRMP). The Responsible Official must identify a) how
   current conditions outlined in the Assessment are related to or caused by current, specific forest
   plan direction; b) how such conditions or trends can be influenced directly or indirectly by Forest
   Service management; and c) based on this, identify specific needs for change in management,
   including type of plan components, information needs, difference in management needed for
   different forest areas, and changes in management focus or urgency.

   These comments focus particularly on aspects of the Assessment and NFC that pertain to at-risk
   wildlife and ecosystem integrity. The comments include a series of questions that we ask the
   Responsible Official and other members of the RGNF Planning Team to address, to the extent
   possible, in future iterations of the Assessment as well as additional best available scientific
   information (BASI) that we believe is important to incorporate. We suspect that information to
   answer these questions may already exist, and we have not intentionally posed any questions that
   cannot be answered with an assessments of existing information. We raise points about the draft
   NFC statements that we hope will inform scoping and the development of a Proposed Action.

       II.     Status of the draft Assessment and NFC identification

   The draft Assessment presents substantial information and analyses regarding the social, cultural,
   economic, and ecological conditions on the Forest. While we realize and accept that the Assessment
   is a work-in-progress, we are concerned that the short timeline within which the Responsible
   Official and Planning Team have to develop the Proposed Action will not provide adequate time to
   incorporate additional information and to have ready a more complete assessment that will better
   inform this process. For example, Draft Assessment 5: Identifying and Assessing At-risk Species
   (Assessment 5) acknowledges that its information and analyses are incomplete.

   The Assessment should reveal aspects of the existing management plan that are and are not
   providing for ecological sustainability and the diversity of plant and animal communities. Some
   needs for change specifically identified or indicated by the Assessment are not captured in NFC
   statements, and we provide examples of such cases below. We believe some important existing
   information, particularly the Forest’s annual monitoring reports, have not been sufficiently analyzed
   and incorporated into the Assessment. We believe a more thorough assessment of such existing
   information may point to additional areas of the plan where plan components need to change. As
   we illustrate below, the Responsible Official has, in many cases, not clearly identified the BASI that
   will be used to make decisions about changing the plan. Until these issues are addressed, we are not
   confident that the Assessment provides a sufficient basis to complete a comprehensive NFC


                                                        1


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   analysis. Again, we are concerned that the constricted timeline will not allow the Responsible Office
   to address these issues.

   That said, we believe many, if not most, of the NFC statements identify aspects of the 1996 LRMP
   that do need to change. We are primarily concerned that the Assessment information and analyses
   are not sufficient to guide how the plan needs to change in several cases.

       III.       Integration of assessment topics

   The planning directives provide direction for integrating assessment topics (FSH 1909.12, ch. 10,
   11.3 and 12). Such integration is particularly important for assessment topics 1, 3, and 5 because
   these serve as the basis for evaluating the ecological conditions of the Forest. The key ecosystem
   characteristics that are essential for the conservation and recovery of federally protected species and
   the persistence of species of conservation concern (SCC) should be used to select the key ecosystem
   characteristics for the evaluation of terrestrial ecosystems, aquatic ecosystems, and watersheds.
   Integration that establishes crosswalks between topics 1, 3, and 5 upholds the intent of the planning
   rule—the adoption of “a complementary ecosystem and species-specific approach to maintaining
   the diversity of plant and animal communities and the persistence of native species in the plan area”
   (36 C.F.R. 219.9). We are concerned that because Assessment 5 and Assessments 1 and 3:
   Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems (Assessments 1 and 3
   (Terrestrial)) and Assessments 1 and 3: Aquatic and Riparian Ecosystem Integrity, Systems Drivers
   and Stressors (Assessments 1 and 3 (Aquatic and Riparian)) were drafted separately that the
   information they provide is not well integrated.

   Currently, the Assessment does not provide the synthesis of ecosystem, habitat, and species
   conditions necessary to evaluate the current plan’s contribution to ecological integrity and ecological
   diversity, or to build effective and sufficient coarse-filter plan components to meet regulatory
   diversity requirements. To a limited extent, the Assessment characterizes species at-risk Assessment
   5, but neglects to link those species (as well as less vulnerable species) to the ecosystems/habitat
   types and their reference or future condition under the current plan (i.e., their structure, function,
   composition, and connectivity), and drivers/stressors that are (or should be) identified in
   Assessment 1 and 3. It is critical for the assessment to establish the connection between coarse-filter
   ecosystem characteristics/habitat conditions and the species that depend upon them for persistence
   so that one can,

       •      Discuss reference conditions and evaluate the condition and trend of the landscape; and
       •      Use the assessment to then determine if the likely future condition under the current plan
              satisfies the requirements for ecological integrity and ecological diversity established in the
              planning rule, including whether future ecological conditions under the current plan will
              meet species diversity requirements (e.g. viability of species of conservation concern).

   In particular, the assessment should evaluate the connection between ecological conditions (current
   and expected future conditions under the current plan) and changes to species populations, as
   outlined in the directives. The assessment should project long-term conservation outcomes for at-
   risk species, factoring in selected scenarios for uncontrollable stressors (e.g. climate impacts). For
   species of conservation concern, the assessment should project viability using the parameters found
   in the definition of viability in the planning regulation (i.e. under present plan components, will
   future distribution of species of conservation concern be sufficient for the population to be resilient

                                                          2


                                                                               Rvsd Plan - 00002027
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   and adaptable to stressors and likely future environments?). Without this information, it will be
   challenging to develop plan components to sustain at-risk species. The assessment should document
   the assumptions inherent in the relationship between ecological conditions and changes in
   population so that those can be tested through monitoring and adaptive management.

       IV.       Use and documentation of best available scientific information

   It is not always clear from the array of sources cited in the Assessment (particularly those cited in
   Assessments 1 and 3), what particular scientific information the Responsible Official has determined
   to be the BASI for making planning decisions, as required by the planning rule (36 C.F.R. 219.3). We
   urge the Responsible Office to clarify and highlight explanations of BASI determinations and
   explanations of applications of BASI, also rule requirements. The following example illustrates our
   concern.

   Assessments 1 and 3 (Terrestrial) present data from vegetation modeling conducted (based on
   LANDFIRE data) specifically for the Assessment. Below are a few passages from Assessments 1
   and 3 (Terrestrial) (p. 18) regarding the vegetation modeling intended to assess ecosystem departures
   from Natural Range of Variability (NRV),

             The vegetation modelling suggests that the spruce-fir forest ecosystem is currently
             substantially departed from the natural range of variation due to the effects of recent
             wildfires and a large, multi-year spruce beetle outbreak, which caused substantial spruce
             mortality, opened canopy conditions, and created patches of grass/shrub across wide areas.


             This result is not necessarily in agreement with the published literature. The modelling of
             historic conditions included moderate spruce beetle outbreaks, but did not include the rare,
             extreme spruce beetle outbreaks like the one the Rio Grande National Forest is currently
             experiencing. Literature (Eager et al. 2012, Romme et al. 2009) indicates that in these spruce­
             fir forests, spruce beetles generally persist in low-level, widespread populations that have
             little effect on forest structure, but that they periodically have very large outbreaks, where the
             “beetles may kill millions of mature pine or spruce trees over areas of thousands of
             hectares.” Since the modelling did not include these large, explosive outbreaks, the spruce-fir
             forests may not be nearly as departed from the natural range of variation as the modelling
             suggests.

   Assessments 1 and 3 (Terrestrial) (p. 18) state,

             It is difficult to determine whether the terrestrial ecosystems on the Rio Grande National
             Forest are within the range of what would occur naturally. Modelling results indicate that the
             terrestrial ecosystems on the Rio Grande National Forest are, in general, moderately to
             substantially departed from what would occur naturally. However, the determination of the
             range of natural conditions is not an exact science. The spruce beetle modelling did not
             include the rare, extreme spruce beetle outbreaks like the one we are currently experiencing,
             but more moderate outbreaks. We know that these large spruce beetle outbreaks happened
             historically and this suggests, along with the long fire return interval in spruce-fir, that this
             ecosystem is not departed from historic conditions. In the end, we don’t really know with



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           any certainty what effect past logging has had in these forests and whether this latest spruce
           beetle outbreak is a completely natural phenomenon or one influenced by climate change.

           In other cases as well, the published literature is not necessarily in agreement with the
           modelling we used here, making it difficult to know with any certainty how departed some of
           these types are from the natural range of variation.

   We appreciate that the Assessment acknowledges problems with assessing departures from NRV.
   We are also sympathetic regarding the difficulties. But these statements raise questions.

   Question: Given the lack of agreement between modeling data and published literature, what
   sources and data does the Responsible Official consider to be the BASI, upon which key decisions
   will be made in revising the management plan?

   Question: How will the Responsible Official reconcile disagreements, inconsistencies, and
   uncertainties in the science?

   We note that Appendix B in Assessments 1 and 3 (Terrestrial) explains alterations in the model. In
   the case of the wildfire analysis, new modeling is abandoned, and analysis rely on the published
   literature and expert opinion. In this case, the Assessment provides some clarity regarding
   determination of BASI. This may be a trivial point, but the BASI selected regarding fire disturbance
   are not explained in the main body of the Assessment—the part of the Assessment that is more
   accessible to interested members of the lay public. Understanding the Appendices requires
   specialized technical knowledge. We appreciate the inclusions of these technical explanations of the
   vegetation modeling methodology, modifications of the model, and data sources in the Appendices,
   which provide an essential level of transparency in the Assessment. We recommend that the
   Responsible Official be clearer regarding documentation and use of BASI in the main body of the
   Assessment, in terms that are accessible to the public.

   We also recommend that the Responsible Official and Planning Team elicit expertise from within
   and outside the Forest Service to review areas of the Assessment where disagreements, questions,
   and uncertainties in the available science in order to help provide guidance as to the best science that
   should be used for decision making. The Assessment should document how such expert opinion is
   utilized.

      V.      Use of prior monitoring information in the Assessment

   We are surprised that the Assessment did not more fully evaluate and utilize information that exists
   in RGNF annual monitoring reports, as recommended in the planning directives (FSH 1909. 12, ch.
   10, 11). It is not clear that relevant information from prior monitoring has been appraised and
   incorporated into Assessments 1 and 3, both Terrestrial and Riparian and Aquatic, and Assessment
   5. The monitoring reports provide significant data about the effects of management actions on the
   Forest during the life of the 1996 LRMP and how conditions have changed. We urge the Planning
   Team to better exploit the valuable information in RGNF monitoring reports in revisions of the
   Assessment and use this information to further evaluate needs for change. A synthesis of this
   information in the Assessment may go a long way toward answering some of the questions we raise
   below.



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       VI.        Incorporating key state and regional information resources

   We anticipate that in subsequent drafts of the Assessment that the Forest Service will avail itself of
   relevant, quality, existing information that pertains to the Forest. Key sources include:

       •     The Forest Service, Rocky Mountain Region (Region 2) Species Conservation Assessments.1
       •     Colorado’s State Wildlife Action Plan (2015) by Colorado Parks and Wildlife.2
       •     The Colorado Rare Plant Guide by the Colorado Natural Heritage Program.3

   These sources provide a selection of BASI, species profiles, species and habitat threats, management
   recommendations, and other information that should be considered in the Assessment and provide
   guidance for developing plan components. These resources seem to have been overlooked or
   underutilized in the Assessment.

       VII.       Wildlife specific comments

             a.          Federally protected species

   We appreciate that the Responsible Official recognizes the duty to conserve and contribute to the
   recovery of species protected under the Endangered Species Act (ESA) as required under the
   planning rule as well as the ESA. We agree with the NFC statement,

             A4. Update plan direction to furtherpromote the recovery and conservation o_ffederatly recognized threatened,
             endangered, proposed, and candidate species (Draft NFC 2016: 3, Table A)

   We have a few questions and recommendations regarding the Assessment and NFC that pertain to
   some federally protected species that occur on the Forest.

                    i.          Consultation with the US Fish and Wildlife Service

   Under Section 7 of the ESA, the Forest Service has a legal duty to “carry out programs for the
   conservation” (16 U.S.C. §§ 1536(7)(a)(1)) for endangered and threatened species. The planning rule
   requires the Forest Service to “contribute to the recovery of federally listed threatened and
   endangered species” (16 U.S.C. §§ 1536(7)(a)(1)).

   We urge the Responsible Official to begin informal consultation with the USFWS over the RGNF’s
   listed species now—before completing the next iteration of the Assessment. The assessment phase
   provides an ideal opportunity for the Planning Team to seek and utilize species-specific information
   from consulting agencies that may be used to design the forest plan. Early engagement with these
   government agencies complies with the planning rule.4 Early contributions to a forest plan by the
   consulting agencies can help streamline the Section 7(a)(2) consultation process for the plan and


   1 http://www.fs.usda.gov/detail/r2/landmanagement/?cid=stelprdb5177128.
   2 http://cpw.state.co.us/aboutus/Pages/StateWildlifeActionPlan.aspx.
   3 http://www.cnhp.colostate.edu/rareplants/.
   4 36 C.F.R. § 219.4(a)(1) directs the responsible official to “engage the public-including" _ “Federal agencies"^
   “early and throughout the planning process where feasible and appropriate." Under 219.6(a)(2), the regional
   forester should coordinate with and provide opportunities for government agencies “to provide existing
   information for the assessment."

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   increase the likelihood of contributing to recovery of listed species under Section 7(a)(1) of the ESA
   (16 U.S.C. §§ 1536(7)(a)(1)-(2)) and avoiding listing of proposed and candidate species. Federally
   recognized species must be addressed by plan components if they “may be present” in the plan area
   (50 C.F.R. 402.12(c)(1), (d)) and should be included as target species documented in the assessment.

   The Forest Service must use its authorities, including the National Forest Management Act and its
   planning process and resulting plans, in furtherance of recovery of listed species.5 There is an
   existing process for interagency coordination that could be used to answer the question that the
   planning rule poses: does a forest plan contribute to recovery of listed species? The Consultation
   Handbook6 describes “proactive conservation reviews” under ESA Section 7(a)(1). According to
   this Handbook, such reviews are appropriate for major national programs, and they are also
   “appropriate for Federal agency planning.” They would be especially helpful in identifying the
   ecological conditions necessary for recovery of listed species.7 The Forest Service Planning
   Handbook recognizes recovery plans by stating that their “conservation measures and actions”
   should be considered.8 And, in the absence of recovery plans, the conservation review can assist in
   developing and implementing recovery actions.

   The assessment should provide the basis for this consideration. The assessment should also evaluate
   progress made by the Forest Service under the current plan to conserve and recover federally
   protected species.

                  ii.         Canada lynx

   Evidence supports that Canada lynx (Lynx canadensis) (lynx) were once common residents of
   Colorado (Ruediger et al. 2000; Meaney 2002; Devineau et al. 2010; Shenk 2014). Despite
   significantly depressed numbers, the species persisted in Colorado up to and throughout the time
   period of the Colorado Division of Wildlife (now Colorado Parks and Wildlife, “CPW”) efforts to
   reestablish a viable population in the state, beginning in 1999. Data also indicate that lynx have
   continually inhabited the San Juan Mountains, even before the reintroduction (Carney 1993).

   Assessment 5 provides an important overview of the recent history of lynx in the Forest (since
   reintroduction), a comprehensive description of key ecological conditions thought to be required for
   lynx suitable habitat and persistence, and an acknowledgement of uncertainties and knowledge gaps
   related to lynx on the RGNF. Below we recommend incorporating some additional existing
   scientific information sources and addressing a few key questions in subsequent phases of
   assessment five.



   5 36 C.F.R. § 219.9(b)(1) requires that each forest plan include plan components that “provide the ecological
   conditions necessary to contribute to the recovery of threatened and endangered species _"
   6 https://www.fws.gov/ENDANGERED/esa-library/pdf/esa section? handbook.pdf
   7 The Consultation Handbook also encourages consultation at broader scales such as “ecosystem-based”
   consultations.
   8 FSH 1909.12, ch. 20, 23.13a, and additionally, the Handbook also suggests consideration of “limiting factors" and
   “key threats" (which should include those that were the basis for listing the species). Finally, the Handbook states
   that the planning team should, “Engage with the U.S. Fish and Wildlife Service and National Marine Fisheries
   Service, as appropriate, in the evaluation of existing conditions for threatened and endangered species. The direct
   use of recovery plans for forest planning should be a goal, and more than a “consideration," but it is unlikely that
   recovery plans would provide complete answers to what the necessary ecological conditions are in the plan area.

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                       1.      Assessing effects of current management plan components on lynx
                               and lynx habitat

   Assessment 5 outlines “some ecological conditions considered important on the forest”
   (Assessment 5: 12). The document also states, “[a]ll key criteria in the Southern Rockies Lynx
   Amendment [SRLA] management direction (objectives, standards, and guidelines) should be
   considered for local conservation and recovery efforts, but are too numerous to mention here”
   (Assessment 5: 12). Additionally, Assessment 5 indicates changing management direction under the
   SRLA may not be necessary (Assessment 5: 14).

   We acknowledge that the rapidly changing conditions on the forest related to the widespread spruce
   beetle outbreak confound the ability to determine how these conditions are affecting lynx
   persistence, if at all. The nature of lynx makes them difficult to study regardless of forest conditions.
   Assessment 5 states that lynx are continuing to use the forest and reproduce.

   However, the Assessment should evaluate how and to what extent current management direction
   under the SRLA standards and guidelines has affected the ecological conditions outlined. This type
   of analysis is essential for revealing whether and how the current plan components must change to
   in order to contribute to conserving and recovering the species. The points outlined in Assessment 5
   (p. 12) have raised the following questions for us.

   Assessment 5 states, “^ lynx conservation and recovery is a multi-unit landscape-scale issue that
   involves cross-boundary coordination and consistency.”

   Question: Does SRLA direction require and promote broad-scale management and monitoring as
   required under the planning rule?

   Assessment 5 states, “[c]onnectivity attributes that facilitate movement should be further defined
   and mapped across the Unit and adjoining unit landscapes.” Existing knowledge should be used to
   identify movement corridors to the extent possible.

   Questions: What does “further defined and mapped” mean in this context? Is the RGNF
   conducting this mapping? Will it occur with sufficient time to inform the plan revision process?

   Questions: What existing information about lynx movement and habitat connectivity already exists?
   What information is currently known about lynx movement in the Forest?

   Assessment 5 states, “[r]ecognition of high-value movement and dispersal areas that may require a
   management focus even when outside of existing lynx analysis units or known occupied
   reproductive habitat. A local example is the North Pass area on the Saguache Ranger District that
   may provide for dispersal and ingress of lynx in and out of the local core area.” This statement
   indicates that current plan components may need to change to be more protective of this area.

   Question: Does the SRLA have sufficient mechanisms to protect movement and dispersal areas
   outside existing LAUs?

   Assessment 5 includes, “[u]ncompacted snow conditions and management of over-the-snow vehicle
   route densities” as a key ecological condition.


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   Question: How is recreational OSV use affecting snow conditions in lynx habitat?

   Additionally, we have a few questions related to applying the SRLA to the Rio Grande that we
   believe should be answered in the Assessment.

   Question: To what extent has the Forest Service utilized the exemptions and exceptions to SRLA
   plan components when developing and implementing projects on the RGNF?

   Question: How well does the SRLA restore or maintain lynx winter habitat? (See Squires et al. 2010
   on the importance of maintaining and restoring winter habitat.)

   Question: How well does the SRLA restore or maintain lynx denning habitat? For example, to what
   extent is the RGNF following SRLA Guideline VEG G11, which pertains to denning habitat?

   Question: How well is the SRLA restoring or maintaining lynx linkage areas and other movement
   corridors?

   The assessment phase provides an excellent opportunity to comprehensively evaluate how the
   provisions in the SRLA have been applied and implemented and the extent to which they have
   resulted in lynx habitat protection on the Forest.

   Assessment 5 (p. 14) lists a series of “threats and risk factors in the post spruce beetle environment.”
   The list synthesizes several uncertainties. We acknowledge that additional scientific data would be
   helpful to better inform lynx habitat management and possibly address uncertainties. However,
   given the proposed timing of the plan revision and potential timing of the release of results from
   ongoing research—after the plan is revised—new science may not be available before the revised
   plan is finalized. Nonetheless, plan components must be retained, developed, and/or augmented in a
   way that guides project-level decisions based on the current BASI. Additionally, given these
   uncertainties, the revised assessment should discuss how an adaptive management framework might
   be incorporated into a revised plan under the planning rule that advances lynx recovery as new
   science becomes available.

                       2.     Additional best available scientific information related to Canada
                              lynx

   We recommend the following sources be considered in the next revision of the Assessment. We
   draw particularly from the 2013 Lynx Conservation Assessment and Strategy (LCAS 2013) as well as
   some literature published subsequently. An update to the 2000 LCAS, the LCAS 2013 synthesized a
   comprehensive set of the BASI on Canada lynx.

   Assessment 5 references the 2000 LCAS (Ruediger et al. 2000) in identifying risk factors affecting
   lynx in the Southern Rockies. To summarize from the Assessment 5 (pp. 13-14), these include,

       •   Unmanaged domestic and wild ungulate grazing
       •   Activities that result in snow compaction such as roads, trails, and recreation
       •   Legal and illegal predator control
       •   Mountain lion predation
       •   Vehicle collisions on major highways


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       •   Habitat fragmentation

   The LCAS 2013 (ILBT 2013: 55-56) outlined several “[h]uman activities and developments specific
   to the Southern Rockies,” that highlight information and science unique to the Southern Rockies.
   We summarize these below,

       •   Climate change that may lead to a “persistent snow” decline by 40% (citing McKelvey et al.
           2011)
       •   Historic impacts of extensive mining and logging that are still evident
       •   The Southern Rockies Lynx Amendment
       •   Lodgepole pine mortality from a mountain pine beetle epidemic
       •   Salvage logging of beetle-killed lodgepole pine trees
       •   Vehicle mortality due to several high-volume highways
       •   More recreation and development than occurs in other areas of the species’ range
       •   Colorado’s trapping prohibition
       •   Predator control primarily related to domestic sheep grazing

   The LCAS 2013 also examined “anthropogenic influences that may affect lynx and lynx habitat” and
   categorized these by “those that have the potential to negatively effect [sic] lynx populations and
   habitat” (first tier) and “those that may affect individual lynx but are not likely to have a substantial
   effect on lynx populations and lynx habitat” (second tier) (ILBT 2013: 68). We ask that revisions of
   the Assessment incorporate relevant new scientific information as it applies to the RGNF, including
   the 2013 LCAS. We have provided some examples below that summarizes some key information
   from the LCAS 2013 as well as other sources.

                                   a.      Climate change

   LCAS 2013. Alpine ecosystems may be among the most vulnerable (citing Gitay et al. 2002; Diaz
   and Millar 2004), and changes due to such factors as warming temperatures and early snow melt may
   reduce habitat and shift lynx distribution (citing Hoving et al. 2005; McKelvey et al. 2011) and also
   reduce the abundance of snowshoe hares (citing Gonzalez et al. 2007). Climate change may affect
   lynx habitat by increasing the duration and frequency of wildfires (citing McKenzie et al. 2004;
   Westerling et al. 2006). The LCAS 2013 pointed out, “it is possible that interactions between these
   variables may intensify their effects” (ILBT 2013: 69).

   Additional scientific information. Koen et al. (2014) predicted that changing conditions due to
   climate change may reduce genetic diversity and adaptive potential in lynx.

                                   b.      Vegetation management

   LCAS 2013. The LCAS 2013 (ILBT 2013: 71) stated, “Management activities uninformed by
   consideration of negative impacts to the species were identified as being of greatest potential
   concern to lynx conservation (Federal Register, July 3, 2003, vol. 68, no. 28, pp. 40076-40101).”
   Though timber management activities may approximate natural disturbance, they are not ecological
   equivalents and, unlike natural disturbance, may,




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       •   Alter nutrient cycling and microsite conditions by removing standing biomass and down
           wood
       •   Fragment habitat by creating smaller patches that are more dispersed
       •   Increase runoff and inhibit tree growth by compacting and disturbing soil with heavy
           equipment
       •   Reduce structural complexity of forests by thinning, harvesting, planting, and applying
           herbicides

   Research has emphasized the importance of dense horizontal cover and high stem density for
   snowshoe hares (citing Hodges 2000a; Mowat et al. 2000; Homyack et al. 2006; Robinson 2006;
   Fuller et al. 2007; Homyack et al. 2007; Scott 2009; McCann and Moen 2011). The current BASI has
   demonstrated that pre-commercial thinning degrades snowshoe hare habitat (citing Sullivan and
   Sullivan 1988; Hodges 2000b; Griffin and Mills 2004; Ausband and Baty 2005; Griffin and Mills
   2007; Homyack et al. 2007; Ellsworth 2009) can significantly deplete snowshoe hare numbers (citing
   Griffin and Mills 2004, 2007; Homyack et al. 2007) across the entire lynx range (Griffin and Mills
   2007). The LCAS 2013 (ILBT 2013: 73-74) stated,

           If removal of large trees opens the canopy to the extent that the patch functions as an
           opening, this may discourage use by lynx (Koehler 1990a, von Kienast 2003, Maletzke 2004,
           Squires et al. 2010). Removal of larger trees from mature multi-story forest stands to reduce
           competition and increase tree growth or resistance to forest insects may reduce the
           horizontal cover (e.g., boughs on snow), thus degrading the quality of winter habitat for lynx
           (Robinson 2006, Koehler et al. 2008, Squires et al. 2010). Similarly, removing understory
           trees from mature multistory forest stands reduces the dense horizontal cover selected by
           snowshoe hares, and thus reduces winter habitat for lynx (Koehler et al. 2008, Squires et al.
           2010).

   The LCAS 2013 (ILBT 2013: 73-74) also stated,

           In the western United States, projects designed to restore forests to a condition more
           representative of the historical range of variability are generally targeted to drier, lower-
           elevation forests affected by fire suppression (Hessburg et al. 2005), which are not lynx
           habitat. Lynx habitats in higher-elevation spruce-fir forests have been less affected by past
           fire suppression and are mostly within the historical range of variability (Agee 2000). Fuels
           treatments may be needed to protect human communities and capital improvements by
           reducing the intensity and rate of spread of a fire, affording control actions with a higher
           probability of success and providing safer conditions for fire fighters. By removing or
           reducing the understory and ladder fuels to meet those objectives, dense horizontal cover
           important to snowshoe hares is reduced and habitat value is diminished for hares and lynx.

   Additional scientific information. Abele et al. (2013) found that pre-commercial thinning leads to
   significant losses in hare abundance in treated areas. Johnson et al. (2015) found that managing for
   uneven aged stands in subalpine forests regenerating from beetle mortality may be important for red
   squirrels, which can be an important food source for lynx.




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                                   c.      Fragmentation of habitat

   LCAS 2013. Lynx and snowshoe hares tend to avoid large forest openings and prefer contiguous
   habitat (citing Koehler 1990; Mowat et al. 2000; von Kienast 2003; Maletzke 2004; Squires and
   Ruggiero 2007; Squires et al. 2010; Lewis et al. 2011; Simons 2009). Openings that result in distance
   to cover of >328 ft (100 m) may affect lynx use and movement patterns (citing Koehler 1990). The
   LCAS 2013 (ILBT 2013: 77) stated,

           At some point, landscape-scale fragmentation can make patches of foraging habitat too small
           and too distant from each other to be effectively accessed by lynx as part of their home
           range. Maintaining preferred habitat patches for lynx and hares within a mosaic of young to
           old stands in patterns that are representative of natural ecological processes and disturbance
           regimes would be conducive to long-term conservation.

   Additional scientific information. Squires et al. (2013: 187) highlighted the value and fragility of
   species at the periphery of their ranges,

           Populations at the periphery of species’ ranges are important for long-term conservation due
           to a greater potential for speciation and potentially greater survivorship than core
           populations when species experience sharp range contractions (Lesica and Allendorf, 1995;
           Channell and Lomolino, 2000; Carroll, 2007). Peripheral populations often occupy
           suboptimal habitats (Brown, 1984), making them vulnerable to a loss of connectivity with
           larger source populations (Root, 1998; Thomas et al., 2001). Moreover, peripheral
           populations may be particularly at risk where they face high levels of anthropogenic
           disturbance (Channell and Lomolino, 2000; Shaefer, 2003).

   He added, “^maintaining connectivity for lynx may become increasingly difficult due to climate
   and anthropogenic change, as evidenced by reduced connectivity of other boreal species (van Oort
   et al., 2011)” (Squires et al. 2013: 187) and, “^managers need approaches and tools that identify and
   maintain connectivity for such species across difference spatial scales (Carroll et al., 2010).” Squires
   (2013) put forth a model for identifying lynx corridors (c.f., Chetkiewicz et al. 2006; Fahrig 2007;
   Beier et al. 2009; Chetkiewicz and Boyce 2009; Rabinowitz and Zeller 2010; Richard and Armstrong
   2010; Dancose et al. 2011). Kosterman (2014) found that connected mature forest is the key
   predictor for overall success in lynx reproduction. See also Row et al. (2012) and Walpole et al.
   (2012).

                                   d.      Recreation

   LCAS 2013. Constructing or expanding ski resorts, ski huts, or campgrounds removes forest cover
   and can lead to decreases in prey, increase habitat fragmentation, and affect lynx movement; lynx are
   believed to avoid developed ski resorts. Lynx are sensitive to human disturbance, especially when
   denning with young and often move dens when they are approached by humans (citing Olson et al.
   2011), though moving kittens from natal to maternal dens is not atypical. Snow compaction by
   snowmobiles can cause lynx to lose their advantage over competitors and predators, such as coyotes,
   who avoid deep, loose snow (citing Buskirk et al. 2000; Bunnell et al. 2006; Burghardt-Dowd 2010;
   and others, see pp. 80-81).




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                iii.       Gunnison sage-grouse

   As Assessment 5 points out, Gunnison sage-grouse have had a tenuous existence on the Rio Grande
   National Forest. The Poncha Pass area is within the species’ historic range (see 79 Fed. Reg. 69192:
   69194, 2014), though habitat conditions must be improved to support a viable population (79 Fed.
   Reg. 69313, 2014). Higher elevation sagebrush steppe like Poncha Pass may be key to the species’
   persistence as climate change continues to affect lower elevation habitat elsewhere. Including lands
   managed by the Bureau of Land Management (48%), the Forest Service (26%), private parties
   (24%), and the Colorado State Land Board (2%), GSRCS (2005) estimated the range of the
   population to be 20,400 acres. We acknowledge that the US Fish and Wildlife Service does not
   believe that the Poncha Pass area can support a Gunnison sage-grouse population (79 Fed. Reg.
   69313, 2014). However, we contend that it is premature to write off this area.

   A more detailed evaluation of how human uses in the area have affected sagebrush habitat and sage­
   grouse is warranted. Assessment 5 (pp. 20-21) states, “[t]here is some threat from cumulative
   physical disturbances associated with recreation in the area.” Gunnison sage-grouse are highly
   sensitive to human disturbance, including those from recreational activities.

   Question: What is the nature and level of this threat to the birds and their habitat?

   Assessments 1 and 3 (Terrestrial) conveys that the sagebrush shrubland ecosystem is slightly
   departed from NRV conditions based on succession class.

   Question: To what extent could this departure be affecting the persistence of sage-grouse in the
   area?

   Assessments 1 and 3 (Terrestrial) predicts that livestock grazing will replace wildlife fire as the
   dominant driver of the sagebrush system. Livestock grazing may not be a compatible use of sage­
   grouse habitat.

   Question: How much livestock grazing is occurring in the Poncha Pass area?

   There are habitat requirements or key ecosystem characteristics necessary to sustain sage-grouse
   populations that are not currently considered in the Assessment (See SGITT 2013).

   Assessment 5 (p. 20) outlines the range of strategies proposed by the Gunnison Sage-grouse
   Rangewide Conservation Plan (GSRSC 2005).

   Question: To what extent has Forest Service adopted and followed these strategies for managing
   sage-grouse and sagebrush habitat on the RGNF?

   Question: If it has not implemented the GSRSC strategies, how has the Forest Service managed the
   Poncha Pass area to contribute to the conservation and recovery of Gunnison sage-grouse?

   We recommend the Forest Service review additional BASI as it continues to evaluate key
   characteristics for sage-grouse persistence to incorporate into the Assessment and develop plan
   components that contribute to the conservation and recovery of the species. See: Beck and Mitchell
   (2000); Connelly et al. (2000); Braun et al. 2005; Holloran (2005); Braun 2006; Hagen et al. (2007);
   Walker et al. (2007); Aldridge et al. (2008); Doherty (2008); Doherty et al. (2010); Reisner (2011);

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   SGNTT (2011); Patricelli et al. (2012); Baruch-Mordo et al. (2013); Caudil et al. (2013); Reisner et al.
   (2013).

                iv.        Uncompahgre Fritillary

   Assessment 5 provides an account (pp. 6-7) of the federally endangered Uncompahgre fritillary
   butterfly, which is dependent on large snow willow patches for persistence. Assessment 5 account
   includes a recent history of known Uncompahgre fritillary populations on the forest, including
   possible extirpated populations, and a summary of threats and risk factors, such as livestock grazing,
   trampling by humans, and climate change.

   The USFWS Uncompahgre Fritillary Butterfly Recovery Team finalized a recovery plan for the
   species in 1994 (UBRT 1994). The recovery plan lists a set of responsibilities assigned to the Forest
   Service for contributing to the species’ recovery (UBRT 1994: 16-18). The Assessment is not clear
   regarding how the Forest Service is meeting these recovery plan obligations.

   Question: What recovery actions in the Uncompahgre fritillary recovery plan apply to the RGNF?

   Question: To what extent is the Forest Service implementing and completing its Uncompahgre
   fritillary recovery plan actions?

   Assessments 1 and 3 (Terrestrial) (p. 4) does not evaluate the conditions of snow willow habitat but
   highlights the threat of climate change to the species:

   We think some ecosystems are particularly susceptible to climate change-related impacts. Plant and
   animal species in high-elevation alpine ecosystems, such as the Uncompahgre Fritillary Butterfly,
   may be pushed to extinction if warming temperatures reduce their habitat (Alexander and Keck
   2015).

   Assessment 5 identifies “large patches of snow willow” as a feature not addressed in Assessments 1
   and 3. The combined assessments do not answer a key question that may inform plan revision.

   Question: How much potential unoccupied habitat should be considered recovery habitat where the
   species could recolonize or be reintroduced?

   The RGNF assessment should also consider whether the 1996 LRMP plan components are
   sufficient to contribute to the species’ conservation and recovery. We believe these plan components
   need to change to meet the planning rule requirements. That some colonies on the forest may have
   been extirpated indicates that standards and guidelines may be inadequate, and if so, should change.
   Wildlife - Standard 13 (RGNF 1996: III-28) states,

          No ground-disturbing activity shall be allowed in potential Uncompahgre fritillary butterfly
          habitat unless a survey is conducted to determine the existence of the species. Ground­
          disturbing activities include trail building, livestock driveways, or domestic sheep bedding
          grounds. The usual grazing associated with livestock in the area is not considered ground
          disturbing. Potential habitat definitions and survey protocols are found in the Uncompahgre
          Friti/lar)i ButterJ^y Recovery Plan.




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   However if ground disturbing activities are allowed to occur in unoccupied potential habitat, this
   may precluded the restoration and recolonization of potential habitat and hinder the butterfly’s
   recovery. Wildlife - Standard 14 (RGNF LRMP 1996: III-28) states, “[i]f any new Uncompahgre
   fritillary butterfly populations are discovered, a "No Butterfly Collecting" regulation shall be
   imposed on the area.” It follows that “ground-disturbing activity” restrictions should apply to the
   habitat of newly discovered populations not solely collection restrictions.

                v.        Southwestern willow flycatcher

   The Southwestern willow flycatcher has been documented to occur on the Forest (Assessment 5:
   25). Though the 1995 LRMP has no standards and guidelines specific to Southwestern willow
   flycatcher conservation and recovery, some do relate to riparian area habitat integrity. However, the
   RGNF management plan will likely need to change to include standards and guidelines to protect
   the species and its habitat.

   Assessment 5 (p. 25) quantifies suitable habitat on the RGNF,

          Biologists have identified approximately 1,762 acres of suitable and 947 acres of potential
          willow flycatcher habitat on the forest to date (2,709 acres total, Figure 5). Approximately
          1,428 acres (81 percent) of the suitable habitat and 93 acres (10 percent) of the potential
          habitat has received species protocol surveys for at least two consecutive years. As of the
          end of the 2014 field season, mapping efforts indicate that approximately 81 to 85 percent of
          the potential habitat on the forest has been evaluated (Ghormley 2015).

   Questions: What does “approximately 81 to 85 percent of the potential habitat on the forest has
   been evaluated” mean? What was the nature of the evaluation?

   Question: What are the ecological conditions of suitable and potential habitat on the Forest? To
   what extent are these conditions departed from the Natural Range of Variation?

   Here is an instance where the Assessment would benefit from stronger integration between topics.
   Assessment 5 provides a comprehensive description of the species and details about key habitat
   characteristics. As with other species, Assessment 5’s evaluation of “current conditions and trends”
   does not present an account of current conditions of Southwestern willow flycatcher habitat on the
   Forest. Assessments 1 and 3 (Aquatic and Riparian), including Appendix 1, provides more detail
   about riparian conditions on the Forest with reference to specific areas.

   Questions: What information does the aquatic and riparian condition evaluations conducted for
   Assessments 1 and 3 provide about conditions of the 1,762 acres of suitable habitat and 947 acres of
   potential habitat for the Southwestern willow flycatcher? For example, are there impaired stream
   segments identified in Assessments 1 and 3 (Aquatic and Riparian) (p. 11) that include some of this
   habitat?

                vi.       Other federally protected species

   We ask that the Forest Service include in revisions of the Assessment an accounting of the habitat
   conditions for other endangered, threatened, proposed, or candidate species that may be relevant to
   the Forest, such as the black-footed ferret, New Mexico meadow jumping mouse, Mexican spotted
   owl, and yellow-billed cuckoo—all discussed in Assessment 5.

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            b.           Species of Conservation Concern

   We agree with the draft NFC statement,

            A5. Revise the previousplan to provide management direction to manage habitat to ensure viable poopulations
            Iofsspecies o_f conservation concern (Dra_ft NFC 2016:3, Table A)

   We have a few comments regarding the selection of SCCs as well as additional BASI and points to
   consider in the next phases of planning.

                    i.         SCC identification

   We appreciate that Assessment 5 lists the criteria for identifying species that will be further
   considered for SCC selection as the plan revision process continues. These criteria follow the
   planning directives, and it is evident that the Forest Service applied these criteria systematically to
   develop the draft SCC list (Assessment 5: 36-51, Table 3).

   We believe the Service has rightly included in its list species designated as Regional Forester
   Sensitive Species. The Sensitive Species designation indicates that there is a substantial concern
   about these species’ persistence on the forest. We recommend the Service retain all Sensitive Species
   as SCC.

   We do have some concerns about Assessment 5, primarily regarding the process for removing
   species from consideration as SCC and the documentation of BASI used to justify removing species
   from consideration. We ask that the following concerns and recommendations be addressed in the
   next iteration of the assessment.

                   ii.         Documentation of best available scientific information

   The use of BASI is required for all planning actions and explicitly required for the determination of
   SCC.9 The rationales in the assessment consist of conclusory statements and do not reference
   supporting science. However, “species overviews” have been prepared for each species considered
   for SCC and would presumably include the scientific basis for the rationale, though the specific
   scientific information is not identified in the assessment.

   One rationale for removing species from SCC consideration is: “[n]ot documented on the Rio
   Grande National Forest” (Assessment 5: 32-34, Table 2). It is not clear what “not documented” on
   the forest means, and the Service has used this rationale to remove species from consideration in
   several cases.

   Questions: Does “not documented” mean that documentation exists to support the contention that
   the species does not occur on the forest (e.g., from regular monitoring or survey data)? In these
   instances, we would have expected specific references to the BASI be included in the rationale. Or,
   does “not documented” indicate a lack of information?




   9 36 C.F.R. § 219.3; FSH Ch. 10, 12.53b(3 and 4).

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   Similarly, it is not clear if “[n]o known substantial conservation concern on the Rio Grande National
   Forest” means there is BASI that supports a determination of no substantial concern or if this
   indicates a lack of information.

                iii.       Consideration of all species relevant to the plan area

   We acknowledge that the Forest Service undertook a rigorous, comprehensive analysis of species it
   included for SCC consideration. We would like to know how the Service made its initial selections.
   We are interested because our own analysis of vulnerable species believed to occur in the plan area
   revealed a few additional species that we had expected to be considered. These include,

       •   Silky pocket mouse (PerognathusJ/avus), NatureServe: G5, S1
       •   Brazilian free-tailed bat (Tadarida brasi/iensis), NatureServe: G5, S1
       •   Xanthus Skipper (Pjtgus xanthus), NatureServe: G3G4, S3
       •   Three-toed woodpecker (Picoides tridacy/us), NatureServe: G3G4, S3S4B (vulnerable)
       •   Dwarf hawksbeard (Askellia nana), NatureServe: G5, S2
       •   Pale moonwort (Bot^ychium pa//idum), NatureServe: G3, S2
       •   Winding mariposa lily (Ca/ochortusJ/exuosus), NatureServe: G4, S2

   We request that the revised assessment include a brief explanation of the methodology for initial
   selection and also evaluate the above listed species for consideration as SCC.

                iv.        Determinations of occurrence on the Forest

   As noted above, we request additional explanation of what “not documented” on the forest means
   as a rationale for removing species from consideration as well as the scientific documentation used
   to make such judgements.

   The directives are clear that species may be excluded if they are “accidental” or “transient,” or are
   “well outside the species’ existing range.” However, the basis in the draft assessment for several
   species not selected is occurrence that is “peripheral,” “very few documented,” or “very limited.”
   These cases may not meet the criteria in the directives.

   Where occurrence records are old, this could substantiate the decline of the species and suggest
   potential recovery and restoration needs. Age of occurrence records should not be a justification for
   ignoring a species in the planning process without demonstrating that the likelihood of future
   occurrence is remote.

   The basis for not including several vulnerable species was “very little suitable habitat on the Rio
   Grande National Forest.” Infrequent presence or limited habitat in the plan area, and lack of threats
   from national forest management activities are insufficient to demonstrate that species vulnerable at
   a broader scale are secure in the plan area. Limited habitat might suggest the opposite. If a species is
   “known to occur” in a plan area, the apparent absence of habitat is not a relevant justification. (It
   may be appropriate to consider when developing plan components.)

   The directives specifically recognize climate change as an example of a threat to a species that might
   warrant identifying it as a SCC even though it is beyond the control of national forest management


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   actions. For example, the sage sparrow was not identified as a SCC because of “very limited ability
   to influence species through management actions of Rio Grande National Forest.”

                 v.         Judgements of substantial concern

   With regard to SCC, documentation must explain how the BASI indicated or did not indicate
   “substantial concern about the species’ capability to persist over the long-term in the plan area.”
   This is referring to scientific concern that has been expressed that is applicable to species persistence
   in the plan area, not a subjective perception of concern by the regional forester.

   The directives make an important distinction between species of broader-scale concern and those
   where there is local conservation concern. All but one of the categories in the directives address the
   former by encompassing concerns expressed by NatureServe or government agencies about viability
   of the species at a broader scale than the plan area. The overall approach is to cast a wide net so that
   the Regional Forester can consider species where concern about persistence is indicated for either or
   both of these reasons. Local conditions in a plan area are relevant at the SCC identification stage as a
   basis for including additional species for which there might not be broader concern; not as a sole basis
  for rejecting sspeciesfor which there is a broader concern.

   In Assessment 5, a “basis” is provided for each species “not carried forward for analysis as SCC”
   that addresses both regulatory criteria for each species. However, the criteria listed for “determining
   ‘substantial concern’” are only the criteria designated in the directives to be used for species of “local
   concern” (FSH 12.52d(3)(f)). Thirty-seven species were considered but not carried forward.

   Localized trends are relevant to adding a SCC that is secure at a broader scale but may be at risk in
   the plan area (FSH 12.52d(3)(f)). However, localized trends do not counter broader scale
   circumstances. Using the directives’ criteria for including additional species, the Responsible Official
   excluded species of concern at a broader scale but having stable populations on the forest or
   because they are “widespread,” “common,” or had “good viability” on the Forest.

                vi.          Concerns about expanding list of species to consider as SCC

   Overall, the process developed by the Forest Service is very expansive and inclusive in identifying
   SCC. The actual needs of these species related to management of the national forest may then be
   determined when plan components are being developed. Having a large number of SCC does not
   necessarily lead to pages of plan components if their necessary ecological conditions can be provided
   by ecosystem plan components.

           c.         Evaluating conditions necessary to sustain at-risk species

   As stated above, we believe a drawback of the Assessment is the lack of integration between topics,
   particularly Assessment 5 and Assessments 1 and 3. Assessment 5 (pp. 68-71) lists conditions and
   features that are necessary for at-risk species. Assessment 5 (p. 71) also lists those “conditions and
   features that do not overlap with the ecosystem and ecosystem drivers described and analyzed in
   Assessments 1 and 3,” for example “presence of non-native fish and amphibians,” “vegetation that
   overhangs water,” and “Northern flicker cavities.” These characteristics are not evaluated in the
   Assessment. And, the characteristics selected to measure the integrity of forest ecosystems are not
   evaluated in such a way that enables an understanding of how conditions are meeting the habitat
   needs of at-risk species. See more on this below.

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       VIII.    Comments on assessing ecosystem integrity to inform needs for change

           a.      Vegetation modelling

   We strongly recommend that the Responsible Official not rely on the modeling results presented in
   Assessments 1 and 3 (Terrestrial) to make planning decisions. Assessment 1 and 3 (Terrestrial)
   acknowledges limitations of the results and that they are not always consistent with relevant peer-
   reviewed literature (for example, at p. 18 and pp. 22-23). We recommend that the Responsible
   Official make better use of the available literature synthesizing results of these analyses and making
   determinations regarding which of these sources constitute the BASI for decision making. The
   Assessment references many key sources that would serve as a basis for a more in depth assessment
   of relevant science.

           b.     Identification and use of key ecosystem characteristics in the Assessment

   Assessments 1 and 3 (Terrestrial) (p. 3) states,

           In order to assess the ecological integrity of the terrestrial ecosystems, we chose key
           ecosystems characteristics. These are attributes that we can use to predict whether future
           conditions will have ecological integrity.

   These are the characteristics chosen:

       •   Diversity of vegetation - amount and distribution of vegetation structural stages
       •   Landscape Disturbances and Patterns
       •   Connectivity and Human-caused Fragmentation
       •   Late successional habitats
       •   Snags and down woody material
       •   Rare communities and special habitats

   Question: How is the Assessment evaluating compositional characteristics?

   Question: How do the Assessment analyses of “diversity of vegetation” and “late successional
   habitats” differ?

   We have questions about some of the “diversity of vegetation” analyses and their implications for
   future management direction. We outline a few examples to illustrate some concerns.

   Regarding the pinyon-juniper ecosystem, we are confused about some of the statements that we
   hope revisions in the Assessment will clarify. Assessment 1 and 3 (Terrestrial) (p. 12) states,

           Expansion of pinyon and juniper woodlands is a concern in some areas, such as lower
           elevation meadows and areas with grassy understories. Although pinyon-juniper density has
           likely increased to some extent in the recent past on the Rio Grande National Forest, the
           current extent compared to past distribution has not been well analyzed. Fire exclusion in
           pinyon and juniper systems cannot be the primary mechanism for expansion and infill of
           these woodlands as fire was never very frequent in these systems and therefore they are not
           likely departed from historic fire return intervals in most places (Romme et al. 2008), though


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           there is less certainty in pinyon-juniper savannas. Other drivers of expansion may be
           ongoing natural expansion, recovery from heavy grazing or tree removal, climate change or
           elevated carbon dioxide levels (Romme et al. 2009).

   Assessment 1 and 3 (Terrestrial) (p. 20) states,

           Modelling suggests that historically 5 percent of the pinyon-juniper woodland was in
           grass/shrub, 35 percent in open canopy cover and 60 percent in mid canopy cover. Most of
           the area was dominated by mature trees.

           Current conditions are highly departed from the natural range of variation in the pinyon-
           juniper woodland ecosystem, with a much higher amount (60 percent) of the area in
           grass/shrub. Of the remaining landscape, almost all contains open cover woodlands, with
           smaller sapling-pole trees dominant. The high level of departure is at least partially related to
           the assignment of the low-elevation grasslands land type association to the pinyon-juniper
           woodland ecosystem. If some of the mapped grass/shrub areas are actually natural
           grasslands and had been classified into a grassland ecosystem instead, the level of departure
           from the natural range of variation would be lower.

           Under future projections, the pinyon-juniper woodland recovers from highly departed
           current conditions over several centuries. Long-term projections indicate future conditions
           within the natural range of variation. However, the trend toward increasing tree cover may
           not actually occur if the grassland land type association is not at least moderately susceptible
           to tree invasion.

           Succession and insect outbreaks, such as pinyon ips, were the most influential drivers of
           vegetation dynamics in the pinyon-juniper woodland ecosystem, with wildfire relatively rare.
           Management treatments in the no-action scenario include broadcast burning, mastication,
           and thinning, summing to an annual treatment rate of 0.4 percent (443 acres per year).

   Question: The text on page 12 suggests that pinyon-juniper woodlands are expanding and
   densifying, while findings of the modeling suggest departure from NRV is due to a higher amount
   grass and shrubs, but this apparent discrepancy may just require some additional explanation.
   However, how do the model results square with the published literature and field expertise?

   Question: The second paragraph indicates some potential problems with inputs to the model; given
   this vegetation classification issue, how will these results be used to inform management direction
   decisions?

   Question: Management under the 1996 LRMP includes burning, mastication, and thinning, which
   do not seem consistent with modeling results; does this indicate a need to change management
   direction for pinyon-juniper woodlands?

   To reiterate, we recommend the Responsible Office rely more heavily on available literature instead
   of the vegetation model.

   The type of vegetation modeling used in Assessment may not be appropriate to evaluate grassland
   (as well as shrubland) conditions, and the Assessment acknowledges less confidence in these results.
   We believe that a different set of key characteristics are more appropriate to evaluate the conditions

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   of grasslands (and also shrublands), such as species composition, species richness and biodiversity;
   the proportion of cover to bare ground; seasonal grass height; and proportion of native grass
   species, forbs, shrubs, trees, and non-native annual grasses. See also Browder et al. (2002) and
   Coppedge et al. (2006).

   The Assessment provides no analysis of ecosystem connectivity and/or fragmentation for the
   Forest. The amount of land area in designations, such as wilderness, and acres covered by roads are
   not measures of connectivity and fragmentation (Assessment 1 and 3 (Terrestrial): 33-34). We have
   provided comments (see The Wilderness Society, Defenders of Wildlife, and the Center for Large
   Landscape Conservation comments on the RGNF Assessment 15 - Designations, dated February 9,
   2016) that included specific information about connectivity related to the Forest. We hope the
   Planning Team will use this information as guidance for ways to assess connectivity and
   fragmentation. Additionally, we believe that the Assessment could provide an analysis of habitat
   connectivity on the Forest with existing information, and suggest the following papers to serve as a
   starting point: Calabrese and Fagan (2004) and Kupfer (2012).

                 i.       Rare communities and special habitats

   The planning directives necessitate the Responsible Official to consider rare or at risk unique
   ecosystems and habitat types (FSH 1909.12, ch. 20, 23.1, 23.11d). The Assessment lists some of
   these habitats (Assessments 1 and 3 (Terrestrial): 42) and provides a more thorough evaluation of
   some of these habitats, including fens and beaver influenced habitats. The 1996 LRMP has several
   standards and guidelines in place intended to protect, for example, wetlands, wet meadows, cliffs
   (particularly for peregrine falcons), and caves and mines. Given the draft NFC document did not
   identify these components as needing to change, we would expect the revised plan to retain these
   standards and guidelines. A more detailed identification rare and at risk unique habitat types and
   accounting of the degree to which they are departed from their natural ranges of variation would be
   helpful to enable the public to understand why standards and guidelines are necessary to protect
   them.

   Statements in Assessments 1 and 3 (Aquatic and Riparian), see below, indicate that existing plan
   components may be inadequate to maintain the integrity of these systems and needs for change.

          Low-elevation seeps and springs frequently used for livestock and/or wildlife troughs were
          not included in the Colorado Natural Heritage Program assessment. Although condition
          data is lacking for these types of systems, we consider their ecosystem integrity low due to
          water diversions, trampling, and other impacts. We find this situation most often in drier
          areas where free-flowing water is limited. (Assessments 1 and 3 (Aquatic and Riparian): 4)

          To mitigate the impacts of potentially reduced flows due to climate change, we can focus
          management on maintaining stream structure and surrounding vegetation within their
          perceived natural range of variation particularly for vulnerable streams, wetlands and riparian
          areas (Dawson, 2011). (Assessments 1 and 3 (Aquatic and Riparian): 4)

          Pugging in saturated soil areas is readily observable in some montane springs and meadow
          areas where livestock and native ungulates congregate. Heavy cattle use in palustrine systems
          can alter the hydrology by damaging soils. Soil compaction and pugging of the peat layer will
          change surface water flow. Heavy cattle use can also alter the successional processes within


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          the sedge- dominated area of a fen. Cattle hoof action can lead to pugging and hummocking,
          creating microsites where shrubs can become established, changing the sedge-dominated
          meadow to carr shrubland. (Assessments 1 and 3 (Aquatic and Riparian): 4-5)

   We understand that information about the condition of some of these ecosystems is lacking, such as
   data about seeps and springs, which indicates that in such cases monitoring questions should be
   included that address these information gaps.

   Below are additional comments on some of these habitat types.

                          1.     Riparian areas

   Under the planning rule, plan components must be developed “to maintain or restore the ecological
   integrity of riparian areas” (36 C.F.R. 219.8(a)(3)). The planning rule is quite specific as to what
   characteristics must be considered in the development of plan components (36 C.F.R. 219.8(a)(3)(A)
   - (G)). Though the 1996 LRMP has a set of standards and guidelines related to protecting aquatic
   and riparian ecosystems, the Assessment pointed out that the plan needs to change based on its
   evaluation of aquatic and riparian conditions (Assessments 1 and 3 (Aquatic and Riparian): 32).
   Some additional statements in the Assessment reflect this need.

          ^ it is estimated that there are approximately 468 miles of impaired waterbodies (303(d)
          listed) within the Rio Grande River Basin, some of which are within the Rio Grande
          National Forest (Colorado Department of Public Health and Environment 2012). These
          listed waterbodies are mostly associated with historical mining and are in the Alamosa,
          Willow, and Kerber Creek watersheds, although the upper Hot Creek subwatershed is also
          noted in the aquatic report by Winters et al. (2016). (Assessments 1 and 3 (Aquatic and
          Riparian): 11)

          We are part of a signed interagency conservation agreement to improve and maintain habitat
          conditions and populations of the Rio Grande cutthroat trout. This species is currently a
          primary focus for restoration opportunities in the upper Rio Grande Basin. (Assessments 1
          and 3 (Aquatic and Riparian): 11)

          There are approximately 680 miles of rivers and streams on the Rio Grande National Forest
          that sustain populations of nonnative trout. (Assessments 1 and 3 (Aquatic and Riparian):
          12)

          To mitigate the impacts of projected reduced flows, our management should focus on
          maintaining stream structure and surrounding vegetation within the natural range of
          variation; particularly at streams, wetlands and riparian areas thought to be more vulnerable
          to climate change (Dawson 2011). We should manage keystone species such as beaver,
          which restore streams to more natural flow rates and water table levels, to maintain stream
          function and store water naturally on the landscape. (Assessments 1 and 3 (Aquatic and
          Riparian): 42)

   We recommend that the Responsible Official, as the plan revision process continues, include needs
   to change plan components that direct management of aquatic and riparian ecosystems in future
   NFC statements and decisions.


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                          2.      Caves and mines

   Assessments 1 and 3 (Terrestrial) noted that of 11 bat species, several depend on mines and caves
   for habitat. The Townsend’s big-eared bat and fringed myotis—both included in the RGNF draft
   SCC list—depend on caves and mines. We urge the Planning Team to include an evaluation of the
   conditions and tends in the conditions of the Forest’s caves and mines as bat habitat in order to help
   appraise how well standards and guidelines pertaining to caves and mines have protected conditions
   favorable to bats; or, explain why such an evaluation is not possible.

                          3.      Bog violet (Viola nephrophylla) habitat

   We urge the Forest Service to consider this rare and at risk habitat not currently addressed in the
   Assessment or draft NFC statements. The Great Basin silverspot butterfly (Sp^jeria nokomis nokomis)
   recently received a positive 90-day finding by the Fish and Wildlife Service (81 Fed. Reg. 1368,
   2016), indicating the species may warrant listing under the Endangered Species Act. The species is
   dependent on the bog violet as media for laying eggs and as a larval food source. Several records of
   bog violet occur on the RGNF, and protecting bog violet habitat with plan standards and guidelines
   will likely be necessary to protect the Great Basin silverspot.

                          4.      Prairie dog colony ecosystems

   We encourage the Forest Service to consider prairie dog colonies as important, rare ecosystems that
   provide habitat for a range of grassland species. The Forest Service has carried forward the
   Gunnison’s prairie dog as a species on its draft SCC list. Biologists consider prairie dogs keystone
   species (Miller et al. 1994; Kotliar et al. 1999; Kotliar et al. 2000; Miller et al. 2000; Davidson and
   Lightfoot 2006). At least nine species depend on prairie dogs and their colonies (Kotliar et al. 1999)
   and over 100 may benefit from these ecosystems (Miller et al. 1994). The Forest Service considered
   three of these species—burrowing owl, mountain plover, and ferruginous hawk—as SCCs but
   justified not carrying them forth on the draft SCC list due to the rationale, “[n]ot documented on the
   Rio Grande National Forest” (Assessment 5: 33). These species are at-risk across their range; their
   ranges overlap with the RGNF. The Forest Service also included in its justification for not carrying
   forward these species, “[v]ery little suitable habitat on the Rio Grande National Forest” (Assessment
   5: 33).

   Questions: How much suitable habitat occurs on the Forest? Of this suitable habitat, how much is
   occupied by prairie dogs?

   Question: How much potential exists for prairie dog populations and colony numbers and sizes to
   increase?

                          5.      Complex early seral forest

   Assessment 1 and 3 (Terrestrial) use “late successional habitats” as a key characteristics to help
   evaluate ecosystem conditions. Assessment 5 lists “late seral forests” as an ecological condition or
   feature essential to several species, including boreal owl, Northern goshawk, and Western
   bumblebee.

   Significantly disturbed areas, such as areas that have experienced high-severity fire, resulting in
   complex early seral forest habitat should be managed as opportunities to contribute to achieving

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   ecological integrity, habitat diversity, and species persistence requirements, especially snag dependent
   and shrub-dependent species, over a long timeframe measured in decades. The Assessment should
   acknowledge the importance of fire-burned areas as wildlife habitat, early successional vegetation
   resulting from mixed and high-severity fire, and structural complexity resulting from disturbance to
   ecological integrity and forest resilience. Complex early seral conditions that result from canopy­
   opening disturbances (see Swanson et al. 2011; Donato et al. 2012; DellaSala et al. 2014; Swanson et
   al. 2014) should be identified in the forest plan as a desired and critical stage of biodiversity
   establishment and forest development, and a foundation for supporting ecological integrity and
   affirming the Forest Service’s guidance on ecological integrity in the planning rule.

   Disturbed areas require sensitive management to protect these fragile habitat from activities such as
   road-building, livestock grazing, recreation, and logging. The planning rule requires the maintenance
   and restoration of ecological integrity at the ecosystem scale, as well as the maintenance and
   restoration of the diversity of habitat types throughout the plan area. We are concerned about
   potential negative impacts of post-disturbance salvage harvest to ecosystem integrity and habitat­
   type diversity for burned habitats, particularly on complex early seral forest conditions. Swanson et
   al. (2011: 10) sum up the management issues by finding that,

             Natural disturbance events will provide major opportunities for these ecosystems, and
             managers can build on those opportunities by avoiding actions that (1) eliminate biological
             legacies, (2) shorten the duration of the ESFEs [early-successional forest ecosystems], and
             (3) interfere with stand-development processes. Such activities include intensive post­
             disturbance logging, aggressive reforestation, and elimination of native plants with
             herbicides.

   Some wildlife species that prefer early-successional communities include mountain bluebird, three­
   toed woodpecker, Lewis’s woodpecker, and lazuli bunting (Swanson et al. 2011).

       IX.        Assessment of drivers and stressors

             a.      Bark beetle disturbance

   The recent spruce beetle outbreak in the Forest and the Southern Rockies region is one of (if not
   the) most significant issues and changed conditions on the Forest since the 1996 LRMP was
   adopted. Despite the large-scale tree die-off, published science and the vegetation model disagree as
   to whether and how much current conditions are departed from historic conditions. Assessment 1
   and 3 (Terrestrial) (p. 18) recognizes the discrepancy. To summarize some points from above, we
   urge the Responsible Official to make a determination regarding which information constitutes the
   BASI for this topic and otherwise adhere to the planning rule requirements under 36 C.F.R 219.3, to
   more fully utilize available peer reviewed scientific literature, and to tap experts (many of whom
   work in Colorado universities and other institutions) to provide opinions on scientific disagreements
   and uncertainties.

             b.      Livestock grazing

   Assessments 1 and 3 for both terrestrial and aquatic ecosystems and Assessment 5 identify and
   describe livestock grazing as a stressor for most terrestrial and aquatic ecosystems and a risk factor
   for at least 28 at-risk species. In several cases, the assessments note several cases where livestock


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   grazing is likely contributing to departure from NRV. Below are a few examples of statements in the
   assessment that indicate livestock grazing is contributing to degraded conditions.

          ^ a few wetlands are ranked C due to stressors including grazing, hydrologic modifications,
          and surrounding land use activities. (Assessments 1 and 3 Aquatic: 14)

          Low-elevation seeps and springs frequently used for livestock and/or wildlife troughs were
          not included in the Colorado Natural Heritage Program assessment. Although condition
          data is lacking for these types of systems, we consider their ecosystem integrity low due to
          water diversions, trampling, and other impacts. (Assessments 1 and 3 Aquatic: 4)

          Pugging in saturated soil areas is readily observable in some montane springs and meadow
          areas where livestock and native ungulates congregate. Heavy cattle use in palustrine systems
          can alter the hydrology by damaging soils. Soil compaction and pugging of the peat layer will
          change surface water flow. Heavy cattle use can also alter the successional processes within
          the sedge- dominated area of a fen. Cattle hoof action can lead to pugging and hummocking,
          creating microsites where shrubs can become established, changing the sedge-dominated
          meadow to carr shrubland. (Assessments 1 and 3 Aquatic: 4-5)

          Gage and Cooper (2013) suggest that a variety of factors have caused many high-to middle­
          elevation riparian shrublands to be outside the natural range of variation, due to exotic
          species invasion, herbivory and trampling by livestock and native ungulates, and changing
          hydrologic regimes and beaver populations. (Assessments 1 and 3, Terrestrial: 21).

          Threats listed in the final listing rule and the recovery plan include trampling of the
          Uncompahgre fritillary butterfly and its habitat by humans and livestock, collecting, lack of
          regulatory mechanisms, adverse climatic changes, small population size, and low genetic
          variability (USDI Fish and Wildlife Service 2009). While most known populations are in
          remote areas, potential threats to the species’ persistence still exist. Increasing recreational
          traffic, including extensive off-trail use, domestic livestock grazing, grazing by wild
          ungulates, and the potential for global climate change all pose problems to habitat necessary
          for the species’ recovery. (Assessment 5: 7)

          Potential habitat includes riparian that does not currently provide the characteristics of
          suitable habitat but has the potential of attaining them in the foreseeable future. Potential
          sites may include habitat such as a stand of young willow that currently lacks the density or
          size needed for suitable habitat. Potential habitat can be previously suitable habitat rendered
          unsuitable by events such as a severe flood, or human activities such as unmanaged livestock
          grazing. (Assessment 5: 26-27)

   Given this situation, we would expect plan components governing livestock grazing on the forest
   need to change. Assessments 1 and 3 (Terrestrial) (p. 2) indicates that plan components related to
   livestock grazing may need to be revised:

          To ensure it is responsibly done, we have standards and guidelines in the current Forest Plan
          regarding the timing, amount, and regulation of livestock grazing. We need to evaluate and
          potentially adjust these standards and guidelines based on monitoring data. This is



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            particularly true for low elevation riparian areas, which are especially vulnerable to climate
            change impacts.

   The next draft of the assessment should include an appraisal of such monitoring data in order to
   help determine and help the public to understand why or why not plan standards and guidelines
   related to grazing should or should not change.

            c.      Climate change

   We strongly recommend that the Planning Team utilize available scientific literature to conduct a
   more comprehensive appraisal of current and predicted climate change impacts on the Forest’s
   ecosystems and plant and animal communities to incorporate into the Assessment. Some available
   resources include: Isaak et al. (2012); Johnson (2013); Fischman et al. (2014); Schmitz et al. (2015).

            d.       Highly interactive species, ecosystem engineers

   Plan components should provide for the integrity of aquatic ecosystems, based on sustainable
   hydrologic regimes and connected aquatic habitat. In that spirit, BASI supports the identification of
   beaver (Castor canadensis), in the planning process as a system driver, a key compositional
   characteristic of the integrity of riparian ecosystems, as providing habitat necessary for the recovery
   of at-risk species, and as a focal species. Key characteristics of riparian ecosystems have been
   disrupted due to the absence of beaver and the absence of beavers has impaired the ecological
   integrity of aquatic and riparian ecosystems and watersheds. The assessment does identify beaver as
   an important keystone species, and identifies subwatersheds within the Forest where beaver habitat
   suitability exists. But the assessment and need for change fail to actually recommend beaver
   reintroduction. This is an example where the need for change does not match up well with the forest
   assessment. The Forest needs to project future sustainability/integrity conditions for beaver
   (including incorporating available information on likely future climate conditions), and promote the
   ecological conditions provided by beaver populations as it pertains to the sustainability and diversity
   requirements of the planning rule.

       X.        Comments on specific draft NFC statements and priorities

   We are making the assumption that components in the 1996 LRMP will not change unless
   specifically identified in a NFC statement. Please correct us if this assumption is inaccurate. Please
   also see comments that we have offered with our partners (Smith, San Luis Valley Ecosystem
   Council et al. 2016). Below are a few additional recommendations regarding these statements.

            a.       Watershed direction

            C3. Revise the previous plan to identfy priority watersheds to reeflect the current best managementpractices
            including the Watershed Conservation Practices Handbook, National Best Management Practices program,
            and Watershed Condition Framework (Draft NFC 2016:3, Table C)

   The planning rule provides strong direction for the management, protection, and restoration of
   water resources and quality. In addition, the Forest Service in 2010 launched the Watershed
   Condition Framework in an effort to create a consistent approach to evaluating, restoring, and
   monitoring watersheds across the National Forest System. We recommend that the Forest Service
   adopt a management strategy that “protects the best and restores the rest” by assuring that activities

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   within a network of watersheds maintain existing conditions or lead to improved watershed
   conditions; such a framework would include the following elements for proactively protecting
   watersheds and water quality:

       •   Protect Riparian Management Areas.
       •   Protect Key Watersheds. Key watersheds are a network of watersheds distributed through the
           region that are crucial to at-risk fish species and stocks and for high-quality water.
       •   Conduct watershed Analysis: Watershed analysis provides a basis for development of
           watershed-scale restoration strategies and is a key basis for defining desired conditions,
           management objectives and monitoring.
       •   Restore watersheds: Watershed restoration is a comprehensive, long-term program to restore
           watershed health, riparian ecosystems, and fish habitats consisting of active and passive
           management actions.
       •   Monitor.

   We commend the Rio Grande staff for recognizing a need to incorporate the new direction into the
   revised plan and including C3. However, we would recommend that you revise the wording to C3 in
   order to better reflect the direction in the new authorities and current scientific thinking regarding
   watershed management. We recommend articulating the needs in two statements,

       ^ Revise the previous plan to identify, protect, restore, and monitor a network of priority
           watersheds to enable highly functioning aquatic processes and improve vitality and
           persistence of imperiled aquatic species including the cutthroat trout.

       ^ Revise the previous plan to reflect the current best management practices including the
           Watershed Conservation Practices Handbook, National Best Management Practices
           program, and Watershed Condition Framework.

           b.       Old growth forest

           D1. Update the deefinition and management direction for late successional/ old growth forest and woodland
           communities (Dra_ft NFC 2016:3, Table C)

   It is not yet clear how the “diversity of vegetation” and “late successional habitats” analyses
   presented in Assessment 1 and 3 (Terrestrial) will provide guidance to develop management
   direction. As stated above, the Assessment is confusing regarding what scientific information the
   Responsible Official has determined to be the BASI. The data related to this topic are equivocal.
   Modeling results indicate that spruce-fir forest and wet mixed conifer are “substantially departed”
   from NRV while pinyon-juniper woodland is highly departed and dry mixed conifer is slightly
   departed (Assessment 1 and 3 (Terrestrial): 17). Assessment 1 and 3 (Terrestrial) (p. 35) states the
   following regarding its findings on late-successional habitats,

           In order to assess the presence and change in late successional habitats through time, the
           state and transition modelling done by Oregon State University was used. This work
           modelled the presence of various habitat structural stages under current conditions and into
           the future. Late successional here is defined as habitat structural stages 4B and 4C for any of
           the cover types (except pinyon-juniper where there is no 4C) and is discussed below. Habitat
           structural stage class 4B corresponds to areas with mature trees (9 inches and larger) with 40

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          to 70 percent canopy cover. Habitat structural stage class 4C corresponds to areas with
          mature trees (9 inches and larger) with more than 70 percent canopy cover.

          Based on these criteria, currently, only about 13 percent of the forest is late-successional
          (figure 5, table 10). This is projected to increase under current plan direction to 19-27
          percent in the next 20-50 years. Even so, this is less than the amount (35 percent) thought to
          be in late successional habitat under historic conditions. If, as predicted, disturbances such as
          large fires and insect outbreaks increase in frequency due to climate change (Vose et al.
          2012), the forest may have even less late successional habitat than model predictions suggest.
          In general, most forest types have less late successional habitat than under historic
          conditions (table 10).

   These passages raise questions for us that do not seem to be answered in the Assessment.

   Questions: How will managing under current plan direction increase late-successional habitat to “19­
   27 percent”? What is the scientific basis for this assertion?

   Question: How has management under the current plan direction contributed to the current
   conditions?

   Question: What does the Assessment say about how management direction should change in the
   revised plan?

   Question: Given the significant modifications to the model described in Appendix B of Assessment
   1 and 3 (Terrestrial) (pp. 63-64), to what extent can these data be relied up for decision making?

   We recommend these questions be answered in the Assessment to provide the public a better
   understanding of how management direction needs to change. We recommend the NFC statement
   be revised to reflect how the Responsible Official believes management direction should change
   based on the revised Assessment.

          c.       NFC statements without corresponding information in the Assessment

   As stated in our earlier comment letter (Smith, San Luis Valley Ecosystem Council et al. 2016), we
   agree that management direction captured in the following statements should change,

          D8. Consider additional management direction for recreational ctimbing in relation to sensitive heritage
          resources and habitat tike peregrinefalcon nests (Draft NFC 2016: 6, Table D)

          D9. Update management direction to maintain separation between bighorn and domestic sheep (Dra_ft NFC
          2016: 6, Table D)

          D10. Additional management direction regarding recreationalpack goats on the Rio Grande National
          Forest (Dra^ft NFC 2016: 6, Table D)

          D13. Revisit the of-road game retrievalpoliji on the Rio Grande National Forest (Draft NFC 2016: 7,
          Table D)




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   These are all needs for change that internal Forest Service staff have made. Currently, these
   statements do not indicate if the Responsible Official believes plan direction should be more or less
   restrictive regarding NFC statements D8, D10, and D13. We recommend that the Responsible
   Office include in the next revision of the Assessment and explanation of the problems regarding
   these issues and how current direction is affecting at-risk wildlife so that the public can understand
   how management direction needs to change.

      XI.        Additional needs for change

            a.      Desired condition statements

   Under the planning rule, “[d]esired conditions must be described in terms specific enough to allow
   progress toward their achievement to be determined ^” (36 C.F.R. 219.7(e)(1)(i)). The planning
   directives state that desired conditions, “[m]ust be written with enough detail so the condition of on-
   the-ground achievement is clear and progress toward their achievement can be measured or
   evaluated” (FSH 1909.12, ch. 20, 22.11(2)). Additionally, the “Responsible Officials should include
   sufficiently detailed descriptions of desired conditions so they are useful to determine the purpose
   and need for many projects such as restoration projects and activities.” (FSH 1909.12, ch. 20, 22.11).

   Some existing desired conditions in the 1996 LRMP may not be meeting the planning rule
   requirements and will likely need to change. For example, the following “Soils” desired condition
   may be too vague to allow progress to be measured: “[e]cosystem management activities are
   harmonious with soil capabilities, potentials, and limitations.”

            b.      Monitoring program and adaptive management

   It is helpful that the Forest Service outlined a set of specific tasks that the planning rule requires be
   undertaken as part of plan revision, including timber suitability evaluation, wilderness evaluation,
   and wild and scenic river identification and evaluation. We recommend that developing a monitoring
   program as a key task be captured in identified needs for change as the planning process moves
   forward. The Assessment revealed where information gaps are hindering a more comprehensive
   evaluation of forest conditions. These identified gaps should provide a starting point for developing
   monitoring questions that address information needs for the Forest.

   We are also concerned that the assessment does not adequately lay the groundwork for an effective
   monitoring and adaptive management program. According to the planning rule, the assessment
   should be used to inform the development of the monitoring program (219.5(a)(3)). The monitoring
   report must in turn be used to “inform adaptive management of the plan area” (219.12(d)(2)).
   Adaptive management must therefore be built into the design of the assessment by using existing
   information to establish hypotheses for testing. Further, the draft directives explicitly direct
   assessments to advance adaptive management. We believe that the assessment could have a more
   robust discussion of underlying assumptions and areas of uncertainty, including a discussion of how
   effectiveness monitoring of plan components could verify assumptions and reduce uncertainty. For
   example, uncertainty should be documented and flagged as an adaptive management question that
   pertains to plan components associated with vegetation diversity and species condition/persistence.
   Generally, uncertainty and assumptions regarding the relationship between ecosystem level plan
   components and species persistence need to be flagged for attention to facilitate future viability
   determinations and effectiveness monitoring strategies.


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           c.        Focal species

   The planning rule addresses focal species only in conjunction with the plan monitoring program
   developed by the responsible official (36 C.F.R. § 219.12(a)(5)(iii)). However, the purposes of a focal
   species are to permit “inference to the integrity of the larger ecological system to which it belongs”
   and to provide “meaningful information regarding the effectiveness of the plan in maintaining or
   restoring the ecological conditions to maintain the diversity of plant and animal communities in the
   plan area” (36 C.F.R. 219.19). We strongly recommend that Responsible Official consider focal
   species as part of the overall strategy for identifying at-risk species and key ecosystem characteristics,
   and recommend that the regional forester play a role in identifying focal species as well as SCC. It is
   also important to note that effective monitoring may require that some SCCs be selected as focal
   species.

           d.        Indications of additional needs to change management direction governing
                     forest uses

   The following statement in the Assessment caught our attention,

           Assessment 2 notes that in general most watershed and stream health concerns on the Rio
           Grande National Forest are associated with existing system roads and trails, uncontrolled
           motorized use on unauthorized roads and trails, and livestock grazing in riparian areas.
           These concerns relate to accelerated soil erosion and compaction, sediment delivered to
           streams and wetlands, stream channel aggradation and degradation, and the direct, indirect,
           and cumulative effects on the water cycle and water quality. These concerns are primarily
           related to proper implementation and/or administration of existing forest plan direction
           rather than a significant need to change existing direction. (Assessment 1 and 3 (Aquatic):
           31-32)

   We believe the Assessment should include additional detail and clarification regarding this assertion
   to help the public understand why plan components related to roads and trails, motorized used, and
   livestock grazing in riparian areas do not need to change. The statement has raised a few questions
   for us:

   Question: What information provides the basis for this conclusion?

   Question: Which plan components are not being properly implemented and administered?

   Question: Why are these plan components not being properly implemented and administered?

   Question: Should the public expect plan components related to these uses be retained in the revised
   plan?

                a.   Opportunities for collaboration with neighboring land owners

   We urge the Forest Service to describe in the Assessment opportunities for collaboration with
   adjacent landowners to “support a landscape approach for sustainable managements” in
   accordance with the planning directives (FSH 1909, ch. 20, 23.23m(1)(d)).




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   Question: In what ways is the RGNF already collaborating with other land-owning entities to
   contribute to the recovery and conservation of federally protected and other at-risk species?

   There are likely significant opportunities to work with other entities on such efforts as Canada lynx
   habitat protection and movement corridor protection, Gunnison sage-grouse recovery, and improve
   the integrity of bighorn sheep migration corridors, for example.

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                      535 16th Street, Suite 310 | Denver, Colorado 80202 | tel 303.825.0918
                      www.defenders.org


   August 22, 2016

   Dan Dallas
   Erin Minks
   Rio Grande National Forest
   1803 W. Highway 160
   Monte Vista, Colorado 81144

   Dear Supervisor Dallas and Ms. Minks:

   We appreciate the complex nature of planning and applaud your efforts to design a plan that enables
   adaptive management while meeting planning rule requirements. Thank you for accepting feedback
   on the Rio Grande National Forest (RGNF): Proposed Plan Revision Framework + Crosswalk (July
   2016). The framework document and accompanying slideshow are confusing and difficult to
   comment on without the benefit of specific context, but highlight some areas where the proposed
   plan design may misinterpret the planning framework and requirements of the 2012 planning rule
   (36 C.F.R. 219). The planning rule mandates that forest management plans have required plan
   components (219.7(e)), which are: desired conditions, objectives, standards, and guidelines. The rule
   states, "[t]he set of plan components must meet the requirements set forth in this part..."
   (219.7(e)(3)), such as for sustainability (219.8) and plant and animal diversity (219.9).

   The framework + crosswalk document and framework slideshow indicate that goals will take the
   place of desired conditions, possibly to a significant extent, and that desired conditions will only be
   developed for specific locations (i.e., management areas). Goals are optional, meant to be broad, and
   focused on process and public communications (219.7(e)(2)). They are not the appropriate
   mechanism for directing land and resource management to achieve specific ecological
   characteristics, for example, and to guide project level activities. The framework document indicates
   that management areas and desired conditions could be changed administratively, which is not in
   compliance with the planning rule (219.13(c)); administrative changes are not intended for
   substantive changes to plan components (FSH 1909.10, ch. 20, 21.5). Additionally, the monitoring
   program must measure progress toward achieving desired conditions and objectives (219.12(a)(2)), yet
   the RGNF framework suggests monitoring will be limited to goals and objectives.

   The framework document indicates that standards and guidelines from the 1996 (current) plan will
   be converted to “management practices,” which may be optional content (219.7(f)(2)) but cannot be
   substituted for plan components to meet the rule requirements. It is unclear why standards would
   only be applied forest wide and not also to specific areas (i.e., management areas).

   We are committed to working with the Forest to develop a revised management plan that complies
   with the planning rule and provides a comprehensive and robust set of required plan components, a
   monitoring program that measures progress toward desired conditions, and a justifiable mechanism
   for altering the plan.

   Sincerely,



   Peter Nelson                                      Lauren McCain
   Senior Policy Advisor, Federal Lands              Federal Lands Policy Analyst




                                                                                Rvsd Plan - 00002062
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    From:                 Jean Public
    To:                   FS-comments-rocky-mountain-rio-grande
    Cc:                   INFO@EARTHJUSTICE.ORG; INFO@PEWTRUSTS.ORG; HUMANELINES@HSUS.ORG; INFO@PETA.ORG;
                           INFO@IDAUSA.ORG: info@idausa.org
    Subject:              Fw: PUBLIC COMMENT ON FEDERAL REGISTER
    Date:                 Wednesday, December 24, 2014 11:20:43 AM




    SINCE THE GENERAL PUBLIC OWNS THIS NATIONAL SITE, ONE HAS TO WONDER WHY YOU ARE
    CONCENTRATING OUTREACH ONLY TO LOCAL "STAKEHOLDERS" WHO YOU HAVE PICKED OUT
    TO LAVISH ATTENTION ON. ONE HAS TO WONDER - ARE THESE HAND PICKED PAL
    "STAKEHOLDERS" PAYING MORE THAN THE REST OF US AMERICANS TO KEEP THIS SITES BILLS
    PAID.

    DO THEY HAVE A BIGGER VOICE THAN THE REST OF AMERICANS? DID YOU PICK TGHEM OUT
    FOR SPECIAL TREATMENT?

    PLESE KEEP MY NAME ON THE LIST TO HEAR ABOUT ALL UPDATES ON THIS PLAN. THE
     FUNCTION OF THIS SITE SHOULD BE TO
    PROTECT WILDLIFE, BIRDS, NATURE
    DONT MAKE THIS SITE A LUMBERYARD
    DONT MANAGE IT TO DEATH BUT PROTECT IT SO IT DOESN NEED "RESTORATION"
    STOP ALL BURNING WHICH CONTAMINATES AIR AND CAUSES DEATHS FROM LUNG CANCER
    STOP ALL THE TOXIC HERBICIDES AND PESTICIEDS THAT KILL ALL LIFE ON EARTH
    BUILD NO NEW ROADS AND NO NEW TRAILS
    INVITE THE ANIMAL PROTECTION GROUPS TO COME AND COMMENT ON YOUR PLANS. THEY
     HAVE VOICES TOO. INSTEAD OF BLACKLISTING THEM, INVITE THEM IN. THEY ARE A MAJORITY
     OF THIS COUNTRY.
    THIS COMMENT IS FOR TH EPUBILC RECORD.
    BAN HUNTING AND TRAPPING ON THIS SITE. THE LEAD DEPOSITION AND THE WAY THESE
     GOONS KILL EACH OTHER, A LA DICK CHENEY, IS OBNOXIOUS.THIS COMMENT IS FOR THE
     PUBLIC RECORD. PLEASE RECEIPT. JEAN PUBLIC JEANPUBLIC1@YAHOO.COM




    > [Federal
    > Register Volume 79, Number 247 (Wednesday, December 24,
    > 2014)]
    > [Notices]
    > [Pages 77444-77445]
    > From the Federal Register Online via the Government Printing
    > Office [www.gpo.gov]
    > [FR Doc No: 2014-30189]
    >
    >
    >-------------------------------------------------------------------------
    >
    > DEPARTMENT OF AGRICULTURE
    >
    > Forest Service
    >
    >
    > Assessment Report of Ecological, Social, and Economic
    > Sustainability, Conditions, and Trends for the Rio Grande
    > National
    > Forest
    >


                                                                                 Rvsd Plan - 00002063
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    > AGENCY: Forest Service, USDA.
    >
    > ACTION: Notice of initiating the assessment phase of the Rio
    > Grande
    > National Forest land management plan revision.
    >
    >-------------------------------------------------------------------------
    >
    > SUMMARY: The Rio Grande National Forest, located in south
    > central
    > Colorado, is initiating the forest planning process pursuant
    > to the
    > 2012 Forest Planning Rule (36 CFR 219). This process results
    > in a
    > Forest Land Management Plan which describes the strategic
    > direction for
    > management of forest resources for the next fifteen to
    > twenty years on
    > the Rio Grande National Forest. The first phase of the
    > process, the
    > assessment phase, has begun and interested parties will be
    > invited to
    > contribute to the development of the assessment (36 CFR
    > 219.6). The
    > Forest hosted a series of informational meetings with key
    > stakeholders
    > and the public in the fall of 2014, and will be hosting
    > additional
    > meetings between January and June 2015. Additional
    > information on
    > public participation opportunities will be available on the
    > project Web
    > site: http://www.fs.usda.gov/riogrande.
    > The trends and conditions
    > identified in the assessment will help in identifying the
    > need for
    > change, in the development of plan components.
    >
    > DATES: A draft of the assessment report for the Rio Grande
    > National
    > Forest is expected to be completed by fall of 2015 and will
    > be posted
    > on the Rio Grande National Forest Web site at http://www.fs.usda.gov/riogrande.
    > From January 2015 through June 2015, the public is invited
    > to engage in a collaborative process to identify relevant
    > information
    > and local knowledge to be considered for the assessment. The
    > Forest
    > will then initiate procedures pursuant to the National
    > Environmental
    > Policy Act (NEPA) and prepare a forest plan revision. The
    > Forest will
    > again be inviting the public to help identify the
    > appropriate plan
    > components that will become the NEPA proposed action and/or
    > alternatives for the land management plan revision. The NEPA
    > procedures


                                                                                   Rvsd Plan - 00002064
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    > result in a record of decision and the plan revision process
    > results in
    > a draft revised plan. The Federal Register availability
    > announcement
    > for these documents starts the pre-decisional administrative
    > review
    > process (36 CFR
    >
    > [[Page 77445]]
    >
    > 219 Subpart B). The administrative review process provides
    > an
    > individual or entity an opportunity for an independent
    > Forest Service
    > review and resolution of issues before the final approval of
    > a plan,
    > plan amendment or plan revision.
    >
    > ADDRESSES: Written comments or questions concerning this
    > notice should
    > be addressed to Rio Grande National Forest, Attn.: Plan
    > Revision, 1803
    > W. Hwy 160, Monte Vista, CO 81144, or by email to: comments-rocky-mountain-rio-grande@fs.fed.us
    > (subject heading titled Forest Plan
    > Revision).
    >
    > FOR FURTHER INFORMATION CONTACT: Amy Waring, Forest Planner,
    > (719) 852­
    > 6215. Individuals who use telecommunication devices for the
    > deaf (TDD)
    > may call the Federal Information Relay Service (FIRS) at
    > 1-800-877-8339
    > between 5 a.m. and 5 p.m., Pacific Time, Monday through
    > Friday. More
    > information on the planning process can also be found on the
    > Rio Grande
    > National Forest Web site at http://www.fs.usda.gov/riogrande.
    >
    > SUPPLEMENTARY INFORMATION: The National Forest Management
    > Act (NFMA) of
    > 1976 requires that every National Forest System (NFS) unit
    > develop a
    > land management plan. On April 9, 2012, the Forest Service
    > finalized
    > its land management planning rule (2012 Planning Rule),
    > which provides
    > broad programmatic direction to National Forests and
    > National
    > Grasslands for developing and implementing their land
    > management plans.
    > Forest plans describe the strategic direction for management
    > of forest
    > resources for fifteen to twenty years, and are adaptive and
    > amendable
    > as conditions change over time.
    > Under the 2012 Planning Rule, the assessment of
    > ecological, social,


                                                                               Rvsd Plan - 00002065
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    > and economic trends and conditions is the first stage of the
    > planning
    > process. The second stage is a development and decision
    > process guided,
    > in part, by the NEPA and includes the preparation of a draft
    >
    > environmental impact statement and revised Forest Plan for
    > public
    > review and comment, and the preparation of the final
    > environmental
    > impact statement and revised Forest Plan. The third stage of
    > the
    > process is monitoring and feedback, which is ongoing over
    > the life of
    > the revised forest plans.
    > With this notice, the agency invites other governments,
    > non­
    > governmental parties, and the public to contribute to the
    > development
    > of the assessment report. The assessment will rapidly
    > evaluate the
    > sustainability of existing ecological, economic, and social
    > conditions
    > and trends within the context of the broader landscape. It
    > will help
    > inform the planning process through the use of Best
    > Available
    > Scientific Information, while also taking into account other
    > forms of
    > knowledge, such as local information, national perspectives,
    > and native
    > knowledge. Lastly, the assessment will help identify the
    > need to change
    > the existing 1996 plan.
    > Collaboration as part of the assessment phase supports
    > the
    > development of relationships of key stakeholders throughout
    > the plan
    > revision process, and is an essential step to understanding
    > current
    > conditions, available data, and feedback needed to support a
    > strategic,
    > efficient planning process. As public meetings, other
    > opportunities for
    > public engagement, and public review and comment
    > opportunities are
    > identified to assist with the development of the forest plan
    > revision,
    > public announcements will be made, notifications will be
    > posted on the
    > Forest's Web site at http://www.fs.usda.gov/riogrande,
    > and information
    > will be sent out to the Forest's mailing list. If anyone
    > is interested
    > in being on the Forest's mailing list to receive these
    > notifications,
    > please contact Amy Waring, Forest Planner, at the mailing


                                                                     Rvsd Plan - 00002066
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    > address
    > identified above, by sending an email to: comments-rocky-mountain-rio-grande@fs.fed.us
    > (subject heading titled Forest Plan Revision).
    > Responsible Official: The responsible official for the
    > revision of
    > the land management plan for the Rio Grande National Forest
    > is Dan
    > Dallas, Forest Supervisor, Rio Grande National Forest, 1803
    > W. Hwy 160,
    > Monte Vista, CO 81144.
    >
    > Dated: December 17, 2014.
    > Dan S. Dallas,
    > Forest Supervisor, Rio Grande National Forest.
    > [FR Doc. 2014-30189 Filed 12-23-14; 8:45 am]
    > BILLING CODE 3410-11-P
    >
    >
    >




                                                                                  Rvsd Plan - 00002067
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   Greetings Mr. Bonnie and distinguished readers,

            My name is Bryan Andrada and I currently reside in Albuquerque, NM. I am writing you on this
   day to inform you of a situation in the Chama Basin (aka Archuleta Drainage) at the Rio Chama head
   water outside of Chama, New Mexico, which has recently captured my attention. The area I am referring
   to would be the public lands that extend westward into Colorado (in the Conejos Ranger District) from FS
   121, for which the primary uses are cattle grazing, hunting, and horseback riding. I have watched this
   area rapidly degrade over the years from an increase in these activities; most notably, grazing and off­
   road vehicle usage. I should include here that I do not oppose the use of public lands for such activities
   when they are managed responsibly. Hunting, fishing, and animal agriculture are as essential to our
   survival as breathing. However, you well know the manner and sophistication with which we sometimes
   endeavor in these activities can have adverse affects on our most favored landscapes. This is exactly the
   case in the Chama Basin.

              Not more than 5 years ago, I first had the chance to witness the uniqueness of this area. The
   diversity in the landscape and the abundance of wildlife was breathtaking. Please excuse my sentiment,
   but it literally brought tears to my eyes. To think that places like this just "happen" as a result of random
   processes is not a fair assessment for anyone with a critical mind towards the creative process we call
   life. Specifically, experiencing places that offer such physical, mental and spiritual challenges can
   generate and renew one's understanding of a much bigger sphere of influence. To this, I hope you will
   agree we have been given the greatest responsibility, which is to preserve these experiences wherever
   possible in the wake of modern activity. The visionary blueprint of our future should not make sacrifices
   that would try and limit this responsibility because the scorecard will not only reflect the landscapes that
   have been permanently altered by human interaction, but will also reflect on those places in which we
   have historically chosen to remain observers. I personally believe the Chama Basin has reached a
   “critical mass” when it comes to the carrying capacit y of specific activities. For the record, I am not a
   scientist, although, I have studied a lot of science. I am also not an expert when it comes to identifying
   long term effects from overgrazing and off-road vehicle use. However, one does not need to be an
   expert, or a scientist, to identify observable influence from overuse and the subsequent impacts on the
   landscape.

             The Chama Basin is somewhat unique in that it serves many purposes and helps meet a wide
   variety of needs. Besides the agricultural and recreational resources that it offers, the Rio Chama head
   water and flood plain are an important resource for a number of bio-systems downstream. Recently,
   some of the flow from the Chama River has been diverted and distributed through the Rio Grande for
   uptake downstream as a supplement to ground water. The idea being that the use of surface water
   would allow some of New Mexico’s aquifers to be replenished and recharged. There has been moderate
   success in that regard. However, since this project was completed the wetlands within the Chama Basin
   have receded. Compared to the valley and flood plain below the head water is an extremely confined
   space, and the marshy wetlands have always provided a natural barrier to certain types of prolonged
   activities like motorized transport and grazing. In short, as a result of the disappearing wetlands the basin
   is undergoing a surge in activities that by all previous accounts appears to be extremely disruptive for
   such a relatively closed ecosystem. As I explained earlier, the Chama Basin is the life blood for a number
   of other rivers and streams that it feeds. It should also be recognized that the management strategies
   implemented within head waters often times set precedence for their tributaries. As such, I believe it is
   necessary that practical use in these areas is of the utmost importance. I use the word “practical,” Mr.
   Bonnie, because I also believe that we sometimes have a tendency to love things to death in the form of
   overprotection.

           To the critical eye, interacting with nature provides a glimpse of how perfectly arranged life can
   be. Sometimes, Mr. Bonnie, nature provides in abundance, while other times she is seemingly plotting for
   our inevitable extinction. Most often I challenge the latter as simply a test of humanities fortitude to
   preserve and to share that which we find in abundance. For it is when we endeavor to share the
   abundance that we begin to open minds to a better understanding of underlying dichotomies through
   conscious, unselfish choice. I believe that nature wants desperately to reveal herself to those that will




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   listen, and wish to earn a seat at her table. However, it is my opinion that we have sheltered ourselves
   from these potential revelations and responsibilities by significantly altering the rules of engagement.
   Thus, the potential landscape of clues that will inevitably shape the future begins a withdrawal;
   sometimes rapidly. There are built in consequences for breaking the rules and burying the clues, Mr.
   Bonnie. Nature, in a very real sense, will execute a response to our actions. The question is: Do we
   really want to face the consequences?

             My idea is simple, and I believe that it is supported by your current initiatives for better land
   stewardship programs. Recreation in the form of hiking, biking, backpacking, rock climbing and
   horseback do very little to the overall productivity of a given ecosystem. It has recently been brought to
   my attention that the Chama Basin is also a resource for educating students in various scientific
   disciplines, and as a backdrop for a number of other youth programs. As participants in these kinds of
   activities we are mostly observers. This is significant because there is an abundance of stimulating
   activity going on in the basin. Inviting more activities in the form of hiking and biking within the basin will
   help meet a number of long term objectives. First and foremost it would establish more permanent routes
   through the basin, rather than the maze of cow paths and off-road vehicle treads that currently
   exist, which are further influenced by additional traffic. I, in cooperation with the local Rangers, would be
   willing to commit resources to this specific effort, but only if doing so would meet a second objective; that
   extra care is taken in the construction of a more permanent route that would ensure long term
   sustainability. This would mean a construction strategy that implements natural or manmade barriers to
   more destructive forms of travel, such as cow migrations and off-road vehicle use. The only thing we are
   lacking is the necessary funding.

            The complete removal of grazing and off-road vehicles is not a part of the more immediate goal,
   which is simply to introduce a more inviting experience for sustainable uses such as hiking, biking, rock
   climbing and horseback. Although, there is strong evidence that overuse in specific activities has
   foreseeable consequences and should be looked at very carefully, my hope is that by sharing the
   abundance of diversity within the basin through sustainable use will promote good stewardship in the
   minds of all current and potential user groups. In lieu of the funding issues currently plaguing Forest
   Service districts nationwide, I am requesting that the USDA, with the aid of the Environmental Defense
   Fund, allocate the minimum funds necessary (to be determined) to the Conejos Ranger District in order to
   construct a limited use route through and around the basin. A matching contribution towards this effort
   will be donating time, planning, field expertise and labor resources at no additional costs to the
   government.

   Thank you in advance for your consideration,

   Best regards,

   Bryan Andrada




                                                                                Rvsd Plan - 00002069
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                              Intermountain Forest Association
                                      2218 Jackson Blvd, Ste 10, Rapid City, SD 57702
                                             605-341-0875 Fax 605-341-8651




                                                                                  February 1, 2015

   U.S. Fish and Wildlife Service
   Montana Ecological Services Field Office
   Attn: Jim Zelenak
   585 Shepard Way, Suite 1
   Helena, MT 59601

   Dear Mr. Zelenak:

   Following are the Intermountain Forest Association’s comments regarding the Canada Lynx Five
   Year Review:

   The March 24, 2000 Final Rule to list the Canada Lynx as Threatened estimated that
   approximately 75% of the federally managed lynx forest types in the Southern Rockies were in
   “developmental status” where management for multiple uses may, on local scales, conflict with
   lynx conservation (Federal Register, page 16073, 3rd paragraph and Table 1). That estimate
   grossly overestimated the number of acres in the Southern Rockies where development would
   likely ever occur.

   Since then, the Forest Service adopted the Roadless Area Conservation Rule (January 12, 2001)
   and the Colorado Roadless Rule (July 3, 2012). Those rules significantly reduced the acres in
   the Southern Rockies Geographic Area in “development status”. According to my best
   information for the national forests in the Southern Rockies Geographic Area (Colorado, plus the
   Medicine Bow NF in Wyoming), only about 30% of the forested acres are currently in
   “development status”.

          Total Forested Acres          11,051,983

          Designated Wilderness          3,168,824
          Roadless                       4,572,600
          Total                          7,741,424

          7,741,424 / 11,051,983 = 70% in non-development status = 30% in development status




                                                                      Rvsd Plan - 00002070
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   The actual percentage of lynx forest type acres in development / non-development status will be
   slightly different. There are fewer lynx forest type acres than total forested acres, some acres of
   designated Wilderness or Roadless Areas are not lynx forest type, and there are other forest plan
   allocations such as Research Natural Areas, Big Game Winter Range, Non-motorized
   Recreation, etc. that are non-development.

   The Forest Service will have more precise numbers. I urge you to request those acreages from
   the Forest Service and to incorporate those into the Five Year Review. If it would be helpful, I
   would be happy to discuss my calculations with you at your convenience.

   Thank you for your consideration of these comments.

   Sincerely,

   Thomas A. Troxel
   Thomas A. Troxel
   Executive Director




                                                                        Rvsd Plan - 00002071
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                            South Fork • Creede ' LakeCiW

     March 12, 2015


     RE: Forest Sen'ice Plan Revisions Concerning the Rio Grande National Forest Master Plan

     To Whom It May Concern,

     The Silver Thread Scenic & Historic Byway Council is a non-profit organization that has been
     working witli the BLM, Forest Service, Gunnison County and the town of Gunnison, Hinsdale
     County and Lal<e City, Mineral County and Creede, Rio Grande Count;' and South Fork for over
      10 years to develop and implement the Silver Thread Byway. We have successfully worked
     together for the promotion, maintenance, education and enrichment of our locals and visitors
     regarding the natural resources surrounding this Byway.

     In continuing our mission we would like to bring to the planning committees attention the need for
     trails systems connecting South Fork to De) Norte (and the San Luis Valley trail sysiera) and South
     Fork to Creede, Lake City and over to Blue Mesa Reservoir. The trails would include hiking,
     biking and ATV’s. The economic benefit to these small mountain communities could be
     significant. One example of a successful trail system is the Piute Trails in South Central Utah. By
     partnering with BLM, Forest Service and municipalities they were able to reverse the economic
     downturn and revitalize the whole area.

     Since the Forest Service is seeking public input to assess the existing condition of infrastructure to
     meet current and future demands we feel it is important to help identity those needs. The forest
     plan is the overarching document that guides all management decisions and activities on the entire
     Rio Grande National Forest, including activities such as preservation of cultural and historic
     resources, timber production, recreation, wildlife management, firewood cutting and gathering of
     special forest products. It is critical that these potenrial new trail systems be identified in the
     master plan now for future implementation. The economic benefit to towns of interconnecting
     traits systems could mean the difference between economic health and poverty.

     The meeting in Monte Vista which will focus on identifying current issues and foreseeable trends
     concerning management of infrastructure and public access to the Rio Grande National Forest is at
     a time and place that many of us will be unable to attend. The meeting in Creede is only focusing
     on soils and water, however this is the one meeting some of us are able to attend and therefore are
     presenting our suggestions at this time.


     Best regards,


     !yaiicy£,ee
     President, STSHBC

                                      Stiver Thread Interpretive Center
                        28 SilverThreadLane       P.O. Box 1030
                             (600) 571^0881 or (719) 873-5512               IVSdPlan - 00002072
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    From:               Perry Alspaugh
    To:                 FS-comments-rocky-mountain-rio-grande
    Subject:            follow up on servey
    Date:               Friday, February 27, 2015 10:09:14 AM


    I can see a need in developing a detail historic story about what has happened on the forest even before the
     creation of the forest. The detail story could be created from many resources not just the forest. The forest taking
     the lead and developing the most detailed picture concerning the history of the land, after the history is created
     the cultural aspect will just fall in place, the history will define the culture.

    Here are some stories that need to be told or not lost:

      1. La Garita Stock Drive Way, with the many sheep herder trails off the main stock drive way

      2. Old trail and road from Summitville to Del Norte down the west fork of San Francisco Creek

      3 Indian trails and camp sites

     4. Spanish/Mexican Plazas

      5. Stage coach roads

      6. Expand on mining campsites, railroads, Freemont and the Old Spanish Trail

    When these stories are developed they could be house in the local Museum. We can create a library on the
    history of the upper Rio Grande so the public can use it for years in the future. The longer we wait to create this
    resource the harder it will be able to be created. The trees are growing up around the sites the people on the
    ground are dying, the data or information will be harder to find every year this is put off.




                                                                                      Rvsd Plan - 00002073
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    From:         jean public
    To:           FS-comments-rocky-mountain-rio-grande; vicepresident@whitehouse.aov ; AMERICANVOICES@MAIL.HOUSE.GOV
    Cc:           info; info@defenders.ora; humanelines; PETA Info; info; Erica Meier; INFO@foa.ora
    Subject:      Re: Fw: Rio Grande National Forest -- Recreation Discussion
    Date:         Sunday, March 29, 2015 2:16:22 PM



    PUBLIC COMMENT ON ABOVE PLAN
    YOU CANT GET THE SURVEY MONEY SURVEY FROM YOUR LINK. WHAT HAVE
    YOU DONE WRONG IN PUTTING UP THIS LINK.

    I CANT ATTEND SO AM WRIGING SOME CONCERNS I HAVE ABOJUT THIS
     NATIONAL LAND. FIRST OF ALL YOU MAKE LITTLE CONTACT WITH NATIONAL
     OWNERS OF THIS SITE. I KNOW YOU LIKE TO SUCK UP TO LOCALS AND THEIR
     USING WAYS BUT IT IS OBNOXIOUS TO IGNORE THE REAL OWNERS OF THE
     PROPERTY - THIS NATIONS CITIZENS.

    ALL INFORMAITON ON THIS SITE SHOULD BE PUT IN WRITING SO NATIONAL
    OWNERS OF THIS LAND GET A FEELING FOR WHAT IS GOING ON, NOT LOCAL
    SUCKING UP SESSIONS.

    I AM AGAINST LOGGING ON THIS PROPERTY
    HUNTING AND TRAPPING
    TOXIC CHEMICALS
    PRESCRIBED BURNING
    NEW ROADS

    ITS TIME TO PROTECT NATURE. THIS COMMENT IS FOR THE PUBLIC RCORD
     PLEASE MAKE SURE YOU KEEP THE NATIONAL OWNERS OF THIS PROPERTY
     INVOLVED IN ITS PLANNING .PLEASE RECEIPT. JEAN PUBLI
     JEANPUBLIC1@GMAIL.COM

    On Sat, Mar 28, 2015 at 5:43 PM, Jean Public <jeanpublic1@yahoo.com> wrote:


      — Forwarded Message----
      From: Marcus Selig <mselig@nationalforests.org>
      To: Marcus Selig <mselig@nationalforests.org>
      Sent: Monday, March 23, 2015 12:03 PM
      Subject: Rio Grande National Forest -- Recreation Discussion

      Rio Grande NF Recreation Discussion Monday, March 30

      Please join us to talk about recreation on Monday, March 30 from 5:00 pm - 7:30
      pm at the Baca Grande Property Owners Association Building, 68575 County
      Road T, Crestone, CO 81131. Your participation will be used to inform the
      assessment phase of the RGNF forest plan revision. The assessment phase
      describes the current conditions on the forest, including things that are going well
      and things that could be improved. Additional recreation meetings will be held in



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      other San Luis Valley communities in the coming months.

     The meeting will feature an open house for the first half hour allowing the
      opportunity to view maps, talk with RGNF staff, and enjoy light refreshments. A
     short presentation by Forest Service staff will begin at 5:30 pm, followed by
      interactive discussions designed to provide input to the Forest Service-- Recreation
      Meeting #1 Agenda

     The National Forest Foundation -- the Forest Service’s congressionally chartered
      nonprofit partner -- is organizing the public collaboration process for the revision of
     the forest plan and will be facilitating these meetings.

     If you’re unable to attend the meeting but still want to provide your feedback, you
      may do so by answering the questions posted online at
      https://www.surveymonkey.com/r/RecreationQuestions or by sending an e-mail to
      comments-rocky-mountain-rio-grande@fs.fed.us . To learn more, view information
      on previous or upcoming meetings, and join the plan revision discussion, visit
      http://riograndeplanning.mindmixer.com/ .

     Thanks!
     Marcus


     Marcus F. Selig
     Director, Southern Rockies Region
     National Forest Foundation
     Front Range Office: 390 Union Blvd., Suite 400|Denver, CO 80228
     Central CO Office: 7133 CR 178|Salida, CO 81201
     mselig@.nationalforests.org | 720.437.0290
     Become a Friend of the Forest today! Check out our Web site: www.nationalforests.org




                                                                          Rvsd Plan - 00002075
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    From:         Dwight Martin
    To:           FS-comments-rocky-mountain-rio-arande
    Cc:           Blakeman, Mike -FS
    Subject:      Community Benefits to Forest Grazing
    Date:         Thursday, May 21, 2015 8:24:50 AM



    All,

    I am a forest permit holder. The grazing permit is vital to my farming operation. The
     grazing permit is an extension of my deeded ground on the valley floor. The permit
     allows me to have an operation large enough to support my family. A calf is worth
     about $1200 at this point in time. A hundred calves is worth $120,000. Income
     brought into the valley turns over 7 times within the community, that means that for
     every 100 calves grazed, the community generates $840,000. 16,000 cattle are
     grazed on the Rio Grande National Forest, that suggest that $134,400,000 are
     generated through out the valley. The valley, according NASS, has about 82,000
     cattle and calves, lots of these cattle are grazed on forest and BLM permits. The
     cattle industry is a vary important aspect of the valley economic community.

    Dwight Martin
    Martin Cattle Co.
    17121 County Rd W.5
    La Jara, CO 81140
    719.588.4294




                                                                Rvsd Plan - 00002076
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                                            Rio Grande National Forest
                                      Continental Divide National Scenic Trail
                                Land Management Planning Assessment Considerations
                                       Prepared by Greg Warren, NSTrail.org
                                                   June 18, 2015

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                                                   I. Legislative History and Policy

Trails for America

        Trails for America, a 1966 report prepared by the Bureau of Outdoor Recreation in response to
President Johnson’s Natural Beauty Message of February 8, 1965, describes a vision for the Continental
Divide Trail: “A Continental Divide Trail would provide a continuous route along the Continental
Divide and Rocky Mountains from the Canadian border almost to the Mexican border... Designed to
accommodate riders and hikers, a Continental Divide Trail would pass through some of the most scenic
areas in the country in its 3,082-mile route. The 763 miles in Montana, 147 miles in Idaho, 506 miles in
Wyoming, 614 miles in Colorado, and 1,052 miles in New Mexico span spectacular, wild, mountain
country, rich in the early history of the West. The route affords views of perpetual icefields and of
awesome peaks, many over 14,000 feet. It passes hundreds of alpine lakes and streams teeming with
trout. The high mountains are home to many species of game, including the bighorn sheep, mule deer,
and bear...
        Administration of national scenic trails is complicated by the linear nature of the trails and the
complex pattern of land ownership along them. Most existing or potential national scenic trails extend
through or into several States. Typically they cross some lands that are administered by Federal, State,
and local public agencies, and other lands that are privately owned. In the West, the trails cross lands
administered largely by Federal agencies—the Forest Service, National Park Service, [and] Bureau of
Land Management... In view of these considerations, administration of national scenic trails should be
governed by the following principles...
     4. The entire length of each national scenic trail, together with sufficient land area on both sides to
     safeguard adequately and preserve its character, should be protected in some form of public
     control..., and




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   9. The responsible Secretary, after agreement with the other Federal agencies involved and
   consultation with appropriate States, local governments, private organizations, and advisory
   councils, should:
       a. locate and designate the route and width of right-of-way of each trail assigned him. The right­
       of-way should be wide enough to protect adequately the natural and scenic character of the lands
       through which the trail passes and the historic features along and near along the trail, and to
       provide campsites, shelters, and related public-use facilities as necessary. It should avoid, insofar
       as practicable, established highways, motor roads, mining areas, power transmission lines,
       private recreational developments, public recreational developments not related to the trail,
       existing commercial and industrial developments, range fences and improvements, private
       operations, and any other activities that would be incompatible with the protection of the trail in
       its natural condition and its use for outdoor recreation. Formal designation should be
       accomplished by publishing notice of the route and right-of-way in the Federal Register, together
       with appropriate maps and descriptions. Minor changes in route and right-of-way should be
       handled in the same manner.
       b. define the kinds of recreation use that are appropriate on the trail and in keeping with its
       objectives, and define the kinds of non-recreation uses, if any, that may be permitted within the
       right-of-way; issue the necessary regulations; and provide enforcement.
       c. establish construction and maintenance standards including standards for related facilities that
       will adequately protect trail values and provide for optimum public use.”

National Trails System Act
                                                                      The NTSA establishment and
        The National Trails System Act (NTSA), P.L. 90­
                                                                      designation of the CDNST provides
543, was passed by Congress on October 2, 1968. It
                                                                      for the Secretaries of the Agriculture
established policies and procedures for a nationwide
                                                                      and Interior to manage the CDNST
system of trails including National Scenic Trails. The
                                                                      under existing agencies authorities,
Appalachian Trail and the Pacific Crest Trail were
                                                                      but subject to the overriding direction
designated as the nation's first National Scenic Trails.
                                                                      of providing for the nature and
“The Act was intended to insure that long-distance, high-
                                                                      purposes of this National Scenic Trail.
quality trails with substantial recreation and scenic
                                                                      The establishment of the CDNST thus
potential were afforded Federal recognition and protection”
                                                                      constitutes an overlay on the
(S.R. 95-636).
                                                                      management regime otherwise
       The National Parks and Recreation Act of                       applicable to public areas managed by
November 10, 1978 established and designated the                      land management agencies. The
Continental Divide National Scenic Trail (CDNST) (Pub.                NTSA (and E.O. 13195 - Trails for
L. No. 95-625, 92 Stat. 3467), which amended the NTSA                 America in the 21st Century) limits
of 1968 (16 U.S.C. 1241-1251). The “Background” for                   the management discretion the
H.R. 12536 states that, “Title V establishes new units of             agencies would otherwise have by
the National Park and National Trail Systems which the                mandating the delineation and
committee believes to be essential additions to these                 protection of the CDNST corridor.

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national programs. Timely action to preserve portions of our heritage, both historical and natural, within
the states and insular areas is needed to assure these resources are not lost through adverse actions by
special interest groups” (H.R. 95-1165).

       Statement of Policy - Sec. 2 (16 U.S.C. 1241(a)) -

        “In order to provide for the ever-increasing outdoor recreation needs of an expanding population
and in order to promote the preservation of, public access to, travel within, and enjoyment and
appreciation of the open-air, outdoor areas and historic resources of the Nation, trails should be
established...within scenic areas and along historic travel routes of the Nation which are often more
remotely located.”

       National Trails System - Sec. 3 (16 U.S.C. 1242(a)(2)) -

         “National scenic trails, established as provided in section 5 of this Act, which will be extended
trails so located (emphasis added) as to provide for maximum outdoor recreation potential and for the
conservation and enjoyment of the nationally significant scenic, historic, natural, or cultural qualities of
the areas through which such trails may pass. National scenic trails may be located so as to represent
desert, marsh, grassland, mountain, canyon, river, forest, and other areas, as well as landforms which
exhibit significant characteristics of the physiographic regions of the Nation.”

       National Scenic and Historic Trails -

       NTSA Sec. 5(a) (16 U.S.C. 1244(5)(a)) - National scenic and national historic trails shall be
authorized and designated only by Act of Congress. There are hereby established [and designated] the
following National Scenic and National Historic Trails...

               “(5) The Continental Divide National Scenic Trail, a trail of approximately thirty-one
       hundred miles, extending from the Montana-Canada border to the New Mexico-Mexico border,
       following the approximate route depicted on the map, identified as 'Proposed Continental Divide
       National Scenic Trail' in the Department of the Interior Continental Divide Trail study report
       dated March 1977... The Continental Divide National Scenic Trail shall be administered by the
       Secretary of Agriculture in consultation with the Secretary of the Interior. Notwithstanding the
       provisions of section 7(c), the use of motorized vehicles on roads which will be designated
       segments of the Continental Divide National Scenic Trail shall be permitted in accordance with
       regulations prescribed by the appropriate Secretary. No land or interest in land outside the
       exterior boundaries of any federally administered area may be acquired by the Federal
       Government for the trail except with the consent of the owner of the land or interest in land. The
       authority of the Federal Government to acquire fee title under this paragraph shall be limited to
       an average of not more than 1/4 mile on either side of the trail.”

       NTSA sec. 5(f) (16 U.S.C. 1244(f)) - “^The responsible Secretary shall...submit...a
comprehensive plan for the acquisition, management, development, and use of the trail, including but
not limited to, the following items:


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        1. Specific objectives and practices to be observed in the management of the trail, including the
           identification of all significant natural, historical, and cultural resources to be preserved,... an
           identified carrying capacity of the trail and a plan for its implementation;
        2. The process to be followed by the appropriate Secretary to implement the marking
           requirements established in section 7(c) of this Act;
        3. A protection plan for any^high potential route segments; and
        4. General and site-specific development plans, including anticipated costs.”

        Administration and Development - Sec. 7 (16 U.S.C. 1246) -

    The Secretary of Agriculture is
charged with the overall                   Multiple-use plans that were established in the benchmark
administration of the CDNST.               year of 1978 when the CDNST was designated by an Act of
Pursuant to Section 5(a), the CDNST        Congress have been revised. Therefore, in a legal sense, the
was established and designated on          legislative requirement for the National Trails System
November 10, 1978. Section 7(a)(2)         segments to “...harmonize with and complement any
states that the, “...Secretary shall       established multiple-use plans...” is no longer binding.
select the rights-of-way for national      Nevertheless, a National Scenic Trail optimum location
scenic and national historic trails and    assessment may find that designing the CDNST rights-of-
shall publish notice thereof of the        way corridor to pass through inventoried Primitive and
availability of appropriate maps or        Semi-Primitive Recreation Opportunity Spectrum (ROS)
descriptions in the Federal Register;      settings would insure continued maximum benefits of the
Provided, That in selecting the rights-    land. This would include the recreation and conservation
of-way full consideration shall be         benefits resulting from: (1) locating the National Trail
given to minimizing the adverse            corridor “to provide for maximum outdoor recreation
effects upon the adjacent landowner        potential and for the conservation and enjoyment of the
or user and his operation.                 nationally significant scenic, historic, natural, or cultural
Development and management of              qualities of the areas...” (16 U.S.C. 1242(a)(2); (2) avoiding,
each segment of the National Trails        to the extent possible, activities along the NST that would be
System [i.e., National Recreation          incompatible with the purposes of the CDNST for which it
Trails, National Scenic Trails,            was established (16 U.S.C. 1246(c)); and (3) contributing to
National Historic Trails, and              achieving outdoor recreation, watershed, and wildlife and
Connecting and Side Trails] shall be       fish multiple-use benefits (16 U.S.C. 528). The rights-of-
designed to harmonize with and             way requirement of 16 U.S.C. 1246(a)(2) is directed at
complement any established multiple­       selecting the 5-state CDNST rights-of-way corridor and does
use plans for the specific area in order   not diminish or modify the nature and purposes values of the
to insure continued maximum                CDNST (16 U.S.C. 1246(c)).
benefits from the land....1” The
legislative requirement for the Secretary of Agriculture to take action and select the CDNST rights-of-

1 The BLM in MS-6280 describes that, “For all National Trails, the National Trail Management Corridor alternatives should
consider^(d) opportunities to harmonize with and complement any established multiple-use plans for that specific area in
order to insure continued maximum benefits from the land, while minimizing conflict.” (Chapter 4.2(D))
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way on National Forest System lands should be addressed by establishing CDNST Management Area
(MA) corridors2 in Land Management Plans (FSM 2353.44b); the requirement should be met on BLM
public lands by establishing National Trail Management Corridors (NTMC) in Resource Management
Plans.3 The establishment of CDNST MAs and NTMCs could facilitate CDNST comprehensive
planning (16 U.S.C. 1244(f)), selecting and publishing the CDNST rights-of-way in the Federal Register
(16 U.S.C. 1246(a)(2)), and meet attached NEPA requirements.4

    NTSA Sec. 7(c) (16 U.S.C.1246(c)) - “National scenic or national historic trails may contain
campsites, shelters, and related-public-use facilities. Other uses along the trail, which will not
substantially interfere5 with the nature and purposes of the trail, may be permitted by the Secretary
charged with the administration of the trail. Reasonable efforts shall be made to provide sufficient access
opportunities to such trails and, to the extent practicable, efforts be made to avoid activities incompatible
with the purposes for which such trails were established. The use of motorized vehicles by the general
public along any National Scenic Trail shall be prohibited.... Other uses along the historic trails and the
Continental Divide National Scenic Trail, which will not substantially interfere with the nature and
purposes of the trail, and which, at the time of designation, are allowed by administrative regulations,
including the use of motorized vehicles, shall be permitted by the Secretary charged with administration
of the trail....” Other uses include recreational and resource uses that may be incompatible with the
nature and purposes for which the CDNST was established and designated.

    NTSA Sec. 7(j) (16 U.S.C. 1246(j)). This section does not modify the nature and purposes for which
the CDNST was established and created. It describes that, “the provisions of this subsection shall not
supersede any other provisions of this Act or other Federal laws, or any State or local laws.”

    NTSA Sec. 7(k) (16 U.S.C. 1246(k)). “For the conservation purpose of preserving or enhancing the
recreational, scenic, natural, or historical values of components of the national trails system, and
—
2 The term “corridor” describes an allocation established through the land use planning process, pursuant to Section 7(a)(2) of
the National Trails System Act (“rights-of-way”) and E.O. 13195, for a public land area of sufficient width within which to
encompass National Trail resources, qualities, values, and associated settings and the primary use or uses that are present or
to be restored to provide for the nature and purposes of the CDNST.
3 The BLM in MS-6280 defines a, “National TrailRight(s)-cf-Way . Term used in Section 7(a)(2) of the National Trails
System Act to describe the corridor selected by the National Trail administering agency in the trailwide Comprehensive Plan
and which includes the area of land that is of sufficient width to encompass National Trail resources, qualities, values, and
associated settings. The National Trail Right-of-Way, in the context of the National Trails System Act, differs from a Federal
Land Policy and Management Act (FLPMA) Title V right-of-way, which is a grant issued pursuant to FLPMA authorities. It
becomes a key consideration in establishing the National Trail Management Corridor in a Resource Management Plan. See
also National Trail Management Corridor.”
4 Under the National Environmental Policy Act (NEPA), when a federal agency does not make an “overt act,” no NEPA

requirement to prepare an Environmental Impact Statement (EIS) attaches. However, if some agency action was mandated
under a separate statute in relation to that activity but the action was not taken, NEPA does attach and the Administrative
Procedure Act applies (40 CFR 1508.18 and 5 U.S.C. 706). The NTSA presents an independent planning requirement to
prepare and implement a comprehensive plan, select the rights-of-way, and in general provide for the nature and purposes of
the CDNST.
5 Substantial evidence is such evidence as a reasonable mind might accept as adequate to support a conclusion and consists of
more than a mere scintilla. A substantial interference is an interference that prevents or restricts an activity or use, and
precludes interferences that would interfere only in a minor way.

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environs thereof as determined by the appropriate Secretary, landowners are authorized to donate or
otherwise convey qualified real property interests to qualified organizations consistent with section
170(h)(3) of the Internal Revenue Code of 1954, including, but not limited to, right-of-way, open space,
scenic, or conservation easements^.”

    NTSA Sec. 7(i) (16 U.S.C. 1246(i). The appropriate Secretary^may issue regulations, which may
be revised from time to time, governing the use, protection, management, development, and
administration of trails of the national trails system. In order to maintain good conduct on and along the
trails located within federally administered areas and to provide for the proper government and
protection of such trails, the Secretary of the Interior and the Secretary of Agriculture shall prescribe and
publish such uniform regulations as they deem necessary^.

        Executive Orders

         Executive Order 13195 - Trails for                 The values of National Scenic Trails
America in the 21st Century: "By the authority              include: (1) visitor experience opportunities
vested in me as President by the Constitution and           and settings, and (2) the conservation/
the laws of the United States of America, and in            protection of scenic, natural, historical, and
furtherance of purposes of the National Trails              cultural qualities of the corridor. Primitive and
System Act of 1968...and to achieve the common              Semi-Primitive Non-Motorized ROS settings
goal of better establishing and operating                   provide for desired experiences, but only if the
America's national system of trails, it is hereby           allowed non-motorized activities reflect the
ordered as follows: Section 1... Federal agencies           purposes for which the National Trail was
will, to the extent permitted by law and where              established. Furthermore, the NTSA goes
practicable ... protect, connect, promote, and              beyond ROS descriptors requiring the
assist trails of all types throughout the United            protection of significant resources and qualities
States. This will be accomplished by: ... (b)               along the National Trail corridor. The ROS
Protecting the trail corridors associated with              planning framework, NTSA Comprehensive
national scenic trails...to the degrees necessary to        Plan (Section (5(f)) components, NTSA rights-
ensure that the values for which each trail was             of-way (Section 7(a)), and E.O. 13195
established remain intact.... ”                             requirements point to the need for land
                                                            management plans to map the extent of the
         Executive Order 11644 and 11989 - Use
                                                            corridor and apply to the described corridor
of off-road [motorized] vehicles on the public
                                                            appropriate plan components (desired
lands: “...By virtue of the authority vested in me
                                                            conditions, objectives, standards, guidelines,
as President of the United States by the
                                                            and suitability of lands) to protect National
Constitution of the United States and in
                                                            Trail values (nature and purposes).
furtherance of the purpose and policy of the
National Environmental Policy Act of 1969 (42
U.S.C. 4321), it is hereby ordered as follows: Section 1. Purpose. It is the purpose of this order to
establish policies and provide for procedures that will ensure that the use of off-road [motorized]
vehicles on public lands will be controlled and directed so as to protect the resources of those lands, to
promote the safety of all users of those lands, and to minimize conflicts among the various uses of those
lands....” (Related: 36 CFR 212.55 and 43 CFR 8351.1)

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Study Report, Comprehensive Plan, and                    FSM 2353.4(1)(b) - Administration (1979—
Policy for the CDNST
                                                         now expired). [Policy that was in ejfect at the
       The Bureau of Outdoor Recreation,                 time the CDNST was established and
pursuant to 16 U.S.C. 1244(b), prepared a Study          designated. ]
Report for the CDNST that was completed in               “Development and administration of a
1976. The Chief of the Forest Service adopted            National Scenic Trail shall be to ensure
the 1976 CDNST Study Report and 1977                     retention of the outdoor recreation experience
CDNST Final Environmental Statement on                   for which the trail was established. Each
August 5, 1981 (46 FR 39867). In 2009 the                segment of a trail should be designed to
Chief amended the 1985 CDNST Comprehensive               harmonize with and complement any
Plan and issued conforming FSM 2353.4                    established land management plans for that
policy—see http://www.fs.fed.us/cdt.                     specific area in order to ensure continued
        Comprehensive plan requirements (16              maximum benefits from the land. Decisions
U.S.C. 1244(f)) for the CDNST are addressed              relating to trail design and management
through staged or stepped-down decision                  practices should reflect a philosophy of
processes: (1) the 2009 Comprehensive Plan               perpetuation the spectrum of recreation
established broad policy and procedures, (2) land        objectives envisioned for the trail users. Land
management plans are to provide integrated               management planning should describe the
resource management direction and address                planned actions that may affect that trail and
programmatic planning requirements as                    its associated environments. Through this
described in the Comprehensive Plan, including           process, resource management activities
providing for the protection of CDNST nature             prescribed for land adjacent to the trail can be
and purposes, and (3) mid-level and site-specific        made compatible with the purpose for which
plans (e.g., Forest-level CDNST unit plans (FSM          the trail is established. The objective is to
2353.44b(2)) complete the comprehensive                  maintain or enhance such values as esthetics,
planning process through field-level actions to          cultural qualities of the areas through which a
construct or maintain the travel route and protect       National Scenic Trail goes....”
the corridor. The following direction is found in
the Comprehensive Plan and Forest Service Manual:

Comprehensive Plan - Approved by Thomas L. Tidwell, Chief

        Purpose of the Comprehensive Plan: “Preparation of the Comprehensive Plan for the CDNST is
required by the National Trails System Act, P.L. 90-543 enacted on October 2, 1968 as amended. The
National Environmental Policy Act (NEPA) and the implementing regulations for each of the Federal
agencies with responsibilities for the CDNST require assessment of the environmental impacts of
locating the CDNST. In addition, each of the Federal agencies is required by various Acts of Congress
to prepare and implement land and resource management plans for the Federal lands over which they
have jurisdiction... Because of the number of Federal and state land management agency jurisdictions
and various political subdivisions traversed by the CDNST the Secretary of Agriculture intends that the
Comprehensive Plan provide for a fully coordinated approach by each of the responsible Federal and

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State agencies for the location, development, and management of the CDNST. It is the goal of this
Comprehensive Plan to provide a uniform CDNST program that reflects the purposes of the National
Scenic Trail system, and allows for the use and protection of the natural and cultural resources found
along the rights-of-way and located route on lands of all jurisdictions... The primary role of the
Comprehensive Plan is to serve as an authority for broad based policy and direction for the development
and management of the CDNST.”

         Land and Resource Management Plans: “Both the Forest Service and the Bureau of Land
Management are required to develop land and resource management plans that are designed to integrate
all resource management activities that may occur within a land use unit into a coordinated system that
reflects the interaction of management activities in achieving long-range objectives and goals for public
land management. This is will be accomplished through the development of a series of synergetic
management prescriptions developed for specific management areas. The same type of integration of
CDNST management direction will be used in National Park Resource Management Plans...6 Land and
resource management plans are to provide for the development and management of the CDNST as an
integrated part of the overall land and resource management direction for the land area through which
the trail passes. The management direction given in Chapter IV of the Comprehensive Plan is to be used
in the development of specific land and resource management prescriptions.”

       Nature and Purposes: “The primary policy is to administer the CDNST consistent with the
nature and purposes for which this National Scenic Trail was established. The nature and purposes of
the CDNST are to provide for high-quality scenic, primitive hiking and horseback riding opportunities
and to conserve natural, historic, and cultural resources along the CDNST corridor.”

Forest Service directives FSM 2310 and FSM 2380 describe recreation and scenery planning policy.
      •   FSM 2310.3 - Policy^
            1.   Use the Recreation Opportunity Spectrum (ROS) to establish planning criteria, generate
                 objectives for recreation, evaluate public issues, integrate management concerns, project
                 recreation needs and demands, and coordinate management objectives.
           2.    Use the ROS system to develop standards and guidelines for proposed recreation resource
                 use and development.
Forest Service directives FSM 2350 and a Federal Register Notice provides important planning
direction.

      •   FSM 2350 [WORD] - CDNST Policy excerpts [WORD] - Approved by Acting Associate
          Deputy Chief Richard W. Sowa




6   See the Appalachian Trail Resource Management Plan for an example.
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FSM 2353.11 - Relationship Between National Recreation, National Scenic, and National Historic
Trails and NFS Trails
        Manage National Recreation, National Scenic, and National Historic Trails as NFS trails.
        Administer each National Recreation, National Scenic, and National Historic Trail corridor to
        meet the intended nature and purposes of the corresponding trail (FSM 2353.31).

FSM 2353.31 - Policy

        1. The National Trails System (16 U.S.C. 1242(a)) includes: ... b. National Scenic Trails. These
        extended trails are located so as to provide for maximum outdoor recreation potential and for
        conservation and enjoyment of the nationally significant scenic, historic, natural, or cultural
        qualities of the areas through which these trails pass (16 U.S.C. 1242(a)(2)...
        2. Ensure that management of each trail in the National Trails System addresses the nature and
        purposes of the trail and is consistent with the applicable land management plan (16 U.S.C.
        1246(a)(2)).7
        3. TMOs for a National Recreation, National Scenic, or National Historic Trail should reflect the
        nature and purposes for which the trail was established.
    FSM 2353.4 - Administration of National Scenic and National Historic Trails
    FSM 2353.41 - Objectives
        Develop and administer National Scenic and National Historic Trails to ensure protection of the
        purposes for which the trails were established and to maximize benefits from the land.

    FSM 2353.42 - Policy
        Administer National Scenic and National Historic Trail corridors to be compatible with the
        nature and purposes of the corresponding trail. CDNST: The nature and purposes of the
        CDNST are to provide for high-quality scenic, primitive hiking and horseback riding
        opportunities and to conserve natural, historic, and cultural resources along the CDNST corridor.

    FSM 2353.44b, “Continental Divide National Scenic Trail -
        1. The land management plan for an administrative unit through which the CDNST passes must
        provide for the nature and purposes of the CDNST (FSM 2353.42) and, in accordance with the
        programmatic requirements of the NTSA, as amended (16 U.S.C. 1244(f)), and the CDNST
        Comprehensive Plan, as amended, must:
            a. Except where the CDNST traverses a wilderness area and is governed by wilderness
            management prescriptions (36 CFR Part 293), establish a management area for the CDNST
            that is broad enough to protect natural, scenic, historic, and cultural features;
            b. Prescribe desired conditions, objectives, standards, and guidelines for the CDNST; and


7 A land management plan amendment may be necessary in order to provide for the nature and purposes of the CDNST. See
the discussions under Administration and Development and Land Management Plan Considerations.


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          c. Establish a monitoring program to evaluate the condition of the CDNST in the
          management area.

      2. A CDNST unit plan must be developed for each administrative unit through which the
      CDNST passes. Each CDNST unit plan must provide for the nature and purposes of the CDNST
      (FSM 2353.42), and, in accordance with the site-specific requirements in the NTSA, as amended
      (16 U.S.C. 1244(f)), and the CDNST Comprehensive Plan, as amended, must:
          a. Identify and display the segments of the CDNST that traverse that unit.
          b. Except where the CDNST traverses a wilderness area and is governed by wilderness
          management prescriptions (36 CFR Part 293) and except where delineated in the applicable
          land management plan, establish a management area for the segments of the CDNST that
          traverse that unit that is broad enough to protect natural, scenic, historic, and cultural
          features;
          c. Establish the Trail Class, Managed Uses, Designed Use, and Design Parameters for the
          segments of the CDNST that traverse that unit and identify uses that are prohibited on the
          segments of the CDNST that traverse that unit (FSH 2309.18).
          d. Provide for development, construction, signing, and maintenance of the segments of the
          CDNST that traverse that unit.
          e. Identify and preserve significant natural, historical, and cultural resources along the
          sections of the CDNST corridor that traverse that unit.
          f. Consistent with the provisions of the applicable land management plan and the nature and
          purposes of the CDNST (FSM 2353.42), establish carrying capacity for the segments of the
          CDNST that traverse that unit (FSM 2353.44b, para. 1). The Limits of Acceptable Change
          or a similar system may be used for this purpose.
          g. Establish monitoring programs to evaluate the site-specific conditions of the CDNST.”

     FSM 2353.44b parts 7 and 8 contribute to defining key landscape characteristics of the CDNST
   Management Area corridor:
      7. “...The one-half mile foreground viewed from either side of the CDNST travel route must be
      a primary consideration in delineating the boundary of a CDNST management area (para. 2b).
      [FSM 2380] The CDNST is a concern level 1 route..., with a scenic integrity objective of high or
      very high, depending on the trail segment...

      8. Manage the CDNST to provide high-quality scenic, primitive hiking and pack and saddle
      stock opportunities. Backpacking, nature walking, day hiking, horseback riding, nature
      photography, mountain climbing, cross-country skiing, and snowshoeing are compatible with the
      nature and purposes of the CDNST (FSM 2353.42). Use the Recreation Opportunity Spectrum
      (ROS) and the ROS Users Guide in delineating and integrating recreation opportunities in
      CDNST unit plans and managing the CDNST (FSM 2311.1). Where possible, locate the
      CDNST in primitive and semi-primitive non-motorized ROS classes, provided that the CDNST
      may have to traverse intermittently through more developed ROS classes....”


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FSM 1920.3 - 6, states, “Provide all Service-wide direction necessary for planning assessments, plan
development, plan revision, plan amendment, and plan monitoring is contained or referenced in this
chapter, and supplements, or handbooks thereto.” National Scenic Trail policy and direction is found in
the comprehensive plans for National Trails, FSM 2353.4, FSH 1909.10 section 14, and FSH 1909.20
section 24.43 which provide policy and management direction for implementing the requirements of the
National Trails System Act.

FSH 1909.12 - 14 - ASSESSING DESIGNATED AREAS. Designated areas are specific areas or
features within the plan area that have been given a permanent designation to maintain its unique special
character or purpose^ Certain purposes and restrictions are usually established for designated areas,
which greatly influence management needs and opportunities associated with them.

The Interdisciplinary Team should identify and evaluate available information about designated areas
including:

       1. Types, purposes, and locations of established designated areas within the plan area. The
       Responsible Official should use a map to identify these locations, unless the location of the
       designated area must remain confidential for resource protection.

       2. Range of uses, management activities, or management restrictions associated with the
       established designated areas in the plan area.

       3. Existing plans for the management of established designated areas within the plan area, such
       as comprehensive plans for national scenic or historic trails.

FSH 1909.12 - 24.43 - National Scenic and Historic Trails

       1. When developing plan components for national scenic and historic trails:

           a. The Interdisciplinary Team should review the assessment for relevant information about
           existing national scenic and historic trails in the plan area, including established rights-of-
           way pursuant to 16 U.S.C 1246(a)(2) and direction contained in comprehensive plans (CPs)
           pursuant to 16 U.S.C. 1244(e) or 1244(f). For existing or study national scenic and historic
           trails that do not have such information published, assessments identify and evaluate other
           information pertinent to the location and management of national scenic and historic trails.

           b. The Interdisciplinary Team shall identify Congressionally designated national scenic and
           historic trails and plan components must provide for the management of rights-of-ways (16
           U.S.C 1246(a)(2)) consistent with applicable laws, regulations, and Executive Orders. Plan
           components must provide for the nature and purposes of existing national scenic and historic
           trails and for the potential rights-of-way of those trails designated for study (16 U.S.C.
           1244(b)).

           c. The Interdisciplinary Team shall use the national scenic and historic trails rights-of-way
           maps required by 16 U.S.C. 1246(a)(2) to map the location of the trails. Where national trail
           rights-of-way have not yet been selected, the Interdisciplinary Team shall reference the
           establishing legislation (16 U.S.C. 1244(a)) as the primary source for identifying and
           mapping the national scenic and historic trails right-of-way. If the right-of-way has not been
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          selected, either through legislation or publication in the Federal Register, the
          Interdisciplinary Team should use other information to delineate a national scenic and
          historic trails corridor that protects the resource values for which the trail was designated or
          is being proposed for designation (16 U.S.C 1244(b)).

          d. The Responsible Official shall consult with neighboring Responsible Officials when
          developing plan components for national scenic and historic trails that cross unit boundaries
          and shall strive to maintain or establish compatible management approaches while
          recognizing diverse resource conditions and needs in the different plan areas.

          e. Plan components must be compatible with the objectives and practices identified in the
          comprehensive plan for the management of the national scenic and historic trail. The
          objectives and practices include the identification of resources to be preserved and the trail’s
          carrying capacity.

          f. The Responsible Official shall include plan components that provide for the nature and
          purposes of national scenic and historic trails in the plan area. In doing so, the Responsible
          Official should take into consideration other aspects of the plan related to the trail such as
          access, cultural and historic resources, recreational settings, scenic character, and valid
          existing rights.

      2. The plan must include plan components including standards or guidelines for a designated
      area as described in section 24.2 of this Handbook. To meet this requirement the plan:

          a. Should include desired conditions that describe the national scenic and historic trail and
          the recreational, scenic, historic, and other resource values for which the trail was designated.

          b. May include objectives for national scenic and historic trails where existing conditions
          (settings, opportunities, scenic character, cultural and other resources values) are different
          from desired conditions. These objectives can identify intended activities to improve
          national scenic and historic trail conditions, mitigate or enhance associated resource values,
          create or improve connections with communities and visitors, or other desired and
          measureable outcomes that will improve the national scenic and historic trail experience.

          c. May include standards or guidelines to place limits or conditions on projects or activities to
          protect the trail and associated resource values.

          d. May include suitability plan components to limit or prevent incompatible uses and
          activities.

          e. Must identify and map National scenic and historic trails per #1c above.

         f. May, to apply plan components unique to the National and Scenic Historic Trail: provide
         one or more management or geographic areas for a national scenic and historic trail;
        reference the identified national scenic and historic trail right-of-way, place a corridor around
        the trail, or use other means to clearly identify where the plan components apply in reference
        to the trail.
   FSM 2350 has more information about national scenic and historic trails.


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In addition, see 23.23a - Sustainable Recreation Resources and Opportunities to Connect People with
Nature; and 23.23f - Scenery, Aesthetic Values, Viewsheds, and Geologic Features.

MOU between the CDTC and Forest Service Regions

A “MEMORANDUM OF UNDERSTANDING BETWEEN THE CONTINENTAL DIVIDE TRAIL
COALITION AND UNITED STATES DEPARTMENT OF AGRICULTURE FOREST SERVICE
REGIONS 1, 2, 3, AND 4” was approved by the President of CDTC and associated Regional Foresters
in May 2014. The purpose is described as:

I. PURPOSE: The purpose of this MOU is to document the cooperation between the parties to ensure the
development, coordination and completion of the CDNST in accordance with the following provisions.

       A. To complete and be stewards of the CDNST to connect people and communities to the
          Continental Divide by providing high-quality scenic, primitive hiking and horseback riding
          opportunities. In addition, to conserve natural, historic, and cultural resources along the
          CDNST corridor^ [and]
       D. To support the coordination, protection, planning, and management of the CDNST^.


                                          II. Nature and Purposes

        The nature and purposes (NTSA, Sec.7(c)) of the CDNST must be described and used as a basis
for determining what activities and resource uses are allowed along the CDNST corridor. The nature
and purposes of the CDNST may differ somewhat from those of other national scenic trails. The
definition is formulated by extrapolating from the Trails for America report, NTSA, associated
Congressional Reports, and CDNST Study Report:

Trails for America

       Trails for America (1966), a report prepared by the Bureau of Outdoor Recreation in response to
President Johnson’s Natural Beauty Message of February 8, 1965, describes that, “the entire length of
each national scenic trail, together with sufficient land area on both sides to safeguard adequately and
preserve its character, should be protected^.”

National Trails System Act

        NTSA Sec. 3. [16 U.S.C. 1242] (a) (2). “National scenic trails, established as provided in
section 5 of this Act, which will be extended trails so located as to provide for maximum outdoor
recreation potential and for the conservation and enjoyment of the nationally significant scenic, historic,
natural, or cultural qualities of the areas through which such trails may pass.”

       NTSA Sec. 5 [16 U.S.C. 1244] (f) ^ “the responsible Secretary shall...submit...a comprehensive
plan for the acquisition, management, development, and use of the trail, including but not limited to, the


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following items: (1) specific objectives and practices to be observed in the management of the trail,
including the identification of all significant natural, historical, and cultural resources to be preserved....”

        NTSA Sec. 7. [16 U.S.C. 1246] (c). “Other uses along the trail, which will not substantially
interfere8 with the nature and purposes of the trail, may be permitted...[To] the extent practicable, efforts
be made to avoid activities incompatible with the purposes for which such trails were established. The
use of motorized vehicles by the general public along any national scenic trail shall be prohibited....”

Congressional Reports

        “The Act was intended to insure that long-distance, high-quality trails with substantial recreation
and scenic potential were afforded Federal recognition and protection” (S.R. 95-636). “Title V
establishes new units of the National Park and National Trail Systems which the committee believes to
be essential additions to these national programs. Timely action to preserve portions of our heritage,
both historical and natural, within the states and insular areas is needed to assure these resources are not
lost through adverse actions by special interest groups” (H.R. 95-1165).

CDNSTStudy Report

        The Study Report of 1976, prepared by the Bureau of Outdoor Recreation in response to the
identification of the CDNST, under the NTSA, as as a potential addition to the national trails system,
describes that, “The primary purpose of this trail is to provide a continuous, appealing trail route,
designed for the hiker and horseman, but compatible with other land uses... One of the primary
purposes for establishing the Continental Divide National Scenic Trail would be to provide hiking and
horseback access to those lands where man's impact on the environment has not been adverse to a
substantial degree and where the environment remains relatively unaltered. Therefore, the protection of
the land resource must remain a paramount consideration in establishing and managing the trail. There
must be sufficient environmental controls to assure that the values for which the trail is established are
not jeopardized...

         The trail experience on or near the Divide is an intimate one, for one can walk or ride horseback
across vast fields of wildflowers and contemplate a story dating from the dawn of earth's history. This
story began when a portion of the earth was thrust upward, creating the sharp precipitous peaks that
were sculptured into rich land forms leaving sparkling lakes, crystal-clear streams, and myriads of
cascading waterfalls. Along the way, the tranquility of the alpine meadows, verdant forests and semi­
desert landscape overwhelms everyone who passes that way. The trail would provide the traveler his
best encounter with the Continental Divide — its serenity and pure air — and would supply for every
trail traveler some of the world's most sublime scenes...




8 The BLM in MS-6280 defines, “S ubstantial Inteiference. Determination that an activity or use affects (hinders or obstructs)
the nature and purposes of a designated National Trail (see nature and purposes).”

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        The basic goal of the trail is to provide the hiker and               “The primary value of the Continental
rider an entree to the diverse country along the Continental                  Divide Trail is its emphasis on
Divide in a manner, which will assure a high quality                          conservation of the natural beauty of
recreation experience while maintaining a constant respect                    our environment, and on a wise use of
for the natural environment... The Continental Divide Trail                   our environment to give the greatest
would be a simple facility for foot and horseback use in                      pleasure and health to our citizens.
keeping with the National Scenic Trail concept as seen in the                 Under the proposed scheme, it is my
Appalachian and Pacific Crest Trails.”                                        understanding that^the environment
CDNST Leadership Council                                                      of the Trail would be kept in its
                                                                              natural state as much as possible.
        The CDNST Leadership Council, in 2004,                                Such an investment is prudent now,
established a Vision and Guiding Principles for the                           before the natural beauty can be
development and protection of the CDNST. The Vision for                       eroded through overuse and expansion
the CDNST is: “Complete the Trail to connect people and                       of communities into the area.”
communities to the Continental Divide by providing scenic,
                                                               Statement of Honorable Peter
high-quality, primitive hiking and horseback riding
                                                               Dominick, U.S. Senator from the
experiences, while preserving the significant natural,
                                                               State of Colorado
historic, and cultural resources along the Trail.” The
Council’s membership consists of senior Forest Service, Bureau of Land Management, and National
Park Service responsible officials.

Public Involvement in the Formulation of Policy

        The formulation of the nature and purposes direction for the CDNST was developed through a
public process (36 CFR 216) and approved by Associate Chief Hank Kashdan as documented in Federal
Register: October 5, 2009 (74 FR 51116).9 The following is the response to nature and purposes
comments -
   “The amendments to the 1985 CDNST Comprehensive Plan and corresponding directives are to
ensure that the nature and purposes of the CDNST track those in the 1976 CDNST Study Report and
1977 CDNST Final Environmental Impact Statement, which were prepared pursuant to the NTSA (16
U.S.C. 1244(b)). The 1976 CDNST Study Report states:
         The primary purpose of this trail is to provide a continuous, appealing trail route, designed for
         the hiker and horseman, but compatible with other land uses. * * * One of the primary purposes
         for establishing the Continental Divide National Scenic Trail would be to provide hiking and
         horseback access to those lands where man's impact on the environment has not been adverse to
         a substantial degree and where the environment remains relatively unaltered. Therefore, the
         protection of the land resource must remain a paramount consideration in establishing and
         managing the trail. There must be sufficient environmental controls to assure that the values for
         which the trail is established are not jeopardized. * * * The basic goal of the trail is to provide
         the hiker and rider an entree to the diverse country along the Continental Divide in a manner,
         which will assure a high-quality recreation experience while maintaining a constant respect for


9 This Federal Register Notice, in part, details direction for “nature and purposes,” “visual resource management,” “recreation
resource management,” “motor vehicle use,” and “carrying capacity.”
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      the natural environment. * * * The Continental Divide Trail would be a simple facility for foot
      and horseback use in keeping with the National Scenic Trail concept as seen in the Appalachian
      and Pacific Crest Trails.
   Thus, the 1976 CDNST Study Report states that the primary purpose of the CDNST is to provide a
   high-quality recreation experience for hiking and horseback riding.
   Consistent with the NTSA, the 1976 CDNST Study Report, and the 1977 CDNST Final
   Environmental Impact Statement, the amended CDNST Comprehensive Plan states that the nature
   and purposes of the CDNST are to provide for high-quality scenic, primitive hiking and horseback
   riding opportunities and to conserve natural, historic, and cultural resources along the CDNST
   corridor. The amended CDNST Comprehensive Plan and final directives implementing the
   amendments to the CDNST Comprehensive Plan on National Forest System lands provide that
   backpacking, nature walking, day hiking, horseback riding, nature photography, mountain climbing,
   cross-country skiing, and snowshoeing are compatible with the nature and purposes of the
   CDNST.... The amendments to the CDNST Comprehensive Plan and directives ensure consistency
   with the nature and purposes of the CDNST in the context of right-of-way acquisition, land
   management planning, scenery management, recreation resource management, motor vehicle use,
   trail and facility standards, and carrying capacity.’
   The 1983 amendment to the NTSA, which added 16 U.S.C. 1246(j), does not modify the nature and
   purposes of the CDNST. The added subsection simply lists uses and vehicles that may be permitted
   on National Trails generally.
   The NTSA states that all National Scenic Trails must be so located to provide for maximum outdoor
   recreation potential and conservation of natural, historic, and cultural resources (16 U.S.C.
   1242(a)(2)). This requirement is reflected in the nature and purposes statement in the amended
   CDNST Comprehensive Plan, which states that the nature and purposes of the CDNST are to
   provide for high-quality scenic, primitive hiking and horseback riding opportunities and to conserve
   natural, historic, and cultural resources along the CDNST corridor. Where possible, the CDNST will
   be located in primitive or semi-primitive non-motorized settings, which will further contribute to
   providing for maximum outdoor recreation potential and conservation of natural, historic, and
   cultural resources in the areas traversed by the CDNST...
   The Forest Service has removed the words 'non-motorized’ and 'recreational’ from the nature and
   purposes statement for the CDNST, as these words were redundant. 'High-quality scenic, primitive
   hiking and horseback riding’ are non-motorized recreation opportunities. The Agency has not
   removed the word 'primitive’ from the nature and purposes statement, as it is not redundant and is
   not ambiguous. It means 'of or relating to an earliest or original stage or state....’ Preferred recreation
   settings, including primitive or semi-primitive non-motorized categories, are delineated in the Forest
   Service's Recreation Opportunity Spectrum system (FSM 2311.1) and described in the CDNST
   Comprehensive Plan, Chapter IV(B)(5).
   The amendments to the 1985 CDNST Comprehensive Plan apply throughout the document to the
   extent applicable, not just to the provisions that are specifically referenced in the amendments. The
   Forest Service agrees that this intent should be expressly stated. Therefore, the Agency has added the
   following statement to the amendments:
       To the extent there is any inconsistency between the foregoing revisions and any other provisions
       in the 1985 CDNST Comprehensive Plan, the foregoing revisions control.”



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Summary

In consideration of the language in the NTSA, Congressional Reports, CDNST Study Report and public
comments, the nature and purposes policy for the CDNST is: “The nature and purposes of the CDNST
are to provide for high-quality scenic, primitive hiking and horseback riding opportunities and to
conserve natural, historic, and cultural resources along the CDNST corridor” (CDNST Comprehensive
Plan and FSM 2353.42).10

                                             III. Planning Considerations

        National Trails are administered as trail corridors. Managers should establish plan components11
that address (1) desired visitor experience opportunities and settings, and (2) the conservation of scenic,
natural, historical, and cultural qualities of the corridor. In addition, supporting standards and guidelines
need to be established to achieve desired conditions and objectives, and monitoring methods are to be
described.
        In 2009, the amended CDNST Comprehensive Plan and FSM 2353.4 constituted new
information (40 CFR 1502.9(c)). The responsible official must review the new information and
determine its significance to environmental concerns and bearing on current Land Management Plan
(LMP) direction (FSH 1909.15 - 18). In regards to environmental documents for enacted LMPs,
determine if Management Area (MA) prescriptions12 and plan components along the CDNST travel
route and corridor provide for the nature and purposes of the CDNST (FSM 2353.42 and FSM
2353.44b(1)). If not, the LMP should be amended or revised following the appropriate NEPA process to
address the planning requirements of the NTSA (16 U.S.C. 1244(5)(f) and FSM 2353.44(b)(1)). The
BLM has similar requirements for addressing new information (Land Use Planning Handbook, H-1601-
1). Furthermore, project proposals may bring the CDNST into the scope of a NEPA process due to
potential direct, indirect, and cumulative impacts of past actions and new proposals that may
substantially interfere with the nature and purposes of the CDNST (40 CFR 1508.25(c)).13 This in turn
could trigger the need for a land and resource management plan amendment, and on National Forest
System lands, the development of a CDNST Unit Plan. Land management plans are to protect potential




10 The BLM in MS-6280 defines, “Nature and Purposes. The term used to describe the character, characteristics, and
congressional intent for a designated National Trail, including the resources, qualities, values, and associated settings of the
areas through which such trails may pass; the primary use or uses of a National Trail; and activities promoting the
preservation of, public access to, travel within, and enjoyment and appreciation of National Trails.”
11 Plan components guide future project and activity decisionmaking.

12 Management prescriptions are management practices and intensity selected and scheduled for application on a specific area
to attain multiple-use and other goals and objectives.
13 A substantial interference include the cumulative effects of actions that that degrade the Scenic Integrity Level or modified
the ROS Class resulting in more developed or modified CDNST settings of selected and high potential route segments. The
cumulative effects period is the 36 years since the CDNST was established and designated by Congress in 1978.
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CDNST rights-of-way14 and high potential route segments15 where the rights-of-way is yet to be selected
and the travelway officially located (1246(a)(2) and 16 U.S.C. 1244(f)(3)). Until the CDNST rights-of-
way is selected and the corridor is located, the Agencies must not undertake any major Federal action
which (1) may adversely impact potential CDNST rights-of-way and corridor locations, (2) limit the
choice of reasonable alternatives, and (3) prejudice ultimate rights-of-way and locations decisions (40
CFR 1506.1).
        The land and resource management plan responsible official should work with adjacent
landowners to establish and protect the CDNST corridor. However, recognize that Congress has set a
limit on protecting a corridor where the CDNST crosses private land. The authority of the Federal
Government to acquire fee title under the NTSA Section 5 is limited to an average of not more than 1/4
mile on either side of the trail.
        The CDNST is administered by the Secretary of Agriculture. Delegation of those responsibilities
to Forest Service officials is found in FSM 2353.04. The lead Forest Service official for coordinating
matters concerning the study, planning, location, and operation of the CDNST is the Regional Forester
for the Rocky Mountain Region (FSM 2353.04(5)(b)).
Locating the CDNST Corridor and Establishing Management Direction

         The CDNST corridor is to be described through the delineation of a Management Area (MA)
with plan components that provide for the nature and purposes values of this designated National Scenic
Trail. To provide for the nature and purposes of the National Trail, several location and management
factors should be considered; such as and where reasonable to do so, the MA or NTMC should be
located in more primitive ROS classes; once located the management of the MA or NTMC should
provide for a Primitive or Semi-Primitive Non-Motorized experiences to extent practicable. In addition,
the CDNST travelway is a concern level 1 travel route and scenic management objectives of high or
very high must be met in the immediate foreground and foreground to the extent practicable. The
boundary of the MA should follow topographic features to the extent possible, while being at least one-
half mile wide on each side of the established and potential locations of the National Trail travel
routes. This recommendation is based on ROS criteria that identify remoteness for a Semi-Primitive
Non-Motorized setting as: An area at least 1/2-mile but not further than 3 miles from all roads, railroads
or trails with motorized use; can include the existence of primitive roads and trails if closed to motorized
use. More than 3 miles would tend to classify the area as Primitive16 another desirable setting. The


14 The BLM in MS-6280 defines a, ‘National Trail Management Corridor. Allocation established through the land use
planning process, pursuant to Section 202 of Federal Land Policy and Management Act and Section 7(a)(2) of the National
Trails System Act (“rights-of-way”) for a public land area of sufficient width within which to encompass National Trail
resources, qualities, values, and associated settings and the primary use or uses that are present or to be restored.”
15 The term "high potential route segments" means those segments of the North Country and Continental Divide NSTs which
would afford high quality recreation experience in a portion of the route having greater than average scenic values (16 U.S.C
1251(2)).
16 FSM 2310.3 - [Planning] Policy. 1. Use the ROS to establish planning criteria, generate objectives for recreation, evaluate
public issues, integrate management concerns, project recreation needs and demands, and coordinate management objectives.
2. Use the ROS system to develop standards and guidelines for proposed recreation resource use and development. 3. Use
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Forest Service Scenery Management System identifies that the middleground begins at 1/2-mile of the
travel route.17
        The Bureau of Outdoor Recreation, pursuant to 16 U.S.C. 1244(b), prepared a Study Report for
the CDNST that was completed in 1976. The Chief of the Forest Service adopted the 1976 CDNST
Study Report and 1977 CDNST Final Environmental Statement on August 5, 1981 (46 FR 39867). In
2009 the Chief amended the 1985 CDNST Comprehensive Plan and issued conforming FSM 2353.4
policy.

        Comprehensive plan requirements (16 U.S.C.
                                                                           A comprehensive plan for a National
1244(f)) for the CDNST are addressed through staged or
                                                                           Trail is not a LMP resource plan—36
stepped-down decision processes: (1) the 2009
                                                                           CFR 219.15(e). Instead, the
Comprehensive Plan established broad policy and
                                                                           establishment of the comprehensive
procedures, (2) land management plans guide all natural
                                                                           plan for the CDNST constitutes an
resource management activities and establish management
                                                                           overlay on the management regime
standards and guidelines for the National Forest System
                                                                           otherwise applicable to public areas
(36 CFR 219.1), provide integrated resource management
                                                                           managed by land management
direction for special areas (36 CFR 219.2), and address
                                                                           agencies. The NTSA (and E.O.
programmatic planning requirements as described in the
                                                                           13195) limits the management
Comprehensive Plan (Chapter IV), and (3) mid-level and
                                                                           discretion the agencies would
site-specific plans complete the comprehensive planning
                                                                           otherwise have by mandating the
process through field-level actions to protect the corridor
                                                                           delineation and protection of the
and then maintain or construct the travel route (FSM
                                                                           nature and purposes of the CDNST.
2353.44b part 2). The following direction is found in the
Comprehensive Plan and Forest Service Manual:

        Recreation Resource Management is addressed in the CDNST Comprehensive Plan in Chapter
IV.B.5, page 14. Policy is described in Part b as, “(1) Manage the CDNST to provide high-quality
scenic, primitive hiking and pack and saddle stock opportunities. Backpacking, nature walking, day
hiking, horseback riding, nature photography, mountain climbing, cross-country skiing, and
snowshoeing are compatible with the nature and purposes of the CDNST.”

        Management direction is described in the Comprehensive Plan, Chapter IV.B.5. Part c, page 16,
as, “(1) Use the ROS system in delineating and integrating recreation opportunities in managing the
CDNST. Where possible, locate the CDNST in Primitive or Semi-Primitive Non-Motorized ROS
classes; provided that the CDNST may have to traverse intermittently through more developed ROS
classes to provide for continuous travel between the Canada and Mexico borders.” All ROS classes are
summarized in this section of the Comprehensive Plan to assure that identical definitions are used across
administrative units; this summary is not to be construed as indicating a desirability or compatibility of


the ROS system guidelines to describe recreation opportunities and coordinate with other recreation suppliers.... [Policy has
been in effect from 1986 to present.] FSM 2311.1 - Reference: ROS User Guide.

17 Landscape Aesthetics, A Handbook for Scenery Management, Agricultural Handbook Number 701
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managing the CDNST corridor to provide for Semi-Primitive Motorized, Roaded Natural, and Rural
ROS class conditions. Primitive and Semi-Primitive Non-Motorized classes are consistent with the
nature and purposes (values) of the CDNST. Management direction for Semi-Primitive Motorized,
Roaded Natural, Rural, and Urban ROS classes allow uses that substantially interfere with the nature
and purposes of the CDNST.
Carrying Capacity
        National Trails System Act (NTSA)18, sections 5(e) and 5(f), direct that a comprehensive plan for
a national trail, “identify carrying capacity of the trail and a plan for its implementation.” This is similar
to Section 3(d)(1) of the Wild and Scenic Rivers Act (WSRA)19 that directs federal river-administering
agencies to “address^user capacities” in a comprehensive river management plan (CRMP) prepared for
each component of the National Wild and Scenic Rivers System. The NTSA and WSRA do not define
“carrying capacity” or “user capacities,” but recent litigation has focused primarily on the recreational
use.20 The scope of “carrying capacity” and “user capacity” broadly includes visitor use, other public
use, and administrative use, but with particular emphasis on the recreational aspect.

        Carrying capacities are an integral part of the management approaches identified in a CP to
protect and enhance National Scenic Trail (NST) nature and purposes. The nature and purposes of a
NST are also known as NST values. The values of National Scenic Trails (NST) include: (1) visitor
experience opportunities and settings, and (2) the conservation and protection of scenic, natural,
historical, and cultural qualities of the corridor. Primitive and Semi-Primitive Non-Motorized
Recreation Opportunity Spectrum (ROS) classes generally provide for desired experiences where the
allowed non-motorized activities reflect the purposes for which the National Trail was
established. Furthermore, the NTSA goes beyond ROS descriptors requiring the protection of
significant resources and qualities along the National Trail corridor.

        Addressing visitor capacities requires managers to assess impacts from both established uses and
potential new uses. It can be a challenging task because of the complex relationship between human
uses and national trail values. The capacity to absorb use without substantial impacts to resources and
visitor experiences is dependent on myriad interrelated factors. Capacity-related decisions can also
potentially lead to management actions that restrict the public’s access to federal lands.

       Forest Service - The following describes common considerations and elements of what could
be expectedfor (or lead to) locations and Plan components that would be applied to a Management
Area to achieve the nature and purposes of the CDNST:

        Forest Service land management plans shall form one integrated plan for each unit (16 U.S.C.
1604(f)(1)). The plan must provide for ecosystem services and multiple uses, including outdoor
recreation, range, timber, watershed, wildlife, and fish, within Forest Service authority and the inherent

1816 U.S.C. §1241-1251: Public Law 90-543 (October 2,1968) and amendments.
1916 U.S.C. §1271-1278; Public Law 90-542 (October 2,1968) and amendments.
20See Friends of Yosemite Vaiiey v. Kempthorne, 520 F.3d 1024 (9th Cir. 2008); American Whitewater v. Tidwell, (D.S.C.
2012).
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capability of the plan area as follows: ... (b)... (1) The plan must include plan components, including
standards or guidelines, to provide for: (i) Sustainable recreation; including recreation settings,
opportunities, and access; and scenic character..., and (vi) appropriate management of other designated
areas or recommended designated areas in the plan area...(36 CFR 219.10(b)(i)&(vi)). The CDNST is a
congressionally designated area (36 CFR 219.19).
        On National Forest System lands, a MA is to be established for existing CDNST rights-of-way
corridors (FSM 2353.44b(1)). For CDNST sections that pass through the planning unit, plan components
must include management and use direction (16 U.S.C. 1244(f)) for the rights-of-way that provide for
the nature and purposes of this National Trail (16 U.S.C. 1246). In addition to having appropriate
direction in LMPs, some actions are only allowed or are dependent on the approval of a CDNST Unit
Plan (FSM 2353.44(b)(2)); this would include a decision that would allow bicycle use (FSM
2353.44b(10)) and motor vehicle use (FSM 2353.44b(11)).

CDNST LMP MA Desired Conditions

  Descriptions
  Consistent with the CDNST Comprehensive Plan, the MA provides high-quality scenic, primitive
  hiking and horseback riding opportunities and conserves natural, historic, and cultural resources.
  Desired conditions are characterized by Primitive and Semi-Primitive Non-Motorized ROS
  settings. These settings are characterized by the following conditions:

     Primitive: This ROS class provides users with a primitive recreation experience. These
  segments are set in an essentially unmodified environment. Evidence of humans would be
  unnoticed by an observer traveling through the area. The travel route should be at least 3 miles
  from all roads, railroads, or trails with motorized use. Places for camping will be available and
  rudimentary facilities for overnight camping could be provided outside designated wilderness.
  Interactions between users will be minimal. The user will enjoy maximum opportunity for solitude
  and testing of outdoor skills. Feelings of regulation will be minimized to the greatest extent
  possible. Feelings of physical achievement and self-reliance will be an important part of the
  experience offered. Ecological processes such as fire, insects, and disease exist.

     Semi-primitive Non-Motorized: The ROS class provides a natural setting that could have subtle
  modifications that would be noticed, but not draw the attention of an observer traveling through the
  area. The travel route will be at least one-half mile from all roads, railroads, or trails with
  motorized use. Opportunities for solitude and exercising outdoor skills will be present, but the
  areas are not as remote as in the primitive class. Ecological processes such as fire, insects, and
  disease exist.

CDNST LMP MA Objectives
  Descriptions
  Complete the CDNST Unit Plan (FSM 2353.44(b)(2)) within three years. [Example of stepped­
  down and staged planning and decision-making.]
  Complete the CDNST travel route through the MA within five years. [Example of proposed and
  possible actions.]

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CDNST LMP MA Standards or Guidelines

  Descriptions - See FSM 1110.8 for Degree of Compliance or Restriction “Helping Verbs” and
  “Mood of Verb” Definitions
  _______________________________Scenery Management______________________________
  Manage the travelway as a concern level 1 travel route. Resource management actions are to meet
  a Scenic Integrity Level of Very High or High in the immediate foreground and foreground visual
  zones. Excepted are management activities that contribute to achieving the overall nature and
  purposes of the CDNST.
  Forest-wide Standard: Resource management actions are to meet a Scenic Integrity Level o_f Very
  High, High, or Moderate in the middleground as viewedfrom the existing and potential CDNST
  travel routes.
  _____________________________ Recreation Management_____________________________
  Resource manage actions and allowed uses must be consistent with maintaining or achieving
  Primitive or Semi-Primitive Non-Motorized ROS class settings, except motor vehicle use is
  allowed if such use is in accordance with the CDNST Comprehensive Plan Chapter IV.6 and FSM
  2353.44b(11).____________________________________________________________________
  Manage the CDNST to provide high-quality scenic, primitive hiking and pack and saddle stock
  opportunities. Backpacking, nature walking, day hiking, horseback riding, nature photography,
  mountain climbing, cross-country skiing, and snowshoeing are compatible with the nature and
  purposes of the CDNST (FSM 2353.42 and FSM 2353.44b(8))._____________________________
  The Management Area is not suitable for motorized and mechanized use, except where such use is
  in accordance with FSM 2353.44b(10) and (11).
  If the interval between natural water sources is excessive, consider developing and protecting water
  sources for hikers and pack and saddle stock use (FSM 2353.44b(9)).
  _____________________________ Special Uses Management____________________________
  Activities, uses, and events that would require a permit shall not be authorized unless the activity,
  use, or event contributes to achieving the nature and purposes of the CDNST.
  ______________________________ Minerals Management______________________________
  Mineral leases are to include stipulations for no surface occupancy.
  Permits for the removal of mineral materials are not to be issued.
  Mineral withdrawals should be enacted in areas with a history of locatable mineral findings.
  _______________________________ Timber Management______________________________
  Lands are not suitable for timber production. Timber harvest is not scheduled and does not
  contribute to the allowable sale quantity._______________________________________________
  _____________________________ Vegetation Management_____________________________
  Vegetation may be managed to enhance recreation opportunities, to provide vistas to view
  surrounding areas, and to conserve natural resources.
  Vegetation may be managed to maintain or improve threatened, endangered, and sensitive species
  habitat.__________________________________________________________________________
  __________________________________ Travel Routes__________________________________
  Segments of the CDNST should fall into Trail Class 2 or 3 and have a Designed Use of Pack and
  Saddle Stock, except where a substantial safety or resource concern exists, the travel route may
  have a Designed Use of Hiker/Pedestrian (FSH 2309.18).

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  Road construction and reconstruction is prohibited; excepted are motor vehicle use circumstances
  described in CDNST Comprehensive Plan Chapter IV.6 and FSM 2353.44b(11).
                                     Other Uses Considerations
  Other uses that could conflict with the nature and purposes of the CDNST may be allowed only
  where there is a determination that the other use would not substantially interfere with the nature
  and purposes of the CDNST (16 USC 1246(c)).


CDNST LMP MA Implementation Guidance

        Partnerships and volunteers are sustained or sought to lead and assist in CDNST programs.
Volunteer and cooperative agreements will be developed with those volunteers and private organizations
that are dedicated to planning, developing, maintaining, and managing the CDNST in accordance with
Sections 2(c), 7(h)(1), and 11 of the NTSA.
      The direction in the NTSA, 2009 CDNST Comprehensive Plan, FSM 2310, FSM 2353.4, and
FSM 2380 are used to guide the development and management of the Trail.




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Map of CDNST High Potential Route Segment Corridor




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   6/30/15
   Erin Minks
   Forest Planner
   Rio Grande National Forest
   1803 W Hwy 160
   Monte Vista, CO 81144

   RE: Rio Grande National Forest Plan
       San Luis Valley Weed Management Association
       Comments


   Dear Erin


         The San Luis Valley Weed Management Association has
   been in existence for several years in one form or another. The
   original group was formed while under the direction of Jim Metz
   under the RC&D. The federal funding for RC&D was
   discontinued so the group continued under the RGWCEI (Rio
   Grande Water Shed Conservation Education Initiative) group as
   their host. After several months a separate 501-c-3 was formed
   to support the SLVWMA as an entity of its own organization.

        The SLVWMA is set up to cover all six counties in the
   valley and work with bordering counties outside the valley. The
   group meets on a regular basis and has many partners such as
   the Rio Grande National Forest to work with and help promote

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   guideline that they have adopted to help with the control and
   operation procedures of noxious weeds in the San Luis Valley
   and surrounding areas. We have a copy of this plan for your
   information on our web site (www.slvnoxiousweeds.org) under
   “About Us” titled Management Plan . This should also help with
   the guidance of the new forest plan. We feel that this plan meets
   the many guidelines set by the state of Colorado and local areas
   of concern for noxious weed control.

   We appreciate the opportunity to voice our ideas and concerns to
   help with the future of the national forest. We realize that the
   control of noxious weeds is a very small portion of the forest
   plan but also feel it is very important for a healthy forest. We
   have also listed some of our recent accomplishments as the
   SLVWMA group.


   Respectfully submitted,
   Brianna Brannan

   Brianna Brannan

   SLVWMA Coordinator


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                                Accomplishments
                                     For
                                   SLVWMA




   On December 22, 2013, SLVWMA became a 501( c )3 - Nonprofit Organization
     • Hired a new Coordinator - Michelle Le Blanc

      • Established new office at 623 4th Street, Alamosa, in the SLV Water
         Conservancy District Building and later moved to the Rio Grande County
         Weed District office in Monte Vista

      • Built a new website - www.slvnoxiousweeds.org

      • Assisted Alamosa County in the development of their weed management
         plan that was later approved by the commissioners

      • Collaborated with partners on at least six grant applications

      • Published six articles in news papers on noxious weeds and their
         management specific to the San Luis Valley

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      • Hosted El Pomar Foundation on board member
         roles and responsibilities

      • Hosted the following trainings specific to
         noxious weeds:
            o Weed Identification and GIS/GPS
               Mapping - for federal, state and local agencies in the San Luis Valley
            o Weed Identification and GIS/GPS Mapping - for Costilla County
               Road and Bridge Department
            o Conejos County Weed Management

      • Hosted Pulling for Colorado Events
            o Tamarisk/Salt Cedar cutting and flagging in Conejos County with the
              Centauri High School Future Farmer’s of America
            o Perennial Pepperweed removal at the Town of Del Norte Shop with
              the youth of High Valley Community Center




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   To whom it may concern,

   I have travelled with friends to the Pass Creek Yurt over the past several years. The recreation
   opportunity in the area around the yurt should have long-term management that protects high-quality
   backcountry skiing opportunities.

   The geographic scope of this comment is roughly the area from the continental divide to the Pass Creek
   Road; from Silver Pass to Alberta Reservoir and the drainage below the reservoir.

   Your planning process should evaluate an alternative that considers the following management strategy:

           For the Pass Creek backcountry ski area, feature a non-motorized recreation environment where
           visitors can enjoy overnight backcountry ski trips.

           Manage the social recreation environment in ways that encourage group sizes of less than 10
           people, were visitors typically encounter less than three other groups during an outing (an
           overnight trip).

           Visitors to the area would typically encounter evidence of other users enjoying backcountry
           skiing activities (ski touring, climbing/descending). Other non-motorized winter activities would
           typically not be evident (e.g. snowshoeing, snow-adapted bicycles).

           Visitors would not see evidence of domestic animals. Skiing with dogs on trails would be
           discouraged or prohibited.

           Visitor outings would be supported through commercial overnight services. Commercial services
           should support the social recreation environment outlined above.

      This type of management would provide all levels of backcountry skiers the opportunity to:

       -   travel with friends and family;
       -   develop and practice backcountry skills

      This type of management would also support local communities (South Fork and Pagosa Springs) by
      attracting overnight visitors to the area.

   Please add me to the mailing list. I would like to be notified when the draft EIS is available for comment.



   Thank you,

   Andy Windsor & Paula Martin

   andy_tessie@hotmail.com




                                                                              Rvsd Plan - 00002105
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    From:             Blakeman. Mike -FS
    To:               FS-comments-rocky-mountain-rio-grande; Minks, Erin - FS
    Subject:          FW: Fw:public comment on RGNF Forest plan meeting scheduled for Conejos Canyon
    Date:             Wednesday, July 15, 2015 3:56:00 PM
    Attachments:      imaae001.pna
                      imaae002.pna
                      imaae003.pna
                      imaae004.pna




                   Mike Blakeman
                   Public Affairs Specialist
                   Forest Service
                   Rio Grande National Forest, Supervisor's Office
                   p: 719-852-6212
                   c: 719-850-2360
                   mblakeman@fs.fed.us
                   1803 W. U.S. Hwy 160
                   Monte Vista, CO 81144
                   www.fs.fed.us


                   Caring for the land and serving people




    From: Miller, Jeffrey H -FS On Behalf Of FS-Mailroom R2 Rio Grande
    Sent: Wednesday, July 15, 2015 3:44 PM
    To: Dallas, Dan -FS; Blakeman, Mike -FS
    Subject: FW: Fw:public comment on RGNF Forest plan meeting scheduled for Conejos Canyon




    From: Jean Public [mailto:ieanpublic1@yahoo.com]
    Sent: Tuesday, July 14, 2015 4:18 PM
    To: FS-Mailroom R2 Rio Grande; mselig@nationalforest.org; scoop@huffingtonpost.com;
     vicepresident@whitehouse.gov; americanvoices@mail.house.gov; info@earthiustice.org;
     center@biologicaldiversity.org; info@pewtrusts.org; foe@foe.org; info@tws.org
    Subject: Fw:public comment on RGNF Forest plan meeting scheduled for Conejos Canyon

    I am shocked at th edestructive nature of the proposal put forth. one would think youi
     were working for profiteers intent on destroying our national land and making
     yourselves rich off its destruction. I see no protection advanced for this site. nature
     deserves protection . WE ALL WANT PROTECTION FOR OUR NATIONAL LANDS.
     WE DO NOT WANT THEM DESTROY.ED

    1. BAN ALL LOGGING IN THIS SITE.
    2. WHO THE HECK IS THE NATIONAL FOREST ORG AND WHY ARE
     TAXPAYERS LETTING THEM BE INVOLVED IN OUR NATIONAL FOREST. WHO
     APPAOINTED THEM AND WHY ARE WE PAYING TWO AGENCIES TO TAKE
     CARE OF OUR NATIONAL LAND. THE RAKE OFF MUST BE SIGNIFICANT. IS


                                                                                        Rvsd Plan - 00002106
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     THIS SOMEBODYS CORRUPT POL RELATIVE?
    3. THROW ALL THE ROBBER BARON CATTLE RANCHERS OFF OUR NATIONAL
     LAND. THEY DESTROY OUR LAND WITH THEIR CATTLE. THE POLLUTION
     THEY MAKE IS HORRENDOUS. THE WATER THEY USE IS MUCH TOO MUCH
     IN THIS ARID LAND. EACH CATTLE TAKES 3460 GALLONS OF WATER. AND
     THE GASES THEY MAKE ARE BAD AND BRING ON CLIMATE CHANGE. ITS
     TIME TO SHUT DOWN THESE WELFARE LEACHES WHO HAVE BEEN PAYING
     CHEAP CHEAP CHEAP RATES FOR DESTROYING OUR NATIONAL LAND FOR
     FAR TOO LONG.
    4. YOUR WILDLIFE PLAN IS A KILLING PLAN. IT SHOULD BE CALLED THE
     WILDLIFE KILLING PLAN THAT LETS THE NRA GUNW ACKO INSANE WILDLIFE
     KILLERS HAVE FREE REIN. THEY NEED TO BE SHUT DOWN TOO. WE WANT
     OUR NATIONAL LAND TO BE A PEACEFUL SITE FOR WILDLIFE AND BIRDS TO
     HAVE PEACEFUL LIVES. THEY DESERVE THE LITTEL BIT OF LAND WE CAN
     GIVE THEM TO LIVE IN PEACE. STOP ALLOWIN THESE INSANE GUN WACKOS
     TO HAVE THE RUN OF OUR LAND. THEY ARE A VERY VERY SMALL GROUP
     OF INSANE TPEOPLE AND THE MAJORITY OF AMERICANS ARE NOT
     WILDLIFE KILLERS. WHY ARE YOU NOT RESPECTING THE MAJORITY OF
     AMERICANS AND DISRESPECTING THEM BY TURNING OUR N ATIONAL
     LANDS INTO K ILLIN FIELDS. THIS COMMENT IS FOR THE PUBLIC RECORD.
     PLEASE RECEIPT. JEAN PUBLI JEANPUBLIC1@GMAIL.COM

    Subject: RGNF Forest plan meeting scheduled for Conejos Canyon

    Hello,

    The U.S. Forest Service and National Forest Foundation will hold a public meeting for
    the forest plan revision concerning fish, wildlife and rare plants on Tuesday, July
    21, from 5:00 p.m. to 7:30 p.m. at the Conejos Canyon Community Chapel. The
    chapel is located at 26727 Highway 17, between Fox Creek and Horca.

    Participants at this meeting will:
    •      Discuss existing conditions and future trends of fish, wildlife and rare plants.
    •      Review the standards and guidelines of the current forest plan.
    •      Engage in a map-based discussion concerning wildlife habitat.

    This will be the final public meeting during the assessment phase of the Rio Grande
     National Forest’s plan revision process. The forest plan revision process is expected
    to continue for two more years with several more opportunities for public
     participation.

    The meeting will feature an open house for the first half hour allowing the opportunity
    to view maps and engage in one-on-one discussion with RGNF staff. A short
     presentation by forest service staff will begin at 5:30 p.m., followed by interactive
    discussions designed to provide input for the plan revision. Light refreshments will be
     provided.




                                                                     Rvsd Plan - 00002107
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    The forest plan is the overarching document that guides all management decisions
    and activities on the entire Rio Grande National Forest, including preservation of
    cultural and historic resources, grazing, timber production, recreation, wildlife
     management, firewood cutting and gathering of special forest products.

    For more information, visit the RGNF plan revision website at
    http://riograndeplanning.mindmixer.com/ or contact Mike Blakeman at the Rio
    Grande National Forest Supervisor’s Office at 719-852-5941.

    Thanks!
    Marcus


    Marcus F. Selig
    Director, Southern Rockies Region
    National Forest Foundation
    Front Range Office: 390 Union Blvd., Suite 400|Denver, CO 80228
    Central CO Office: 7133 CR 178|Salida, CO 81201
    mselig@.nationalforests.org | 720.437.0290
    Become a Friend of the Forest today! Check out our Web site: www.nationalforests.org




                                                                           Rvsd Plan - 00002108
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    From:               Blakeman, Mike -FS
    To:                 FS-comments-rocky-mountain-rio-grande
    Subject:            FW: WWW Mail: Dogs in Wilderness area
    Date:               Wednesday, July 22, 2015 1:19:08 PM




    Mike Blakeman
    Public Affairs Specialist
    Forest Service
    Rio Grande National Forest, Supervisor's Office
    p: 719-852-6212
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    mblakeman@fs.fed.us
    1803 W. U.S. Hwy 160
    Monte Vista, CO 81144
    www.fs.fed.us

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    ---- Original Message-----
    From: Miller, Jeffrey H -FS On Behalf Of FS-Mailroom R2 Rio Grande
    Sent: Tuesday, July 21, 2015 3:48 PM
    To: Dallas, Dan -FS; Blakeman, Mike -FS
    Subject: FW: WWW Mail: Dogs in Wilderness area




    ---- Original Message-----
    From: mju55@wavecable.com [mailto:mju55@wavecable.com]
    Sent: Tuesday, July 21, 2015 10:18 AM
    To: FS-Mailroom R2 Rio Grande
    Subject: WWW Mail: Dogs in Wilderness area

    Dear Supervisor;

    I have added the following comment to the interactive web site and the email address posted for comments on the
     forest plan revision.

    As a Rio Grande National Forest employee many years ago, and an original resident of Del Norte, I try to return at
    least annually to that area to reconnect with those cherished memories.

    I just recently returned from this year’s trip. My daughter and I hiked into Goose Lake in the Weminuche
     Wilderness area. My grandfather built the dam that created that lake (as well as Trout Lake) and I was passing on
     this history to her.

    It was a wonderful trip except for one thing: Dogs. I just read your notes from the May 18th public meeting and I
     saw no mention of dogs in wilderness areas. I would like to add my comment to the public record.

    In short, dogs in wilderness areas should be prohibited. Besides startling and harassing hikers, they also startle the



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    wildlife, and I doubt the owners do a decent job of cleaning up after them. The current posting says they must be
    on leashes or under voice command. What owner thinks their dog isn’t under “voice command”? We had two
    incidents where the dogs were most definitely not leashed or under voice command. It put a bad taste in my mouth
    after two great days in the wilderness.

    So again, for the record, I recommend prohibition, or at least much stricter controls on dogs in wilderness areas.
    Perhaps permits for people with dogs should be required, or some other method of controlling or educating dog
    owners.

    Thank you!

    Mark J. Underwood
    4670 Lakeview Ave. NW
    Bremerton, WA 98312
    (360) 830-5134




                                                                                       Rvsd Plan - 00002110
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                                  RESPONSIBLE LAND
July 25, 2015                       STEWARDSHIP
Mike Blakeman, Public Affairs Specialist
Rio Grande National Forest

        Via e-mail: mblakeman(afs.fed.us

RE: Comments on the Rio Grande National Forest Plan Revision

Dear Mr. Blakeman:

Please accept these comments from the Chama Peak Land Alliance (“CPLA”) on the Rio Grande
National Forest Plan revision. The Chama Peak Land Alliance is an association of conservation-minded
landowners working collaboratively to practice and promote ecologically and economically sound land
management in the southern San Juan Mountains of Colorado and northern New Mexico. Our
landowners responsibly manage and cooperate with partners on 1.4 million acres of land, with a vision
of creating a continuous, intact landscape being managed with conservation in mind.

We support environmentally responsible and sustainable resource management that ensures a thoughtful
and holistic approach to provide healthy, diversified and sustainable ecosystems, economies, and
wildlife populations. CPLA engages in a wide variety of efforts to improve land management so that
headwater forests, streams, wildlife and other natural resources will flourish.

A fundamental tenet of our work is protecting and restoring landscape-scale connectivity. Our goal is to
work across 1.4 million acres of private, public, tribal, and state lands to create a connected landscape
for the benefit of a multitude of species, and to provide a strong and healthy outdoor environment to
support our rural economy and agricultural way of life.

Habitat connectivity and wildlife corridors allow wildlife to move across jurisdictions and are critical to
the viability of many species, including mule deer and elk. Game species, in particular, are an important
economic driver for many of our communities in northern New Mexico. Keystone species such as
Canada lynx and bear also need habitat connectivity to move from summer to winter grounds as well as
to ensure ecological balance and healthy landscapes.

With the added stress of climate change, habitat connectivity becomes even more critical. Climate
change poses a risk to the forest’s ecosystem integrity and may obstruct habitat corridors, creating a
                                   m ii                     —                              1
                              1309 East Third Ave. #39 | Durango, CO 81301
                       chamapeak@gmail.com | www.chamapeak.org | 1-888-445-7708
                                                                         Rvsd Plan - 00002111
